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                      23-655        In the
        United States Court of Appeals
              For the Second Circuit
                    O
  NICOLE BROECKER, MICHELLE MARTINO, GINA PORCELLO, AMOURA
    BRYAN, RENA GELLMAN, FONTINA LAMBOS, KERRY BEN-JACOB,
  EKATERINA UDINA, ANDREA TICHIO, MARIANNA CIACCA-LISS, ANITA
   QUASH, KELLY DIXON, FELICIA HAGAN, MARITZA ROMERO, MARIA
RUSCELLI, BETZIADA CRUZ, FRANCINE TRAPANI, JEANNINE LAM, JESSICA
     NARCISO, BRIANNA PEREZ, NICOLETTA MASULLO, ANASTASIA
   CHRISTOPOULOS, FAYE KOTZER, BENEDICT LOPARRINO, YADITZA
RODRIGUEZ, RAFAEL TORO, SERINA MENDEZ, DINA HUSSEIN, HERENDYRA
     PEREYRA, ROSA ABREU, LISA WILLIAMS, JOAN GIAMMARINO,
                                                                Plaintiffs-Appellants,
          (See inside cover for continuation of caption and appearances)
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
         THE EASTERN DISTRICT OF NEW YORK (BROOKLYN)


                           JOINT APPENDIX
             Volume II of VII (Pages JA-273– JA-542)

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      Mulgrew, Council of Supervisors
      and Administrators and Mark         NEW YORK CITY LAW DEPARTMENT
      Cannizzaro                            APPEALS DIVISION
   180 Maiden Lane                        Attorneys for Defendants-Appellees
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                                          jtownsen@law.nyc.gov

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                       _________________________
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     MIRAGLIA, ROSEANNA SILVERSTRI INCANTALUPO, JULIA MAVIS,
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MARTINEZ-VANBOKKEM, AYSE USTARES, ELIZABETH FIGUEROA, DIANNE
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BERTRAM, KIMBERLI MADDEN, FRAN SCHMITTER, VICTORIA RUSSO, PAUL
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  BENEDUCE, ZABDIEL VALERA, NATHALIE CHARLES, JANELLE LOTITO,
        JEANEAN SANCHEZ, MARIE MOSLEY, TARA PALLADINO,
     DANIELLE MCGUIRE, JULIA HARDING, LEAH KUKLA, STEPHANIE
 FRANZESE, JULIA BLASIS-MARING, BETH SCHIANO, LAURA SALAMONE,
      AURA MOODY, AUBREY JOERGENS, MEAGAN VELEZ, JENNIFER
   ZACCARIELLO, RICHARD JOSEPH, ELIZABETH LOIACONO, LORRAINE
        MASCIARELLI, DEIDRA STATUTO, ELENI GERASIMOU and
                        HENRIETTA SHAYA,
                                                         Plaintiffs-Appellants,
                               v.
    NEW YORK CITY DEPARTMENT OF EDUCATION, MEISHA PORTER,
 UNITED FEDERATION OF TEACHERS, LOCAL 2, AMERICAN FEDERATION
OF TEACHERS, AFL-CIO, MICHAEL MULGREW, COUNCIL OF SUPERVISORS
  AND ADMINISTRATORS, MARK CANNIZZARO, DISTRICT COUNCIL 37,
      AFSCME AFL-CIO, HENRY GARRIDO, SHAUN D. FRANCOIS, I,
       FRANCINE FRANCIS, MARTIN F. SCHEINMAN, SCHEINMAN
      ARBITRATION AND MEDIATION SERVICES, LLC, SCHEINMAN
    ARBITRATION AND MEDIATION SERVICES, DISTRICT COUNCIL 37,
         AFSCME AFL-CIO, LOCAL 372, DISTRICT COUNCIL 37,
                  AFSCME AFL-CIO, LOCAL 1251,
                                                         Defendants-Appellees.
                (See inside cover for additional appearances)
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                          _________________________

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          3. Rotation
          a. In the matters of teaching, special, honor, and modified classes the policy of
     rotation of qualified persons should be followed insofar as possible.
          It is understood, however, that requests by teachers of industrial arts/technology
     education, home economics/home and career skills, and trade subjects to retain their shop
     subjects and rooms should be honored when not inconsistent with the needs of the school.
     The following procedures will apply to shop openings:
          (1) Teachers of industrial arts/technology education, home economics/home and
     career skills and trade subjects should be given an opportunity to apply for a particular
     shop which becomes vacant.
          (2) The teacher with the highest seniority in the school from among those who apply
     shall be given preference if not inconsistent with the needs of the school.
          b. In the matters of sessions, annex assignments, and proctoring assignments the
     policy of rotation should be followed except for unusual circumstances. It is understood,
     however, that, upon his/her request, a teacher may retain a particular session if no other
     qualified teacher desires such session and the needs of the school will be served thereby.
          c. Each spring the principal and UFT chapter committee shall meet to review the
     compensatory time positions in the school with the goal of agreeing upon the number of,
     responsibilities, qualifications, basis for selection and term for compensatory time
     positions in their school. If no agreement is reached at the school level, the UFT district
     representative and superintendent shall assist the principal and chapter committee in their
     goal of reaching such an agreement.
          When an agreement is reached and ratified by the chapter, the principal shall establish
     and fill the positions in accordance with the agreement. Only the chapter, not
     individuals, shall have the right to grieve an alleged violation or misapplication of the
     ratified agreement.
          If no agreement is reached and ratified, the selection process shall be governed by the
     following:
          (1) A list of vacancies for all such non-teaching assignments shall be made available
     to all teachers in the school in sufficient time to permit written applications for such
     assignments.
          (2) Except for compensatory time positions filled as set forth in paragraph (3) or (4)
     below, seniority in the school shall be the basis for selection among applicants.
          (3) Those compensatory time positions which require job-related qualifications shall
     be filled on the basis of seniority in the school from among applicants who meet the
     postedjob-related qualifications.
          (4) The position of programmer shall be filled from among applicants who meet the
     job-related qualifications for that position, promulgated by the Board after consultation
     with the Union.
          (5) The term of years for the duration of each non-teaching assignment shall not
     exceed six years.
          (6) A teacher who has not had a non-teaching assignment for which there is a list of
     applicants shall have priority over any other teacher who had such assignment, except
     that the programmer position in the school is exempt from all contractual rotation
     requirements. In the case of applicants for positions covered by paragraphs (3) and (4)
     thejob-related qualifications must be met by the applicant.



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         (7) The term of a non-teaching assignment which is made to fill a vacancy occurring
     before the end of the school year will be considered as beginning as of the first day of the
     next school year.
         (8) A teacher may relinquish any non-teaching assignment after a minimum period
     of one year.
         (9) A seniority list of the faculty shall be made available for inspection by teachers
     who wish to make application for a non-teaching assignment.
         (10) An applicant for an assignment who does not receive the desired assignment,
     shall, upon request, be given the reasons for not having been selected.
         4. Teaching Periods
         a. Teachers shall have a maximum teaching load of 25 periods per week except
     where they are programmed for an average of 25 periods.
         b. Shop teachers in vocational, comprehensive and academic high schools shall not
     be programmed for more than five periods a day.
         c. Teachers in vocational high schools shall be programmed for an eight-period day,
     one of which shall be a lunch period.
         5. Relief from Non-Teaching Chores
         a. Teachers will be relieved of study hall service, and work on a school-wide basis
     related to the handling, distribution, storing and inventory of books, supplies and
     equipment, and duplicating of teaching materials.
         b. Teachers will be relieved of the duty of scoring Citywide standardized
     achievement tests and of preparing absentee post cards and truant slips.
         c. Teachers in the high schools will be relieved of the duty of preparing transcripts
     for college applicants.
         d. Teachers who are relieved of administrative assignments shall not be assigned to
     teaching duties in lieu of such administrative assignments.
         e. Special education teachers shall not be programmed to help children with
     disabilities on and off buses except as permitted in Article 7A6 below. However, this
     shall not prevent their assignment for that purpose in cases of emergency.
         f. Teachers in vocational, comprehensive and academic high schools shall not be
     required to do any other than minor maintenance and repair work on equipment.
         6. Professional Activity Options
         a.       Teachers at all levels must select a professional or administrative activity in
     accordance with this section and the provisions of Article 7U (Professional Activity
     Assignment Procedures). Except as described in paragraph (d) below, this provision shall
     not create an additional teaching period, as that term is defined in the Collective
     Bargaining Agreement.
         The menu of activities to be offered to each teacher shall be from among the
     following:
             (1) Small group instruction (not to exceed 10 students)
             (2) One to one tutoring
             (3) Advise student activities such as clubs, teams or publications
             (4) Perform student assessment activities (including portfolios, performance tests,
                 IEPs, ECLAS, etc.)
             (5) Professional development/prepare staff developmentworkshops and
                 demonstration lessons



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               (6) Common planning time
               (7) Conflict resolution for students
               (8) Cafeteria duty
               (9) Schoolyard duty
               (10) Hallway duty
               (11) AMbusduty
               (12) PM busduty
               (13) Homeroom
               (14) Provide inter-disciplinary articulation
               (15) Develop multi-cultural curriculum
               (16) Develop programs to integrate technology into the daily life of the
                   classroom
         Teachers performing homeroom fulfill the requirement of the professional period.
     Teachers selecting AM or PM bus duty will use their professional activity period as a
     preparation period.
         Any teacher who wishes to participate in a professional activity not listed on the
     above menu may, upon approval of the principal, select such an activity.
         b. If the UFT chapter and the principal deem it necessary, then an organizational
     period will be permitted but limited to a few days at the beginning and end of the school
     term/year, as well as rare occasional meetings during the school term/year, in lieu of
     homeroom.
         c. Such compensatory time positions as dean, programmer and grade advisor may be
     recreated. All contractual provisions dealing with compensatory time shall remain in
     place.
         d. Provided that these periods are used to supplement, not supplant the current
     school program, and subject to the specific provisions regarding it, secondary teachers
     may use this time for a sixth teaching period compensated in accordance with Article 70
     of the Agreement (Shortage License Areas). The chapter’s concurrence to ensure that
     this is truly supplemental is necessary.
         e. To strengthen school tone and to ensure student safety and discipline, the Union
     and Board agree that the following compensatory time positions may be established:
         (1) In each school the principal shall have the discretion to establish and fill one
     compensatory time position of lunchroom coordinator to supervise school aides in each
     lunchroom for each lunch period;
         (2) At the secondary level, principals shall have the discretion to establish and fill the
     compensatory time position of dean, the number of which shall be based upon student
     enrollment, i.e., up to 1,000 students, one dean; over 1,000 students, two deans; and
         (3) In high schools, principals shall have the discretion to establish and fill one
     compensatory time position of programmer.
         The above compensatory time positions shall be established and filled without
     following the procedural requirements that are applicable to other compensatory time
     positions, such as consultation, approval or voting. Contractual provisions regarding
     notification and selection of applicants for compensatory time positions shall be
     followed. This provision shall not result in any teacher being required to work beyond
     the maximum number of teaching periods provided for in this Agreement. No teacher
     shall be involuntarily assigned to any of the above compensatory time positions.



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     Resources available to the school shall be maintained at the same level which would be
     required if the proposal were not in effect.
         7. Alternative High School Programs
         a. Site Retention Rights
         Teachers serving in alternative high school programs shall have retention rights at
     their sites subject to the following:
         (1) If staffing needs within an alternative high school program (“Program”) requires
     contracting the staff at one site and expanding staff at another site, the Board will first
     seek volunteers who wish to transfer from the contracting site to the expanding site. The
     senior qualified volunteer, based on excessing seniority, shall be selected. If no qualified
     volunteer exists, the Board will transfer the junior teacher, based on excessing seniority,
     who qualifies for the position. The teacher so transferred is entitled to return to his/her
     former site at the next reorganization in accordance with his/her excessing seniority.
         (2) If demonstrated needs require the Board to transfer a teacher to another site, the
     Board will inform the teacher of the reason for the transfer. The teacher may grieve to
     determine whether the transfer was based onjustifiable reasons.
         (3) The Board will place the teacher reassigned pursuant to (1) or (2) above in an
     appropriate vacancy within the same Program in the same borough. If it is necessary to
     reassign the teacher outside the same Program in the same borough, the preferences of
     the teacher shall be taken into consideration.
         (4) This provision does not apply to the Outreach Program.
         b. SiteVacancies
         For alternative high school programs, except the Outreach Program no later than sixty
     (60) days before the end of the term, a list of potential vacancies for the following term
     will be posted at the administrative office of each program, including vacancies
     anticipated through sabbatical leave, retirements and the opening of new sites. Regularly
     appointed teachers may file preference requests for reassignments to such sites with the
     principal and will be considered for such reassignments.
         c. District 79 Reorganization
         The Memorandum of Agreement controlling the rights of employees regarding the
     2007 reorganization ofDistrict 79 is contained in Appendix I.
         8. Teachers of Library
         a. Teachers of library shall not be given any administrative assignments.
         b. Per diem substitutes employed for library teaching shall be assigned to the library.
         c. Teachers oflibrary will not be required to serve in more than one school.
         9. School Program
         The school program will be posted in September in an area accessible to the entire
     faculty.
     B. Intermediate and Junior High Schools
         1. Program Preference
         By May 1, teachers should be given an opportunity to fill out program preference
     sheets. Preferences referred to in sub-paragraph a through g below will be honored to the
     extent consistent with the provisions of this Agreement relating to rotation, seniority and
     programming.
         No later than 10 school days prior to the end of the school year, teachers should be
     notified of the following:



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         a. Subjects to be taught;
         b. Grades of the subjects to be taught;
         c. Any special or unusual classes to be taught;
         d. The grade level and special nature, if any, of the official class;
         e. The session to which a teacher will be assigned if the school operates on more
     than one session;
         f. The particular special education program designation (e.g. staffing ratio,
     collaborative team teaching, SETSS, etc.);
         g. The age group of special education classes;
         h. The professional activity assigned pursuant to Article 7B8 (Professional Activity
     Options) and Article 7U (Professional Activity Assignment Procedures).
         Teacher programs for the following year should be given out no later than five school
     days before the end of the school year.
         It is understood that all information detailed above is to be considered subject to
     change if necessary because of changes in subject enrollments, staff changes, and
     programming exigencies.
         2. Program Guidelines
         Wherever administratively possible, teacher programs should follow these guidelines:
         a. Teachers should have at least one unassigned period each day.
         b. There should be no more than three consecutive teaching assignments, except for
     teachers of subjects normally programmed for double periods.
         c. There should be no more than four consecutive working assignments (including
     professional activities).
         d. The number of different rooms in which assignments occur should be held to the
     absolute minimum administratively possible.
         e. The number of lesson preparations should be kept at the minimum consistent with
     the nature of the subject, the size of the department, the special offerings of the
     department, and special requests of teachers. Classes for gifted, bright, average and
     difficult pupils should be considered as separate preparations. Within a department,
     teachers with a full teaching program should be given preference in the assignment of the
     number of preparations.
         f. Only one class per period should be programmed for the library.
         3. Rotation
         a. In the matters of types of gifted, bright, average and difficult subject classes, the
     policy of rotation of qualified persons should be followed insofar as possible. It is
     understood, however, that requests by teachers of industrial arts/technology education
     and home economics/home and career skills to retain their shop subjects and rooms
     should be honored when not inconsistent with the needs of the school. The following
     procedures will apply to shop openings: (1) Teachers of industrial arts/technology
     education and home economics/home and career skills shall be given an opportunity to
     apply for a particular shop which becomes vacant. (2) The teacher with the highest
     seniority in the school from among those who apply shall be given preference if not
     inconsistent with the needs of the school.
         b. In the matter of sessions the policy of rotation should be followed except for
     unusual circumstances.




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          c.      Each spring the principal and UFT chapter committee shall meet to review the
     compensatory time positions in the school with the goal of agreeing upon the number of,
     responsibilities, qualifications, basis for selection and term for compensatory time
     positions in their school. If no agreement is reached at the school level, the UFT district
     representative and superintendent shall assist the principal and chapter committee in their
     goal of reaching such an agreement.
          When agreement is reached and ratified by the chapter, the principal shall establish
     and fill the positions in accordance with the agreement. Only the chapter, not
     individuals, shall have the right to grieve an alleged violation or misapplication of the
     ratified agreement.
          If no agreement is reached and ratified, the selection process shall be governed by the
     following:
          (1) A list of vacancies for all such non-teaching assignments shall be made available
     to all teachers in the school in sufficient time to permit written application for such
     assignments.
          (2) Except for compensatory time positions filled as set forth in paragraph (3) or (4)
     below, seniority in the school shall be the basis for selection among applicants.
          (3) Those compensatory time positions which require job-related qualifications shall
     be filled on the basis of seniority in the school from among applicants who meet the
     postedjob-related qualifications.
          (4) The position of programmer shall be filled from among applicants who meet the
     job-related qualifications for that position, promulgated by the Board after consultation
     with the Union.
          (5) The term of years for the duration of each non-teaching assignment shall not
     exceed six years.
          (6) A teacher who has not had a non-teaching assignment for which there is a list of
     applicants shall have priority over any other teacher who had such assignment, except
     that the programmer position in the school is exempt from all contractual rotation
     requirements. In the case of applicants for positions covered by paragraphs (3) and (4)
     thejob-related qualifications must be met by the applicant.
          (7) The term of a non-teaching assignment which is made to fill a vacancy occurring
     before the end of the school year will be considered as beginning as of the first day of the
     next school year.
          (8) A teacher may relinquish any non-teaching assignment after a minimum period of
     one year.
          (9) A seniority list of the faculty shall be made available for inspection by teachers
     who wish to make application for a non-teaching assignment.
          (10) An applicant for an assignment who does not receive the desired assignment
     shall, upon request, be given the reasons for not having been selected.
          4. Teacher Programs
          a. A basic maximum of 25 teaching periods, five preparation periods, and five
     professional activity periods for teachers shall be established before any other type of
     program for administrative purposes in which teachers teach less than 25 periods is
     arranged.
          b. In Title I intermediate and junior high schools, the program of 22 teaching
     periods, eight preparation periods and five professional activity periods will continue as



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     follows: The number of these programs will be fixed in each particular school at a
     percentage equal to the number of currently contractually eligible teachers or the number
     ofhomerooms that existed during the 1996-97 school year, whichever is less compared to
     the total number of teacher programs. Until such time that there are no longer teachers
     serving in the school who are eligible for this program and the program ends, a rotation
     policy shall be in effect for those who are contractually eligible.
         In non-Title I schools the same proportion of teaching and preparation time to total
     scheduled teaching time as presently exists in that school will continue, with a rotation
     policy established.
         In accordance with the LOBA determination and award in Case No. IA-1-85, all Title
     I junior high school teachers in the following categories shall have no more than five
     preparation periods a week:
         (1) Full-time per annum teachers hired on or after July 1, 1985.
         (2) Teachers assigned to a school which after the 1985-86 school year loses its Title I
     designation, notwithstanding possible re-designation at a later date.
         (3) Teachers assigned to a school which was not designated Title I for the 1985-86
     school year and is subsequently designated as a Title I school.
         (4) Teachers who on or after September 1, 1985 transfer from one school to another,
     except for those teachers transferring from one Title I school to another Title I school.
         c. Teachers in Title I intermediate and junior high schools shall have a maximum
     teaching load of 25 periods per week. Teachers in non-Title I intermediate and junior
     high schools shall have a maximum teaching load of 26 periods per week.
         d. Teachers assigned to music and health education classes as additional teachers
     will be programmed for a regular teaching period.
         e. “Teaching periods” are those periods in which the teacher is actively involved
     with the pupil in the act of teaching, either as an individual or as a member of a teaching
     team, and has participated in the planning of the instruction to be conducted.
         f. “Homeroom classes” are those in which children assemble for administrative
     purposes. The time involved is usually a short period and is known as the “homeroom
     period”.
         g. “Preparation periods” are those periods during which the teacher is not assigned
     to a regularly programmed responsibility. Teachers are expected to utilize their
     professional preparation time in such manner as to enable them to further their
     professional work for the purpose of their greater classroom effectiveness.
         5. Programs of Teachers of Home Economics/Home and Career Skills and
             Industrial Arts/Technology Education
         a.      Home economics/home and career skills and industrial arts/technology education
     teachers in Title I schools shall teach an average of 23 teaching periods, seven
     preparation and five professional activity periods. Such teachers will continue to have
     their classes programmed for double periods whenever practicable.
         In accordance with the LOBA determination and award in Case No. IA-1-85, such
     teachers in the following categories shall teach an average of 25 teaching periods, five
     preparation and five professional activity periods a week:
         (1) Full-time per annum teachers hired on or after July 1, 1985.
         (2) Teachers assigned to a school which after the 1985-86 school year loses its Title I
     designation, notwithstanding possible re-designation at a later date.



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         (3) Teachers assigned to a school which was not designated Title I for the 1985-86
     school year and is subsequently designated as a Title I school.
         (4) Teachers who on or after September 1, 1985 transfer from one school to another,
     except for those teachers transferring from one Title I school to another Title I school.
         b. Home economics/home and career skills and industrial arts/technology education
     teachers in regular junior high schools shall have 26 teaching periods, four professional
     activity periods, and five preparation periods per week during the school year. Such
     teachers will continue to have their classes programmed for double periods wherever
     practicable.
         c. Wherever practicable, the following policies should be adopted in the
     intermediate andjunior high schools:
         (1) Industrial arts/technology education teachers should teach only in their licensed
     area.
         (2) Industrial arts/technology education teachers should not be assigned to
     professional activity periods when other shops are in operation.
         (3) All shops should be in operation at the same time.
         (4) Maximum opportunity for exploration should be accorded all shop pupils.
         (5) All shops should be programmed by grade levels and homogeneously.
         6. Duty-Free Lunch Period
         Teachers will be given a full duty-free period for lunch.
         7. Relief from Non-Teaching Chores
         a. Teachers will be relieved of study hall service, and work on a school-wide basis
     related to the handling, distribution, storing, and inventorying of books, supplies and
     equipment, and duplicating of teaching materials.
         b. Teachers will be relieved of the duty of scoring Citywide standardized
     achievement tests and of preparing absentee post cards and truant slips.
         c. Teachers who are relieved of administrative assignments shall not be assigned to
     teaching duties in lieu of such administrative assignments.
         d. Special education teachers shall not be programmed to help children with
     disabilities on and off buses except as permitted in Article 7B8. However, this shall not
     prevent their assignment for that purpose in cases of emergency.
         8. Professional Activity Options
         a.       Teachers at all levels must select a professional or administrative activity in
     accordance with this section and the provisions of Article 7U (Professional Activity
     Assignment Procedures). Except as described in paragraph d below, this provision shall
     not create an additional teaching period, as that term is defined in the Collective
     Bargaining Agreement.
         The menu of activities to be offered to each teacher shall be from among the
     following:
         (1) Small group instruction (not to exceed 10 students)
         (2) One to one tutoring
         (3) Advise student activities such as clubs, teams or publications
         (4) Perform student assessment activities (including portfolios, performance tests,
             IEPs, ECLAS, etc.)
         (5) Professional development/prepare staff development workshops and
             demonstration lessons



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         (6) Common planning time
         (7) Conflict resolution for students
         (8) Cafeteria duty
         (9) Schoolyard duty
         (10) Hallway duty
         (11) AMbusduty
         (12) PM bus duty
         (13) Homeroom
         (14) Provide inter-disciplinary articulation
         (15) Develop multi-cultural curriculum
         (16) Develop programs to integrate technology into the daily life of the classroom
         Teachers performing homeroom fulfill the requirement of the professional period.
     Teachers selecting AM or PM bus duty will use their professional activity period as a
     preparation period.
         Any teacher who wishes to participate in a professional activity not listed on the
     above menu may, upon approval of the principal, select such an activity.
         b. If the UFT chapter and the principal deem it necessary, then an organizational
     period will be permitted but limited to a few days at the beginning and end of the school
     term/year, as well as rare occasional meetings during the school term/year, in lieu of
     homeroom, or in junior high and intermediate schools, such homerooms, if deemed
     necessary, may be regularly programmed.
         c. Such compensatory time positions as dean, programmer and grade advisor may be
     recreated. All contractual provisions dealing with compensatory time shall remain in
     place.
         d. Provided that these periods are used to supplement, not supplant the current
     school program, and subject to the specific provisions regarding it, secondary teachers
     may use this time for a sixth teaching period compensated in accordance with Article 70
     of the Agreement (Shortage License Areas). The chapter’s concurrence to ensure that
     this is truly supplemental is necessary.
         e. To strengthen school tone and to ensure student safety and discipline, the Union
     and Board agree that the following compensatory time positions may be established:
         (1) In each school the principal shall have the discretion to establish and fill one
     compensatory time position of lunchroom coordinator to supervise school aides in each
     lunchroom for each lunch period.
         (2) At the secondary level, principals shall have the discretion to establish and fill the
     compensatory time position of dean, the number of which shall be based upon student
     enrollment, i.e., up to 1,000 students, one dean; over 1,000 students, two deans.
         The above compensatory time positions shall be established and filled without
     following the procedural requirements that are applicable to other compensatory time
     positions, such as consultation, approval or voting. Contractual provisions regarding
     notification and selection of applicants for compensatory time positions shall be
     followed. This provision shall not result in any teacher being required to work beyond
     the maximum number of teaching periods provided for in this Agreement. No teacher
     shall be involuntarily assigned to any of the above compensatory time positions.
     Resources available to the school shall be maintained at the same level which would be
     required if the position(s) were not in effect.



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          9. Teachers of Library
          a. Teachers of library shall not be given any administrative assignments.
          b. Per diem substitutes employed for library teaching shall be assigned to the library.
          10. School Program
          The school program will be posted in September in an area accessible to the entire
     faculty.
     C. Elementary Schools
          1. Teacher Assignments
          a. Early in the spring, time should be devoted at a faculty conference to a discussion
     of the procedures to be used in making assignments for the coming year. Plans, goals and
     personnel needs for special programs should also be discussed.
          b. At that time, teachers should be given an opportunity to fill out “preference
     sheets” indicating three preferences in order of priority of grade level and type of class on
     that level or, in the case of special education teachers, the age range of special education
     classes and education program designation (e.g. staffing ratio, collaborative team
     teaching, SETSS, etc.) with the understanding that, where advisable and possible, such
     preferences will be honored. Teachers should be given an opportunity to discuss their
     assignment requests with their principal.
          c. Teachers in schools with eight period days shall indicate their professional
     activity preferences pursuant to Article 7C4g (Professional Activity Options) and Article
     7U (Professional Activity Assignment Procedures).
          d. With regard to requests as to grade level or special assignment (such as IGC), or,
     in the case of special education teachers, requests as to age range of special education
     classes, teachers with the highest seniority in the school should be given preference if
     qualifications for the position are the same.
          e. Grievances hereunder may be lodged if:
          (1) In any year an elementary school teacher fails to be granted one of his/her stated
     program preferences; or
          (2) For two years in succession the elementary school teacher has been denied his/her
     first priority of program preference.
          Any assignment that is grievable shall be reviewed in accordance with the standards
     applicable to Articles 7Clb and c.
          f. Vacancies in special teaching assignments occurring at any time during the year
     which will extend through the year shall be filled in the same way as vacancies occurring
     at the beginning of the year, except that this provision shall not apply to vacancies
     occurring one month before the end of the school year.
          g. The Board will prepare and make available in every school, in time for teachers to
     apply for assignments, an official circular setting forth the uniform system-wide
     qualifications required for assignment as a teacher of an IGC class.
          h. In order to make certain that teachers are not frozen into positions which are
     relatively easy or difficult, the following procedures should be adopted in making class
     assignments (other than special assignments, such as IGC) on a particular grade level:
          (1)      On each grade level, classes should be divided into two categories, difficult and
     less difficult, in terms of reading achievement. In general, a teacher who has been
     assigned to a class in the one category for a period of one year should be assigned to the




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     other category for the next year. Teachers who have served in a school for one year or
     longer should receive assignments for the next school year before June 15.
          (2) In the case of IGC classes the policy of rotation every three years of qualified
     teachers should be followed.
          (3) The policy of rotation within the grade should be followed in the assignment of
     teachers to portable classrooms, annexes, and other out-of-building facilities except for
     unusual circumstances.
          1. A continuous record of teacher assignments should be kept at the school and be
     made available to chapter leaders.
          2. Assignment as OTP
          Each spring the principal and UFT chapter committee shall meet to review the types
     and numbers of OTP positions in the school with the goal of agreeing upon the
     responsibilities, qualifications, basis for selection and term. If no agreement is reached at
     the school level, the UFT district representatives and the superintendent shall assist the
     principal and chapter committee in their goal of reaching such an agreement.
          When agreement is reached and ratified by the chapter, the principal shall establish
     and fill the positions in accordance with the agreement. Only the chapter, not
     individuals, shall have the right to grieve an alleged violation or misapplication of the
     ratified agreement.
          If no agreement is reached and ratified, the selection process shall be governed by the
     following:
          a. Each year a list of vacancies and the job-related qualifications required for OTP
     assignments shall be made available to all teachers in the school in sufficient time to
     permit written application for such assignments.
          b. The selection of OTPs will be made from among qualified applicants within the
     school. Where applicants within the school are equally qualified, the selection will be
     made on the basis of seniority in the school.
          c. Where no applicants within a school are qualified, the selection will be made from
     among qualified applicants outside the school. Where applicants from outside the school
     are equally qualified, the selection will be made on the basis of the number of years of
     teaching service on regular appointment in the school system.
          3. New Positions
          In selecting teachers for new positions created at or before the beginning of the school
     year, preference shall be given to members of the staff before applicants outside the
     school are considered for such positions.
          4. Teacher Programs
          a. Duty-Free Lunch Period
          Every elementary school teacher is to have a duty-free lunch period of50 minutes.
          b. Preparation Periods
          (1) All teachers in elementary schools will have five preparation periods per week.
          (2) The term “teachers” as used above shall also include teachers of special education
     classes.
          (3) Reading Teachers and Teachers of English as a Second Language shall have the
     same number of preparation periods as all other teachers in the school.
          (4) Preparation periods shall be used for unassigned professional work. Teachers are
     expected to utilize their professional preparation time in such manner as to enable them to



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     further their professional work for the purpose of their greater classroom effectiveness.
     Preparation periods shall be used for professional, job-related work which may include
     but is not limited to preparation for classes, preparation of teaching material, presentation
     of or attendance at demonstration lessons, participation in teacher training, and
     conferences with the principal, with other teachers, with guidance counselors or with
     parents.
          c. Relief from Non-Teaching Chores
          (1) Teachers will be relieved of the following chores: work on a school-wide basis
     related to the handling, distribution, storing, and inventorying of books, supplies and
     equipment, including audiovisual equipment, the duplicating of teaching materials, the
     collection of money for purposes such as milk and lunch and for school banking, and
     assisting in the accessioning oflibrary books.
          (2) Teachers will be relieved of the duty of scoring Citywide standardized
     achievement tests and of preparing absentee post cards and truant slips.
          (3) Special education teachers shall not be programmed to help children with
     disabilities on and off buses except as permitted in Article 7C4g. However, this shall not
     prevent their assignment for that purpose in cases of emergency.
          d. Cluster Teacher Program
          (1) The term “cluster teacher” refers to teaching personnel in the elementary schools
     who are specially assigned to the teaching of classes in music, art, science, health
     education, other subjects or the fundamental skills and who are not assigned to a
     homeroom class.
          (2) The cluster teacher’s program shall include twenty 45-minute teaching periods per
     week.
          (3) Where a music teacher participates for a major portion of the period in a teaching
     capacity during assemblies, the assembly period shall be deemed a teaching period.
          (4) The cluster teacher shall have the same number of preparation periods and
     professional activity periods per week as all other teachers in the school.
          (5) The other periods in the cluster teacher’s program shall be devoted to professional
     activities to be assigned by the principal.
          e. Teacher of Library Program
          (1) The program of the teacher of library shall include twenty 45-minute teaching
     periods per week.
          (2) The teacher of library shall have the same number of preparation periods and
     professional activity periods per week as all other teachers in the school.
          (3) The other periods in the program of the teacher of library shall be devoted to
     professional activities related to the library program.
          f. Teachers Serving in Special Education Programs
          In elementary schools, within the workday set forth in Article 6A of this Agreement,
     all time in the special education teacher’s program not programmed for teaching periods,
     preparation periods, professional activity periods, and duty-free lunch periods shall be
     devoted to appropriate professional activities to be assigned by the principal.
          g. Professional Activity Options
          (1)      Teachers in eight period per day schools must select a professional or
     administrative activity in accordance with the provisions of this section and Article 7U
     (Professional Activity Assignment Procedures). This provision shall not create an



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     additional teaching period, as that term is defined in the Collective Bargaining
     Agreement.
          The menu of activities to be offered to each teacher shall be from among the
     following:
          (a) Small group instruction (not to exceed 10 students)
          (b) One to one tutoring
          (c) Advise student activities such as clubs, teams or publications
          (d) Perform student assessment activities (including portfolios, performance tests,
              IEPs, ECLAS, etc.)
          (e) Professional development/prepare staff development workshops and
              demonstration lessons
          (f) Common planning time
          (g) Conflict resolution for students
          (h) Cafeteria duty
          (i) Schoolyard duty
          (j) Hallway duty
          (k) AM bus duty
          (l) PM bus duty
          (m) Homeroom
          (n) Provide inter-disciplinary articulation
          (o) Develop multi-cultural curriculum
          (p) Develop programs to integrate technology into the daily life of the classroom
          Teachers performing homeroom fulfill the requirement of the professional period.
     Teachers selecting AM or PM bus duty will use their professional activity period as a
     preparation period.
          Any teacher who wishes to participate in a professional activity not listed on the
     above menu may, upon approval of the principal, select such an activity.
          (2) Such compensatory time positions as dean, programmer and grade advisor may be
     recreated.
          (3) To strengthen school tone and to ensure student safety and discipline, the Union
     and Board agree that in each school the principal shall have the discretion to establish and
     fill one compensatory time position of lunchroom coordinator to supervise school aides in
     each lunchroom for each lunch period;
          The above compensatory time position shall be established and filled without
     following the procedural requirements that are applicable to other compensatory time
     positions, such as consultation, approval or voting. Contractual provisions regarding
     notification and selection of applicants for compensatory time positions shall be
     followed. This provision shall not result in any teacher being required to work beyond
     the maximum number of teaching periods provided for in this Agreement. No teacher
     shall be involuntarily assigned to any of the above compensatory time positions.
     Resources available to the school shall be maintained at the same level which would be
     required if the proposal were not in effect.
     D. K-8 Schools
          K-6 teachers in K-8 schools shall have the same teaching schedule as that of
     elementary school teachers in the K-6 schools.




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         Seventh and eighth grade teachers in K-8 schools shall have the same program as
     teachers in thejuniorhigh schools.
     E. Programs which Serve Students from More than One School
         Selection for teaching assignments in programs which serve students from more than
     one school shall be made from among qualified applicants after posting the job
     description and qualifications for the position. Such posting shall be in each school in the
     district for programs serving students in the district. If the program serves students from
     more than one district, the posting shall be in all schools in the system. Upon completing
     service in the program, the teacher shall be returned to his/her school and shall take
     his/her place on the seniority lists.
     F. Special Education Positions and Assignments
         1. Resource Room and SETSS Positions
         a. Vacancies in Resource Room and SETSS positions in high schools, junior high
     schools, intermediate schools and elementary schools will be advertised within the
     school. If there are no qualified regularly appointed applicants, the position will be
     advertised in the high school superintendency or community school district. If no
     regularly appointed qualified teachers apply for the position, it will be offered to a
     qualified substitute in the school who applies before filling the position with a qualified
     substitute from outside the school.
         b. A resource room teacher or SETSS teacher who returns from a leave of absence
     within one year of commencing the leave will be placed in a resource room or SETSS
     position in the school in accordance with his/her seniority as determined pursuant to Rule
     3-D ofArticle 17B.
         c. If and when a resource room position is eliminated, the incumbent resource room
     teacher will be given the opportunity to become a SETSS teacher. If the resource room
     teacher opts for a SETSS position, that teacher will be placed in seniority order with all
     other SETSS teachers in the school.
         If no SETSS vacancy exists in the school, that teacher will be given the opportunity to
     be placed in a SETSS vacancy in the district/superintendency. If the teacher chooses not
     to accept a SETSS vacancy in the school or district/superintendency or if no vacancy
     exists, the teacher will be placed in a position in license in the school in accordance with
     the teacher’s seniority.
         SETSS vacancies not filled in the manner above are to be posted in accordance with
     Article 7Fla.
         2. IEP/Special Education Teachers
         a. IEP/special education teachers shall be programmed for a specific number of
     periods (minimum of 5 per week) for (i) preparing for and attending the IEP meetings of
     children initially referred to special education, and (ii) coverage of other special
     education teachers’ classes so that they may attend the IEP meetings for their students for
     requested reevaluations and triennial evaluations. The number of periods per week for
     the tasks described in (i) and (ii) shall be based upon a workload allocation created by the
     Department, prior to the beginning of each school year. The Board will consult with the
     Union by May 15 of any school year if it plans to change the workload allocation or the
     number of schools for the following school year.
         b. In the event that the activities described in 2(a)(i) and (ii), above, are not
     sufficient, in a given week, to fill the periods programmed for such activities, the



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     principal may assign the teacher to one or more of the tasks described in paragraph
     2(c)(i)-(v), below.
         c. The balance of the teacher’s schedule not programmed for the tasks described in
     2(a)(i) and (ii), above, will be programmed, in the discretion of the principal, for (i)
     instruction of students with disabilities (e.g., SETSS, Collaborative Team Teaching or
     part-time special education classes), (ii) individual and group instruction for identified
     special education or identified general education students at risk of academic failure; (iii)
     participating in Pupil Personnel Team/Instructional Support Committee meetings; (iv)
     providing interventions recommended by the Pupil Personnel Team/Instructional Support
     Committee; and (v) administration of curriculum-based assessments for “at-risk” general
     education students. The teacher filling this assignment will not be used as a substitute or
     be part of the regular coverage pool unless s/he volunteers for such duty. In the event
     that an uncovered class exists, the teacher filling this position will only be assigned to the
     class if those teachers in the regular coverage pool (teachers on preparation period or
     professional period) have been assigned for that period.
         d. Teachers filling this assignment will have scheduled prep, lunch and professional
     activity periods as provided in this Agreement.
         e. The assignment described in subparagraphs (a)-(d) above will be assigned in the
     same manner as other regular teaching assignments pursuant to existing contractual rules.
     Special education teachers will have the opportunity to declare a preference for this
     assignment.
         f. Notwithstanding (e) above, special education teachers who served as education
     evaluators during the 2002-2003 school year (or were on leave or sabbatical during that
     year) will have a preference for this assignment in each year that it exists, in whatever
     form that it exists, as more fully set forth in the Memorandum of Agreement between the
     parties dated October 28, 2003, which is incorporated herein by reference. In the event
     such education evaluator does not exercise such right, or exercises such right but later
     gives up this assignment, s/he will have the same rights as any other special education
     teacher to apply for the assignment
         3. Other Special Education Assignments
         Except as otherwise provided in this Agreement, selection for special teaching
     assignments, including but not limited to Special Education Teacher Support Services
     vacancies, collaborative team teaching and part-time special classes or combinations
     thereof, and for non-teaching assignments in special education programs shall be made
     from among qualified applicants after posting the job description and qualifications for
     the position. Collaborative team teaching positions shall be posted for both the general
     education teachers and the special education teachers. Such posting shall be in such
     places as will provide a fair opportunity for qualified teachers to apply for the
     assignments.
         4. Teachers Serving in the School for the Deaf
         The weekly programs of teachers in the School for the Deaf shall consist of the
     following, as may be applicable:
         (a)      Teachers of pre-kindergarten and elementary levels in the School for the Deaf will
     have five preparation periods per week.




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          (b) Teachers of the junior high school level in the School for the Deaf will have a
     weekly program of 25 teaching periods, five preparation periods and five professional
     activity periods.
          (c) Teachers in the School for the Deaf will be entitled to a duty-free lunch period of
     50 minutes.
          (d) In the event of a reduction in staff in junior high school classes in schools for the
     deaf, teachers serving out of license shall be the first to be reassigned to elementary
     school classes. Teachers out of license with the least seniority in the school shall be the
     first to be so reassigned.
     G. Non-Public Schools Program Teachers
          In June, teachers serving in the Non-Public Schools Program shall be informed of the
     new or vacant full positions in the Program and the qualifications therefor, and their
     timely application for assignment to such positions shall be considered and granted on the
     basis of their seniority in the Program, provided they meet the qualifications.
     H. SplitAssignments
          Upon request, a teacher serving in a split assignment shall be reassigned in
     accordance with his/her layoff seniority to a full position in the district or
     superintendency or program before a newly hired employee. Such reassignment shall be
     effectuated at the next reorganization.
     I. Interim Acting Supervisory Positions
         Notice of vacancies for interim acting supervisory positions shall be posted in each
     school. The notice will include the requirements for the position, or, if this is not
     possible, a clear indication of the place where the requirements may be obtained.
     Applicants who meet the requirements for the position shall be entitled to be interviewed
     for the position.
     J. City Hall Academy
          1. Visiting teachers’ preparation periods will be scheduled at the end of the school
     day. Visiting teachers may, at their option, travel to and from CHA with their students on
     Board-provided buses.
          2. Resident teachers can be returned, at the end of each school year, to their prior
     schools at the option of either the employee or the Board. Mid-year transfers will not be
     permitted without the consent of the Board.
          3. The Board shall provide for substitute teacher coverage for the resident teachers
     and intends that such coverage will be provided by part-time teachers regularly staffed to
     CHA.
          4. The UFT Chapter Leader for CHA will conduct Union business during his or her
     scheduled professional activity periods.
     K. Citywide Special Education (District 75)
          1. Program Preference
          a. Junior High Schools and Intermediate Schools
          By May 1, teachers should be given an opportunity to fill out program preference
     sheets. Preferences referenced in sub-paragraphs (1) and (2) will be honored to the extent
     consistent with the provisions of this Agreement applicable to special education teachers.
         No later than ten (10) school days prior to the end of the school year, teachers should
     be notified of the following:




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         (1) The particular special education program designation (e.g. staffing ratio,
     collaborative team teaching, SETSS, etc.);
         (2) The age range of special education classes;
         (3) The professional activity assigned pursuant to Article 7K3 (Relief from Non-
     Teaching Chores and Professional Activity Options) and Article 7U (Professional
     Activity Assignment Procedures).
         Teacher programs for the following year should be given out no later than five (5)
     school days before the end of the school year.
         It is understood that all information detailed above is to be considered subject to
     change if necessary because of changes in subject enrollments, staff changes, and
     programming exigencies.
         b. Elementary Schools
         Early in the spring, time should be devoted at a faculty conference to a discussion of
     the procedures to be used in making assignments for the coming year. Plans, goals and
     personnel needs for special programs should also be discussed.
         At that time, teachers should be given an opportunity to fill out preference sheets
     indicating three preferences in order of priority of:
         (1) The age range of special education classes;
         (2) The particular special education program designation (e.g. staffing ratio,
     collaborative team teaching, SETSS, etc.);
         (3) For 8-period schools, the professional activity selected pursuant to Article 7K3d.
         With regard to requests as to age range of special education classes, teachers with the
     highest excessing seniority as calculated in Article Seventeen should be given preference
     if qualifications for the position are the same.
         Where advisable and possible preferences pursuant to (2) above will be honored and
     teachers should be given an opportunity to discuss these assignment requests with their
     principal or supervisor, as appropriate.
         Preferences pursuant to (3) above will be assigned in accordance with Article 7U
     below.
         c. Separate Special Education Settings
         Teachers in separate special education settings (except as otherwise provided) shall
     be entitled to exercise program preferences in accordance with the contractual provisions
     applicable to special education teachers in elementary, junior high school, intermediate
     school, or high school special education departments who teach pupils of the same level.
         d. HES and VES Programs
         Early in the spring, HES and VES teachers and HES and VES related service
     providers should be given an opportunity to express a preference for borough, special
     education program and level with the understanding that where advisable and possible
     such preferences will be honored.
         For HES teachers, the special education programs are currently HES itinerant/related
     service providers, SETSS and staffing ratios.
         For VES teachers, the special education programs are currently VES itinerant/related
     service providers, SETSS and staffing ratios.
         With regard to requests as to special education program HES and VES teachers and
     HES and VES related service providers with the highest excessing seniority as calculated
     in Article 17 should be given preference if qualifications for the position are the same.



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         2. Teacher Programs
         a. Teachers Serving in Schools Together with Non-Special Education Teachers
         (1) All teachers in elementary schools will have five preparation periods per week.
         (2) A basic maximum of 25 teaching periods, five preparation periods, and five
     professional activity periods for teachers shall be established before any other type of
     program for administrative purposes in which teachers teach less than 25 periods is
     arranged.
         In Title I intermediate and junior high schools the program of 22 teaching periods,
     eight (8) preparation periods, and five (5) professional activity periods will continue as
     follows: The number of these programs will be fixed in each particular school at a
     percentage equal to the number of currently contractually eligible teachers or the number
     ofhomerooms that existed during the 1996-97 school year, whichever is less compared to
     the total number of teacher programs. Until such time that there are no longer teachers
     serving in the school who are eligible for this program and the program ends, a rotation
     policy shall be in effect for those who are contractually eligible.
         In accordance with the LOBA determination and award in Case No. IA-1-85, all Title
     I junior high school teachers in the following categories shall have no more than five
     preparation periods a week:
         (a) Full-time per annum teachers hired on or after July 1, 1985.
         (b) Teachers assigned to a school which after the 1985-86 school year loses its Title I
     designation, notwithstanding possible re-designation at a later date.
         (c) Teachers assigned to a school which was not designated Title I for the 1985-86
     school year and is subsequently designated as a Title I school.
         (d) Teachers who on or after September 1, 1985 transfer from one school to another,
     except for those teachers transferring from one Title I school to another Title I school.
         Special education teachers serving in Title I intermediate or junior high schools
     together with non-special education teachers shall have a maximum teaching load of 25
     periods per week.
         Special education teachers serving in non-Title I intermediate or junior high schools
     together with non-special education teachers shall have a maximum teaching load of 26
     periods per week.
         (3) Where special education teachers work in a high school, they will have five
     preparation periods per week.
         (4) Special education teachers serving in schools together with non-special education
     teachers will have daily, a duty-free lunch period of 50 minutes in elementary schools or
     equal in length to the period of time provided for all other teachers in the school in
     intermediate, junior high and high schools. Such lunch periods shall be scheduled to
     begin no earlier than 11 a.m. and to end no later than 1:30 p.m.
         (5) Where special education teachers teach pupils ofjunior high school or high school
     level, the special education teachers’ programs shall include five professional activity
     periods per week.
         (6) In elementary schools, within the work day set forth in Article 6A of this
     Agreement, all time in the special education teachers’ programs not programmed for
     teaching periods, preparation periods, professional activity and duty-free lunch periods
     shall be devoted to appropriate professional activities to be assigned by the principal.




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         b. Teachers Not Serving in Schools Together with Non-Special Education
             Teachers
         (1) Teachers Serving in Separate Special Education Settings
         Except as otherwise provided herein, all teachers who serve in separate special
     education settings will have five preparation periods per week and a daily duty-free lunch
     period of 50 minutes.
         (2) Teachers Serving in Certain Special Education Programs (Formerly Special
     Day Schools, Day Treatment Centers, or Institutional Settings)
         (a) The following shall apply to those teachers serving severely emotionally
     handicapped students in all self-contained special education schools, buildings, annexes
     or sites (which would formerly have been designated day schools or day treatment
     centers) or in institutional or agency settings for the severely emotionally handicapped:
         (1) Their weekly program shall consist of 22 teaching periods, eight preparation
     periods and five professional activity periods.
         (2) They will have a daily duty-free lunch period equal in time to a period in the
     school.
         (3) Teachers will be relieved of routine school-wide clerical duties, of the duties of
     assisting in the distribution, collection and inventorying of textbooks and supplies, and of
     related duties not involving children in the normal program of the school. This provision
     shall apply to institutional schools, where feasible.
         (4) Such teachers who escort pupils to a public conveyance at the end of the school
     day shall not be required to return to the school building except for scheduled
     conferences.
         (5) No class shall exceed 15 pupils except as specified in Article 7M3.
         (6) The provisions of Article 7B1 shall apply except in institutional settings.
         (b) When a vacancy exists in a center cluster or school cluster, announcement of such
     vacancy shall be made. Applicants will apply to the head of the school for assignment to
     the position. The selection will be made from among qualified applicants. When
     applicants are equally qualified, the selection will be made on the basis of seniority in the
     school.
         c. Teachers of the Homebound
         The weekly programs for teachers of the homebound shall be defined as follows:
         (1) Such teachers shall work a seven-hour day and the maximum number of pupils
     assigned to teachers of the homebound shall be six, to the extent permitted by the budget.
     They shall report the Thursday and Friday before Labor Day and Brooklyn-Queens Day
     for professional development.
         (2) Teachers of the homebound shall be allowed 45 minutes for duty-free lunch daily,
     exclusive of travel time.
         (3) There shall be a policy of consultation with teachers of the homebound
     concerning their assignments and there shall be a policy of rotation of such assignments.
         d. Resource Teachers or Itinerant Teachers
         (1) Resource teachers and itinerant teachers will have preparation periods in the same
     number as for all other teachers in the setting where they serve the majority of their time.
         (2) Resource teachers and itinerant teachers will be given daily, a duty-free lunch
     period of 50 minutes, or of such time as is equal to a period in the setting where they




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     work, to be determined by the lunch period in the setting where the teacher serves on the
     particular day.
         3. Relief from Non-Teaching Chores and Professional Activity Options
         a. The same relief from non-teaching chores provided in this Agreement for other
     teachers will be applicable to all special education teachers who teach pupils of the same
     level.
         b. Special education teachers shall not be programmed to help children with
     disabilities on and off buses except as permitted by subparagraph d below. However, this
     shall not prevent their assignment for that purpose in cases of emergency.
         c. Special education teachers shall have the same number of professional activity
     periods during the year as all other teachers who work on the same level in the school or
     in the special education setting.
         d. Teachers at all levels must select a professional or administrative activity in
     accordance with the provisions of this section and Article 7U (Professional Activity
     Assignment Procedures). Except as described in subparagraph g below, this provision
     shall not create an additional teaching period, as that term is defined in the Collective
     Bargaining Agreement.
         The menu of activities to be offered to each teacher shall be from among the
     following:
         (1) Small group instruction (not to exceed 10 students)
         (2) One to one tutoring
         (3) Advise student activities such as clubs, teams or publications
         (4) Perform student assessment activities (including portfolios, performance tests,
             IEPs, ECLAS, etc.)
         (5) Professional development/prepare staff development workshops and
             demonstration lessons
         (6) Common planning time
         (7) Conflict resolution for students
         (8) Cafeteria duty
         (9) Schoolyard duty
         (10) Hallway duty
         (11) AMbusduty
         (12) PM bus duty
         (13) Homeroom
         (14) Provide inter-disciplinary articulation
         (15) Develop multi-cultural curriculum
         (16) Develop programs to integrate technology into the daily life of the classroom
         Teachers performing homeroom fulfill the requirement of the professional period.
     Teachers selecting AM or PM bus duty will use their professional activity period as a
     preparation period.
         Any teacher who wishes to participate in a professional activity not listed on the
     above menu may, upon approval of the principal, select such an activity.
         e. If the UFT chapter and the principal deem it necessary, then an organizational
     period will be permitted but limited to a few days at the beginning and end of the school
     term/year, as well as rare occasional meetings during the school term/year, in lieu of




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     homeroom, or in junior high and intermediate schools such homeroom if deemed
     necessary, may be regularly programmed.
          f. Such compensatory time positions as dean, programmer and grade advisor may be
     recreated. All contractual provisions dealing with compensatory time shall remain in
     place.
          g. Provided that these periods are used to supplement, not supplant the current
     school program, and subject to the specific provisions regarding it, secondary teachers
     may use this time for a sixth teaching period compensated in accordance with article 70
     of the Agreement (Shortage License Areas). The chapter’s concurrence to ensure that
     this is truly supplemental is necessary.
          h. To strengthen school tone and to ensure student safety and discipline, the Union
     and Board agree that the following compensatory time positions may be established:
          (1) In each school the principal shall have the discretion to establish and fill one
     compensatory time position of lunchroom coordinator to supervise school aides in each
     lunchroom for each lunch period;
          (2) At the secondary level, principals shall have the discretion to establish and fill the
     compensatory time position of dean, the number of which shall be based upon student
     enrollment, i.e., up to 1,000 students, one dean; over 1,000 students, two deans; and
          (3) In high schools, principals shall have the discretion to establish and fill one
     compensatory time position of programmer.
          The compensatory time positions listed in this subsection shall be established and
     filled without following the procedural requirements that are applicable to other
     compensatory time positions, such as consultation, approval or voting. Contractual
     provisions regarding notification and selection of applicants for compensatory time
     positions shall be followed. This provision shall not result in any teacher being required
     to work beyond the maximum number of teaching periods provided for in this
     Agreement. No teacher shall be involuntarily assigned to any of the above compensatory
     time positions. Resources available to the school shall be maintained at the same level
     which would be required if the proposal were not in effect.
          4. Assignments
          a. Except as otherwise provided in this Agreement, selection for special teaching
     assignments and for non-teaching assignments in special education programs shall be
     made from among qualified applicants after posting thejob description and qualifications
     for the position. Such posting shall be in such places as will provide a fair opportunity
     for qualified teachers to apply for the assignments.
          b. Teachers of the visually handicapped shall be informed of vacancies arising in the
     itinerant teaching program, and vacancies shall be filled by qualified applicants within
     the license. Where applicants are equally qualified, the selection will be made on the
     basis of seniority in the license.
          c. In the event that a class in a hospital or other institution is closed, the teacher of
     the class shall be given a choice of existing appropriate vacancies within the school.
     Should no vacancies exist, the teacher should be assigned to the class of the teacher in
     excess.
          d. In the spring, time should be devoted at a faculty conference to a discussion of the
     procedures to be used in making assignments for the ensuing year. Plans, goals and
     personnel needs for special programs should also be discussed.



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         e. Where it is the practice in a school to dismiss pupils during schoolwide or
     Citywide examinations, teachers of special education classes shall also have their classes
     dismissed when special education examinations are scheduled at the same time as school-
     wide or Citywide examinations.
         f. Where HES teachers, HES related service providers, VES teachers, VES related
     service providers or homebound teachers are reassigned out of the borough of their
     current assignment due to a contraction which occurs at a reorganization, the teacher or
     related service provider with the least excessing seniority in the license will be reassigned
     out of the borough. Where such contraction occurs at a time other than a reorganization
     the teacher with the least excessing seniority in the license will be reassigned out of the
     borough except where that would be disruptive to the educational program.
         5. Cluster Schools
         Teachers serving in a cluster school shall have retention rights at their site, subject to
     the following:
         a. If staffing needs within the cluster school require contracting the staff at one site
     and expanding staff at another site, the Board will first seek volunteers who wish to
     transfer from the contracting site to the expanding site.
         The senior qualified volunteer, based on excessing seniority, shall be selected. If no
     qualified volunteer exists, the Board will transfer the junior teacher, based on excessing
     seniority, who qualifies for the position.
         b. If demonstrated needs require the Board to temporarily transfer a teacher to
     another site during the school year, the Board will inform the teacher of the reason for the
     temporary transfer. The teacher so transferred is entitled to return to his/her former site at
     the next reorganization in accordance with his/her excessing seniority.
     L. Speech Improvement Teachers
         1. Special Assignments
         Where feasible, newly created speech improvement teaching positions will be
     announced in sufficient time to permit written applications for such positions. Such
     positions will be posted first in the community school district, District 75 program or
     high school superintendency, as appropriate. If no qualified teacher applies, the position
     will be posted on a Citywide basis. Criteria for assignment to the positions will be
     prepared. Where qualifications of applicants for a position are the same, the selection
     will be made on a basis of seniority of applicants in the Speech Improvement license.
         2. Certificate of Clinical Competence
         The Board and the Union established a task force to explore the feasibility of
     accommodating the needs of candidates for the certificate of clinical competence (CCC)
     to work with a holder of the CCC. The task force reported its findings and
     recommendations which provide the basis for the Board’s program.
         3. Selection and Retention of Assignments
         a.       A list of anticipated school sites in the district with a description of the programs
     (e.g., staffing ratio, collaborative team teaching, SETSS, etc.) anticipated to be served at
     those sites shall be made available by April 15. This should include full time equivalent
     positions (FTE) filled by contract agency personnel. By May 1, speech improvement
     teachers should be given the opportunity to fill out “preference sheets” indicating three
     preferences in order of priority for the school sites. Where advisable and possible, such
     preferences will be honored. The speech improvement teacher’s seniority should be one



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     of the factors considered in determining the assignment of the speech improvement
     teacher to a school site. Program preferences are subordinate to the exercise of retention
     rights to an assignment in a school.
         b. A CPT or appointed speech improvement teacher’s request to be retained in
     his/her school will not be unreasonably denied unless the appropriate Board of Education
     official can demonstrate there are compelling reasons for the denial.
         Where there are more than two speech improvement teachers in a school, the senior
     teacher will be given preference unless the appropriate Board of Education official can
     demonstrate there are compelling reasons for the denial. Teachers returning from
     sabbaticals or leaves of absence of less than two years will be returned to the schools
     where they were assigned in accordance with their seniority. All reasons for denial of the
     teacher of speech improvement’s preference will be done in writing.
         c. Unfilled positions, and positions filled by contract agency staff and uncertified
     teachers of speech improvement (PPTs) which are full time speech improvement teacher
     positions (whether the assignment is to a single school or more than one school) are to be
     advertised for transfer. Although the number of vacancies and the anticipated locations
     shall be posted, and the speech improvement teacher may choose specific positions, the
     transfer is to the district, not to a particular position.
     M. Class Size Limitations
         1. Pre-Kindergarten and Kindergarten
         a. The size of pre-kindergarten classes shall be determined on the basis of a
     maximum absolute cap o f l 8 pupils with a teacher and paraprofessional.
         b. The size ofkindergarten classes shall be determined on the basis of a maximum of
     25 pupils for each teacher, except as specified in 3 below.
         2. Elementary, Junior High, and High Schools
         a. No subject class in elementary school shall exceed 32 pupils, except as specified
     in 3 below.
         b. No subject class in a non-special service junior high school shall exceed 33
     pupils, except as specified in 3 below.
         c. No subject class in a Title I junior high school shall exceed 30 pupils, except as
     specified in 3 below.
         d. No homeroom or official or subject class in senior high school shall exceed 34
     pupils, except as specified in 3 below. This shall not be accomplished by an increase in
     the size of classes for the non-college bound students.
         e. No class in trade shop subjects in the high schools shall exceed 28 pupils, except
     as specified in 3 below.
         f. The size of physical education classes in the junior and senior high schools shall
     be determined on the basis of a maximum of 50 pupils for each teacher, except as
     specified in 3 below.
         g. The size of required music classes in the high schools shall be determined on the
     basis of a maximum of 50 pupils for each teacher, except as specified in 3 below.
         h. The size of ninth grade classes in any high school where more than half of the
     pupils in the ninth grade have been admitted from reorganized junior high schools shall
     not exceed the maximum provided above for thejunior high schools.
         i. Wherever administratively possible, teacher programs in high schools should
     follow these guidelines: In rooms with specific stations (e.g. typing rooms, shops and



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     laboratories) the number of pupils assigned to such rooms should not exceed the number
     of stations available. In the programming of such classes, an extra number of pupils
     equal to the anticipated attrition rate may be included.
         j.       In Title I schools in the junior high school division, classes in industrial
     arts/technology education and home economics/home and career skills should not exceed
     22 students. In regular schools in the junior high school division, classes in industrial
     arts/technology education and home economics/home and career skills should not exceed
     24 students.
          The class size limits set forth herein apply to classes conducted in shop or laboratory
     settings.
          3. Exceptions
          An acceptable reason for exceeding the maximum class size limitations listed in
     paragraphs lb through 2g above may be any of the following:
          a. There is no space available to permit scheduling of any additional class or classes
     in order to reduce class size.
          b. Conformity to the class size objective would result in placing additional classes
     on short time schedule.
          c. Conformity to the class size objective would result in the organization of half-
     classes.
          d. A class larger than the maximum is necessary or desirable in order to provide for
     specialized or experimental instruction, or for IGC instruction, or for placement of pupils
     in a subject class of which there is only one on a grade.
          In the event that it is necessary to assign a teacher to a class which exceeds the
     maximum size listed above, the principal shall stipulate the reason in writing to the
     teacher and to the Chancellor. Such statement of reasons may be available for
     examination by the Union in the Office of the Chancellor.
          4. Students with Disabilities in a General Education Class
          There shall be no more than three emotionally disturbed or autistic students, out of
     the total number of students with IEPs, whose management needs are severe and chronic
     requiring intensive constant supervision, a significant degree of individualized attention,
     intervention and intensive behavior management, in a general education class with one
     teacher.
     N. Coverage of Classes
          1. Teachers having an instructional program who are called for a full-day
     professional conference to the office of a Board official outside the school shall be
     relieved by a per diem substitute.
          2. Substitutes will be hired to allow an average of four teachers per school per year
     to visit other schools and to attend educational conferences.
          3. The Board and the Union agree that the classes of absent elementary school
     teachers should be covered by employment of per diem substitute teachers as a matter of
     first priority or by other appropriate coverage by teachers in the school if necessary. The
     practice of breaking up classes of absent elementary school teachers and assigning the
     students to other classes in the school is strongly discouraged. The Board and the Union
     willjointly monitor compliance with this provision.
          4. The unavailability of a teacher to cover a class constitutes an emergency. It is
     recognized that, in such emergency, the principal has the responsibility to assign a



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     teacher in the school to the class without regard to the program of the teacher so assigned.
     Assignment of teachers to cover classes in such emergency shall be made on a rotation
     basis to the extent possible.
         5. Before involuntarily assigning any teacher, except a teacher who has had no
     coverage during the term, to cover a class, teachers will be assigned on an equitable basis
     from among all applicants who volunteer to cover the class during their preparation
     periods or professional activity periods. Licensure shall be taken into consideration in
     making coverage assignments. Implementation of this provision shall be in accordance
     with plans developed at the school level.
         6. In secondary schools teachers who are assigned to cover classes during their
     preparation period or their professional activity period will be paid for such time at the
     rate set forth in paragraph 10 below for each such period in excess of one in any term
     during the applicable school year.
         To the extent possible, the assignment of teachers to cover subject classes during their
     preparation period or professional activity periods shall be made on a rotation basis
     among teachers in license.
         In elementary schools preparation periods shall not be taken away from classroom
     teachers except when an emergency arises. The unavailability of a teacher to cover a
     class constitutes an emergency. Teachers who lose preparation periods because of
     emergency will be paid for such time at the rate set forth in paragraph 10 below for each
     such period in excess of one in any term during the applicable school year.
         When the normal school schedule is changed for a parent-teacher conference day
     when the teacher’s pupils are not in school, a clerical half-day, a staff development
     program mandated by the community school district or central board when the teacher’s
     pupils are not in school, or a standardized testing day, a teacher who performs such duties
     during the time he/she is scheduled to have a preparation period shall lose his/her
     preparation period and no compensation shall be due him/her under this provision except
     that in elementary schools a preparation period which was lost due to administering a
     standardized test shall be rescheduled within five school days.
         7. Resource room teachers and speech improvement teachers will be treated
     equitably when involuntary assignments to emergency coverages are required to be made
     in the school.
          8. A per diem substitute who is hired to cover the class of an absent teacher will be
     assigned to teach such teacher’s class.
         9. Any teacher removed from his/her professional assignment to cover a class will
     be entitled to be paid at the applicable coverage rate.
          10. The coverage rate per period shall be:
              Effective May 19, 2008..................................................$35.29
              Effective May 1, 2013......................................................$35.64
              Effective May 1, 2014......................................................$36.00
              Effective May 1, 2015......................................................$37.09
              Effective May 1, 2016......................................................$38.38
              Effective May 1, 2017..................................................... $40.13
              Effective May 1, 2018......................................................$40.92
              Effective June 16,2018..................................................$42.15




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     O. Shortage LicenseAreas
         The Board has informed the Union of the steps it has taken and is continuing to take
     to minimize or eliminate teacher shortages in particular license areas. Notwithstanding
     these steps, the parties agree that Citywide shortages of regularly licensed teachers exist
     in particular licenses (shortage license areas). Therefore, the parties have adopted the
     following provisions in a mutual effort to address shortages of teachers in shortage
     license areas:
         1. In accordance with applicable regulations, at each reorganization the Chancellor
     may authorize a particular school, where a vacancy exists in a shortage license area
     which the Division of Human Resources has been unable to fill, to fill the position
     pursuant to these provisions.
         2. If the school is so authorized to fill the position hereunder, teachers in the school
     who are regularly licensed and appointed in the shortage license area may apply for a
     program in which they teach up to five regularly scheduled periods per week beyond the
     applicable contractual maximum teaching load in lieu of preparation time to which they
     would otherwise be entitled. For purposes of implementing these provisions, the
     “applicable contractual maximum” teaching loads shall be those specifically set forth in
     this Agreement. The applications of such teachers shall be granted in order of their
     seniority.
         3. If, at any reorganization period, no teacher regularly licensed and appointed in the
     shortage license area applies to fill a position authorized hereunder, the position may be
     offered to other teachers in the school in the following order:
         (1) Regularly appointed with certification in the license area;
         (2) Provisional with certification in the license area;
         (3) Regularly appointed with experience teaching in the license area;
         (4) Provisional with experience teaching in the license area.
         Within each category listed above, the applications of such teachers shall be granted
     in order of their seniority.
         4. At the next reorganization, the available assignments hereunder, if any, shall be
     rotated (within each category) by following the same procedure. Accordingly, it is the
     intent of the parties that coverages will be equitably distributed over successive
     reorganizations and implementation of these provisions shall not modify any of the
     provisions of Article 7N.
         5. Teachers scheduled to teach in lieu of preparation time as set forth above shall be
     paid at the rates set forth below per semester as a “special per session payment” if they
     are scheduled to teach five periods per week in lieu of preparation time:
             Effective May 19, 2008..................................................$5,660
             Effective May 1, 2013......................................................$5,717
             Effective May 1, 2014......................................................$5,774
             Effective May 1, 2015......................................................$5,948
             Effective May 1, 2016......................................................$6,156
             Effective May 1, 2017......................................................$6,436
             Effective May 1, 2018......................................................$6,562
             Effective June 16, 2018..................................................$6,759




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         Teachers who are scheduled to teach fewer than five periods per week in lieu of
     preparation time or who are scheduled to teach less than a full term shall receive a pro-
     rata “special per session payment” hereunder.
         6. These provisions shall not be implemented in any school where an excessing
     situation would be caused by their implementation.
         7. The decision of the Chancellor not to authorize implementation of these
     provisions in a shortage license area in a particular school shall be final and not subject to
     grievance. However, all other aspects of these provisions shall be subject to the
     grievance and arbitration provisions of this Agreement.
         8. Should salary credit regulations be revised in order to recruit personnel in
     shortage license areas, incumbent employees will be treated equitably.
     P. Regular Part-Time Assignments for Appointed Teachers
         1. A limited number of regularly appointed teachers (including teachers on unpaid
     leaves) may be assigned to less than full-time positions where such an assignment meets
     a particular need of the school system, including, but not limited to, filling a vacancy
     where no full-time teacher is available, alleviating a shortage area, serving in the
     Mentor/Intem Program or sharing a full-time position with another teacher on unpaid
     leave. The number of these positions in any school year will be decided jointly by the
     Board and the Union and awarded on the basis of agreed-upon criteria.
         2. Teachers in these positions will be entitled to full health and welfare benefits and
     pro rata salary (including vacation pay) and pro rata sick leave.
         3. Service performed in this program shall be considered for all seniority and salary
     credit consistent with current Board policy.
         4. The Board and the Union shall seek appropriate legislation, where necessary to
     secure pension rights.
         5. Teachers in these positions will be treated equitably in the assignment of
     preparation periods and other program requirements.
         6. The following provisions shall apply: Article One, Two, Three, Four, Five, Seven,
     Eight, Nine, Ten, Sixteen, Seventeen, Eighteen, Nineteen, Twenty, Twenty-One, Twenty-
     Two, Twenty-Three, Twenty-Four, Twenty-Five, Twenty-Six, Twenty-Seven, Twenty-
     Eight, Twenty-Nine, Thirty, Thirty-One, and Thirty-Two.
     Q. Conferences
         1. School conferences held in September and June shall be held on school time.
         2. No more than one Citywide conference on school time for the entire faculty of
     teachers of the homebound will be held during the school year.
         3. In any one borough, no more than two borough-wide conferences for teachers of
     CRMD will be held after school hours during any school year.
         4. During any school year, no more than three borough-wide conferences for
     teachers of health conservation will be held after school hours in any borough.
         5. Regular monthly conferences of teachers of speech improvement will be held on
     school time in September and June. Other regular conferences will begin at 3:00 p.m.
         6. Faculty conference agendas shall be set in consultation with the UFT chapter
     committee.




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     R. Basic Instructional Supplies
          1. Supplies and Books
          The Board and the Union agree that schools should provide appropriate and sufficient
     basic instructional supplies and books to deliver an effective educational program. Basic
     instructional supplies and books are those that must be provided for use by students
     without which classroom instruction will be impaired.
          In the event a member or members of the faculty believe that such supplies and books
     are not available to students and faculty, the chapter may request a meeting with the
     principal. Upon the request of the chapter leader, the principal shall meet with the UFT
     chapter committee to resolve the issue. If no resolution is achieved at the school level,
     the district representative and the appropriate superintendent will meet within five (5)
     school days to attempt to resolve it. If they are unable to do so, the dispute will be
     forwarded by the Union to the Chancellor for his/her prompt review and response.
          2. Curriculum
          The Board of Education (DOE) agrees to provide teachers with either a year-long or
     semester long Curriculum that is aligned with State Standards in all Core Subjects.
          Curriculum is defined as:
          a) a list of content and topics;
         b ) scope and sequence; and
          c) a list of what students are expected to know and be able to do after studying each
     topic.
          Core Subjects are defined as follows: Math (including, but not limited to, Algebra and
     Geometry), Social Studies, English Language Arts, Science (including, but not limited to,
     General Science, Biology, Earth Science, Chemistry and Physics), Foreign Languages
     and other subject areas named by the DOE and shared with the UFT. It is understood that
     the DOE’s obligation to provide curriculum shall extend to Core courses that may be
     electives.
          It is further understood by both parties that there are instances where teachers may
     want to participate in the development of curriculum. Such instances include, but are not
     limited to, the creation of new themed schools or programs within a school, or where a
     teacher or group of teachers wishes to create or help create a set of lessons around a
     particular theme or subject, where approved by the principal. Nothing in this agreement
     is intended to prohibit voluntary collaboration or work by teachers and other school staff
     on curriculum.
          However, if there is a specific request by the DOE or a school administrator for a
     teacher or teachers to write curriculum, then the teacher(s) must be given sufficient time
     during the work day to do so, in accordance with provisions of the collective bargaining
     agreement or given sufficient time after school, in accordance with the provisions of the
     collective bargaining agreement pertaining to Per Session.
          The failure to provide curriculum as defined above shall be subject to the grievance
     and arbitration procedures set forth in Article Twenty-Two of the collective bargaining
     agreement. However, such grievances shall be strictly limited to whether a curriculum, as
     defined above, was provided. The sufficiency and quality of the curriculum provided
     shall not be grievable.
     S. Additional Facilities
          1. Adequate supplies will be made available in teacher washrooms in schools.



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         2. Pay telephone facilities in schools will be made available to teachers for their
     reasonable use.
         3. In schools where continuous cafeteria service for teachers is not available, a
     vending machine for beverages shall be installed at the request of the particular school
     staff.
         4. Teaching materials and workbooks shall be made available to teachers of the
     homebound at a central stock room on an emergency basis.
          5. The Board shall issue parking display cards to identify automobiles of teachers of
     the homebound visiting homebound children. Additional provisions with respect to
     parking placards are contained in the letter agreement set forth in Appendix M.
          6. The Board will make every effort to obtain parking privileges for special
     education teachers. Additional provisions with respect to parking placards are contained
     in the letter agreement set forth in Appendix M.
     T. Teleconferencing
         The required participation of special education teachers and/or related service
     providers in EPCs and CSE reviews may be accomplished via teleconferencing at the
     discretion of the appropriate Superintendent. If the teleconference occurs during a
     teacher’s preparation period, or during an administrative period in which he or she is
     relieved, compensation will be paid at the coverage rate. If the teleconference occurs on
     other than school time, compensation at the applicable per session rate will be paid.
     U. Professional Activity Assignment Procedures
          1. The number of available positions for each professional activity and the
     qualifications and responsibilities required for each activity shall be set by the principal
     in consultation with the Chapter Leader. Each spring, but no later than April 15th, the
     principal shall meet to consult with the Chapter Leader on the number of positions for
     each menu item. Should the Union believe the number of positions for administrative
     activities set by the principal is inappropriate, or should a teacher believe a selection
     decision is in violation of the Agreement, the Union may appeal to the Chancellor. The
     Chancellor or his/her designee will consult with the Union President, or his/her designee,
     prior to issuing a decision on the appeal. The Union may appeal the decision of the
     Chancellor or his/her designee within 15 days to the NYC Office of Labor Relations,
     which will issue a final and binding decision.
         2. Teachers shall select each spring (following the timeframe for program
     preferences listed under Articles 7A, 7B, 7C, and 7K in this Agreement) in priority order,
     three (3) activities from the menu they want to participate in for the following school
     year. The principal shall make assignments based on qualifications and availability of
     positions. If more teachers seek particular activities than positions are available, the
     principal shall select the most qualified teacher(s); and if the candidates are equally
     qualified the candidate with the most school seniority will be selected. To the extent
     possible each teacher shall receive one of the three (3) activities for the following school
     year. If this is not possible, the teacher will be given the opportunity to select three (3)
     additional choices, one of which will be granted, subject to qualifications, and unless
     sufficient teachers do not choose a particular activity. If sufficient teachers do not choose
     a particular activity with any of their six (6) choices, the Principal will assign teachers to
     these activities on a rotational basis in inverse seniority order with no teacher being
     involuntarily assigned to an administrative activity for consecutive years.



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          3. Teachers new to the school system and those teachers in danger of receiving an
     unsatisfactory rating may be assigned by the principal to professional development or
     common planning as their professional activity, regardless of their preferences, to further
     enhance their teaching skills. A teacher in danger of receiving an unsatisfactory rating
     who is assigned to AM or PM bus duty may be assigned by the principal to professional
     development or common planning as their professional activity in lieu of AM or PM bus
     duty. Teachers hired in the fall will be offered three choices by the principal from the
     menu.
          4. Each teacher shall be notified in writing by the principal prior to the end of the
     school year, pursuant to Articles 7A, 7B, 7C, and 7K of the activity they have been
     assigned for the following school year and it will be incorporated as part of his/her
     program.
          5. Teachers serving in compensatory time positions, pursuant to the SBO process
     (defined in Articles 7A, 7B, 7C and 7K and Circular 6) shall continue to do the work of
     their position during their professional periods (except to the extent the SBO specifically
     states otherwise) and must at the beginning of each term submit to the principal for
     approval a plan for the use of their professional periods.
          6. Teachers serving as athletic coaches, pursuant to Article 15 of this Agreement,
     and receiving per session pay for such activity, shall be permitted to use their
     professional periods to further the work of their activity, and must at the beginning of
     each term, submit to the principal for approval a plan for the use of their professional
     periods.
          7. Any teacher may grieve the failure to follow the terms of this provision pursuant
     to the regular grievance and arbitration provision of this Agreement. However the
     assignment of particular activities hereunder shall not be grievable. The Union may
     challenge the assignment of a particular activity by appealing, within 15 days, to the
     Chancellor/designee, who will consult with the Union prior to rendering a decision. The
     Union may appeal the decision of the Chancellor/designee to the New York City Office
     of Labor Relations, which will issue a final and binding decision.
     V. Regular Payroll Status for Per Diem Substitutes
          1. The Board (“Department”) will pay on the regular payroll (i.e. Q payroll) any per
     diem substitute provided that he/she either:
          (A)      (i) was employed by the Department to replace a regularly appointed teacher who
     is in a Vacancy (as defined herein); (ii) commenced employment later than the fifteenth
     calendar day following the first day for the reporting of newly appointed teachers; and
     (iii) was employed for a minimum of two months; or
          (B)      (i) was employed by the Department to cover a Vacancy; and (ii) commenced
     employment during the first fifteen calendar days of the term.
          2. For purposes of this section, a Vacancy is a position that is filled by a substitute
     teacher under the following circumstances:
          (A) there is no regular appointed teacher and the position is an unencumbered
     vacancy; or
          (B) when the regularly appointed teacher is (a) on a sabbatical leave of absence for
     the full term or full school year; (b) on an unpaid leave of absence for the duration of the
     school year; (c) on an approved leave due to an injury in the line of duty (“ILOD”) and
     the ILOD leave is for the duration of the school year; (d) reassigned for the duration of



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     the school year, however the substitute teacher shall not receive regular payroll status (i.e.
     Q payroll) for the first sixty (60) days of service in this assignment; (e) absent on paid
     status (i.e. using their Accumulated Absence Reserve (CAR), or borrowing up to 20
     additional CAR days and/or utilizing the grace period) and whose status is subsequently
     adjusted to unpaid leave status for the duration of the school year; or (f) on an approved
     paid absence (i.e. using their CAR days and/or utilizing the grace period) for the duration
     of the school year.
         3. In the event a substitute does not work in the assignment for the duration of the
     school year (except in the case of a sabbatical for one term as described above in
     (3)(2)(a)), s/he shall not be entitled to regular payroll status (i.e. Q payroll).
         4. The foregoing shall supersede and replace Chancellor’s Regulation C-525 with
     respect to the criteria necessary to attain regular payroll status (i.e. Q payroll).
         5. Pursuant to Chancellor’s Regulation C-520, a substitute teacher shall be entitled
     to Z status if s/he replaces a particular absent employee for thirty (30) or more
     consecutive work days. The terms of Chancellor’s Regulation C-520 shall remain in
     effect with respect to Z status; to the extent C-520 addresses regular payroll status (i.e. Q
     payroll) and is inconsistent with this Stipulation, the terms of this Stipulation shall be
     determinative.


                                         ARTICLE EIGHT
                                      EDUCATION REFORM
     A. School-Based Management/Shared Decision-Making (SBM/SDM)
         The Union and the Board agree that SBM/SDM is a process in which all members of
     the school community collaborate in identifying issues, defining goals, formulating
     policy and implementing programs. The uniqueness of each school community requires
     that the SBM/SDM process and the organizational and instructional issues discussed are
     determined by the staff, parents, administration and students (where appropriate) at
     individual schools through the SBM/SDM team. The Union and the Board agree that in
     order to achieve SBM/SDM at the school level significant restructuring of instruction
     must occur, and the parties agree to work cooperatively in an effort to bring about these
     changes.
         1. Eligibility and Involvement
         a. All schools are eligible to apply for participation in SBM/SDM. School
     participation shall be voluntary and subject to approval by fifty-five (55) percent of the
     voting, non-supervisory school based staff (e.g., teachers, paraprofessionals, support staff
     and others) and agreement of the principal, the appropriate superintendent and parents.
     Similarly, schools involved in SBM/SDM may choose to opt out of the program at any
     time. The decision to opt out shall be voluntary and subject to approval by at least fifty-
     five (55) percent of the voting, non-supervisory school based staff.
         b. All votes of non-supervisory school based staff concerning participating in
     SBM/SDM shall be conducted by the UFT chapter.
         c. Schools involved in SBM/SDM shall conduct ongoing self-evaluation and modify
     the program as needed.




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         2. SBM/SDM Teams
         a. Based upon a peer selection process, participating schools shall establish an
     SBM/SDM team. For schools that come into the program after September 1993, the
     composition will be determined at the local level. Any schools with a team in place as of
     September 1993 will have an opportunity each October to revisit the composition of its
     team.
         b. The UFT chapter leader shall be a member of the SBM/SDM team.
         c. Each SBM/SDM team shall determine the range of issues it will address and the
     decision-making process it will use.
         3. Staff Development
         The Board shall be responsible for making available appropriate staff development,
     technical assistance and support requested by schools involved in SBM/SDM, as well as
     schools expressing an interest in future involvement in the program. The content and
     design of centrally offered staff development and technical assistance programs shall be
     developed in consultation with the Union.
         4. Waivers
         a. Requests for waivers of existing provisions of this Agreement or Board
     regulations must be approved in accordance with the procedure set forth in Article Eight
     B (School-Based Options) of this Agreement i.e. approval of fifty-five (55) percent of
     those UFT chapter members voting and agreement of the school principal, UFT district
     representative, appropriate superintendent, the President of the Union and the Chancellor.
         b. Waivers or modifications of existing provisions of this Agreement or Board
     regulations applied for by schools participating in SBM/SDM are not limited to those
     areas set forth in Article Eight B (School-Based Options) of this Agreement.
         c. Existing provisions of this Agreement and Board regulations not specifically
     modified or waived, as provided above, shall continue in full force and effect in all
     SBM/SDM schools.
         d. In schools that vote to opt out of SBM/SDM, continuation of waivers shall be
     determinedjointly by the President of the Union and the Chancellor.
         e. All School-Based Option votes covered by this Agreement, including those in
     Circular 6R, shall require an affirmative vote of fifty-five percent (55%) of those voting.
     B. School-Based Options
         The Union chapter in a school and the principal may agree to modify the existing
     provisions of this Agreement or Board regulations concerning class size, rotation of
     assignments/classes, teacher schedules and/or rotation of paid coverages for the entire
     school year. By the May preceding the year in which the proposal will be in effect, the
     proposal will be submitted for ratification in the school in accordance with Union
     procedures which will require approval of fifty-five (55) percent of those voting.
     Resources available to the school shall be maintained at the same level which would be
     required if the proposal were not in effect. The Union District Representative, the
     President of the Union, the appropriate Superintendent and the Chancellor must approve
     the proposal and should be kept informed as the proposal is developed. The proposal will
     be in effect for one school year.
         Should problems arise in the implementation of the proposal and no resolution is
     achieved at the school level, the District Representative and the Superintendent will
     attempt to resolve the problem. If they are unable to do so, it will be resolved by the



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     Chancellor and the Union President. Issues arising under this provision are not subject to
     the grievance and arbitration procedures of the Agreement.
     C. SchoolAllocations
         Before the end of June and by the opening of school in September, to involve
     faculties and foster openness about the use of resources, the principal shall meet with the
     chapter leader and UFT chapter committee to discuss, explain and seek input on the use
     of the school allocations. As soon as they are available, copies of the school allocations
     will be provided to the chapter leader and UFT chapter committee.
         Any budgetary modifications regarding the use of the school allocations shall be
     discussed by the principal and chapter committee.
         The Board shall utilize its best efforts to develop the capacity to include, in school
     allocations provided pursuant to this Article 8C, the specific extracurricular activities
     budgeted by each school.
         The Board (“Department”) shall provide to the Chapter Committee and Chapter
     Leader in school the School Leadership Team (SLT) view of the Galaxy Table of
     Organization. This shall be supplied before the end of June each school year and again
     by the opening of school in September of each school year.
         In addition, should there be any budget modification regarding the use of school
     allocations, these shall be discussed by the Principal and Chapter committee. In order to
     facilitate such discussion, the modifications shall be provided to the Chapter Committee.
     D. Students’ Grades
         The teacher’s judgment in grading students is to be respected; therefore if the
     principal changes a student’s grade in any subject for a grading period, the principal shall
     notify the teacher of the reason for the change in writing.
     E. Lesson Plan Format and Unit Planning
         The development of lesson plans by and for the use of the teacher is a professional
     responsibility vital to effective teaching. The organization, format, notation and other
     physical aspects of the lesson plan are appropriately within the discretion of each teacher.
     A principal or supervisor may suggest, but not require, a particular format or
     organization, except as part of a program to improve deficiencies of teachers who receive
     U-ratings or formal warnings.
         A “Unit Plan,” also known as a “Curriculum Unit,” means a brief plan, by and for the
     use of the teacher, describing a related series of lesson plans and shall include: (1) the
     topic/theme/duration; (2) essential question(s); (3) standard(s); (4) key student learning
     objectives; (5) sequence of key learning activities; (6) text(s) and materials to be used;
     and (7) assessment(s).
         Teachers that are provided with a Curriculum (as defined in this Agreement) have a
     professional responsibility to prepare Unit Plans. No teacher shall be required to prepare
     a Unit Plan for each curriculum unit, other than the attached, brief, one-page form agreed
     upon by the UFT and DOE, including teachers of multiple subjects for the same group of
     students (e.g., elementary school teachers, teachers of self-contained classes), who will
     include each subject taught on the attached one page form. Teachers shall not be required
     to prepare a Unit Plan in any format other than the form attached as Appendix P, agreed
     upon by the UFT and DOE.
         A principal or supervisor may collect and/or copy a Teacher’s Unit Plan provided that
     the principal/supervisor either (i) discusses the Unit Plan at the next professional



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     conference (e.g ., pre-observation or post-observation conference) pursuant to the
     observation cycle or as otherwise permitted by the parties’ APPR plan, or (ii) uses the
     Unit Plan for professional learning (e .g ., non-evaluative conferencing with the principal
     or other administrators) within twenty (20) school days of the collection or copying,
     absent unforeseen and unusual circumstances.
     F. Joint Efforts
         The Board of Education and the Union recognize that a sound educational program
     requires not only the efficient use of existing resources but also constant experimentation
     with new methods and organization. The Union agrees that experimentation presupposes
     flexibility in assigning and programming pedagogical and other professional personnel.
     Hence, the Union will facilitate its members’ voluntary participation in new ventures that
     may depart from usual procedures. The Board agrees that educational experimentation
     will be consistent with the standards of working conditions prescribed in this Agreement.
     The Board and the Union will continue to participate in joint efforts to promote staff
     integration.
         The parties will meet with a view toward drafting their collective bargaining
     agreements to reflect and embody provisions appropriate to the new and/or nontraditional
     school program organizational structures that have developed in the last several years,
     including as a result of this Agreement.
     G. Professional Support for New Teachers
         The Union and the Board agree that all teachers new to the New York City Public
     Schools are entitled to collegial support as soon as they commence service. The New
     Teacher Staff Development Program and Mentor Teacher-Intern Program provide this
     support, enabling new teachers to expand their range of instructional skills and strategies,
     and to become actively involved in the life of their school.
         1. New Teacher Staff Development Program
         a. For uncertified teachers without prior teaching experience there will be ten (10)
     mandatory days of staff development. Five (5) of these days will take place in the
     summer prior to the new teacher’s employment and the remaining five (5) will take place
     during the teacher’s first year of service.
         b. For certified teachers without prior teaching experience there will be five (5)
     mandatory days of staff development. Three (3) of these days will take place in the
     summer prior to the new teacher’s employment and the remaining two (2) will take place
     during the first year of teaching.
         c. For teachers who have three (3) or more years of approved outside teaching
     experience there will be three (3) mandatory days of staff development in the summer
     prior to the new teacher’s employment.
         d. Uncertified teachers without prior teaching experience hired after the beginning of
     the school year will be provided with three (3) days of mandatory staff development
     before they begin their actual teaching assignment and will be required to complete one
     (1) day for each remaining two (2) months of the school year.
         e. Certified teachers without prior teaching experience hired after the beginning of
     the school year will be provided with three (3) days of mandatory staff development
     before they begin their actual teaching assignment and will be required to complete one
     (1) day for each remaining two (2) months of the school year up to a maximum of two (2)
     days.



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         f. Teachers who have three (3) or more years of approved outside teaching
     experience hired after the beginning of the school year will be provided with three (3)
     days of mandatory staff development before they begin their actual teaching assignment.
         g. The content and design of this professional development program for new
     teachers shall be developed collaboratively by the Union and the Board and will take into
     account varying needs of new teachers based upon their educational and professional
     backgrounds. As an additional option the Union and the Board agree to develop criteria
     for college courses that can be credited toward fulfillment of the first year professional
     development requirement in order to coordinate services and requirements for new
     teachers.
         h. There shall be an expense stipend for each day of mandatory professional
     development for new teachers paid at the rate per day set forth below:
             Effective May 19, 2008................................................. $40.20
             Effective May 1, 2013..................................................... $40.60
             Effective May 1, 2014..................................................... $41.01
             Effective May 1, 2015..................................................... $42.25
             Effective May 1, 2016..................................................... $43.72
             Effective May 1, 2017..................................................... $45.71
             Effective May 1, 2018..................................................... $46.61
             Effective June 16, 2018................................................. $48.01
         Provisions for payment of this stipend shall not apply to persons opting for the above
     mentioned college courses.
         2. Mentor Teacher Intern Program
         a. The Mentor Teacher Intern Program is designed to improve instruction for
     children in the New York City Public Schools by supporting the development of
     beginning teachers. At the core of the program is the relationship that develops between
     the skilled, experienced teacher (mentor) and the uncertified colleague (intern). This
     relationship provides a forum for the uncertified teacher to identify issues that form the
     basis of his or her professional development. For the mentor, it provides the opportunity
     to share years of accumulated skills and experience.
         b. In accordance with state law and regulations: time will be provided for mentor-
     intern interaction; information shared between the mentor and the intern must remain
     confidential; and the building principal/supervisor does not rate teachers in their role as
     mentor or intern. Specific details will bejointly agreed upon by the Union and the Board.
         c. All mentors are required to teach a minimum of one (1) period daily. Mentors are
     selected and matched to one (1) or more intem(s) by the Mentor Advisory Selection
     Committee. Full-time mentors serving in more than one building shall maintain seniority
     and the right of return to the site in which they previously served.
         d. The Mentor Advisory Selection Committee is a 12 member committee with a
     majority of teachers who are selected by the Union. Its responsibilities include setting
     policy with regard to the Mentor Teacher-Intern Program, selecting mentors for
     recommendation to the appropriate superintendent, matching mentor-intern teams,
     requesting variances and coordinating district staff development for mentors and interns.
     The committee selects its chairperson through consensus. Operating procedures for the
     Mentor Advisory Selection Committee shall be jointly determined by the Union and the
     Board.



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         e. The assignment of a mentor to an intern shall be made at the commencement of
     service but no later than the 20th day of service to the maximum extent possible.
     Exceptions will be made for those whose service commences after agreed upon dates,
     annually determined by the Union and the Board.
         f. All newly hired, uncertified teachers who do not possess the minimum number of
     education credits and student teaching/required experience necessary for a regular license
     shall participate in the Mentor Teacher-Intern Program for one (1) year. This program
     shall be provided by a mentor.
         The parties will jointly request on an annual basis a waiver of State Education
     Commissioner’s Regulation 80.18 to offer in satisfaction of the State Mentoring
     requirement for uncertified teachers a cost effective, substantive, high quality,
     professional development program as provided in Special Circular No. 14, 1992-93 dated
     September30, 1992.
         g. A mentor is a skilled, experienced colleague who has chosen to share his or her
     expertise by assisting the intern. A mentor has five (5) or more years experience and
     possesses permanent certification in the same or related license area as the intern.
     Preference in selecting mentors may be given to teachers who have served three (3) of the
     last five (5) years in their present school. Teachers who have transferred through the
     UFT Transfer Plan or teachers who have been excessed into the school may use previous
     school experience to qualify for three (3) years in the current school.
         h. The Union and the Board agree to collaboratively develop a professional
     development program for mentors.
         3. Professional Support Periods and Assignments
         a. Guidelines for the use of professional support periods for new teachers will be
     established. Under the direction of the principal, their use will include but not be limited
     to activities supportive of upgrading instruction such as: observation of classes conducted
     by experienced teachers, consultation with others familiar with such areas as instructional
     strategies in the classroom, planning, curriculum and behavior management.
         b. During the first year of employment of a teacher who has not had previous
     professional employment as a teacher, two preparation periods per week shall be
     designated as professional support periods.
         c. For uncertified teachers being mentored during their second year of employment,
     two preparation periods per week shall continue to be designated as professional support
     periods exclusively for the purpose of mentoring.
         d. During the first year of employment, a new teacher will be exempt from the
     generally applicable policy of rotation of teaching assignments. If the number of new
     teachers makes it impractical to apply this provision, an alternative to this approach may
     be implemented if jointly approved by the Board and the Union. Guidelines for this
     purpose will be issued by the Chancellor after consultation with the Union. New teachers
     may not volunteer or be assigned to coverages during their professional activity periods.
     H. Professional Development and Second Differential
         As one aspect of the parties’ interest in professional development, a joint Board-
     Union committee comprised of three (3) designees of the UFT President and three (3)
     designees of the Chancellor was established to expand and professionalize available staff
     development opportunities. As a priority, the joint committee focused on new
     professional development opportunities for teachers seeking their second differential, and



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     for other pedagogues seeking a comparable differential, and made its initial
     recommendations to the Chancellor. It is the intention of the parties to make such
     opportunities available to staff at no or modest cost, and with no additional cost to the
     employer. The Chancellor may establish limits on the number of these credits which can
     be earned per term toward the second differential via this professional development
     initiative (the P-credit program). It is understood that the Chancellor’s decisions about all
     aspects of the Committee’s recommendations, the design of the P-credit program and
     regulations for implementation of the P-credit program shall be final and binding on the
     parties and not subject to the grievance process. Any claim concerning the arbitrary,
     capricious and/or discriminatory application of such regulations to individuals will be
     grievable and arbitrable.
     I. Reduction of Paperwork
          (1) A Central Paperwork Committee (the “Central Committee”) will convene within
     thirty (30) days of the ratification of this agreement by the UFT. The Central Committee
     will be made up of an equal number of representatives appointed by the UFT President
     and the Chancellor. The representatives appointed by the Chancellor will include
     someone from the office of the Deputy Chancellor for Teaching and Learning. The
     Central Committee will meet at least monthly, on the first Wednesday of the month or at
     a mutually agreeable time, to review system-wide paperwork issues (whether paper or
     electronic), including, but not limited to, the requests for data in connection with the
     Quality Review process. The Central Committee will also establish, subject to agreement
     by the Chancellor and the UFT President, system-wide standards for the reduction and
     elimination of unnecessary paperwork (“System-wide Standards”). Should the Central
     Committee fail to establish System-wide Standards approved by the Chancellor within
     sixty (60) days of their first meeting, either the UFT or the Board (DOE) may request the
     assistance of a member of the Fact-Finding Panel of Martin F. Scheinman, Howard
     Edelman and Mark Grossman, or another mutually agreeable neutral, to help facilitate the
     Central Committee’s discussions. Should the intervention of a neutral not result in an
     agreement by the Central Committee approved by the Chancellor within sixty (60) days
     of the neutral’s involvement, the DOE and UFT will submit position statements to said
     neutral who will issue a binding decision. The neutral’s decision setting the System-wide
     Standards shall be subject to Article 75 of the New York State Civil Practice Law and
     Rules.
          (2) Once the System-wide Standards have been established they will be distributed to
     all schools and key stakeholders (including SLT Chairpersons, PA/PTA Presidents, UFT
     Chapter Leaders, UFT District Representatives, District Superintendents and CSA
     Representatives).       Thereafter, District/High School Superintendency Paperwork
     Committees (“District Committees”) shall be established in each community school
     district and high school superintendency. The District Committees shall meet monthly, at
     a regularly scheduled time, for the purpose of addressing paperwork issues (whether
     paper or electronic) at the school level and to ensure the System-wide Standards are being
     implemented properly in schools. These District Committees will be made up of an equal
     number of representatives appointed by the UFT President and the Chancellor. The
     representatives appointed by the Chancellor shall include the District/High School
     Superintendent or his/her designee.




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         (3) Employees (including those in functional chapters) may request that their Chapter
     Leader raise school-specific paperwork issues (whether paper or electronic) before the
     District Committee. Subject to approval by the Chancellor, if a District Committee
     agrees on the resolution of the paperwork issue, the resolution shall be enforced by the
     District or High School Superintendent. In the event that a District Committee cannot
     agree on the resolution of an issue raised by a Chapter Leader of an individual school, the
     District Committee shall refer the issue to the Central Committee for review. Subject to
     approval by the Chancellor, if the Central Committee agrees on the resolution of an issue
     raised by a Chapter Leader, the resolution shall be enforced by the District or High
     School Superintendent.
         (4) For alleged violations of the System-wide Standards the UFT may file a
     grievance, in accordance with the grievance and arbitration procedures set forth in Article
     22 of this Agreement. It is understood that, prior to a grievance being filed, the
     paperwork issues shall go through the committee process as described above. Such
     grievances shall be filed directly with the DOE’s Office of Labor Relations (“OLR”),
     which may be scheduled for arbitration within twenty (20) days of notice to OLR. The
     parties shall negotiate pre-arbitration hearing procedures so that each party is aware of
     the allegations and defenses being raised at the arbitration. All arbitration days shall be
     part of the existing number of days as set forth in this Agreement. An arbitrator may hear
     up to three (3) paperwork grievances on each arbitration date. The arbitrator will issue a
     brief award that is final and binding upon the parties, within five (5) school days of the
     arbitration.
     J. Evaluation and Observation System
         1. Teachers Not Subject to the APPR Plan Required By Education Law §3012-c
         a. The UFT and the Board of Education are committed to attracting and retaining the
     most competent staff. To this end the Union and the Board established ajoint committee
     which undertook a study to develop and design a high quality prescriptive evaluation and
     professional growth system that would give each staff member choices and a role in
     his/her professional growth.
         Following the study, the Union and the Board agreed upon such a system. The
     parties’ full agreement is embodied in the document entitled “Teaching for the 21st
     Century” and the attachments thereto, which is the definitive document regarding the
     evaluation/observation plan. Under that plan, performance reviews are based on
     assessment/evaluation procedures which identify and recognize the range of abilities and
     experiences of teachers and link a teacher’s performance, a school’s educational goals
     and related professional development activities. The reviews must be based on the
     agreed upon characteristics of good teaching, including consideration of positive student
     learning outcomes and parent involvement.
         b. The plan also provides the following:
         (1) Where appropriate, the performance review must include clear and specific
     recommendations for professional growth.
         (2) Annual performance reviews may be based on either of two models:
         The first model, known as Annual Performance Options (Component A), offers an
     individual teacher, in consultation with his/her supervisor, the opportunity to set yearly
     goals and objectives and to choose the methods for demonstrating professional growth.




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     The annual performance options will be supported with appropriate follow-up
     professional development activities, as noted below.
          The second model, known as Formal Observations (Component B), is the traditional
     classroom observation by a principal or supervisor which includes pre- and post-
     observation conferences and written feedback/comments.
          (3) In an individual decision between the teacher and the supervisor, satisfactory,
     tenured teachers may choose either Component A or B or both as the basis for the annual
     performance review. A process has been agreed upon to facilitate agreement in instances
     where a teacher and a supervisor have differences in professional judgment concerning
     the annual performance review option.
          (4) New and probationary teachers who are new to a school, tenured teachers in
     danger of receiving an unsatisfactory rating, and tenured teachers who received an
     unsatisfactory rating the prior year must use Component B as the basis of their annual
     performance review, although, with the principal’s concurrence, Component A may be
     utilized as a part of their performance review.
          (5) Each component, or combination, should be implemented in a way that promotes
     the agreed upon characteristics of good teaching.
          (6) The principal has final responsibility for rating a teacher’s performance.
          (7) The Board must inform parents of the agreed upon characteristics of good
     teaching and the principal must inform parents of the school’s procedures for evaluation
     of teachers.
          (8) Implementation of the plan has two phases. Phase I introduced and defined the
     new performance review model to all teachers, supervisors, superintendents, parents and
     other members of the school community. Phase Il’s focus is on specific professional
     development activities and opportunities for individual teachers as they identify specific
     goals and objectives and/or areas for improvement. Any activities that require new
     and/or additional resources will be dependent on the Board and the Union jointly
     identifying, seeking and obtaining specific revenue sources.
          (9) The President of the Union and the Chancellor may agree to make adjustments to
     the plan as necessary, but in any event the parties commit to a formal review of all
     aspects of this article.
          c.      The provisions set forth in this Section I shall be subject to the grievance
     procedure and to arbitration only for the purpose of determining whether there has been a
     failure to comply with the procedural requirements contained in the plan. In the event
     that a teacher appeals a rating, the appropriate forum for claiming a failure to comply
     with procedures is the rating appeal process and not the grievance/arbitration procedure.
          2. APPR Plan Required By Education Law §3012-c
          The Board (DOE) and UFT agree that the following, subject to approval by the
     Commissioner of Education, represents the Parties APPR Plan as required by Education
     Law § 3012-c.
          This Article replaces the Commissioner’s June 1, 2013 APPR decision and
     subsequent clarification decisions dated September 5, 2013 and November 27, 2013
     (collectively “the Commissioner’s Decision”).
          Except as modified herein, the terms of the Commissioner’s Decision are
     incorporated by reference and remain in full force and effect. Except as stated herein,
     any dispute regarding this APPR Plan and the Commissioner’s Decision shall be resolved



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     exclusively through negotiation between the parties or the grievance process set forth in
     Article 22 of the parties’ collective bargaining agreement. Any issue regarding the
     implementation of the APPR Plan with respect to the Measures of Student Learning and
     scoring that was not addressed in the Commissioner’s Decision, shall be resolved through
     negotiations between the parties and, in the absence of an agreement, referred to the State
     Education Department for clarification.
         The Parties agree to submit a draft APPR Plan to the State Education Department no
     later than May 15, 2014.
         a. Teacher Practice Rubric
         In order to simplify and focus the use of Danielson’s F r a m e w o r k f o r T e a c h in g (2013
     Edition), and reduce unnecessary paperwork, only the following eight (8) components of
     the rubric shall be rated: 1(a), 1(e), 2(a), 2(d), 3(b), 3(c), 3(d), and 4(e). These eight (8)
     components shall be referred to herein as the “Danielson Rubric.” Any reference to
     Danielson or the Danielson Rubric in the Commissioner’s Decision shall be deemed to
     refer only to these eight (8) components. In each observation, all components of the
     Danielson Rubric shall be rated for which there is observed evidence. The remaining
     components of the Danielson F r a m e w o r k f o r T e a c h in g (2013 Edition) not described
     herein will continue to be used by the parties for formative purposes.
         b. Observation Cycle
         (1) Feedback following an observation must be provided to the teacher within fifteen
     (15) school days of the observation. Feedback must be evidence-based and aligned to the
     Danielson Rubric.
         (2) Evaluator forms shall be provided to the teacher no later than forty-five (45)
     school days following the observation. From the time an observation (formal or informal,
     as defined by the Commissioner’s Decision) is conducted until the time the teacher
     receives the evaluator form for that observation, only one (1) additional evaluative
     observation (formal or informal) may be conducted.
         (3) The parties agree that Teacher Artifacts (as defined in the Commissioner’s
     Decision) shall not be used in determining the Other Measures of Effectiveness
     (“Measures of Teaching Practice”) subcomponent rating. Teachers are not required to
     submit Teacher Artifacts (as defined in the Commissioner’s Decision) except principals
     have the discretion to collect evidence related to the Danielson Rubric in a manner
     consistent with the collective bargaining agreement and the Commissioner’s Decision.
     The DOE and UFT shall jointly create guidance for evaluators on the collection of
     evidence for the Danielson Rubric. Whenever possible, the parties willjointly present this
     guidance to school communities.
         (4) An evaluator shall provide a score on any component that is observed from the
     Danielson Rubric regardless of the observation option selected by the teacher and
     regardless of whether it is a formal or informal observation (as defined by the
     Commissioner’s Decision).
         (5) In addition to the two (2) observation options set forth in the Commissioner’s
     Decision, the following shall apply:
         (a)     Teachers who have received “Highly Effective” as their final APPR rating in the
     previous year may choose Option 3. Option 3 consists of a minimum of three (3) informal
     observations that are used for evaluative purposes. Option 3 is subject to the same




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     procedures and scoring rules as Options 1 and 2 as provided for in the Commissioner’s
     Decision as modified by this APPR Plan.
         A teacher that chooses Option 3 shall make his/her classroom available for three (3)
     classroom visits by a colleague per school year. The classroom visits described herein
     shall not be used for any evaluative purpose. Any additional classroom visits by
     colleagues shall only be with the consent of the teacher selecting Option 3. The date and
     time of such visits shall be scheduled jointly by the teacher selecting Option 3 and the
     principal.
         (b)      Teachers who have received “Effective” as their final overall APPR rating in the
     previous year may choose Option 4. Option 4 consists of a minimum of four (4) informal
     observations that are used for evaluative purposes. Option 4 is subject to the same
     procedures and scoring rules as Options 1 and 2 as provided for in the Commissioner’s
     Decision as modified by this APPR Plan.
         (6) An evaluator may assess a teacher’s preparation and professionalism only if the
     evaluator’s conclusions are based on observable evidence pertaining to components 1(a),
     1(e), and/or 4(e) of the Danielson Rubric during an observation or if the evaluator
     observes evidence for these components during the fifteen (15) school days immediately
     preceding a classroom observation.
         (7) The parties agree to create an evaluator form that will allow evaluators to rate and
     delineate between all components observed during a classroom observation as well as
     (for components 1(a), 1(e), and 4(e) only) observed within fifteen (15) school days prior
     to the classroom observation as part of an assessment of a teacher’s preparation and
     professionalism. Each evaluator form shall contain lesson-specific evidence for
     components observed during a classroom observation and teacher-specific evidence for
     components observed as part of an assessment of a teacher’s preparation and
     professionalism.
         (8) An evaluator shall not include or consider evidence regarding the preparation and
     professionalism on an evaluator form if such evidence (or conduct) is also contained in a
     disciplinary letter to the teacher’s file, unless the evidence was directly observed by the
     evaluator during a classroom observation (in which case the evidence may be on both an
     evaluator form and in a disciplinary letter). Evidence not related to components 1(a),
     1(e), and/or 4(e), or directly observed by the evaluator in the fifteen (15) school day
     period immediately preceding a classroom observation shall not be considered in a
     teacher’s evaluation.
         (9) Consistent with the Commissioner’s Decision, there shall be Initial Planning
     Conferences (“IPC”) and Summative End of Year Conferences (as defined therein).
     Teachers shall have the sole discretion of setting professional goals as part of the IPC.
     The DOE will explicitly state this in guidance for evaluators and educators for the 2014-
     15 school year and thereafter.
         c. Videotaping and Photographing
         (1) All observations shall be conducted in person. The teacher and evaluator may
     mutually consent to evaluators not being present when videotaping.
         (2) A teacher may choose to have his/her observations videotaped. If a teacher
     chooses to have his/her observations videotaped he/she shall select among the following
     options:
         (a) the evaluator will choose what observations, if any, will be videotaped; or



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         (b) the evaluator shall videotape the observations in the following manner:
         (i) if the teacher selected Option 1, the formal observation shall be videotaped;
         (ii) if the teacher selected Option 2, two (2) of the informal observations shall be
         videotaped (at the evaluator’s option);
         (iii) if the teacher selected Option 3, one (1) of the informal observations shall be
         videotaped (at the evaluator’s option);
         (iv) if the teacher selected Option 4, one (1) of the informal observations shall be
         videotaped (at the evaluator’s option).
         (3)        Evaluators who take photographs during observations relevant to the Danielson
     Rubric, should, to the extent practicable, be unobtrusive (for example, photographs may
     be taken at the end of the observation),
         d. Covered Employees
         (1) The DOE and the UFT agree to jointly request that the State Education
     Department issue a determination as to whether teachers of programs for suspended
     students and teachers of programs of incarcerated students are subject to Education Law
     §3012-c (and therefore subject to this APPR Plan). Such decision shall be incorporated
     by reference into this APPR Plan.
         (2) In order for a classroom teacher to be covered by this APPR Plan, the teacher
     must be teaching for at least six (6) cumulative calendar months in a school year. If the
     teacher does not satisfy this requirement he/she shall not be covered by this APPR Plan
     and shall be subject to the evaluation system set forth in Article 8J of this Agreement and
     Teaching for the 21st Century.
         (3) The following shall apply to teachers who are teaching for more than six (6)
     cumulative calendar months in a school year but less than the full year due to either (a)
     paid or unpaid leave of absence; (b) reassignment from teaching responsibilities; or (c)
     the teacher commenced, or separated from, employment mid-year:
         (a) When a teacher is absent from the first day of school until the last Friday of
     October, the IPC (as defined in this APPR Plan) shall be conducted within ten (10) school
     days of his/her return to school.
         (b) When a teacher is absent between the last Friday of April and the last Friday of
     June, and the absence was foreseen and the evaluator was aware that the teacher would
     not be present during this period (e.g., they are taking a maternity leave), the Summative
     Conference shall be held before the teacher leaves.
         (c) When a teacher is absent between the last Friday of April and the last Friday of
     June and the absence was unforeseen (e.g., extended leave) and therefore the evaluator
     could not conduct the Summative Conference ahead of time, the Summative Conference
     shall be held no later than the last Friday of October in the following school year.
     Evaluators shall have the discretion to conduct the IPC and Summative Conference at the
     same time but must fulfill all the requirements of both conferences.
         (d) When a teacher is unexpectedly absent for the remainder of the school year (e.g.,
     extended leave), the teacher shall have a minimum of two (2) observations, which shall
     fulfill the observation requirements set forth herein.
         (e) When a teacher is absent during the period when the baseline or post-test
     assessments are administered, and the teacher was assigned individual target populations
     for his/her State and/or Local Measures, the teacher will still receive Local and/or State
     Measures for individual target populations.



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         (f)      When a teacher is absent during the period when the targets are set (for
     assessments with goal-setting), the teacher shall set targets and have their targets
     approved within the first month of his/her return to school.
         The DOE shall explicitly state the rules described herein in guidance for educators for
     the 2014-15 school year and all school years thereafter.
         e. Multiple Observers
         For formative purposes (observations conducted entirely for non-evaluative
     purposes), no more than four (4) observers (either school-based or from outside of the
     school) may be present in a classroom. Additional observers may be present in the
     teacher’s classroom with the teacher’s consent. The visits described in this paragraph
     shall not be considered when scoring the Measures ofTeacher Practice subcomponent.
         For evaluative purposes, no more than one (1) evaluator (as defined by the
     Commissioner’s Decision) and two (2) school-based observers (i.e., the Superintendent
     or Assistant Superintendent or trained administrator of the teacher’s school) may be
     present during a formal or informal observation. The evaluator shall be solely
     responsible for the observation report. The DOE and UFT shall jointly create guidance
     for evaluators on the role of multiple observers. Whenever possible, the parties will
     jointly present this guidance to school communities.
         In extraordinary circumstances, only one (1) of the two (2) observers described herein
     may be an observer from outside of the school. The outside observer may only be either a
     Network Leader or Deputy Network Leader (or its functional equivalent).
         f. Student Surveys
         The DOE shall pilot student surveys during the 2013-2014 at mutually agreed upon
     schools and in all schools during the 2014-2015 school year. During the pilot, student
     surveys shall not be used for evaluative purposes. At the conclusion of each pilot year,
     the DOE and UFT shall meet to discuss the results of the pilot and discuss the possibility
     of continuing/discontinuing the pilot and use of the surveys for evaluative purposes. If
     agreement is not reached at the conclusion of each pilot year, the student surveys shall be
     used for non-evaluative purposes in the 2014-2015 school year and evaluative purposes
     starting in the 2015-16 school year and thereafter. The implementation and scoring of the
     student surveys in 2015-16 and thereafter shall be consistent with the Commissioner’s
     Decision.
         g. Scoring
         For all formal and informal observations (as defined by the Commissioner’s
     Decision), all components of the Danielson Rubric shall be rated for which there is
     observed evidence. At the end of the school year, Overall Component Scores shall be
     created for each of the eight (8) components. The Overall Component Scores shall be the
     average of each rated component from the observations and/or assessments of a teacher’s
     preparation and professionalism.
         An Overall Rubric Score will then be calculated by taking the weighted average of
     the Overall Component Scores, using the following weightings: 1(a) (5%), 1(e) (5%),
     2(a) (17%), 2(d) (17%), 3(b) (17%), 3(c) (17%), 3(d) (17%), 4(e) (5%).
         Formal and informal observations (as defined by the Commissioner’s Decision) shall
     not receive average observation ratings.
         Formal and informal observations (as defined by the Commissioner’s Decision) will
     no longer be afforded the weights as provided for in the Commissioner’s Decision.



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         The Overall Rubric Score shall be the basis for the sixty (60) points of the Measures
     of Teaching Practice subcomponent, unless the student surveys are used for evaluative
     purposes. If student surveys are used for evaluative purposes, the Overall Rubric Score
     shall count for fifty-five (55) of the sixty (60) points of the Measures of Teaching
     Practice subcomponent score. The implementation and scoring of the student surveys in
     2015-16 and thereafter shall be consistent with the Commissioner’s Decision.
         h. Courses That Are Not Annualized
         In the event that Measures of Student Learning (MOSL) assessment options do not
     include options for non-annualized courses: (1) in a school where each of the terms
     covers content where the second term builds on content from the first, the fall teacher
     shall administer the baseline and the spring teacher shall administer the post-test.
     Teachers from all terms will be held accountable for the students’ results; or (2) in a
     school where the second term does not build on content from the first, these teachers shall
     be assigned Linked or Group Measures. Notwithstanding the foregoing, with respect to a
     teacher of a course leading to a January Regents, the post-test is the January Regents and
     a baseline shall be administered in the fall.
         For Group and Linked Measures (as defined herein), if a student takes the same
     Regents exam in January and June, only the higher result will be used for State and Local
     Measures. For non-Group and Linked Measures, if a student takes the same Regents
     exam in January and June, and has the same teacher in the fall and spring, only the higher
     result will be used for State and Local Measures. If the student has different teachers in
     the fall and spring, the January Regents will be used for the fall teacher and the June
     Regents for the spring teacher.
         Students will be equally weighted in a teacher’s State and/or Local Measures
     subcomponent score if they are in a teacher’s course for the same length of time
     (regardless of whether they take the January or June Regents).
         For assessments that use growth models, the DOE will calculate scores following the
     rules outlined above. For assessments that use goal-setting, the teacher who administers
     the baseline will recommend targets for the students and the principal will approve. Fall
     term teachers shall set targets on the same timeline as other teachers. It is recommended
     that in the fall principals consult with subsequent term teachers about student targets if
     their assignments are known. Principals shall share these targets with subsequent term
     teachers within the first month of the start of the new term and provide these teachers
     with an opportunity to recommend any additional changes to student targets. Principals
     shall communicate any changes to targets to all affected teachers.
         For assessments that use goal-setting, teachers of subsequent term courses who have
     students who have not previously had targets for them shall set and have their targets
     approved within the first month of the start of the new term.
         State and Local Measures selections for teachers of non-annualized courses, including
     the application of the 50% rule, shall be determined based upon the teachers’ entire
     school year schedule. As subsequent term selections may not be known in the fall,
     teachers shall administer all applicable assessments for the grades/subjects they are
     teaching in the fall.
         i. Rules Regarding Measures of Student Learning
         For the 2014-2015 school year and thereafter the DOE shall issue guidance to the
     School MOSL Committee that sets forth and explains the rules described herein.


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         There is no limit on the number of Local Measures that a School MOSL Committee,
     as defined in this APPR Plan, can recommend for a particular grade or subject. If a
     School MOSL Committee selects the same assessment but different group for the Local
     Measures subcomponent, the following are allowable subgroups since the DOE is
     currently analyzing the performance of these groups of students: (1) English Language
     Learners; (2) students with disabilities; (3) the lowest-performing third of students; (4)
     over-age/under-credited students; or (5) Black/Latino males (consistent with New York
     City’s Expanded Success Initiative).
         School MOSL Committees shall consider, when selecting subgroups for Local
     Measures that the intent of having both Local and State Measures is to have two different
     measures of student learning. Using subgroups for Local Measures, by nature of the fact
     that they are a subset of the overall population, will in many instances mean that State
     and Local Measures are more similar to one another than if different assessments are used
     for State and Local Measures. Therefore, subgroups should not be selected for teachers in
     some schools if the subgroup selected reflects the entire population of students the
     teacher serves (e .g ., if a teacher only teaches English Language Learners, the Committee
     shall not select English Language Learners for their Local Measures and all of their
     students for the same assessment on their State Measures).
         In the event that schools inadvertently select the same measures for State and Local
     Measures (after to the extent possible they have had an opportunity to correct), the lowest
     third performing students will be used for Local Measures and the entire populations of
     students used for State Measures.
         The Central MOSL Committee will revisit the list of allowable subgroups annually,
     taking into account feedback from educators. If the Central MOSL Committee cannot
     agree on new/different subgroups, the current list of subgroups will be used.
         Evaluators cannot choose to go above the 50% rule in selecting teachers’ State
     Measures. The 50% rule will be followed for State Measures, per State Education
     Department guidance, such that teachers’ State Measures must be determined as follows:
     for teachers of multiple courses, courses that result in a state growth score must always be
     used for a teacher’s State Measures. If a teacher does not teach any courses that result in
     state growth scores, or state growth score courses cover less than 50% of a teacher’s
     students, courses with the highest enrollment will be included next until 50% or more of
     students are included.
         The 50% rule shall not apply to Local Measures. School MOSL Committees shall
     select the method that shall be used to determine which courses shall be included in a
     teacher’s Local Measure. In the 2014-15 school year and thereafter, the DOE will (1)
     state this rule, provide guidance for teachers of multiple courses, and describe the
     benefits and considerations of not following the 50% rule for Local Measures; and (2)
     explain how to record and track Local Measures selections for individual teachers when
     the 50% rule is and is not used for Local Measures. The process for setting student targets
     for Local Measures is the same as the process for setting student targets for State
     Measures. The only exception is Group Measures (not including Linked Measures) for
     Local Measures. For Group Measures, the School MOSL Committees will have the
     option of recommending for Local Measures that student targets are set either (1)
     following the process used for State Measures; or (2) by the Committee. If the School
     MOSL Committee chooses to create the targets and the principal accepts the School



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     MOSL Committee’s recommendation, the School MOSL Committee must create these
     targets no later than December 1. Targets must be submitted using a format determined
     by the DOE. In the event that the School MOSL Committee cannot agree on Group
     Measures targets for Local Measures, Group Measures targets will be determined
     following the process used for State Measures which requires that superintendents must
     finalize targets by January 15.
         School MOSL Committees may recommend which baselines will be used for Local
     Measures from a menu of options created by the DOE. The only exceptions are instances
     where the same assessments are used for teachers in the same grades/subjects for State
     Measures. In these instances, the Principal shall select the baselines that will be used for
     State and Local Measures.
         School MOSL Committees may recommend that Local Measures, Group Measures
     and Linked Measures may be used with state-approved 3rd party assessments. The DOE
     shall create guidance that will include a description of which 3rd party assessments it can
     use to create growth models.
         School MOSL Committees may recommend that for Local Measures, Group
     Measures and Linked Measures may be used with NYC Performance Assessments. The
     DOE shall create guidance which will include a description of which NYC Performance
     Assessments it can use to create growth models, as well as the implications of selecting
     Group Measures with NYC Performance Assessments for scoring.
         Regarding the Local Measures school-wide default, if a School MOSL Committee
     makes recommendations for Local Measures in only some grades/subjects, the principal
     may accept those recommendations and the Local Measures default would apply for the
     grades and subjects for which there is no recommendation. Principals must choose to
     accept either all a School MOSL Committee’s recommendations or none of the School
     MOSL Committee’s recommendations. If the School MOSL Committee recommends the
     Local Measures default (or the principal does not accept the School MOSL Committee’s
     recommendations and therefore the Local Measures default must be used), teachers must
     administer NYC Performance Assessments in grades 4-8 ELA and Math (if they are
     included in the DOE’s menu of NYC Performance Assessments that are approved by the
     Commissioner annually). In the foregoing scenario, the DOE growth models will be used
     to calculate a teacher’s score on the NYC Performance Assessments in grades 4-8 ELA
     and Math.
         j. Growth Model Conversion Charts
         For assessments where schools opt to use DOE-created growth models for State or
     Local Measures, including the Local Measures default, the DOE shall create scoring
     charts that convert growth model scores into 0-20 points, taking into account confidence
     intervals. These charts must be shared and discussed with the MOSL Central Committee
     (as defined herein) annually. In addition, analyses will be conducted and shared with the
     MOSL Central Committee regarding the comparability of Individual, Group, and Linked
     Measures. If members of the MOSL Central Committee do not agree with any element
     of the growth model conversion charts and/or how they were created, the MOSL Central
     Committee members that are in disagreement may submit in writing to the Chancellor
     their reasons for disagreement.
         The parties agree to convene a MOSL Technical Advisory Committee (the “MOSL
     TAC”) consisting of one person designated by the DOE, one person designated by the



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     UFT, and a person mutually-selected by the parties. To ensure a meaningful and fair
     distribution of ratings, the MOSL TAC shall review the methodology and approach to the
     creation of growth models and their conversion charts and provide recommendations to
     the Chancellor. The Chancellor shall have final decision-making authority on the growth
     model conversion charts.
         k. Measures of Student Learning Options
         (1) For the 2014-15 school year and thereafter the DOE shall create new measures
     (referred to as “Linked Measures”) for Local and State Measures of Student Learning
     such that there is an option for each teacher to be evaluated based upon assessment
     results of students he/she teaches. Some or all assessments are not linked to courses the
     teacher teaches.
         (2) For the 2013-14 school year, the following process for “procedural appeals” will
     only apply to “Group Measures” ( i.e ., measures where teachers are evaluated based on
     the performance of some or all students they do not teach). For the 2014-15 and 2015-16
     school years, the following process for “procedural appeals” will apply to Linked
     Measures and Group Measures. For the 2016-17 school year and thereafter the following
     process for “procedural appeals” will apply only to Group Measures. In all cases,
     teachers with 50% or more of their Local or State Measures based on Linked
     Measures/Group Measures shall be eligible for the procedural appeals process.
         (3) If a teacher receives “Ineffective” ratings in both the State and Local Measures
     subcomponents and either is based on Linked Measures or Group Measures, and in that
     year the teacher receives either a “Highly Effective” or “Effective” rating on the
     Measures of Teaching Practice subcomponent, the teacher shall have a right to a
     “procedural appeal” of such rating to a representative of the DOE’s Division of Teaching
     and Learning.
         (a) If the teacher receives a “Highly Effective” rating on the Measures of Teaching
     Practice subcomponent, there shall be a presumption that the overall APPR rating shall be
     modified by the DOE such that the overall “Ineffective” rating becomes either an
     “Effective” rating (in the instance where b o th the State and Local Measures of Student
     Learning subcomponents are based on Linked Measures or Group Measures) or a
     “Developing” rating (in the instance where only one of the State or Local Measures of
     Student Learning subcomponents is based on Linked Measures or Group Measures);
         (b) If the teacher receives an “Effective” subcomponent rating on the Measures of
     Teaching Practice, there shall be a presumption that the overall APPR rating shall be
     modified by the DOE such that the overall “Ineffective” rating becomes a “Developing”
     rating if both the State and Local Measures of Student Learning subcomponents are based
     on Linked Measures or Group Measures. If only one of the State or Local Measures of
     Student Learning subcomponents be based on Linked Measures or Group Measures, the
     rating shall be appealed to the principal, who shall have the discretion to increase the
     teacher’s overall APPR rating. If the principal does not respond to the appeal, the
     teacher’s overall APPR rating shall be modified to a “Developing” rating.
         (c) The above-described procedural appeal process is separate and distinct from, and
     in addition to the appeal processes set forth in the Commissioner’s Decision.
         (4) In the event a teacher receives an “Highly Effective” rating in both the State and
     Local Measures of Student Learning, and neither is based on Linked Measures or Group
     Measures, and in that year the teacher is rated “Ineffective” on Measures of Teaching



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     Practice subcomponent, and this results in the teacher receiving an “Ineffective” overall
     APPR rating, the UFT may choose to appeal the rating to a three (3) member Panel
     consistent with the rules for Panel Appeals as described in Education Law §3012-c(5-a)
     and the Commissioner’s Decision. However, these appeals shall not be counted towards
     the 13% of “Ineffective” ratings that may be appealed pursuant to Education Law §3012-
     c(5-a)(d) and the Commissioner’s Decision.
         (5) The parties agree to meet each fall to review and discuss other types of anomalies
     in scoring and determine appropriate actions.
         (6) The DOE and UFT shall establish a Measures of Student Learning Central
     Committee consisting of an equal number of members selected by the DOE and the UFT
     (herein referred to as the “MOSL Central Committee”). The MOSL Central Committee
     shall convene within sixty (60) days after the ratification of this agreement by the UFT
     and each month thereafter. The MOSL Central Committee shall explore additional
     assessment options for the 2014-15 school year, which could include State-approved 3rd
     party assessments or existing assessments (e .g ., Fitnessgram, LOTE exams), and review
     and approval by the Chancellor, which would be offered as non-mandated options for
     State and Local Measures. The MOSL Central Committee shall also examine the current
     range of options and discuss expanded options for the State and Local Measures of
     Student Learning including, but not limited to, subject-based assessments, the use of
     portfolios, project-based learning, and/or semi-annualized/term course assessments. The
     MOSL Central Committee will also examine potential changes to the Local Measures
     default each school year. The MOSL Central Committee shall propose expanded options
     for the 2015-16 school year and thereafter. Expanded options proposed by the MOSL
     Central Committee shall be implemented for the 2015-2016 school year and thereafter
     subject to review and approval by the Chancellor. All MOSL options for the 2014-15
     school year and thereafter shall be shared with the MOSL Central Committee. The
     MOSL Central Committee shall review all MOSL options to determine which options
     shall be proposed to the Chancellor for approval. If members of the MOSL Central
     Committee cannot agree which options should be proposed to the Chancellor, the MOSL
     Central Committee members that are in disagreement may submit in writing to the
     Chancellor their reasons for disagreement. The Chancellor shall have final decision-
     making authority.
         (7) There will be no State Measures default. Principals must make decisions for State
     Measures for all applicable grades/subjects in their school by the deadline. For the 2014-
     15 school year, the Local Measures default for all schools shall be a school-wide measure
     of student growth based on all applicable assessments administered within the building
     which are limited to NYC Performance Assessments, if developed by August 1 prior to
     the start of the school year, and/or state-approved 3rd party assessments (Chancellor must
     select by August 1 prior to the start of the school year), and/or state assessments. The
     DOE and UFT shall annually review the Local Measures default and discuss the
     possibility of altering the default. If agreement is not reached at the conclusion of each
     year, the default will be the same as that used in the 2014-15 school year.
         (8) All decisions of the School MOSL Committee (as defined in the Commissioner’s
     Decision) must be recommended to the principal and the principal must (1) accept the
     recommendation (or opt for the Local Measures default); and (2) select the State
     Measures no later than ten (10) school days after the first day of school for students.



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          (9) In the event that a school uses the goal-setting option for State or Local Measures,
     teachers must submit their proposed goals to their building principal or designee no later
     than November 1 of each school year absent extraordinary circumstances. The principal
     or designee must finalize teachers’ goals no later than December 1 of each school year,
     absent extraordinary circumstances.
          (10) Teachers whose MOSL scores would have been subject to chart 2.11 or 3.13 of
     the Commissioner’s Decision shall now be assigned points such that 85%-100% of
     students must meet or exceed targets for a teacher to be rated “Highly Effective”; 55%-
     84% of students must meet or exceed targets for a teachers to be rated “Effective”; 30%-
     54% of students must meet or exceed targets for a teacher to be rated “Developing”; and
     0 % -2 9 % of students must meet or exceed targets for a teacher to be rated “Ineffective.”
          1. PeerValidator
          (1) Except as modified herein, the Peer Validator shall replace the Independent
     Validator and fulfill all of the duties of and comply with the provisions applicable to the
     Independent Validator set forth in Education Law §3012-c(5-a) and the Commissioner’s
     Decision.
          (2) Term: The Peer Validator program shall be two (2) school years (2014-15 and
     2015-16). At the end of the two years, the parties must agree to extend the Peer Validator
     program and in the absence of an agreement the parties shall revert to the Independent
     Validator process as set forth in Education Law § 3012-c(5-a) and the Commissioner’s
     Decision.
          (3) Selection: A joint DOE-UFT committee composed of an equal number of
     members from the UFT and the DOE (the “Selection Committee”) shall be established to
     determine selection criteria and screen and select qualified applicants to create a pool of
     eligible candidates. The Deputy Chancellor of Teaching and Learning shall select all
     Peer Validators from the pool of all eligible candidates created by the Selection
     Committee. To be eligible to become a Peer Validator an applicant must have at least
     five (5) years teaching experience; be tenured as a teacher; have received an overall
     APPR rating of “Highly Effective” or “Effective” (or “Satisfactory” rating where
     applicable) in the most recent school year; and either be a teacher, a teacher assigned, an
     assistant principal with reversion rights to a tenured teacher position, or an education
     administrator with reversion rights to a tenured teacher position.
          (4) Duties: The term for a Peer Validator shall be for two (2) years. All Peer
     Validators shall work under the title of Teacher Assigned A and shall have the same work
     year and work day as a Teacher Assigned A as defined in the collective bargaining
     agreement. Peer Validators shall report to the Deputy Chancellor of Teaching and
     Learning or his/her designee. Peer Validators shall conduct observations consistent with
     the Commissioner’s Decision and shall not review any evidence other than what is
     observed during an observation by the Peer Validator. All assignments are at the
     discretion of the DOE, however Peer Validators shall not be assigned to any school in
     which he/she previously worked. The parties agree to consult regarding Peer Validator
     assignments and workload. Peer Validators shall be reviewed and evaluated by the
     Deputy Chancellor of Teaching and Learning or his/her designee. The review and
     evaluation of a Peer Validator shall not be based in any way on whether the Peer
     Validator agrees or disagrees with the principal’s rating. A Peer Validator may be
     removed from the position at any point during the program provided that both the DOE



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     and UFT agree. Teachers who become Peer Validators shall have the right to return to
     their prior school at the end of their term as a Peer Validator.
         (5) Compensation: Peer Validators shall receive additional compensation in the
     amount of fifteen thousand dollars ($15,000.00) per year for the term of this agreement
     above the applicable teacher compensation in accordance with the collective bargaining
     agreement. Referral of Students for Evaluations
     K. Referral of Students for Evaluations
         Educators shall exercise proper discretion prior to referring students for evaluations,
     either for the provision of or decertification of special education services. To that end,
     the Board will maintain a work environment free from reprisals based upon the proper
     and professional exercise of responsibilities related to the identification of students who
     have or are suspected of having disabilities.
     L. Labor/Management Committee On Long Term Reforms
         With regard to the long term recommendations the 2005 Fact Finders made subject to
     adequate CFE funding, the parties shall establish a Labor Management Committee to
     discuss the following issues: a) bonuses, including housing bonuses, for shortage license
     areas; b) a pilot project for school-wide based performance bonuses for sustained growth
     in student achievement; c) salary differentials at the MA-5 through MA-7 levels; and d) a
     program for the reduction of class size in all grades and divisions. If the parties agree on
     the terms of any or all of these issues, they may be implemented by the Board using
     whatever funds may be identified.
     M. Housing Support Program for Shortage Area Teachers
         The parties agree to the terms of the Housing Support Program for Shortage Area
     Teachers set forth in the program description attached hereto as Appendix H.
     N. School Wide Bonus Program
         1. As set forth in Article 8L the Board and the UFT jointly support, and pledge to
     work together to implement on a pilot basis, a school-wide based bonus program pursuant
     to which educators will be awarded substantial cash bonuses for student achievement
     gains.
         2. The program will be initiated immediately, with bonuses awarded for
     achievement gains in the 2007-2008 school year. Subject to the successful solicitation of
     private funds, which the BOE and UFT commit to work together to raise as soon as
     practicable, approximately 15% of the City’s highest need schools will be eligible to
     participate in the program this first year. In consultation with the UFT, the BOE will
     identify approximately 200 of the highest-need schools in the City. Each will be invited
     to participate in the program, and the BOE and UFT jointly pledge to work in good faith
     to encourage them to do so both this year and throughout the life of the program.
         3. In future years, if the school-wide bonus program continues, awards will be
     funded from public appropriations which supplement and do not supplant funds available
     for collective bargaining.
         4. In 2008-09 at least 30% of BOE schools will be eligible to participate in the
     program. In consultation with the UFT, the BOE will identify approximately 400 of the
     highest-need schools in the City.
         5. Participation in the program will be at the option of each school as determined by
     a vote of fifty-five percent (55%) of the UFT-represented school staff and with the assent
     of the principal of the school. The vote shall be conducted by the UFT Chapter in the



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     school, held within six weeks of the announcement of the program and shall be an up or
     down vote without conditions or restrictions on the terms of the program as set out
     herein. Each year the bonus program is available eligible schools shall exercise the
     option to participate (“Participant Schools”) or not by the same voting procedure.
          6. A school’s agreement to participate in the bonus program shall be considered,
     along with other criteria, as a positive factor in determining whether the Participant
     School is to be phased out or given a year’s moratorium on a possible phase-out.
     Nothing herein alters applicable law with regard to school closings.
          7. Each Participant School will be eligible for a dollar award (“the pool”), which
     will be distributed to the school as a whole on the basis of the Progress Report or some
     other neutral criterion derived from the Progress Report.
          8. In consultation with the UFT, the BOE will set the criteria for awarding funds to
     schools. The criteria will provide objective standards/benchmarks aligned with Progress
     Report factors and the specific details of those standards/benchmarks will be
     communicated to schools when the program is announced. All Participant Schools that
     achieve the announced standards/benchmarks shall receive the applicable money award.
     There shall be no cap or ceiling imposed on the number of Participant Schools receiving
     the award, provided the school meets the standards/benchmarks. Neither shall the
     relative standings of the Participant Schools affect their entitlement to the award once
     they have met the standards/benchmarks.
         9. To account for variation in the size of schools, the size of the award each
     Participant School is eligible to receive will be determined by appropriate objective
     criteria.
          10. The amount of the average per-person award should be sufficiently substantial to
     make a material difference to each awardee. As outlined below, each Participant School
     will determine the methodology for distributing any award it earns for school-wide
     performance. The size of each Participant School’s total award for distribution in 2007-
     08 shall be the number of full-time UFT-represented employees on the school’s table of
     organization times three thousand dollars ($3,000).               In light of year-to-year
     appropriations uncertainties, nothing in this paragraph restricts the ability of the DOE to
     increase or decrease the total amount set annually for distribution pursuant to the
     program.
          11. Each Participant School will form a compensation committee composed of the
     principal and a principal’s designee (e.g., an assistant principal) and two UFT-represented
     staff members elected in a Chapter supervised election by the UFT-represented staff on
     an annual basis from among volunteers. The compensation committee will determine, by
     consensus, matters related to both eligibility for and the size of individual awards to
     UFT-represented staff members. However the compensation committee shall presume
     that all UFT-represented staff employed at a school that meets the targets for the bonus
     have contributed to the school’s achievement to some extent and therefore should share
     in the bonus. If there is no consensus the pool of money will not be distributed to the
     school.
          12. Among the topics each Participant School compensation committee may decide to
     consider, after receiving guidance from the BOE and UFT, are whether to make equal
     individual awards to all eligible UFT staff, equal awards to all those in the same title, or
     whether to make differential awards.



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          13. In making awards, a compensation committee shall not consider an awardee’s
     length of service, provided however that it may make particular determinations for
     individuals who served at the school for less than a full academic year.
          14. The school compensation committee shall make its decisions free of pressure
     from the BOE or UFT.
          15. Funds will be awarded to schools as soon as practicable after the BOE’s Office of
     Accountability has received and analyzed the information necessary to make the awards.
     To the extent such award is made after the beginning of the school year following the
     year that was the basis for the award, eligible staff who have left the school shall
     nevertheless share in the award for their contribution the prior year.
          16. The pilot school-wide bonus program shall be comprehensively evaluated by a
     mutually agreed upon outside independent entity which shall provide the parties with a
     written report and analysis of all aspects of its operation together with associated
     recommendations for future years the program is in operation.
          17. The Chancellor and the President of the UFT, or their designees, will constitute an
     Oversight Committee (OC) to review appeals of individual awards. However if the
     awards made by the compensation committee are ratified by a simple majority of the
     UFT Chapter voting by secret ballot, no appeal may be taken to the OC. The OC may
     modify a determination of a school compensation committee only if the OC, by
     consensus, finds that it was arbitrary, capricious or in clear violation of law or of the
     procedures and standards set out herein.
          18. This Article 8N is contingent on the implementation and passage of the legislation
     referred to in Paragraph 6 of the October 2005 Memorandum of Agreement between the
     parties entitled “Pension and Retirement Program.”
     O. Hard to Staff Differential
         In order to promote teacher retention and recruitment to high need schools which
     have staffing challenges, teachers who work and remain at designated Hard to Staff
     schools will be eligible to receive a Hard to Staff school annual salary differential. For
     each school year, the Chancellor shall have the sole discretion to determine the Hard to
     Staff schools that will be eligible and the amount of the differentiated compensation. The
     Chancellor will consult with the UFT prior to designating schools and the differential
     amount. The determinations as to the schools and amounts shall be final and not
     grievable. All teachers serving in these Hard to Staff designated schools, including
     transfers and new hires, shall be eligible to receive the same annual salary differential
     except as delineated below. The differential shall be paid in a lump sum by October 31
     of the following school year. To receive the differential, teachers must have earned a
     rating of “Highly Effective,” “Effective,” “Developing,” or “Satisfactory” where
     applicable, and be in active service in, or be on an approved leave from, the designated
     Hard to Staff school at the time the lump sum payment is made in the fall of the
     following school year. Teachers who serve less than five (5) months of cumulative active
     service at the school are not eligible to receive the differential. Teachers serving greater
     than five months but less than the full year shall receive a pro-rata share of the
     differential.




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                                          ARTICLE NINE
                           PROCEDURES FOR HANDLING SPECIAL
                                     BEHAVIOR PROBLEMS
         The Board agrees that the procedures and policies concerning the problem of
     disruptive children, embodied in the Special Circular which is reproduced in Appendix B
     following this Agreement, will not be changed during the term of this Agreement, except
     that the Chancellor may modify the circular, provided that the Union finds such
     modification acceptable.
         The provisions of the circular shall be subject to the grievance procedure and to
     arbitration only for the purpose of determining whether there has been a failure to comply
     with the procedural steps prescribed in the circular.

                                           ARTICLE TEN
                                      SAFETY AND HEALTH
     A. Assistance in Assault Cases
         1. The principal shall report as soon as possible but within 24 hours to the Office of
     Legal Services, to the Chief Executive of School Safety and Planning and to the Victim
     Support Program that an assault upon a teacher has been reported to him/her. The
     principal shall investigate and file a complete report as soon as possible to the Office of
     Legal Services and to the Chief Executive of School Safety and Planning. The full report
     shall be signed by the teacher to acknowledge that he/she has seen the report and he/she
     may append a statement to such report.
         2. The Office of Legal Services shall inform the teacher immediately of his/her
     rights under the law and shall provide such information in a written document.
         3. The Office of Legal Services shall notify the teacher of its readiness to assist the
     teacher.
         This assistance is intended solely to apply to the criminal aspect of any case arising
     from such assault.
         4. Should the Office of Legal Services fail to provide an attorney to appear with the
     teacher in Family Court, the Board will reimburse the teacher if he/she retains his/her
     own attorney for only one such appearance in an amount up to $40.00.
         5. An assaulted employee who presses charges against his/her assailant shall have
     his/her days of court appearance designated as non-attendance days with pay.
         6. The provisions of the 1982-83 Chancellor’s Memorandum entitled “Assistance to
     Staff in Matters Concerning Assaults” shall apply.
     B. School Safety
         The principal is charged with the responsibility of maintaining security, safety and
     discipline in the school. To meet this responsibility he/she shall develop in collaboration
     with the Union chapter committee and the parents association of the school a
     comprehensive safety plan, subject to the approval of the Chief Executive of School
     Safety and Planning.
         The safety plan will be updated annually using the same collaborative process, and
     reports of any incidents shall be shared with the chapter leader.
         A complaint by a teacher or the chapter leader that there has been a violation of the
     safety plan may be made to the principal as promptly as possible. He/she will attempt to
     resolve the complaint within 24 hours, after receiving the complaint. If the teacher or



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     chapter is not satisfied, an appeal may be made to the Chief Executive of School Safety
     and Planning who will arrange for a mediation session within 48 hours. If the
     teacher/chapter is not satisfied with the results of the mediation, an appeal may be made
     by an expedited arbitration process, to be developed by the parties.
     C. Citywide Security and Discipline Committee
          1. The Union and the Board shall establish a joint committee which shall meet on a
     regular basis to discuss and consider appropriate means of resolving safety and discipline
     issues. Other city agencies will be invited to participate when the Union and Board deem
     it appropriate.
         2. The joint committee or joint designees and any experts the Union and/or Board
     may designate will have access to all schools and other Board workplaces in which staff
     represented by the Union are assigned for the purpose of investigating and assessing
     allegedly unsafe working conditions. If possible, such visits shall be made on reasonable
     notice to the school, and in a manner that minimizes disruption to the school or other
     workplace.
         3. The joint committee, from time to time, may establish sub-committees to deal
     with special safety/discipline issues. It shall establish a sub-committee to deal with the
     issues of safety and discipline in special education schools and programs.
     D. Environmental Health and Safety Joint Committee
          1. The Union and the Board shall establish a joint committee which shall meet on a
     regular basis to discuss and consider appropriate means of resolving health and safety
     issues. The School Construction Authority will be invited to participate on issues raised
     by school capital modernization projects.
         2. The joint committee or joint designees, and any experts the Union and/or the
     Board may designate, will have access to all schools and other Board workplaces in
     which staff represented by the UFT are assigned for the purpose of investigating and
     assessing allegedly hazardous working conditions. Such visits will be made upon
     reasonable notice to the Board’s office of occupational safety and health and in a manner
     that minimizes disruption to the school or other workplace.
     E. Safe Environment
          1. In recognition of the importance of employee safety and health, the Board agrees
     to provide the appropriate recognized standards of workplace sanitation, cleanliness,
     light, and noise control, adequate heating and ventilation. The Board of Education agrees
     to eliminate recognized hazards that are likely to cause serious physical harm.
         2. If the Union believes a situation has arisen that is likely to cause serious physical
     harm, it may bring it to the attention of the Chancellor or designee who shall immediately
     assess the situation, including onsite inspection where appropriate, and take such action
     as the Chancellor deems appropriate. In the event the Union seeks to contest the
     Chancellor’s determination, it may exercise its statutory rights under New York State
     Labor Law Section 27a (PESH) or other legal authority.
         3. The Board will issue a circular advising staff of their rights under PESH and other
     applicable law and post the notices required by law.
     F. Renovation and Modernization
         The Union and the Board believe that modernization and renovation projects are vital
     to enable children to receive the educational services to which they are entitled.
     However, in order to limit any educational disruption that a modernization project can



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     create, and to protect the health and safety of the staff and students that use a school
     setting undergoing modernization, the Board and Union have agreed to standard
     procedures to help to ensure that health, safety and educational standards are maintained
     during school capital modernization projects. These standard procedures will be applied
     in school capital modernization projects undertaken by the School Construction Authority
     and will be posted and reviewed with all staff in any school undergoing modernization.
     Where conditions require it, the standard procedures may be modified after consultation
     with the Union.
     G. Science Experiment Review Panel
         The Board and the Union have established a panel that considers disputes raised by
     staff members concerning the safety and efficacy of scientific experiments and
     procedures in schools. The panel consists of three laboratory specialists and three science
     teachers selected by the Union and three science supervisors selected by the Board. The
     chair will rotate annually between persons designated by the Board and the Union.
         The panel will consider any dispute brought to its attention in writing and will
     expeditiously issue a written opinion as to whether and how the disputed experiment or
     procedure should be conducted. Any use of the disputed experiment or procedure will be
     governed by the panel’s opinion, and at least one supervisor, lab specialist and science
     teacher must concur before the issuance of any opinion.
         The panel’s opinions will be widely disseminated to appropriate divisions and
     schools, and will serve as guidelines for similar experiments or procedures.
     Administrative procedures governing the panel’s operations will be issued by the
     Chancellor after consultation with the Union.
     H. Identification Cards
         The Board will institute on an experimental basis in several high schools the use of
     identification cards for both staff and students to determine their value as a device for
     maintaining security in the school.

                                ARTICLE ELEVEN
                   RATES OF PAY AND WORKING CONDITIONS OF
                TEACHERS ASSIGNED, EDUCATION ADMINISTRATORS,
                   EDUCATION ANALYSTS, EDUCATION OFFICERS,
                 PROFESSIONAL DEVELOPMENT ASSIGNMENTS AND
                 POSITIONS, AND TEACHER LEADERSHIP POSITIONS

                                       I. Teachers Assigned

     A. Benefits and Working Conditions
         Teachers assigned shall be covered by the provisions of this Agreement except that:
         1. A teacher assigned who has been granted additional compensation by Board
     resolution shall continue to receive such additional compensation while in such
     assignment in accordance with the terms of the Board resolution.
         2. Only the following provisions of Article Five entitled “Licensure, Assignment,
     and Appointment’’ shall apply: Section E, “Withdrawal of Resignation and Subsequent
     Reappointment”; Section F, “Absence Without Notice;” and Section G, “Return to
     Former License of Appointment.”



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         3. Only the following provisions of Article Seven entitled “Programs, Assignments
     and Teaching Conditions in Schools and Programs” shall apply: Section I, “Acting
     Supervisory Positions” to be applicable to district offices and central headquarters;
     Section P, “Regular Part-Time Assignments for Appointed Teachers’’ (to the extent
     consistent with status as a teacher assigned) and Section S, “Additional Facilities.”
         4. Only the following provisions of Article Eight entitled “Education Reform” shall
     apply: Section H, “Professional Development and Second Differential” Section I,
     “Reduction of Paperwork”; Section J, “Evaluation/Observation System;” and Section L,
     “Labor/Management Committee on Long Term Reforms.”
         5. Only Part I of this Article Eleven shall apply.
         6. Only the following provisions of Article Seventeen entitled “Retention, Excessing
     and Layoff’ shall apply: Section B, “Excessing Rules-Appointed Teachers”; Section D,
     “Layoff ’ and Section F, “Voluntary Severance for Personnel Who Have Been Excessed”.
         7. Only the following provision of Article Eighteen entitled “Transfers” shall apply:
     Section A, “General Transfers”.
         8. Only the following provision of Article Twenty-Three entitled “Special
     Complaints” shall apply: Section H, “Expansion of Special Complaint Procedure to
     Include Supervisors”.
         9. Only the following provision of Article 24 entitled “Professional Conciliation”
     shall apply: Section B; “District Level.”
          10. The following articles of this Agreement shall not apply: Article Six, “Hours”;
     Article Nine, “Procedures for Handling Special Behavior Problems”; Article Twelve,
     “Chapter 683 Program”; Article Thirteen, “Working Conditions of Per Diem Substitutes,
     Substitute Vocational Assistants, and Teacher’s Assistants”; Article Fourteen, “Rates of
     Pay and Working Conditions of Adult Education Teachers”; Article Fifteen, “Rates of
     Pay and Working Conditions of Per Session Teachers”; Article Nineteen C, “Leaves of
     Absence for Union Officers”; Article Nineteen J “Information at the School”; Article
     Twenty, “Matters Not Covered” (third paragraph) and Article Twenty-Four,
     “Professional Conciliation.”
     B. Assignment as a Teacher Assigned
          1. Notice of openings for positions as teachers assigned to district offices or central
     headquarters shall be posted. The notice shall set forth the job description and
     qualifications for the positions. Selection for the positions shall be from among qualified
     applicants who are regularly appointed teachers. Such notices shall be posted in all
     schools in the district for a position in a district office; or in all schools in the system for a
     position at central headquarters.
         2. Assignment to a district office or central headquarters will be on a voluntary basis
     for a specified period of time or without limit of time. At the end of the assignment the
     teacher shall have the right to return to the district from which he/she was assigned. In
     the case of assignment from a high school or organizational unit the teacher shall have
     the right to return to his/her former school or to the organizational unit.
         3. A teacher assigned who requests a return to his/her former position within one
     year or, if his/her assignment terminates sooner, at the end of the assignment, shall be
     returned to his/her former school in accordance with his/her seniority.
         4. An appropriately selected teacher assigned who requests an opportunity to return
     to the position from which he/she was excessed shall be returned to that position if within



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     a year a vacancy should occur in that position. If the teacher is serving in a school when
     the vacancy occurs, the return to position shall be effectuated at the next reorganization
     unless the school principal agrees to an earlier release.
         5. After at least one year as a teacher assigned, a teacher assigned who returns from
     any leave of absence with pay or from a leave without pay of one year or less shall be
     returned to the position from which he/she took the leave, in accordance with his/her
     seniority in that position, provided he/she meets the qualifications for the position as they
     then exist.
         6. After at least one year as a teacher assigned, a teacher assigned who returns from
     a leave of absence without pay of more than one year shall be returned to that position
     from which he/she took the leave provided a vacancy exists. If no vacancy exists the
     teacher will be placed in excess and Paragraph 4 above shall apply.
     C. Hours of Service
         The hours of service of a teacher assigned shall be thirty-seven and one-half hours per
     week exclusive of a daily thirty minute lunch period. The daily schedule of work shall be
     9 a.m. to 5 p.m. unless otherwise specified in the assignment.
     D. WorkYear
         1. The work year of a teacher assigned whose work is preponderantly connected
     with school year instructional programs, their staff and/or students shall be the same work
     year as a day school teacher and in addition the teacher assigned may be required to serve
     a week during the Christmas recess, Easter recess or the summer vacation period.
         2. The work year for all other teachers assigned shall commence on September 1 of
     each year and end on the following August 31. During each such work year the teacher
     assigned shall be granted 31 days vacation to be scheduled during the Christmas recess,
     Easter recess, summer vacation period and such other periods as can be mutually
     arranged with the head of the office or other organizational unit.

                                   II. Education Administrators

     A. Applicability
        Education Administrators covered by this Agreement are all non-supervisory
     Education Administrators at Level I.
     B. Salaries
        1. Salary Adjustments, Ranges and Longevities
        a.       During the term of this Agreement the salary range exclusive of longevities
     applicable to Education Administrators (Level I) in the unit shall be:
            Effective Date             Minimum                      Maximum
            May 19, 2008               $82,726                      $102,955
            May 1, 2013                $83,553                      $103,985
            May 1, 2014                $84,389                      $105,025
            May 1,2015                 $86,938                      $108,197
            May 1,2016                 $89,972                      $111,974
            May 1,2017                 $94,066                      $117,069
            May 1,2018                 $95,910                      $119,364
            June 16,2018               $98,787                      $122,945
        b. Incumbent increases during the term of this Agreement shall be:



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             Effective Date               Increase1
             May 1, 2013                  1%
             May 1, 2014                  1%
             May 1,2015                   2%
             May 1,2015                   1%
             May 1,2016                   2%
             May 1,2016                   1.5%
             May 1,2017                   2%
             May 1,2017                   2.5%
             May 1,2018                   2%
             June 16,2018                 3%
             Appointed Education Administrators are eligible for annual longevity increments
            amount set forth below in accordance with Appendix A II C:
             Effective Date             After 5 Years       After 20 Years      After 22 Years
             May 19, 2008               $1,000              $4,480              $5,485
             May 1, 2013                $1,010              $4,525              $5,540
             May 1, 2014                $1,020              $4,570              $5,595
             May 1,2015                 $1,051              $4,708              $5,764
             May 1,2016                 $1,088              $4,872              $5,965
             May 1,2017                 $1,138              $5,094              $6,236
             May 1,2018                 $1,160              $5,194              $6,358
             June 16,2018               $1,195              $5,350              $6,549
         2. Initial Appointment or Assignment
         Education Administrators newly assigned or appointed during the term of this
     Agreement shall be placed at the minimum of the applicable range except:
         a. E.A.’s whose service immediately prior to assignment or appointment as an E.A.
     was with the Board shall receive a 10% salary increase or the minimum salary of the
     range, whichever is greater.
         b. E.A.’s with service immediately prior to assignment or appointment as an E.A. in
     a non-Board position related to their E.A. position may receive up to 10% more than their
     salary in the related position.
         c. If, prior to appointment or assignment to a job, it is established that the scope of
     the duties and responsibilities of the job are substantially greater than the scope of the
     duties and responsibilities of relatedjobs at the minimum of the applicable salary range, a
     higher salary rate shall be set, consistent with the scope of the duties and responsibilities,
     following audit and review by the Division of Human Resources and after consultation
     with the Union and the approval by the Chancellor. In case of disagreement as to the
     determination or the rate, the dispute may be submitted for a determination through the
     grievance and arbitration procedure. Pending final determination of the dispute, the
     minimum of the applicable range shall be paid. It is understood that the salary above the
     minimum is set for the specificjob.
         d. Salary placement pursuant to paragraph a, b, or c above shall not exceed the
     maximum of the applicable range.



     1 These increases are compounded in accordance with the agreement of the Parties.


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     C. Benefits and Working Conditions
         Education Administrators shall be covered by the provisions of this Agreement
     except:
         1. Only the following provisions of Article Three entitled “Salaries and Benefits of
     Day School Teachers” shall apply: Section G, “Health Insurance and Welfare Fund
     Benefits”; Section H, “Reimbursement for Medical Expenses”; Section I, “Damage or
     Destruction of Property”; Section K2 “Transportation Benefit Program”; Section L,
     “Salary Payment,” (Paragraphs 1 and 3); Section M, “Performance Incentives
     Committee”; Section N, “Ratification Bonus”; Section 0 , “Structured Retiree Claims
     Settlement Fund”; Section P, “Lump Sum Payments Stemming From the 2009-2011
     Round of Bargaining”; and Section Q, “Healthcare Savings”.
         2. Only the following provisions of Article Five entitled “Licensure, Assignment
     and Appointment” shall apply: Section E, “Withdrawal of Resignation and Subsequent
     Reappointment” subject to the procedures set forth in Chancellor’s Regulation C-30;
     Section F, “Absence without Notice”; and Section G, “Return to Former License of
     Appointment.”
         3. Only the following provisions of Article Seven entitled “Programs, Assignments
     and Teaching Conditions in Schools and Programs” shall apply: Section I, “Interim
     Acting Supervisory Positions” to be applicable to district offices and central headquarters
     Section P, “Regular Part-Time Assignments for Appointed Teachers” (to the extent
     consistent with status as an Education Administrator) and Section S, “Additional
     Facilities.”
         4. Only the following provisions of Article Eight entitled “Education Reform” shall
     apply: Section I, “Reduction of Paperwork”; Section J, “Evaluation and Observation
     System” and Section L, “Labor/Management Committee On Long Term Reforms.”
         5. Only Part II of this Article Eleven shall apply.
         6. Only the following provisions of Article Sixteen entitled “Leaves” shall apply:
     Section F, “Military Service Pay”; Section G, “Payment for Jury Duty” and Section I,
     “Discipline for Authorized Absences”.
         7. Only the following provisions of Article Seventeen entitled “Retention, Excessing
     and Layoff’ shall apply: Section B, “Excessing Rules-Appointed Teachers”; Section C,
     “Appointment to New Program, License or Title”; Section D, “Layoff ’ and paragraph 1
     of Section F, “Voluntary Severance for Personnel Who Have Been Excessed”
         8. Only Section A, “General Transfers” and Section B, “Hardship Transfers,” of
     Article Eighteen entitled “Transfers and Staffing” shall apply.
         9. Article Nineteen, entitled “Union Activities, Privileges, and Responsibilities”
     shall apply except for Section B, “Time for Union Representatives” and Section C,
     “Leaves of Absence for Union Officers”.
         10. The following Articles shall not apply: Article Six entitled “Hours”; Article Nine
     entitled “Procedures for Handling Special Behavior Problems”; Article Twelve entitled
     “Chapter 683 Program”; Article Thirteen entitled “Working Conditions of Per Diem
     Substitutes, Substitute Vocational Assistants, and Teacher’s Assistants”; Article Fourteen
     entitled “Rates of Pay and Working Conditions of Adult Education Teachers”; Article
     Fifteen entitled “Rates of Pay and Working Conditions of Per Session Teachers”; and
     Article Twenty-Four entitled “Professional Conciliation”.




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     D. WorkWeek
         The hours of work for Education Administrators shall be thirty-seven and one-half
     hours per week, exclusive of a daily thirty minute lunch period.
     E. WorkYear
         Education Administrators shall have a workyear beginning September 1 and ending
     the following August 31.
         Education Administrators will be paid for all Board of Education holidays and all
     other days on which their office is closed for special observance or emergency pursuant
     to action of the Chancellor or community superintendent.
     F. SickLeave
          1. A sick leave allowance of one day per month of service shall be credited to
     Education Administrators and shall be used only for personal illness of the employee.
         2. Education Administrators may use two of the sick days allowed per year for the
     care of ill family members.
         For the purpose of this provision, family member shall be defined as: spouse; natural,
     foster or step parent; child; brother or sister; father-in-law; mother-in-law; any relative
     residing in the household; and domestic partner, provided such domestic partner is
     registered pursuant to the terms set forth in the New York City Administrative Code
     Section 3-240 et seq.
         3. Sick leave allowance is cumulative up to 200 days.
         4. Proof of illness may be required for absences of more than three consecutive
     workdays.
         5. The normal unit of charge against sick leave allowance is one-half day. However,
     the Education Administrator’s immediate supervisor may approve the use of units of one
     hour.
         6. In the calculation of sick leave allowance, a full month’s credit shall be given to
     an Education Administrator who has been in full pay status for at least 15 calendar days
     during that month, provided that: (a) where an Education Administrator has been absent
     without pay for an accumulated total of more than 30 calendar days in the workyear,
     he/she shall lose the sick leave credits eamable in one month for each 30 days of such
     accumulated absence even though in full pay status for at least 15 days in each month
     during this period, and (b) if an Education Administrator loses sick leave allowance under
     this rule for several months in the workyear because he/she has been in full pay status for
     fewer than 15 days in each month, but accumulated during said months a total of 30 or
     more calendar days in full pay status, the Education Administrator shall be credited with
     the sick leave allowance eamable in one month for each 30 days of such full pay status.
         7. Where an Education Administrator is hospitalized on annual leave the period of
     such verified hospitalization shall be charged to sick leave and not to annual leave.
     Where an Education Administrator is seriously disabled but not hospitalized while on
     annual leave and providing the Education Administrator submits proof of such disability
     satisfactory to the Executive Director of Human Resources, written approval of the
     Executive Director may be given to charge such leave time to sick leave and not to
     annual leave at the employee’s option.
         8. Sick leave allowances accumulated in another Board or City position shall be
     transferred to the employee’s bank when he/she becomes an Education Administrator.




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         9.      At the discretion of the Executive Director of Human Resources and upon the
     recommendation of the appropriate superintendent:
         (a) Education Administrators who have exhausted all earned sick leave balances may
     be permitted to use unearned sick leave allowance up to the amount eamable in one year
     of service, chargeable against future earned sick leave; and
         (b) Education Administrators may also be granted sick leave with pay for three
     months after 10 years of City service, after all credits have been used. In special
     instances, sick leave with pay may be further extended, with the approval of the
     Executive Director of Human Resources. The Executive Director shall base the
     determination in this matter on the nature and extent of illness and the length and
     character of service. Such extension, if granted, may not exceed nine months.
     G. Annual Leave
         1.      Except as otherwise provided in subsection 2 of this Section G, Education
     Administrators shall have an annual leave allowance as follows:
         a. The annual leave allowance for Education Administrators hired on or after
     September9, 1985 shall accrue as follows:


     Years in Service                 Monthly Accrual            Annual Leave Allowance
     At the beginning            One (1) day per month after          10 workdays
     of the employee’s           the first two (2) months
     first year
     At the beginning of the     One (1) day per month plus           13 work days
     employee’s second year      one (1) additional day at the
                                 end of the second year
     At the beginning of the     One (1) day per month plus           13 work days
     employee’s third year       one (1) additional day at the
                                 end of the third year
     At the beginning of the     1% days per month                    15 work days
     employee’s fourth year
     At the beginning of the     1 2/3 days per month                 20 work days
     employee’s fifth year
     At the beginning of the     Two (2) days per month plus          25 work days
     employee’s eighth year      one additional day at the end
                                 of the eighth through the
                                 fourteenth year
     At the beginning            2% days per month                    27 work days
     of the employee’s
     fifteenth year

         b.     The annual leave allowance of Education Administrators hired before September
     9, 1985 shall accrue as follows:
     Years of Continuous              Monthly Accrual Rate    Annual Leave Allowance


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     Board and/or City Service
     Less than 8 Years                      1 2/3 days                 20 work days
     8 t o l 5 years                2 days plus one additional         25 work days
                                        day in December
     15 years or more                        2% days                   27 work days

         2. Education Administrators entitled to 31 days annual leave prior to September 9,
     1980 shall continue to earn annual leave at the rate of 31 days per year (based on a
     monthly accrual rate of two and one-half (2%) days per month, plus one additional day
     (3% days) for the month ofDecember).
         3. In calculating years of continuous service for purposes of annual leave allowance
     under subsection 1 of this Section G, credit shall be given for all active City service,
     including pedagogical and non-pedagogical service in the Board of Education and service
     in City agencies. Continuity of service shall not be deemed to be interrupted except by
     separation from service for a continuous period of more than one year and one day.
         4. Up to two years’ annual leave allowance may be accumulated by an Education
     Administrator and carried over from one work year to another.
         5. For good reason an Education Administrator may request and the appropriate
     superintendent may permit the use of up to ten days of annual leave allowance before it is
     earned.
         6. Use of accrued annual leave shall be scheduled by mutual agreement of the
     Education Administrator and his/her superior. The employee’s preference shall not be
     unreasonably denied.
         If an Education Administrator’s request to use annual leave is denied, he/she shall be
     entitled to carry over that portion of his/her annual leave allowance so denied for one
     additional work year notwithstanding that his/her accrual of annual leave may thereby
     exceed two years’ entitlement.
         7. The minimum unit of charge against annual leave allowance shall be one hour.
          8. For the earning of annual leave allowance under subsection 1 of this Section G, a
     full month’s allowance shall be earned by an employee who had been in full pay status
     for at least 15 calendar days during that month, provided that: (a) where an employee had
     been absent without pay for an accumulated total of more than 30 calendar days in the
     work year, the employee shall lose the annual leave allowance eamable in one month for
     each 30 days of such accumulated absence, even though in full pay status for at least 15
     calendar days in each month during this period; and (b) if an employee loses annual leave
     under this rule for several months in the work year because the employee had been in full
     pay status for fewer than 15 days in each month, but accumulated during said months a
     total of 30 or more calendar days in full pay status, such employee shall be credited with
     annual leave eamable in one month for each 30 days of such full pay status.
     H. Leaves Without Pay
          1.      Leaves of absence without pay may be granted to Education Administrators on
     application for a period of three years or less for the purpose of study, restoration of
     health, or for other satisfactory reasons on the same basis as apply to other pedagogical
     employees.




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         2. No Education Administrator upon return to actual service shall be placed on a
     salary step or salary level lower than his/her salary step or salary level immediately prior
     to the initial date of the leave.
         3. Through at least July 31, 1995 the Board will implement a liberal policy
     concerning the granting of leaves of absence without pay to UFT bargaining unit
     members who meet the stated criteria for such leaves. Bargaining unit members who are
     denied such a leave at the school or district level may appeal to the Executive Director of
     the Division of Human Resources for review and final determination.
     I. Vested Benefits
         All annual leave, sick leave, sabbatical leave, compensatory and Cumulative Absence
     Reserve time balances to the credit of an Education Administrator as of March 31, 1979
     shall remain to the employee’s credit. Such balances may be used in accordance with
     leave regulations and to the extent not used are applicable toward terminal leave, leave in
     lieu of sabbatical and/or separation or termination from employment.

                         III. Education Officers and Education Analysts

     A. Applicability
         Education Officers and Education Analysts covered by this Agreement are:
     employees in the titles Education Officer, Education Analyst, Associate Education
     Officer, and Associate Education Analyst except those serving in the Offices of the
     Chancellor, Deputy Chancellors, Labor Relations and Collective Bargaining, and Legal
     Services; those serving in the Office of Budget Operations and Review and in the
     Division of Human Resources, except employees who are neither managerial nor
     confidential as defined in Section 201.7 of Article 14 of the CSL; and those serving
     elsewhere in the Board of Education who are managerial or confidential as defined in
     Section 201.7of Article 14of the CSL.
     B. Salaries
         1. Salary Adjustments, Ranges and Longevities
         a. The salary ranges exclusive of longevities applicable to Education Officers and
     Education Analysts in the unit shall be:

                                    Education Analyst/Officer

            Effective Date              Annual                      Hourly
            May 19, 2008                $57,773-$74,711             $29.52-$38.17
            May 1, 2013                 $58,351-$75,458             $29.82-$38.55
            May 1, 2014                 $58,935-$76,213             $30.12-$38.94
            May 1,2015                  $60,715-$78,515             $31.03-$40.12
            May 1,2016                  $62,834-$81,255             $32.11-$41.52
            May 1,2017                  $65,693-$84,952             $33.57-$43.41
            May 1,2018                  $66,981-$86,617             $34.23-$44.26
            June 16,2018                $68,990-$89,216             $35.26-$45.59

                               Associate Education Analyst/Officer




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             Effective Date                   Annual                          Hourly
             May 19, 2008                     $75,828-$98,180                 $38.75-$50.19
             May 1, 2013                      $76,586-$99,162                 $39.14-$50.69
             May 1, 2014                      $77,352-$100,154                $39.53-$51.20
             May 1,2015                       $79,688-$103,179                $40.72-$52.75
             May 1,2016                       $82,469-$106,780                $42.14-$54.59
             May 1,2017                       $86,221-$111,638                $44.06-$57.07
             May 1,2018                       $87,911-$113,827                $44.92-$58.19
             June 16,2018                     $90,548-$117,242                $46.27-$59.94

     b.      Incumbents will have the following salary adjustments:

             Effective Date                   Increase2
             May 1, 2013                      1%
             May 1, 2014                      1%
             May 1,2015                       2%
             May 1,2015                       1%
             May 1,2016                       2%
             May 1 2016                       1.5%
             May 1,2017                       2%
             May 1,2017                       2.5%
             May 1,2018                       2%
             June 16,2018                     3%

        c. Longevities
        Longevities for ]Education Analysts, Education Officers, Associate Education
     Analysts and Associate Education Officers are set forth below, and are received upon
     completion of the requisite service in the Board ofEducation and the City ofNew York:

          Effective Date        5-Year           10-Year             15-Year             20-Year
          May 19, 2008          $750             $929                $1,862              $3,723
          May 1, 2013           $758             $938                $1,881              $3,760
          May 1, 2014           $766             $947                $1,900              $3,798
          May 1,2015            $789             $976                $1,957              $3,913
          May 1,2016            $817             $1,010              $2,025              $4,050
          May 1,2017            $854             $1,056              $2,117              $4,234
          May 1,2018            $871             $1,077              $2,159              $4,317
          June 16,2018          $897             $1,109              $2,224              $4,447

         2. Initial Appointment or Assignment
         Education Officers and Education Analysts newly assigned or appointed during the
     term of this Agreement shall be placed at the minimum of the applicable range except:
         a.      Education Officers and Analysts whose service immediately prior to assignment
     or appointment as an Education Officer or Education Analyst was with the Board shall


     2 These increases are compounded in accordance with the agreement of the Parties.


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     receive a salary no less than they were receiving immediately prior to such assignment or
     appointment.
         b. Education Officers and Education Analysts whose service immediately prior to
     assignment or appointment as an Education Officer or Analyst was in a non-Board
     position related to their Education Officer or Analyst position shall receive a salary no
     less than their salary in the related position.
         c. If, prior to appointment or assignment to a job, it is established that the scope of
     the duties and responsibilities of the job are substantially greater than the scope of the
     duties and responsibilities of relatedjobs at the minimum of the applicable salary range, a
     higher salary rate shall be set, consistent with the scope of the duties and responsibilities,
     following audit and review by the Division of Human Resources and after consultation
     with the Union and approval of the Chancellor. In case of disagreement as to the
     determination of the rate, the dispute may be submitted for a determination through the
     grievance and arbitration procedure. Pending final determination of the dispute, the
     minimum of the applicable range shall be paid. It is understood that the salary above the
     minimum is set for the specificjob.
         d. Salary placement pursuant to paragraph a, b, or c above shall not exceed the
     maximum of the applicable range exclusive oflongevities.
     C. Benefits and Working Conditions
         Education Officers and Analysts shall be covered by the provisions of this Agreement
     except:
         1. Only the following provisions of Article Three entitled “Salaries and Benefits of
     Day School Teachers” shall apply: Section H, “Reimbursement for Medical Expenses”;
     Section I, “Damage or Destruction of Property”; Section K2 “Transportation Benefit
     Program” Section L, “Salary Payment” (paragraph 3); Section M, “Performance
     Incentives Committee”; Section N, “Ratification Bonus”; Section 0 , “Structured Retiree
     Claims Settlement Fund”; Section P, “Lump Sum Payments Stemming From the 2009-
     2011 Round of Bargaining”; Section G, “Health Insurance and Welfare Fund Benefits”
     shall apply to employees assigned to work twenty hours or more per week.
         2. Only the following provisions of Article Four entitled “Pension and Retirement
     Program” shall apply: Section C, “Pension Legislation”; Section D, “Tax Deferred
     Annuity Plan”, and Section E, “Pension Benefits Agreement and Deferred Compensation
     Plan”.
         3. Only the following provision of Article Five entitled “Licensure, Assignment and
     Appointment” shall apply: Section F, “Absence without Notice”.
         4. Only the following provision of Article Seven entitled “Programs, Assignments
     and Teaching Conditions in Schools and Programs” shall apply: Section S, “Additional
     Facilities”.
         5. Only the following provisions of Article Eight entitled “Education Reform” shall
     apply: Section I, “Reduction of Paperwork” and Section L, “Labor/Management
     Committee on Long Term Reforms”.
         6. Only the following provisions of Article Sixteen entitled “Leaves” shall apply:
     Section F, “Military Service Pay”, Section G, “Payment for Jury Duty” and Section I,
     “Discipline for Authorized Absences”.
         7. Only Section B, “Hardship Transfers”, of Article Eighteen entitled “Transfers and
     Staffing” shall apply.



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         8. Article Nineteen, entitled “Union Activities, Privileges, and Responsibilities”
     shall apply except for Section B, “Time for Union Representatives” and Section C.
     “Leaves of Absence for Union Officers.”
         9. The following Articles shall not apply: Article Six entitled “Hours”; Article Nine
     entitled “Procedures for Handling Special Behavior Problems”; Article Twelve entitled
     “Chapter 683 Program”; Article Thirteen entitled “Working Conditions of Per Diem
     Substitutes, Substitute Vocational Assistants and Teacher’s Assistants”; Article Fourteen
     entitled “Rates of Pay and Working Conditions of Adult Education Teachers”; Article
     Fifteen entitled “Rates of Pay and Working Conditions of Per Session Teachers”; Article
     Seventeen entitled “Retention, Excessing and Layoff’; and Article Twenty-Four entitled
     “Professional Conciliation”.
     D. Workweek
         The hours of work for full-time Education Officers and Analysts shall be thirty-seven
     and one-half hours per week exclusive of a daily thirty-minute lunch period.
     E. Holidays
         Full-time Education Officers and Analysts will be paid for all Board of Education
     holidays and all other days on which their office is closed for special observance or
     emergency pursuant to action of the Chancellor or community superintendent.
     F. SickLeave
          1. A sick leave allowance of one day per month of service shall be credited to full-
     time Education Officers and Analysts and shall be used only for personal illness of the
     employee.
         2. Education Officers and Analysts may use two of the sick days allowed per year
     for the care of ill family members.
         For the purpose of this provision, family member shall be defined as: spouse; natural,
     foster or step parent; child; brother or sister; father-in-law; mother-in-law; any relative
     residing in the household; and domestic partner, provided such domestic partner is
     registered pursuant to the terms set forth in the New York City Administrative Code
     Section 3-240 et seq.
         3. Sick leave allowance is cumulative up to 200 days.
         4. Proof of illness may be required for absences of more than three consecutive
     workdays.
         5. The normal unit of charge against sick leave allowance is one-half day. However,
     the Education Officer’s or Analyst’s immediate supervisor may approve the use of units
     of one hour.
         6. In the calculation of sick leave allowance, a full month’s credit shall be given to
     an Education Officer or Analyst who has been in full pay status for at least 15 calendar
     days during that month, provided that: (a) where an Education Officer or Analyst has
     been absent without pay for an accumulated total of more than 30 calendar days in the
     work-year, he/she shall lose the sick leave credits eamable in one month for each 30 days
     of such accumulated absence even though in full pay status for at least 15 days in each
     month during this period, and (b) if he/she loses sick leave allowance under this rule for
     several months in the work-year because he/she has been in full pay status for fewer than
     15 days in each month, but accumulated during said months a total of 30 or more
     calendar days in full pay status, the Education Officer or Analyst shall be credited with
     the sick leave allowance eamable in one month for each 30 days of such full pay status.



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         7. Where an Education Officer or Analyst is hospitalized on annual leave the period
     of such verified hospitalization shall be charged to sick leave and not to annual leave.
     Where he/she is seriously disabled but not hospitalized while on annual leave and
     providing the Education Officer or Analyst submits proof of such disability satisfactory
     to the Executive Director of Human Resources, written approval of the Executive
     Director may be given to charge such leave time to sick leave and not to annual leave at
     the employee’s option.
         8. Sick leave allowances accumulated in another Board or City position shall be
     transferred to the employee’s bank when he/she becomes an Education Officer or
     Education Analyst only if any break in service is thirty-one days or less.
         9. At the discretion of the Executive Director of Human Resources and upon the
     recommendation of the appropriate superintendent:
         (a) Education Officers and Analysts who have exhausted all earned sick leave
     balances may be permitted to use unearned sick leave allowance up to the amount
     eamable in one year of service, chargeable against future earned sick leave; and
         (b) Education Officers and Analysts may also be granted sick leave with pay for three
     months after 10 years of City service, after all credits have been used. In special
     instances, sick leave with pay may be further extended, with the approval of the
     Executive Director of the Division of Human Resources. The Executive Director shall
     base the determination in this matter on the nature and extent of illness and the length and
     character of service. Such extension, if granted, may not exceed nine months.
     G. Annual Leave
         1. Except as otherwise provided in subsection 2 of this Section G, full-time
     Education Officers and Analysts shall have an annual leave allowance as follows:
         a. The annual leave allowance for Education Officers and Analysts hired on or after
     September9, 1985 shall accrue as follows:


     Years of Service                    Monthly Accrual            Annual Leave Allowance
     At the beginning of the        One (1) day per month after            10 workdays
     employee’s first year           the first two (2) months
     At the beginning of the        One (1) day per month plus             13 work days
     employee’s second year         one (1) additional day at the
                                      end of the second year
     At the beginning of the        One (1) day per month plus             13 work days
     employee’s third year          one (1) additional day at the
                                        end of the third year
     At the beginning of the             1% days per month                 15 work days
     employee’s fourth year
     At the beginning of the            1 2/3 days per month               20 work days
     employee’s fifth year
     At the beginning of the          Two (2) days per month               25 work days
     employee’s eighth year          plus one additional day at


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                                        the end of the eighth
                                    through the fourteenth year
     At the beginning of the            2% days per month                  27 work days
     employee’s fifteenth year

        b.    The annual leave allowance of Education Officers and Analysts hired before
     September9, 1985 shall accrue as follows:

     Years of Continuous              Monthly Accrual Rate          Annual Leave Allowance
     Board and/or City Service
     Less than 8 Years                       1 2/3 days                    20 workdays
     8 t o l 5 years                 2 days plus one additional            25 workdays
                                         day in December
     15 years ormore                          2% days                      27 workdays

         2. Education Officers and Analysts entitled to 31 days annual leave prior to
     September 9, 1980 shall continue to earn annual leave at the rate of 31 days per year
     (based on a monthly accrual rate of two and one-half (2%) days per month, plus one
     additional day (3% days) for the month of December).
         3. In calculating years of continuous service for purposes of annual leave allowance
     under this provision, credit shall be given for all active City service, including
     pedagogical and non-pedagogical service in the Board of Education and service in City
     agencies. Continuity of service shall not be deemed to be interrupted except by
     separation from service for a continuous period of more than thirty-one days.
         4. Up to two years’ annual leave allowance may be accumulated by an Education
     Officer or Analyst and carried over from one workyear to another.
         5. For good reason, Education Officers and Analysts may request and the
     appropriate community or assistant superintendent may permit the use of up to ten days
     of annual leave allowance before it is earned.
         6. Use of accrued annual leave shall be scheduled by mutual agreement of the
     Education Officer or Analyst and his/her superior. The employee’s preference shall not
     be unreasonably denied.
         If an Education Officer’s or Analyst’s request to use annual leave is denied, he/she
     shall be entitled to carry over that portion of his/her annual leave allowance so denied for
     one additional vacation year, notwithstanding that his/her accrual of annual leave may
     thereby exceed two years’ entitlement.
         7. The minimum unit of charge against annual leave allowance shall be one hour.
         8. For the earning of annual leave allowance hereunder, a full month’s allowance
     shall be earned by an employee who had been in full pay status for at least 15 calendar
     days during that month, provided that: (a) where an employee had been absent without
     pay for an accumulated total of more than 30 calendar days in the vacation year, the
     employee shall lose the annual leave allowance eamable in one month for each 30 days
     of such accumulated absence, even though in full pay status for at least 15 calendar days


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     in each month during this period; and (b) if an employee loses annual leave under this
     rule for several months in the vacation year because the employee had been in full pay
     status for fewer than 15 days in each month, but accumulated during said months a total
     of 30 or more calendar days in full pay status, such employee shall be credited with
     annual leave eamable in one month for each 30 days of such full pay status.
         9. The vacation year shall begin on May 1 and end the following April 30.
     H. Leaves Without Pay
         1. Leaves of absence without pay may be granted to Education Officers and
     Education Analysts on the same basis as apply to other administrative employees.
         2. No Education Officer or Analyst upon return to actual service shall be placed at a
     salary lower than his/her salary immediately prior to the initial date of the leave.
         3. Through at least July 31, 1995 the Board will implement a liberal policy
     concerning the granting of leaves of absence without pay to UFT bargaining unit
     members who meet the stated criteria for such leaves. Bargaining unit members who are
     denied such a leave at the school or district level may appeal to the Executive Director of
     Human Resources for review and final determination.
     I. Vested Benefits
         All annual leave, sick leave, sabbatical leave, compensatory and cumulative absence
     reserve time balances to the credit of an Education Officer or Analyst as of March 31,
     1979 shall remain to the employee’s credit. Such balances may be used in accordance
     with leave regulations and to the extent not used are applicable toward terminal leave,
     leave in lieu of sabbatical and/or separation or termination from employment.
     J. PostingVacancies
         Vacancies in Education Officer and Education Analyst positions shall be posted in
     places accessible to employees, and incumbents shall be invited to apply before a new
     employee is hired. Appointed employees shall have preference over provisionals.
     K. Reduction of Positions
         If there is a reduction of positions in any office or other organizational unit, thejunior
     Education Analyst or Education Officer, as appropriate shall be excessed to a vacancy or,
     if there is no vacancy, to the position held by a junior employee in the Board of
     Education. Provisionals shall be excessed before probationers, and probationers shall be
     excessed before permanent employees. Where a layoff situation exists in the Board of
     Education, the applicable provisions of law will be followed and those Education
     Officers or Education Analysts who are laid off without fault or delinquency will be
     placed on a preferred list for reinstatement to their positions.
     L. Seniority
         Except where otherwise applicable for layoff or for benefit entitlements, the seniority
     of Education Analysts and Education Officers shall be computed as the length of service
     as an Education Analyst or an Education Officer in the Board of Education.IV   .

                    IV. Professional Development Assignments and Positions




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         Lead Teachers, Mentors, Math and Literacy Coaches, and Lead Instructional Mentors
     are covered by all provisions of this Agreement not inconsistent with this Part IV of
     Article 11.3
     A. Lead Teachers
         The CC9 Lead Teacher Pilot Program will be expanded as follows and continue until
     September 1, 2015, at which time the position of Lead Teacher shall be abolished:
         1. The Chancellor will determine the number and location of lead teacher positions.
         2. Lead teachers will receive $10,710 ($10,817 as of May 1, 2013, $10,925 as of
     May 1, 2014, and $11,255 as of May 1, 2015) per year as a salary differential in addition
     to the applicable salary otherwise provided in this Agreement. Such salary differential
     shall be included in the gross annual salary of teachers to whom it is paid.
         3. In the elementary schools, each pair of lead teachers will have responsibility for
     one regular class. Each lead teacher will be programmed for a duty-free lunch period and
     a preparation period that will be scheduled at the same time as the preparation period of
     the lead teacher with whom they are sharing a class. Half of the remainder of the day
     will be spent teaching their class and half providing professional support to teaching staff.
         Middle School and High School lead teachers will be programmed for a duty free
     lunch and a preparation period each day. Lead teachers will teach three regular classes
     per day and will provide professional support to teaching staff three periods per day.
         4. Lead teachers will work as a group the five weekdays prior to the start of the work
     year for other teachers according to a plan set and approved by the applicable
     Superintendent. Lead teachers will work 4 hours per month outside of the normal
     workday, according to a schedule and plan set and approved by the applicable
     Superintendent at the start of the school year. Lead teachers shall not receive additional
     compensation for the work time specified in this paragraph.
         5. Lead Teachers will be selected and assigned in the following manner. Positions
     will be advertised through a Citywide posting and assigned to individual schools.
     Selection will be done in a two-stage process: First, a Central Personnel Committee (the
     “Committee”), made up of four representatives of the Chancellor, two representatives of
     the UFT President and two parent representatives (selected by the BOE after consultation
     with the UFT) shall review all applications for the Lead Teacher Position Citywide and
     create a single Pool of qualified applicants according to criteria established by the
     Committee. Selections, to the extent possible, shall be made by consensus. The
     Committee shall ensure that all applications for the Lead Teacher position are collected
     and that all members of the Committee are provided access to all applications for review.
     Any applicant that is not qualified to be a Lead Teacher shall not be selected for the Pool.
     Second, each participating school will establish its own personnel committee, made up of
     the principal, administration representatives, staff representatives and parent
     representatives, with a majority of teachers, to make selections from the Pool created by
     the Committee. Selections, to the extent possible, shall be made by consensus and the
     principal shall have the ability to veto any selections of such school committee.
     Selections shall be made exclusively from the Pool created by the Committee. No
     teacher may serve as a Lead Teacher unless selected by the Committee.


     3 The parties disagree as to the applicability of Section 9 of the October 2005 MOA to Sections A6, B5(d),
     B5(e) and B5(f) and C5,6 and 7 of this Part IV of Article 11.


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         6. Lead teachers leaving the assignment at the end of their first year as a lead teacher
     may return to a vacancy in the last school where they served before becoming a lead
     teacher and take their rightful place in seniority order, and if there is no vacancy in such
     school, to a vacancy in the district. In the alternative, the lead teacher may choose to be
     placed in a vacancy in the district where they served as a lead teacher.
         7. If a lead teacher is involuntarily removed in the middle of the year by the
     principal, the lead teacher will be placed in a vacancy in the district s/he is working in as
     a lead teacher or in a vacancy in the district s/he worked in immediately prior to
     becoming a lead teacher (at the lead teacher’s option). If no such vacancies exist, the
     lead teacher will be placed in the substitute pool in the district s/he served in as a lead
     teacher. At the end of the school year, the lead teacher shall be placed in a school
     pursuant to paragraph 6 above.
         8. Notwithstanding the foregoing, any lead teacher may be placed in a teaching
     vacancy in the school in which he or she is serving as lead teacher, with the consent of
     the lead teacher and such school’s principal.
         9. A lead teacher’s school seniority is determined in accordance with Article 29C of
     this Agreement.
          10. Grievances regarding this provision, except the selection of lead teachers, shall be
     governed by Article 22B1 except that applicants rejected by the Committee may
     challenge the Committee’s decision through the process set forth in Article 22E and if
     successful, will be included in the pool of applicants considered for selection. The Union
     may challenge the selection of a lead teacher at the school level by appealing to the
     Chancellor/designee, who will consult with the Union prior to rendering a decision. The
     Union may appeal the decision of the Chancellor/designee to the New York City Office
     of Labor Relations, which will issue a final and binding decision.
          11. Individuals serving as Lead Teachers through the end of the 2014-2015 shall take
     their rightful place in seniority order as teachers on the table of organization of the school
     to which they were assigned as Lead Teachers, unless they find another position
     (including, but not limited to, Peer Collaborative Teacher) in accordance with this
     Agreement.
     B. School Based Mentors
         1. New Teacher Induction Committee
         Each school will have a New Teacher Induction Committee (the “NTIC”) comprised
     of a principal or designee; chapter leader or designee; teachers; and representatives of
     constituency groups. A majority of the members of the NTIC shall be teachers. NTIC
     will be responsible for working with the principal and SSO designee to devise and
     execute a plan for providing mentoring for new teachers. The principal will make the
     final decision on the plan, provided that the plan must include in-classroom support and
     comport with the requirements below.
         2. Mentor Selection Process
         a.       If the plan encompasses a model that includes release time for classroom teachers
     to mentor or per session for mentors, the NTIC will work with the principal to design a
     school-based posting. The NTIC will interview applicants and recommend mentors.
     Once a roster of mentors is chosen, the committee will match mentors and new teachers.
     The final decision will be made by the principal. Employees will have the right, pursuant




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     to Article 22, to grieve whether there was a reasonable basis for the denial of a position
     when a posting is used.
         b. If the NTIC decides on a model that includes hiring “F” status teachers, the same
     interview and selection process will be utilized. (“F” status teachers may only be used in
     instances where the school cannot provide appropriate internal mentor matches.)
         c. Preference will be given to full-time teachers currently employed.
         3. Minimum Requirements for Mentors
         The minimum requirements for qualifying mentors are:
         a. 5 years of teaching in the New York City public schools preferred;
         b. Demonstrated mastery of pedagogical and subject matter skills;
         c. Evidence of excellent interpersonal skills; and
         d. Commitment to participate in professional development.
         4. Mentor Plan
         a. Mentors will be matched by license and level when possible.
         b. Mentor/new teacher contact time during the school day will be equivalent to two
     (2) periods per week or more.
         c. If the plan includes a full time mentor position, the ratio of mentor to new teacher
     may not exceed 1-15. This ratio shall not apply to Lead Instructional Mentors.
         d. If the plan includes mentoring to be performed by classroom teachers, it may
     require that he or she conduct mentoring activities during the mentor’s professional
     period, but may not require the classroom teacher to perform mentoring activities during
     his or her lunch or preparation periods. The plan may also include, without an SBO, a
     model pursuant to which mentors are provided release time for mentoring.
         e. Mentoring activities may include but not be limited to in-classroom support such
     as:
         (1) providing demonstration lessons
         (2) classroom inter-visitations
         (3) co-teaching activities
         (4) coaching conferences
         (5) co-planning lessons
         (6) collecting relevant classroom data
         f. Mentors and new teachers may (but will not be required to) meet before and/or
     after school for conferencing and planning activities with the approval of the principal.
     Both mentors and new teachers will be paid at the per session rate as per the collective
     bargaining agreement for this time.
         g. The BOE, in consultation with the UFT will work together to develop
     professional development for the school based mentors. The BOE and UFT will meet as
     necessary to discuss the implementation and effectiveness of the school-based mentoring
     program.
         5. The Mentor Position
         a. The Mentor position shall be for one year with option to reapply.
         b. The Mentors will be teachers and their work day and year will be governed by
     Article 6 of this Agreement. In addition to the time prescribed in Article 6, all Mentors
     will be required to work 18 hours after school during the school year. First-year Mentors
     will be required to attend three days of professional development in the summer
     preceding the start of their first school year in the Mentor program. For those unable to



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     attend the summer professional development session, a make-up session will be required
     during the month of September.
          c The Board will compensate the Mentors at the per session rate established by the
     Agreement for any hours or days worked pursuant to paragraph b that are outside of the
     regular teacher work day or year established by Article 6. Such work will not count as a
     per session activity for purposes of any restrictions on a Mentor’s ability to apply for
     other per session work.
          d. A mentor who leaves a mentoring assignment at the end of the first year of the
     assignment shall return to the last school where he or she served before becoming a
     mentor and take his or her rightful place in seniority order, unless he or she chooses to be
     placed in a vacancy in either the district(s) he or she served in as a mentor or the district
     he or she served in prior to becoming a mentor (if different), at his or her option (though
     the Board retains the right to determine the vacancy in which the mentor will be placed
     within the district chosen by the mentor).
          e. A mentor who leaves the assignment after the first year shall be returned to his or
     her former district in accordance with his or her seniority, unless he or she chooses to be
     placed in a vacancy in the school he or she served in prior to becoming a mentor or in a
     vacancy in the district(s) he or she served in as a mentor (if different), at his or her option
     (though the Board retains the right to determine the vacancy in which the mentor will be
     placed within the district chosen by the mentor).
          f. If a mentor is involuntarily removed in the middle of the year, the mentor may be
     placed (a) in a vacancy in the district(s) in which he or she is mentoring, (b) in a vacancy
     in the district he or she served in prior to becoming a mentor (if different) or, (c) in a
     vacancy in any other district, at the mentor’s option (though the Board retains the right to
     determine the vacancy in which the mentor will be placed within the district chosen by
     the mentor). If there is no vacancy, the mentor will be placed in the substitute pool in one
     of the districts in which he or she served as a mentor. At the end of such school year, the
     mentor shall be placed in a school pursuant to either paragraph d or e above, as
     applicable.
          g. The Board agrees to fund 1 UFT Teacher Center position, who will serve as a
     liaison to the director of mentoring. Such Teacher Center professional will report to both
     the Director ofNew Teacher Induction and the Director of the Teacher Center and will be
     rated by the Director ofNew Teacher Induction. The Director ofNew Teacher Induction
     has final say over assignments.
          h. The Board agrees to evaluate whether it can limit the ratio of teachers to mentors
     and/or seek additional funding to supplement the support given to mentors, consistent
     with budgetary restraints.
          6. Grievances
          Grievances regarding this Article 11 IV B, including selection of mentors, shall be
     governed by Article 22B1 of this Agreement.
     C. Math and Literacy Coaches
          1.      Coaches will be selected for terms of one school year pursuant to annual Citywide
     postings and assigned to individual schools. Coaches will serve the work day and year
     set forth in Article 6 of this Agreement.




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         2. Should a coach selected in one year wish to serve another term as a coach in the
     same school the following year and should the principal agree, the principal may select
     such coach for another year term without the need for the coach to reapply.
         3. Coaches will teach one regularly scheduled period per day which will be for the
     purpose of co-teaching and/or providing a demonstration lesson for the regular classroom
     teacher and/or other staff. Other than such regularly scheduled period, coaches shall not
     be required to teach or cover other classes. In the event that the principal requires the
     coach to perform other appropriate duties during this regularly scheduled teaching period,
     the coach will be relieved of such teaching period. Nothing in this paragraph shall
     prevent a coach from performing other demonstration lessons as part of his/her coaching
     duties.
         4. Coaches are eligible to apply for per session jobs appropriate to their regular
     license.
         5. A coach who leaves a coaching assignment at the end of the first year of the
     assignment shall return to the last school where he or she served before becoming a coach
     and take his or her rightful place in seniority order, unless he or she chooses to be placed
     in a vacancy in either the district he or she served in as a coach or the district he or she
     served in prior to becoming a coach (if different), at his or her option (though the Board
     retains the right to determine the vacancy in which the coach will be placed within the
     district chosen by the coach).
         6. A coach who leaves the assignment after the first year shall be returned to his or
     her former district in accordance with his or her seniority, unless he or she chooses to be
     placed in a vacancy in the school he or she served in prior to becoming a coach or in a
     vacancy in the district he or she served in as a coach (if different), at his or her option
     (though the Board retains the right to determine the vacancy in which the coach will be
     placed within the district chosen by the coach).
         7. If a coach is involuntarily removed in the middle of the year by the principal, the
     coach may be placed (a) in a vacancy in the district in which he or she is coaching, (b) in
     a vacancy in the district he or she served in prior to becoming a coach (if different) or, (c)
     in a vacancy in any other district, at the coach’s option (though the Board retains the right
     to determine the vacancy in which the coach will be placed within the district chosen by
     the coach). If there is no vacancy, the coach will be placed in the substitute pool in the
     district in which he or she served as a coach. At the end of such school year, the coach
     shall be placed in a school pursuant to either paragraph 5 o r 6 above, as applicable.
         8. Notwithstanding the number of years served as coach, any coach may be placed in
     a teaching vacancy in the school in which he or she is serving as a coach, with the
     consent of the coach and such school’s principal.
         9. A coach’s school seniority is determined in accordance with Article 28C of this
     Agreement.
         10. Grievances regarding this provision, including selection of coaches, shall be
     governed by Article 22B1 of this Agreement.
         11. The Board intends to provide coaches, with laptop computers or other similar
     computer devices to assist them with their work.
         12. Coaches having to travel outside the geographic area that constituted their region
     prior to the BOE’s 2007 reorganization for mandatory training are eligible for
     reimbursement for travel expenses under the Board’s Standard Operating Procedures.



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     D. Lead Instructional Mentors
          1. A Lead Instructional Mentor (“LIM”) will be part of a School Support
     Organization team and will work with approximately 20-25 schools. The primary
     responsibility of a LIM will be to build school capacity to develop the skills of its
     teaching population with a specific focus on new teachers. Because each school will be
     providing mentors to its new teachers, the LIM will help schools design and execute
     effective school-based mentoring programs.
         2. Selections of Lead Instructional Mentors shall take place pursuant to a two-stage
     process. First, selections will be made by a Citywide Personnel Committee (hereinafter
     the “LIM Committee”). The LIM Committee will be composed of a chair and three
     representatives designated by the BOE and three representatives designated by UFT. The
     LIM Committee shall review all applications for the LIM position citywide and create a
     single pool of qualified applicants according to criteria established by the LIM
     Committee. School Support Organizations (“SSOs”) will select LIMs from this single
     pool, except that, in the case of Partnership Support Organizations (“PSOs”), the
     selections shall be made by the Office of Partnership Support.
         3. All applicants will receive one of three letters from the LIM Committee within 15
     days of the closing date of the citywide posting. The three letters are as follows: a) the
     applicant has been moved forward for inclusion in the pool; b) the applicant has been
     rejected; and c) the applicant is being invited to interview with the LIM Committee. For
     applicants interviewed by the LIM Committee, the BOE shall attempt to notify rejected
     applicants on a “rolling basis” as soon as possible after the interview. All applicants
     interviewed by the LIM Committee shall be notified whether they have been moved
     forward for inclusion in the pool or rejected no later than 15 days after the date of last
     interview.
         4. The same procedures as set forth in Article 22E for grievances filed by applicants
     for the Lead Teacher Pool shall apply to applicants for LIM positions.
         5. All LIMs will be required to attend three days of professional development during
     the summer preceding the start of the 2007-2008 school year. LIMs will be compensated
     at the per session rate for this time. For those unable to attend the summer professional
     development session, a make-up session will be required during the month of September.
         6. Prior to the end of the 2007-2008 school year, the Board and the UFT will meet to
     assess the operation of the LIM position and make any appropriate agreed upon changes.

                                V. Teacher Leadership Positions

         The Union and DOE wish to create opportunities for exemplary teachers to remain in
     their title of teacher but to extend their reach and role through the establishment of
     Teacher Leadership positions including Master Teacher, Model Teacher, and Teacher
     Ambassador.
         A joint UFT-DOE Committee will be established for the Teacher Leadership
     Initiatives. For the 2014-15 school year, the Joint Committee on Teacher Leadership
     Initiatives will begin meeting as soon as practicable to ensure a timely implementation of
     the Teacher Leadership Initiative.       Thereafter, the Joint Committee on Teacher
     Leadership Initiatives will meet on a monthly basis or on another mutually agreeable
     basis to discuss policy aspects of the Teacher Leadership Initiative such as: the focus for



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     Teacher Leadership work; identification and dissemination of best practices; professional
     development priorities and design; and research including focus groups and surveys to
     obtain feedback and ensure continuous improvement in implementation. The Joint
     Committee on Teacher Leadership Initiatives shall issue findings and proposed actions to
     the Chancellor and the UFT President.
     A. TeacherAmbassador
         1. Teacher Ambassadors are teachers and other educators who volunteer to
     participate and are selected to be assigned for one (1) year (the “Ambassador Year”) to a
     paired Education Exchange School. Education Exchange Schools are schools paired
     within a borough where there has been a determination of interest and value in the
     sharing of instructional best practices, initiatives, and strategies through the temporary
     exchange of classroom teachers. Schools will be paired together based on a variety of
     factors such as school level, geography, and capacity to benefit from shared experience
     and exchange with another school community.
         2. The Chancellor will solicit recommendations for pairings from the broader
     education community and invite interested schools to submit a proposal. Interested
     schools will submit a proposal with a plan indicating the reasons schools wish to
     participate; evidence of consultation with the school community through the appropriate
     channels, e.g. the School Leadership Team; anticipated benefits to both schools, and plan
     for implementation. The DOE and UFT will jointly review the applications. The UFT
     will be consulted on Education Exchange School pairings before final designations are
     made. Education Exchange Schools will be selected by the Chancellor and the number of
     schools, if any, positions, and licenses will be at the discretion of the Chancellor. The
     Chancellor reserves the right to cancel the exchange for any pairing by notification to the
     UFT and affected parties by August 31.
         3. During the Ambassador Year, in addition to classroom teaching responsibilities,
     the Teacher Ambassadors will be expected, consistent with this Agreement, to support
     and engage in activities to promote the sharing, implementation and development of
     instructional best practices in both Exchange Schools. Teacher Ambassadors will have
     the same contractual rights and privileges as teachers except as set forth below.
         4. Teacher Ambassadors shall receive additional compensation in the amount of
     $7,500 per year for the term of this Agreement above the applicable teacher salary in
     accordance with this Agreement.
         5. Teacher Ambassadors will work an additional two (2) days during the summer to
     be scheduled during the week preceding Labor Day and an additional two (2) hours each
     month outside the normal workday, according to a schedule and plan set and approved by
     the Education Exchange School’s principal.
         6. For teachers serving as Teacher Ambassadors school seniority during and after
     the Ambassador year shall be considered to be continuous as if there is no change in
     schools.
         7. Teaching program assignments shall be at the discretion of the Education
     Exchange School principal.
         8. The Ambassador Year will be for one (1) school year, e.g. September to June.
     During that time, the Teacher Ambassador will be assigned to the Exchange School. At
     the conclusion of the Teacher Ambassador year, the teacher will be assigned back to their
     home school (i .e . , the school they were assigned to prior to the Ambassador Year).



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     Teacher Ambassadors must commit to serve the full school year in the Exchange School
     and must commit to serve at their home school at the conclusion of their Teacher
     Ambassador year for a minimum of one (1) additional school year. The Chancellor may
     waive these provisions in extraordinary circumstances.
         9. Teacher Ambassadors will be selected in the following manner:
         Postings will be developed jointly by the Exchange School principals in consultation
     with the UFT. The postings will delineate the teaching assignments in each school (e . g .,
     grade level(s) and subject). Postings will require an “Effective” or “Highly Effective”
     rating (or “Satisfactory” rating where applicable) in the prior school year for eligibility.
     Selection will be made by both principals in accord with the selection criteria contained
     in the posting. Selections will be made by the end of the school year or as soon thereafter
     as possible.
     B. Master Teacher
          1. In addition to their duties as a teacher, Master Teachers will take on additional
     responsibilities to support the instructional practice of other teachers in their school.
     Master Teachers will work closely with school leadership on developing instructional
     capacity through activities such as coordinating school-based instructional support
     activities; leading study groups around standards, assessments, and instruction; serving in
     teacher leadership positions on school teacher teams; coaching and debriefing with
     teachers after classroom visits; assisting in the establishment of teachers' professional
     development goals; and modeling best practices in their classroom. The Chancellor may
     establish Master Teacher positions under the auspices of the superintendent in a district
     whereby the Master Teacher may have the same responsibilities across more than one
     school in a district that he/she would have in a single school (i.e., developing
     instructional capacity through activities such as coordinating school-based instructional
     support activities; leading study groups around standards, assessments, and instruction;
     coaching and debriefing with teachers after classroom visits; assisting in the
     establishment of teachers' professional development goals; and modeling best practices).
     The superintendent will make selections of Master Teachers for this type of position from
     the pool of eligible candidates created by the UFT - DOE Joint Selection Committee.
     This type of Master Teacher position would be a citywide positing and upon the end of
     the term, the Master Teacher would be in excess in the district if they do not find another
     position. The posting will be jointly created by UFT and DOE and will address issues
     including but not limited to travel time, travel reimbursement, injury in the line of duty
     protections.
         2. Master Teachers shall receive additional compensation in the amount of $20,000
     per year for the term of this Agreement above the applicable teacher salary in accordance
     with this Agreement.
         3. Master Teachers will work an additional eight days during the summer to be
     scheduled according to a schedule and plan set and approved by the principal or, in the
     case of Master Teachers that have responsibilities across more than one school in a
     district or are supporting citywide initiatives, the superintendent. Master Teachers will
     also work an additional eight (8) hours each month during the school year outside the
     contractual workday according to a schedule created by the Master Teacher and approved
     by the principal.




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         4. Master Teachers will be relieved from a minimum of one (1) teaching period each
     day and will use this time as well as their professional periods to perform responsibilities
     associated with their position as a Master Teacher.
         5. The Master Teacher will carry out the additional responsibilities associated with
     his/her position as a Master Teacher during the contractual workday and the additional
     eight hours per month according to a plan created by the Master Teacher and reviewed
     and approved by the principal on a monthly basis.
         6. Participation by other teachers in activities involving the Master Teacher will be
     done in accordance with this Agreement.
         7. Master Teachers will be selected and assigned in the following manner:
         a. A UFT-DOE Joint Selection Committee consisting of an equal number of
     members selected by the Chancellor and by the UFT President will be established to
     screen and select qualified applicants to create a pool of eligible candidates. Postings
     will require an “Effective” or “Highly Effective” rating (or “Satisfactory” rating where
     applicable) in the prior school year for eligibility. The Joint Selection Committee may
     choose to have a process whereby incumbent Master Teachers may be renewed in the
     eligible pool through a modified screening and selection process.
         b. Unless otherwise agreed to by the parties, the Joint Selection Committee will post
     for the pool in the spring and conduct the screening and selection process by July 1.
     Final selections for candidates will be made by the conclusion of the Open Market. The
     Joint Selection Committee will agree to a process whereby, if necessary, additional
     vacancies that arise during the school year can be filled from qualified candidates.
         c. Principals will make selections of Master Teachers only from the pool of eligible
     candidates selected by the Joint Selection Committee. Individuals in the pool selected by
     a principal are not obligated to accept an offer for a Master Teacher position.
         The Master Teacher position will be for a term of one (1) year.
     C. Model Teacher
         1. In addition to their duties as a teacher, Model Teachers will take on additional
     responsibilities to support the instructional practice of other teachers in their school
     through activities such as establishing a laboratory classroom in their own classroom;
     demonstrating lessons; exploring emerging instructional practices, tools or techniques;
     and reflecting on and debriefing a visit from a colleague.
         2. Model Teachers shall receive additional compensation in the amount of $7,500
     per year for the term of this Agreement above the applicable teacher salary in accordance
     with this Agreement.
         3. Model Teachers will work an additional two (2) days during the summer to be
     scheduled during the week preceding Labor Day according to a schedule and plan set and
     approved by the superintendent. Model Teachers will also work an additional two (2)
     hours each month during the school year outside the contractual workday according to a
     schedule created by the Model Teacher and approved by the principal.
         4. Model Teachers will use their professional periods to perform responsibilities
     associated with their position as a Model Teacher. In elementary schools organized on a
     seven-period per day schedule, Model Teachers will be relieved of teaching for a
     minimum of two (2) periods per week to perform responsibilities associated with their
     position as a Model Teacher. In elementary schools organized on an eight-period per day
     schedule, Model Teachers will be relieved of teaching for a minimum of one (1) period



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     per week in addition to their weekly professional period to perform responsibilities
     associated with their position as a Model Teacher. In addition to these two periods,
     Model Teachers in elementary schools may request that principals work with them to try
     to identify additional opportunities in the school day/year to perform responsibilities
     associated with the position.
         5. The Model Teacher will carry out the additional responsibilities associated with
     their position as a Model Teacher during the contractual workday and the additional two
     (2) hours per month according to a plan created by the Model Teacher and reviewed and
     approved by the principal on a monthly basis.
         6. Participation by other teachers in activities involving the Model Teacher will be
     done in accordance with this Agreement.
         7. Model Teachers will be selected and assigned in the following manner:
         a. A UFT-DOE Joint Selection Committee consisting of an equal number of
     members selected by the Chancellor and by the UFT President will be established to
     screen and select qualified applicants to create a pool of eligible candidates. Postings
     will require an Effective or Highly Effective rating (or Satisfactory rating where
     applicable) in the prior school year for eligibility. The Joint Selection Committee may
     choose to have a process where incumbent Model Teachers may be renewed in the
     eligible pool through a modified screening and selection process.
         b. Unless otherwise agreed to by the parties, the Joint Selection Committee will post
     for the pool in the spring and conduct the screening and selection process by July 1 with
     final selections for candidates made by the conclusion of the Open Market. The Joint
     Selection Committee will agree to a process whereby, if necessary, additional vacancies
     that arise during the school year can be filled from qualified candidates.
         c. Principals will make selections of Model Teachers only from the pool of eligible
     candidates selected by the Joint Selection Committee. Individuals in the pool selected by
     a principal are not obligated to accept an offer for a Model Teacher position.
         8. The position will be for a term of one year.
     D. Peer Collaborative Teacher
         1. In addition to their duties as a teacher, Peer Collaborative Teachers will take on
     additional responsibilities to support the professional learning of their colleagues through
     peer coaching and intervisitation to improve student learning. Peer Collaborative
     Teachers will work with school leadership and their colleagues to promote professional
     learning through activities such as designing and facilitating professional learning
     sessions; providing focused peer coaching via classroom visits, debriefs and modeling of
     best practices; and working on teacher teams in a leadership role.
         2. Peer Collaborative Teachers shall receive additional compensation in the amount
     of $12,500 per year for the term of CBA above the applicable teacher salary in
     accordance with the CBA.
         3. Peer Collaborative Teachers will work an additional five days during the summer
     to be scheduled during the week preceding Labor Day according to a schedule and plan
     set and approved by the superintendent. Upon agreement with the UFT, the dates for
     these additional five days may be adjusted. Peer Collaborative Teachers will also work
     an additional five hours each month during the school year outside the contractual
     workday according to a schedule created by the Peer Collaborative Teacher and approved
     by the principal.



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         4. Peer Collaborative Teachers will be relieved from a minimum of one teaching
     period each day and will use this time as well as their professional periods to perform
     responsibilities associated with their position as a Peer Collaborative Teacher.
         5. The Peer Collaborative Teacher will carry out the additional responsibilities
     associated with his/her position as a Peer Collaborative Teacher during the contractual
     workday and the additional five hours per month according to a plan created by the Peer
     Collaborative Teacher and reviewed and approved by the principal on a monthly basis.
         6. Participation by other teachers in activities involving the Peer Collaborative
     Teacher will be in accordance with the CBA.
         7. Peer Collaborative Teachers will be selected and assigned according to the same
     procedures as are used to select and assign Master Teachers and Model Teachers.
         8. The Peer Collaborative Teacher position will be for a term of one year.
     E. General
          1. Selection decisions for the position of Master Teacher, Model Teacher, Peer
     Collaborative Teacher and Teacher Ambassador (together, “Teacher Leadership
     positions”) shall not be grievable. This includes both the selection for the actual position
     by the principal or entry into the pool of qualified candidates as determined by the Joint
     Selection Committee.
         2. Only tenured DOE teachers who have earned a rating of “Highly Effective,”
     “Effective” or “Satisfactory,” where applicable, in the prior school year will be eligible to
     serve in Teacher Leadership positions. A teacher earning any other rating is ineligible to
     continue to in the position. Additional criteria may be established by the Joint Selection
     Committee for each position. All DOE teachers, regardless of district, program or
     superintendency who meet the eligibility criteria, are eligible to apply.
         3. Teachers selected for a Teacher Leadership position are expected to remain in that
     position for the entire school year. However, during the year should the teacher and
     principal mutually agree that a teacher will not continue in the Teacher Leadership
     position, the teacher will remain in the school as a teacher without the additional
     compensation or responsibilities associated with that Teacher Leadership position.
         4. Should a teacher in a Teacher Leadership position be reassigned or go on a leave
     with pay he/she shall cease to earn the additional compensation.
         5. Master Teachers, Peer Collaborative Teachers and Model Teachers who have
     transferred from another school and who do not serve a second school year in the position
     or who by mutual agreement have ceased serving in the position during the school year,
     may at the end of the first school year return to the last school they served in provided
     there is a vacancy in their license area. If there is no vacancy then the teacher may return
     to the district/superintendency.
         6. Other than the above provision, during or after the school year, any issue
     regarding a Teacher Leadership leaving their position and their school is subject to
     regular transfer procedures.
         7. For the 2014-15 school year only, should the Chancellor implement Education
     Exchange Schools with Teacher Ambassador positions, then the Master Teacher, Peer
     Collaborative Teacher and Model Teacher positions must also be in effect.
         8. No later than August 1, 2014, the Chancellor will determine, at his/her sole
     discretion, whether or not the Master Teacher, Peer Collaborative Teacher and Model
     Teacher positions will be in effect for the 2014-15 school year. The Chancellor’s



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     determination shall be final and not grievable. Should the Chancellor choose to have
     Master Teacher, Peer Collaborative Teacher and Model Teacher positions, the DOE will
     ensure creation of the Master Teacher, Peer Collaborative Teacher and/or Model Teacher
     positions by a minimum of forty (40) schools at each of the levels: elementary, middle
     and high. The Chancellor shall have the discretion to increase the number of schools
     above the minimums at each level in differing amounts.
         9. By August 1, for every subsequent school year, the Chancellor will make a
     determination whether or not the Teacher Leadership positions will be available for
     schools for the upcoming school year. The Chancellor’s determination shall be final and
     not grievable. If the Chancellor determines in his or her discretion that Teacher
     Leadership positions will be created for that school year, then the Chancellor will ensure
     that at least 20% of the schools that create Master Teacher, Peer Collaborative Teacher
     and/or Model Teacher positions will be at each of the levels: elementary, middle and
     high.
         10. Should the Chancellor determine by August 1st that there will be no Master
     Teacher, Peer Collaborative Teacher or Model Teacher positions in effect for the
     upcoming school year, any teacher who has been selected for a transfer to a Master
     Teacher, Peer Collaborative Teacher or Model Teacher position in a different school shall
     have the right to remain in their current school and the teacher shall be treated as if the
     transfer never occurred.
         11.      For purposes of this section, K-8 schools including those that have pre-K
     programs shall be considered elementary or middle schools and grades 6-12 schools shall
     be considered middle or high schools.
         12. Except as expressly agreed to by the Joint Committee, Master Teachers, Peer
     Collaborative Teachers and Model Teachers shall teach a minimum program of one
     period per day.


                                       ARTICLE TWELVE
                                    CHAPTER 683 PROGRAM
         Employees who elect to be employed in the Board’s program which implements
     Chapter 683 of the Laws of 1986 (“Program”) shall serve under the following terms and
     conditions of employment during July and August:
         1. The gross annual salary rate of each such employee who serves the same student
     population during the regular work year (September through June) as is eligible to
     participate in the Program during July and August shall be computed by adding the sum
     of either:
         a. Seventeen and one-half (17%) percent of the applicable gross annual salary rate;
     or
         b. The number of hours served during July and August multiplied by the applicable
     per session rate; whichever is greater, to the employee’s annual salary rate ascertained
     without consideration of said sum.
         2. The pay rate of each such employee who does not serve the same student
     population during the regular work year (September through June) as is eligible to
     participate in the Program in July and August shall be the applicable per session pay rate.




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         3. a. As set forth in the applicable Board Vacancy Circulars advertising the
     positions available for the 1988 Program, the selection procedure for the Program shall
     provide a priority to those employees who serve the same student population during their
     regular work year as is eligible to participate in the Program in July and August.
         b. Employees who serve satisfactorily in the Program during July and August for
     two successive years shall be retained for succeeding years if they apply to serve in the
     Program during July and August provided they continue to serve the same eligible
     student population during their regular work year. Retention rights of other employees
     who serve satisfactorily in the Program during July and August for two successive years
     shall be subordinate to the rights of those employees who serve the same eligible student
     population during the regular work year.
         c. If there is a reduction of positions in the Program during July and August,
     employees who are lowest in order of priority for selection will be the first to be
     retrenched, in inverse seniority order.
         4. The work day for employees serving in the Program during July and August shall
     be six hours exclusive of one-half hour for a duty-free lunch.
         5. Employees paid in accordance with Paragraph 1 of this Article will receive two
     sick days for use during July and August on a self-treated basis. Unused sick days shall
     be accrued and credited to the employee’s cumulative absence reserve for use during the
     regular school year.
         6. Teachers shall have a daily professional resource period. This period is designed
     to allow for consultation by the teacher with administrators, parents, teachers, related
     service providers and nurses: to up-date each student’s Individual Educational Program
     (IEP) in order to provide for continuity of instruction, to provide a reporting mechanism
     (IEP) to each student, daily and cumulative attendance information, related service
     provision information to administration, and to finalize all student records for delivery to
     the September school location.
              Other employees will have relief time, if any, equivalent to that to which they are
     entitled during the regular work year.
         7. Teachers will be consulted regarding class assignments and their assignment
     requests will be honored to the extent possible.
         8. The sabbatical leave pay of employees paid in accordance with Paragraph 1 of
     this Article shall be based on their annual salary including the amount computed pursuant
     to Paragraph 1 of this Article.
              The applicable return provision applies to service in the Program with respect to
     that portion of the sabbatical salary attributable to Program compensation.
         9. Teachers, guidance counselors and school secretaries serving in the Program
     during July and August are restricted from serving in any per session activity unless no
     other qualified applicants are available.
          10. In light of the needs of the student population served by the Program, the Board is
     committed to providing air-conditioned facilities for as many sites as possible. The
     Board will keep the Union informed of its progress in achieving the objective of air-
     conditioning all sites utilized by students.
          11. The Board official with responsibility for this Program shall meet and consult at
     times mutually agreed with representatives of the Union on matters of policy and
     implementation of this Article.



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         12. Except as otherwise set forth herein:
         a. The working conditions for employees paid in accordance with Paragraph 1 of
     this Article will be consistent with the standards of working conditions for the regular
     work year prescribed in the applicable collective bargaining agreements.
         b. The working conditions of employees paid in accordance with paragraph 2 of this
     Article will be those working conditions applicable to per session employees covered by
     the applicable collective bargaining agreements.

                             ARTICLE THIRTEEN
                 WORKING CONDITIONS OF PER DIEM SUBSTITUTES,
                     SUBSTITUTE VOCATIONAL ASSISTANTS
                          AND TEACHER’S ASSISTANTS

                                     I. Per Diem Substitutes

     A. Applicability
         Per diem substitutes covered by this Agreement are:
         1. Full term substitutes: serving after the fifteenth day of the school term for the
     duration of that term in a full-time or regularly scheduled part-time position;
         2. Other-than-occasional: covering the absence of a particular employee for thirty
     consecutive work days or more.
         Per diem substitutes covered by this Agreement shall serve under the terms and
     conditions of this Agreement applicable to regular substitutes except as otherwise set
     forth in this Article or elsewhere in this Agreement.
     B. Pro-Rata Vacation Pay
         Per diem substitutes covered by this Agreement shall continue to receive vacation pay
     on the same basis as heretofore.
     C. Health and Welfare Fund Benefits
         Only those full-term per diem substitutes who are assigned to a position which is
     expected to be vacant for the remainder of the term shall be covered by Article 3G
     (Health Insurance and Welfare Fund Benefits) of this Agreement.
         Teachers and other pedagogues serving in a regularly scheduled part-time position
     (commonly known as F-status) will be entitled to full health and welfare fund benefits if
     scheduled to work for at least one-half of the regular full-time schedule for their title.
     Teachers and other pedagogues in a regularly scheduled but less than half-time position
     are not eligible for health insurance or welfare fund benefits.
     D. SickLeave
         Per diem substitutes covered by this Agreement shall continue to receive sick leave
     on the same basis as heretofore.
     E. Retention and Job Security
         Article 17A2 of this Agreement shall apply only to regular substitutes. However,
     service in the school for purposes of Article 17A2 shall include full-term and other-than-
     occasional per diem substitute service in the school.
         Article 17F of this Agreement shall apply in accordance with its terms.




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     F. Inapplicable Provisions
         The following provisions of this Agreement shall not apply: Article Eleven “Rates of
     Pay and Working Conditions of Teachers Assigned, Education Administrators, Education
     Analysts, Education Officers, Professional Development Assignments and Positions, and
     Teacher Leadership Positions”, Article Twelve “Chapter 683 Program ”, Article Fourteen
     “Rates of Pay and Working Conditions of Adult Education Teachers”, Article Fifteen
     “Rates of Pay and Working Conditions of Per Session Teachers”, Article Sixteen A
     “Cumulative Absence Reserves and Sick Leave”, Article Sixteen B “Sabbatical Leaves”,
     Article Sixteen C “Special Study Sabbatical to Achieve Certification” Article Sixteen D
     “TB Sabbaticals”, Article Sixteen E “Leaves of Absence Without Pay”, and Article
     Sixteen H “Vocational High School Externship Program”; Article Seventeen (Retention,
     Excessing and Layoff-except to the extent provided in Section E above of this Article),
     Article Eighteen “Transfers and Staffing”, and Article Twenty-One E “Suspension”.
     G. Continuation of Benefits
         Nothing contained in this Article or elsewhere in this Agreement shall be construed to
     deprive a per diem substitute of any benefit currently granted as a matter of Board policy
     and practice.
     H. Pension Legislation
         The parties have agreed to jointly support pension legislation as set forth in the letter
     attached as Appendix K.
     I. Tax Deferred Annuity Plan
         The parties agree to jointly support legislation and to obtain any other necessary
     regulatory approval, to enroll newly-hired employees who do not enroll in a retirement or
     pension system maintained by the City of New York in the Board’s 403(b) Annuity Plan
     at the time the employee is hired. It is further agreed that such employees will be
     provided with the option to withdraw from enrollment in the Board’s 403(b) Annuity
     Plan.
     J. Creation of F-Status Positions
         1. Every one or more F Status position(s) in a single school that equal 1.0 FTE (i.e.
     positions equaling 5 days per week) in the same license will be considered one full-time
     position. Only if no appointed teachers are reasonably available (through excesses,
     transfers and/or new hires assigned by the Division of Human Resources) may such
     school create F Status positions equaling 1.0 FTE.
         2. Notwithstanding the restriction in the preceding paragraph J 1, a school will be
     allowed to create such F Status positions in order to accommodate a hardship for a
     previously appointed pedagogue or because of the particular needs of the program.

                                II. Substitute Vocational Assistants

     A. Pay Rate
         Substitute vocational assistants shall be paid ninety percent (90%) of the salary of a
     regular substitute teacher on the base schedule (Cl) with the same experience.
     B. Fringe Benefits
         Substitute vocational assistants shall have the fringe benefits applicable to regular
     substitute teachers.




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     C. Coordinated Program
         Substitute vocational assistants shall have a coordinated program of classroom
     service, work experience and study prescribed by the Chancellor and in accordance with
     criteria specified by the Chancellor, leading to qualification for licensure as Teacher of
     Shop Subject.
         Substitute vocational assistants shall give a written commitment to complete the
     prescribed program of coordinated classroom service, work experience and study, to
     apply for the next examination leading to licensure as Teacher of a Shop Subject for
     which qualified by such program, and to serve if qualified by licensure or temporary per
     diem certification as Teacher of a Shop Subject in the public schools of the City of New
     York for a minimum of five years following such licensure or certification.
     D. Salary and Seniority Credit
         Upon commencement of service as a teacher of a shop subject, each five-month
     period of classroom service shall be considered one full term of prior teaching
     experience, and each twelve months of work experience shall be considered one full year
     of related occupational experience and, in addition, shall be deemed to satisfy one year of
     the occupational experience required for licensure as a teacher of a shop subject.
         In computing seniority for purposes of layoff and excessing only SVA classroom
     service is counted. Accordingly former SVA’s who are appointed as teachers are
     credited with half their total SVA service for purposes of layoff and excessing. However,
     all SVA service is credited toward salary, including longevity.
     E. Hours and Workyear
         The workyear of a substitute vocational assistant is twelve months, with five months
     (one term) served in a classroom position and seven months served working in the
     occupation. The substitute vocational assistant is expected to complete at least six
     semester hours of study in a Board-approved college program each year. The Board will
     pay tuition costs.
         Substitute vocational assistants shall have school vacations and school holidays when
     they are serving in a classroom position.
         Substitute vocational assistants shall have the hours of a regular substitute teacher
     when serving in a classroom position.
     F. Layoff
         In the event of layoff because of lack of work, the junior substitute vocational
     assistant in the shop subject shall be selected for layoff.
     G. WorkExperience
         The parties shall develop appropriate conditions applicable to substitute vocational
     assistants during the time they are gaining their work experience.
     H. Applicable Contract Provisions
         Substitute vocational assistants shall be covered by the following provisions of this
     Agreement: Article One “Union Recognition”, Article Two “Fair Practices”, Article
     Three K2 “Transportation Benefit Program”, Article Three M “Performance Incentives
     Committee”, Article Three N “Ratification Bonus”, Article Three 0 “Structured Retiree
     Claims Settlement Fund”, Article Three P “Lump Sum Payments Stemming from the
     2009-2011 Round of Bargaining”, Article Three R “Parking”, Article Four C “Pension
     Legislation”, Article Four D “Tax Deferred Annuity Plan”, Article Four E “Pension
     Benefits Agreement and Deferred Compensation Plan”, Article Eight I “Reduction of



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     Paperwork”, Article Eight L “Labor/Management Committee On Long Term Reforms”,
     Article Ten “Safety and Health”, Article Sixteen A “Cumulative Absence Reserves and
     Sick Leave”, Article Sixteen F “Military Service Pay”, Article Sixteen G “Payment for
     Jury Duty”, Article Sixteen I “Discipline for Authorized Absences”, Article Nineteen
     “Union Activities, Privileges and Responsibilities”, Article Twenty “Matters Not
     Covered” first two paragraphs, Article Twenty-One “Due Process and Review
     Procedures”, to the extent applicable to regular substitute teachers, Article Twenty-Two
     “Grievance Procedure”, Article Twenty-Three “Special Complaints”, Article Twenty-
     Five “Charter Schools”, Article Twenty-Six “Progressive Redesign Opportunity Schools
     For Excellence (PROSE)”, Article Twenty-Seven “Conformity to Law-Saving Clause”,
     Article Twenty-Eight “No-Strike Pledge”, Article Twenty-Nine “Definitions”, Article
     Thirty “Notice-Legislative Action”, Article Thirty-One “Copy of Agreement”, Article
     Thirty-Two “Incorporation of Determination and Award”, and Article Thirty-Three
     “Duration”.

                                     III. Teacher’s Assistants

     A. Pay Rate
        Teacher’s Assistants shall be paid the following annual rates:
        Effective Date                           Amount
        May 19, 2008........................... $31,349
        May 1,2013............................. $31,662
        May 1,2014............................. $31,979
        May 1,2015............................. $32,945
        May 1,2016............................. $34,095
        May 1,2017............................. $35,646
        May 1,2018............................. $36,345
        June 16, 2018........................... $37,435

         A former paraprofessional who becomes a teacher’s assistant shall not have a salary
     reduction thereby.
     B. FringeBenefits
         Teacher’s assistants shall have the fringe benefits applicable to regular substitute
     teachers.
     C. Coordinated Program
         Teacher’s assistants shall have a coordinated program of part-time classroom service
     and study prescribed by the Chancellor and in accordance with criteria specified by the
     Chancellor, leading to qualification for licensure as Teacher.
         Teacher’s assistants shall give a written commitment to complete the prescribed
     program of coordinated part-time classroom service and study, to apply for certification
     leading to the appropriately related teaching license for which qualified by such program,
     and to serve if qualified by licensure or temporary per diem certification as a teacher of
     such appropriately related subject area in the public schools of the City of New York for
     a minimum of five years following such licensure or certification.




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     D. Salary and Seniority Credit
         Upon commencement of service as a teacher, each year of part-time classroom
     service as a teacher’s assistant shall be credited as equivalent to one term of full-time
     regular substitute teaching service.
     E. Work-Study Program
         Teacher’s assistants shall be assigned to appropriate classroom service for a minimum
     of three hours each school day under the direct supervision of a tenured teacher in the
     field. Teacher’s assistants will have their classroom service extended proportionately to
     that of teachers. They must complete a minimum of 32 semester hours of required
     courses per year provided by the Board in a program leading to a baccalaureate degree at
     an approved institution of higher learning, until they meet the minimum requirements for
     the appropriately related teaching license.
     F. Layoff
         In the event of layoff among teacher’s assistants, the junior teacher’s assistant in the
     license shall be selected for layoff.
     G. Applicable Contract Provisions
         Teacher’s assistants shall be covered by the following provisions of this Agreement:
     Article One “Union Recognition”, Article Two “Fair Practices”, Article Three K2
     “Transportation Benefit Program” Article Three M “Performance Incentives Committee”,
     Article Three N “Ratification Bonus”, Article Three 0 “Structured Retiree Claims
     Settlement Fund”, Article Three P “Lump Sum Payments Stemming from the 2009-2011
     Round of Bargaining”, Article Three R “Parking”, Article Four C “Pension Legislation”,
     Article Four D “Tax Deferred Annuity Plan”, Article Four E “Pension Benefits
     Agreement and Deferred Compensation Plan”, Article Eight I “Reduction of Paperwork”,
     Article Eight L “Labor/Management Committee On Long Term Reforms”, Article Ten
     “Safety and Health”, Article Sixteen A “Cumulative Absence Reserves and Sick Leave”,
     Article Sixteen F “Military Service Pay”, Article Sixteen G “Payment for Jury Duty”,
     Article Sixteen I “Discipline for Authorized Absences”, Article Nineteen “Union
     Activities, Privileges and Responsibilities”, Article Twenty “Matters Not Covered” first
     two paragraphs, Article Twenty-One “Due Process and Review Procedures”, to the extent
     applicable to regular substitute teachers, Article Twenty-Two “Grievance Procedure”,
     Article Twenty-Three “Special Complaints”, Article Twenty-Five “Charter Schools”,
     Article Twenty-Six “Progressive Redesign Opportunity Schools For Excellence
     (PROSE)”, Article Twenty-Seven “Conformity to Law-Saving Clause”, Article Twenty-
     Eight “No-Strike Pledge”, Article Twenty-Nine “Definitions”, Article Thirty “Notice-
     Legislative Action”, Article Thirty-One “Copy of Agreement”, Article Thirty-Two
     “Incorporation of Determination and Award”, Article Thirty-Three “Duration”

                                    ARTICLE FOURTEEN
                      RATES OF PAY AND WORKING CONDITIONS
                            OF ADULT EDUCATION TEACHERS
     A. Statement of Principles
         The parties agree that their mutual objectives are to support the continuation and
     expansion of the Board’s adult education programs and to regularize and stabilize the
     conditions of employment of employees in these programs by encouraging the use of
     full-time personnel wherever possible.



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         The Board and the Union will consult as the need arises for the purpose of facilitating
     the achievement of these objectives and to resolve problems as they occur. This Article
     covers adult education teachers who are regularly assigned to work at least fifteen hours
     and twenty-five minutes per week.
     B. Salary and Workyear
         1. Salary
         The annual salaries of full-time adult education teachers are set forth in Appendix F
     which is attached to and made a part of this Agreement.
         The annual salary of full-time adult education teachers is based on assignments of six
     hours and 10 minutes per day for 191 % days (1,181 hours) per workyear. The salary of
     individual teachers is pro-rated up or down depending on their regular assignment of
     hours relative to 1,181 hours.
         2. Workyear
         The workyear begins on September 1 and ends on August 31. Full-time adult
     education teachers shall have 10 minutes of preparation time added to their six-hour
     workday, and they shall report the Thursday and Friday before Labor Day and on
     Brooklyn-Queens Day for professional development. In most cases there will be a ten
     month year scheduled to the extent possible between September and June. The Office of
     Adult and Continuing Education reserves the right, when programs dictate, to create ten
     month schedules other than between September and June and other than in a consecutive
     mode. Furthermore, it may be necessary to continue programs into the summer to meet
     the 191 % days.
     C. Sick Leave and Non-Attendance
          1. Full-time teachers shall accrue and use sick leave pursuant to Article 16A11 of
     this Agreement. Other teachers shall have a pro-rata entitlement.
         2. Adult education teachers are covered by the Board’s regulations governing non-
     attendance of teachers.
     D. Annuity Payment
         Adult education employees who are “eligible teacher contributors” pursuant to
     Section 13-521, Subdivision 8, of the Administrative Code of the City of New York shall
     receive the annual $400 annuity contributions provided in Article 4, Section A of this
     Agreement when they reach the maximum step of the salary schedule (i.e. step 8B on the
     applicable differential lane).
     E. Hours4
         1. Assigned Hours Per Week
         Full-time teachers shall be assigned to work at least thirty hours and fifty minutes per
     week.
         Adult education teachers shall be assigned during 2007-2008 for not less than the
     same number of hours per week they were assigned during 2006-2007. In each year
     thereafter such employees shall be assigned not less than the same number of hours per
     week they were assigned during the preceding year. It is understood and agreed that the
     implementation of this provision may require reassignment and reorganization of
     schedules.
         The Office of Adult and Continuing Education shall use its best efforts to schedule
     such assignments in a manner which takes into account the needs of the program as well

     4 The parties disagree as to the applicability of Section 9 of the October 2005 MOA to this Article 14E.


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     as the goal of minimizing the need to travel and the gap in time between teaching
     assignments.
          2. Priority for Assignment to Additional Hours
          Teachers shall be assigned to additional hours in their license area as they become
     available in the following order of priority.
          a. Restore appointed teachers to thirty hours and fifty minutes.
          b. Increase hours of appointed teachers to thirty hours and fifty minutes.
          c. Restore hours to other teachers whose hours were reduced during the current
     workyear.
          d. Increase hours of other teachers to 30 hours and 50 minutes.
          All teachers in a higher priority category shall be offered the additional hours before
     those in a lower priority category are offered the hours.
          Within each priority category the additional hours shall be offered to teachers in order
     of their seniority.
          3. Maintenance of Hours
          The number of hours per week for which teachers are assigned pursuant to this
     Article shall be maintained as follows:
          a. If a teacher’s hours are reduced within the first five percent of a cycle’s scheduled
     number of hours such teacher shall be assigned the additional hours necessary to restore
     his/her previous level of hours per week by assigning to him/her additional hours which
     become available or, if no additional hours are available, the hours of a per session
     teacher. The assignment of such hours shall be made in the following order of priority:
          (1) Appointed teachers
          (2) Otherteachers
          If no such hours are available, the excessing rules shall be followed to determine the
     teacher whose hours will be reduced.
          b. Whenever possible, the Board will not reduce the hours of a teacher within the
     final five percent of a cycle’s scheduled number of hours.
          c. A teacher whose hours are reduced after the first five percent of a cycle’s
     scheduled number of hours shall be restored to his/her previous level of hours per week
     in the same order of priority as set forth in paragraph a of this Section 3, (a) when
     additional new hours become available; or (b) at the start of the next cycle; or (c) when
     he/she has lost ten percent of his/her scheduled hours in the program, whichever occurs
     first.
          d. A teacher whose hours are restored after he/she has lost ten percent of his/her
     scheduled hours in the program shall retain his/her full schedule of hours thereafter.
     Where necessary the excessing rules shall be followed to determine the teacher whose
     hours will be reduced.
     F. Excessing
          Before excessing an appointed teacher, non-appointed teachers in the license are
     discontinued, in inverse seniority. Before applying the Rules for involuntary excessing,
     the senior teacher within license who volunteers will be excessed from the work site to a
     vacancy within the same region. If no senior teacher volunteers, the following excessing
     rules shall be applicable to regularly appointed teachers in adult education licenses:




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          Rule 1.    When an excess condition in a license exists at a work site or in a region
     the appointed teacher in that license with the least seniority shall be excessed, but
     probationers shall be excessed before those who have completed probation.
          Rule 2.    Unless a principal denies the placement, an excessed teacher will be
     placed by the Board into a vacancy within his/her district/superintendency; or if such a
     vacancy is not available, then in a vacancy within his/her region. The Board will place
     the excessed teacher who is not so placed in an ATR position in the school from which
     he/she is excessed, or in another school in the same district or superintendency.
          Rule3.     Upon request a teacher who has been excessed to another work site or
     region shall be afforded the opportunity to return to the work site or region from which
     he/she was excessed, if within a year a vacancy in his/her license should occur at that
     work site or region, before any other teacher is assigned to the vacancy. Such return shall
     be effectuated at the start of the next cycle.
          Rule 4.    As used herein, an excess condition exists when a position is eliminated or
     when the hours are reduced below 15 hours and 25 minutes per week.
          Rule 5.    Teachers identified as being at risk of being excessed at the
     commencement of the following school year will be informed of this no later than June
     15, or as soon as is practicable if identified as being at risk of excess after June 15. The
     deadlines for excessing teachers will continue to be governed by applicable law.
     G. Layoff and Recall
          If a Citywide excess condition causes a layoff of staff in any licensed position, the
     hours of per session teachers shall be reassigned to teachers covered by this Article to the
     extent possible to prevent layoffs before any adult education teacher in the license is laid
     off.
          Section 2588 of the Education Law shall be the basis for determining the adult
     education teacher to be laid off, without fault and delinquency with the understanding
     that said employee is to be placed on a preferred list for reinstatement to his/her former
     position.
          Probationers shall be laid off before any teacher in the license who has completed the
     probationary period. Teachers on layoff who may be placed on a preferred list in another
     license other than the one in which they are laid off will be so placed.
          Non-appointed teachers shall have recall rights after appointees are recalled.
     H. Seniority
          Except as otherwise expressly provided in this Article, seniority shall include all prior
     continuous service as an adult education teacher regularly assigned to at least fifteen
     hours per week prior to February 2006 and to at least fifteen hours and twenty-five
     minutes per week thereafter.
          Continuous service shall be defined as uninterrupted service except that leaves of
     absence without pay granted with the approval of the director, and layoffs because of lack
     of work shall not be deemed as an interruption of service but shall not be counted in the
     determination of length of continuous service.
     I. VacantAssignments
          When vacant assignments become available for September, adult education teachers
     will be notified and the wishes of the teachers who request assignment shall be taken into
     consideration.




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     J. Other Conditions
         The following provisions of this Agreement shall also apply to adult education
     teachers:
         Article One “Union Recognition”, Article Two “Fair Practices”, Article Three G
     “Health Insurance and Welfare Fund Benefits”, Article Three H “Reimbursement for
     Medical Expenses”, Article Three K “Transportation Benefits Program”, Article Three L
     “Salary Payment”, Article Three M “Performance Incentives Committee”, Article Three
     N “Ratification Bonus”, Article Three 0 “Structured Retiree Claims Settlement Fund”,
     Article Three P “Lump Sum Payments Stemming From the 2009-2011 Round of
     Bargaining”, Article Three R “Parking”, Article Four C “Pension Legislation”, Article
     Four D “Tax Deferred Annuity Plan”, Article Four E “Pension Benefits Agreement and
     Deferred Compensation Plan”, Article Five A “Substitute Teacher Position”, Article Five
     B “Regularized Licensure”, Article Five C “Provisional Teachers”, Article Five F
     “Absence Without Notice”, Article Five G “Return to Former License of Appointment”,
     Article Eight H “Professional Development and Second Differential”, Article Eight I
     “Reduction of Paperwork”, Article Eight J “Evaluation and Observation System”, Article
     Eight L, “Labor/Management Committee On Long Term Reforms”, Article Ten “Safety
     and Health” shall apply at all work sites, Article Sixteen A “Cumulative Absence Reserve
     and Sick Leave”, Article Sixteen B “Sabbatical Leaves” shall apply with respect to
     sabbatical leaves for restoration to health and “special sabbatical leaves for restoration to
     health”, Article Sixteen E “Leaves of Absence Without Pay”, Article Sixteen F “Military
     Service Pay”, Article Sixteen G “Payment for Jury Duty”, Article Sixteen I “Discipline
     for Authorized Absences”, Article Seventeen C “Appointment to New Program, License
     or Title”, Article Seventeen F, “Voluntary Severance for Personnel Who Have Been
     Excessed”, Article Eighteen A “General Transfers”, Article Nineteen D “Exclusive
     Check-Off’, Article Nineteen E “Agency Fee Deduction”, Article Nineteen F “Bulletin
     Boards”, Article Nineteen G “Chapter Meetings” shall apply whenever the meeting is
     conducted in a Board facility; Article Nineteen H “Consultation with the Union”, Article
     Nineteen I “Information to the Union” shall also apply to information about adult
     education teachers, Article Nineteen K “Political Check-Off’, Article Twenty “Matters
     Not Covered” first paragraph, Article Twenty-One “Due Process and Review
     Procedures”, Article Twenty-Two “Grievance Procedure”, Article Twenty-Three H
     “Expansion of Special Complaint Procedure to Include Supervisors”, Article Twenty-
     Four “Professional Conciliation”, Article Twenty-Six “Progressive Redesign Opportunity
     Schools For Excellence (PROSE)”, Article Twenty-Seven “Conformity to Law-Saving
     Clause”, Article Twenty-Eight “No-Strike Pledge”, Article Twenty-Nine “Definitions”,
     Article Thirty “Notice-Legislative Action”, Article Thirty-One “Copy of Agreement”,
     Article Thirty-Two “Incorporation of Determination and Award”, and Article Thirty-
     Three “Duration”.

                                  ARTICLE FIFTEEN
                       RATES OF PAY AND WORKING CONDITIONS
                              OF PER SESSION TEACHERS
     A. Rates of Pay
         1. Except as otherwise provided in 3 below, the hourly compensation of per session
     teachers shall be:



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             Effective Date                                    Rate
             May 19,2008.................................... $41.98
             May 1, 2013.................................... $42.40
             May 1, 2014......................................$42.82
             May 1, 2015......................................$44.11
             May 1, 2016......................................$45.65
             May 1, 2017......................................$47.73
             May 1, 2018......................................$48.67
             June 16,2018..................................... $50.13
         2. The same hourly compensation prescribed above shall be in effect for per session
     teachers who are on Youth Board payrolls and are employed in a Board of Education per
     session activity.
         3. Teachers employed in the New Suspension Program’s summer school program
     (“the Suspension Program”) will be paid at the rate of 1/1147 of their regular annual
     salary per hour.5
     B. Extracurricular Activities
         1. Athletic
         Interscholastic/Intramural sports in day academic and vocational high schools, junior
     high schools and special day schools, day treatment centers and institutional settings:

                Schedule of Maximum Number of Sessions (School Year)
             (A session is defined as two (2) clock hours beyond the school day.)
     BASEBALL
                 Boys Jr. Varsity                                    36
                 Boys Varsity                                        96
     BASKETBALL
                 Boys Alt HS                                         72
                 Boys Jr. Varsity                                    66
                 Boys Varsity                                        108
                 Girls Alt HS                                        72
                 Girls Jr. Varsity                                   66
                 Girls Varsity                                       108
     BOWLING
                 Boys Varsity                                        48
                 Coed Alt HS                                         36
                 Girls Varsity                                       48
     CREW
                 Coed Varsity                                        72
                 Assistant Coach                                     36
     CRICKET
                 Coed Varsity                                        48
     CROSS COUNTRY
                 Boys Varsity                                        48
                 Girls Varsity                                       48

     5 See paragraph 6 of Appendix I.


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                  Assistant Coach                             27
     FENCING
                  Coed Varsity                                48
     FOOTBALL
                  Boys Jr. Varsity                            90
                  Boys Varsity                                132
                  Assistant Coach                             132
     GOLF
               Boys Varsity                                   48
               Girls Varsity                                  48
     GYMNASTICS
               Boys Varsity                                   84
               Girls Varsity                                  84
     HANDBALL
               Boys Varsity                                   48
               Girls Varsity                                  48
     INDOOR TRACK
               Boys Varsity                                   72
               Girls Varsity                                  72
               Assistant Coach                                36
     LACROSSE
               Boys Jr. Varsity                               42
               Boys Varsity                                   72
               Girls Varsity                                  72
     OUTDOOR TRACK
               Boys Varsity                                   66
               Girls Varsity                                  66
               Assistant Coach                                36
     SOCCER
               Boys Varsity                                   72
               Girls Varsity                                  72
     SOFTBALL
               Coed Alt HS                                    51
               Girls Jr. Varsity                              42
               Girls Varsity                                  96
     SWIMMING
               Boys Varsity                                   72
               Girls Varsity                                  72
     TENNIS
               Boys Varsity                                   48
               Girls Varsity                                  48
     VOLLEYBALL
               Boys Varsity                                   60
               Girls Jr. Varsity                              41
               Girls Varsity                                  60
               Alt. Program                                   42



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     WRESTLING
                    Boys Varsity                                         72

        Sessions shall be computed as follows:
        An afternoon of coaching football..................................2 sessions
        An afternoon of coaching (exclusive of football).......... 1 session
        A regularly scheduled football game.............................. 3 sessions
        A regularly scheduled game of basketball
        or baseball; track, cross country, soccer,
        swimming meet, handball, fencing,
        bowling, tennis, golf, wrestling or other
        regularly scheduled game for the activities
        listed above......................................................................2 sessions
     (A session is defined as two (2) clock hours beyond the school day)
        2. Non-Athletic
        a.      Major non-athletic extracurricular projects in day academic high schools, day
     vocational high schools, dayjunior high schools:

                     Schedule of Maximum Number of Sessions (School Year)
         Teacher in charge of school magazine: 18 sessions per issue; maximum 72 sessions
     for four (4) or more issues.
         Teacher in charge of school newspaper: 6 sessions per issue; maximum 72 sessions
     for 12or more issues.
         Teacher in charge of senior year book: 34 sessions.
         Teacher in charge of major school play or operetta: 55 sessions.
         Assistant(s) to teacher in charge of major school play or operetta: 32 sessions for one
     assistant; 52 sessions for two or more assistants. (See Footnote (3)).
         Teacher in charge of other musical project: 34 sessions.
         Assistant(s) to teacher in charge of other major musical project: 32 sessions for one
     assistant; maximum of 42 sessions for two or more assistants. (See Footnote (3)).
         Teacher in charge ofband, orchestra or chorus: two (2) sessions each performance.
     (See Footnote (2)).
         Sessions shall be computed in accordance with the following regulations: (See
     Footnote (4)).
         An afternoon of extra service......................................... 1 session
         An afternoon of full rehearsal.........................................2 sessions
         An evening or non-school day rehearsal....................... 3 sessions
         An afternoon performance (play, operetta, etc.)
         (See Footnote (1))...........................................................2 sessions
         An evening or non-school day performance (play,
         operetta, etc. Not applicable to teacher in charge
         of band, orchestra or chorus)..........................................3 sessions
         Footnotes: (1) The term “afternoon” shall include extra service either after or before
     the teacher’s regular school day. In some schools this service may be rendered in the
     morning.




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         (2) For purposes of compensating a teacher in charge of band, orchestra or chorus,
     performances shall be only those given evenings, Saturdays or holidays and shall not
     include performances at graduation, parents’ meetings, etc.
         (3) Where two or more assistants are required, the aggregate compensation paid to
     all assistants is limited to the maximum number of sessions provided. Assignment of
     individual assistants to sessions within the maximum limitation shall be made by the
     school principal.
         (4) A session is defined as two (2) clock hours beyond the school day.
         b. All City High School Music Program: Maximum Number of Teachers to be
     Assigned:
             All City Orchestra.................................................................. 5
             All City Band..........................................................................5
             All City Marching Band.........................................................5
             All City Jazz Ensemble..........................................................5
             Maximum Number of Sessions per
             Teacher Assigned.................................................................. 42

         Sessions shall be computed in accordance with the following regulations:
            A morning of coaching or rehearsal on Saturday
            or othernon-school day (9:00 a.m. to 12:30 p.m.)............... 1 session
            A dress rehearsal (only if conducted on a
            non-school day, and limited to one dress
            rehearsal per school year) (9:00 a.m. to 3:00 p.m.).............. 2 sessions6
            An evening performance limited to one
            performance per school year.................................................1 session

     C. Working Conditions
         1. Sick Leave
         Teachers employed on a regular basis in per session activities will be granted sick
     leave with pay for absence from duty due to personal illness as follows:
         a. One session during each month of service, or two sessions during the month of
     August, will be granted to those employed in summer day high schools, summer evening
     high schools, summer junior high schools, summer special day schools, day treatment
     centers, and institutional settings; summer day elementary schools, summer evening
     elementary schools for adults, and vacation day camps.
         b. One session after each period of 20 sessions of service will be granted to those
     employed in evening high and trade schools, after school centers, evening community
     and youth and adult centers, adult education classes, and the special after school
     instructional help program.
         c. Applications for excuse with pay for absence due to personal illness must be
     accompanied by a certificate of a physician, except that teachers in summer activities
     shall be granted refunds for illness on application without a statement from a physician
     for no more than one session per summer.



     6The parties disagree as to whether a dress rehearsal is one or two sessions.


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         d.      Such sick leave shall not be cumulative from one school year to another school
     year nor from one per session activity to another per session activity, but shall be
     transferred to the teacher’s regular cumulative absence reserve.
         2. Retention
         Prior service shall govern in the retention of per session teachers employed on a
     regular basis in per session activities as follows:
         a. Teachers with at least two years of continuous satisfactory service in a particular
     activity shall have priority for retention in the same activity for the following school year.
     Teachers with retention rights in an activity will not lose those rights if their service is
     interrupted for a period of not more than one year because of sick leave without pay or
     involuntary change of day school session, or sabbatical leave. Such teachers must return
     to service in the same activity at the first reorganization of the activity following the
     interruption of their service for the reasons stated above.7
         b. Teachers who have been granted priority for retention in one per session activity
     shall not be granted such priority for any other per session activity.
         c. Teachers will be permitted to serve in more than one per session activity only if
     no other qualified applicants are available. The Union shall be given a list of per session
     positions which are held by teachers who have no retention rights in those positions and
     who are serving in more than one per session activity. Per session activities of 25 hours
     or less and certain other activities as mutually agreed between the Board and the Union
     are not counted when determining the number of per session activities served in.
         d. No teacher who had retention rights in a per session activity on September 1,
     1969, shall be displaced by reason of the Chancellor’s determining that thereafter the
     position need not be held by a teacher. During the period he/she remains employed in
     that per session position, the incumbent having retention rights as of September 1, 1969,
     shall be paid at the teacher compensation rate prescribed in this Agreement.
         e. If a per session position occupied by a teacher is terminated and is subsequently
     restored within the period of six months, the restored position shall be offered to its last
     teacher incumbent before any other person is employed to fill it.
         f. A teacher with retention rights who is promoted to teacher in charge shall not lose
     his/her retention rights as a teacher in the activity in the event that he/she receives an
     unsatisfactory rating as teacher in charge.
         g. So long as they continue to exercise their retention rights, no per session teachers
     who had retention rights in an adult education activity on September 8, 1987 shall be
     displaced by reason of the provisions of Article Fourteen (Rates of Pay and Working
     Conditions of Adult Education Teachers) of this Agreement unless a layoff or reduction
     in hours of a primary adult education employee would result. The rights of a per session
     teacher who acquires retention rights in an adult education activity after September 9,
     1987 shall be subordinate to the rights of primary adult education teachers as set forth in
     Article Fourteen, A, E (Hours), F (Excessing) and G (Layoff and Recall). In addition, the
     Board agrees to follow a policy of attrition with respect to those per session teachers who
     had retention rights in an adult education activity on September 8, 1978 so long as they
     continue to exercise their retention rights in the adult education activity.


     7 Certain former SOS employees have retention rights for work in the 2008 Suspension Summer Program
     in accordance with paragraph 7 of Appendix I.


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         3. Appeals from Unsatisfactory Ratings
         Per session teachers who receive unsatisfactory ratings shall be entitled to the review
     procedures before the Chancellor as prescribed in Section 5.3.4 of the by-laws of the
     Board of Education.
         4. Selection of New Per Session Teachers8
         a. Selections for evening high schools, summer day high schools, and summer
     evening high schools will be made centrally in order of seniority within the system from
     applicants in the following order of priority: regularly appointed teachers in license,
     regular substitute teachers in license, regularly appointed teachers out-of-license subject,
     and regular substitute teachers out-of-license with prior experience in the out-of-license
     subject.
         b. In summerjunior high schools, priority will be given to applicants serving in Title
     I schools. Selection will be made centrally in order of seniority within the system from
     applicants in the following order of priority: regularly appointed teachers in license,
     regular substitute teachers in license, regularly appointed teachers out-of-license with
     prior experience in the out-of-license subject and regular substitute teachers out-of-
     license with prior experience in the out-of-license subject.
         c. For junior high school after school study centers (tutorial), selection will be made
     by the same method except that it will not operate system-wide.
         d. For summer day elementary schools and elementary school study centers,
     selection will be made according to seniority with two exceptions: (i) priority will be
     given to qualified teachers in Title I schools; (ii) not more than 10 percent of the positions
     may be filled from applicants who, in the principal’s judgment, possess special
     qualifications, except that this 10 percent limitation shall not apply to teachers who have
     retention rights in another per session position.
         e. For vacation day camps, selection will be made in the following order of priority:
     (i) classroom teachers with vacation day camp license who have served previously in
     vacation day camps; (ii) classroom teachers with vacation day camp license who have not
     served previously in vacation day camps.
         f. For high school after school study centers (tutorial) selection will be made by the
     same method as provided in 4-a above, except that it will not operate system-wide.
         g. For non-summer adult education activities selection will be made in the following
     order of priority: (i) Primary adult education employees assigned to thirty hours and fifty
     minutes per week, for up to six per session hours in any week, including any substitute
     service; (ii) day school teachers with appropriate adult education licenses who have
     served satisfactorily in adult education activities; (iii) day school teachers with
     appropriate adult education licenses who have not served previously in adult education
     activities.
         Selection for summer adult education per session activities shall be in the following
     order of priority: (i) appointed adult education teachers, by license; (ii) primary adult
     education teachers by discipline; (iii) day school teachers with appropriate license; (iv)
     other qualified applicants.
         h. Applicants for per session employment who are not employed in the Board’s
     regular day school program or adult education program shall be considered for selection
     only if no qualified day school teacher or adult education employee is available.

     8 Selection rights of teachers in the Suspension Summer Program are set forth in Appendix I, paragraph 6.


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         5. Evening High School Non-Teaching Assignments
         In evening high schools, assignments to positions for which there is a compensatory
     time allowance shall be made in accordance with the same procedures as are provided for
     such assignments in the day high schools in Article Seven of this Agreement.
         6. Reduction in Per Session Positions
         If the number of per session positions in an activity is reduced, teachers will be
     released on the basis of least seniority in the activity. If positions are subsequently
     restored within a year in the per session activity teachers shall be reemployed on the basis
     of seniority.
         7. Teacher Files
         The procedures of Article Twenty-One A entitled “Teacher Files’’ shall apply to
     teacher files maintained for their per session employment.
         8. Sabbatical Leave
         Teachers whose sabbatical leave begins August 1 will complete the per session
     activity in which they are serving, but may not return to the activity until the summer
     following completion of the sabbatical.
     D. Consultation
         The head of each per session activity, or his/her representative, and the Union
     committee for the activity shall meet once each term in non-working hours to consult on
     matters of policy involving the professional interests of the per session teachers and on
     questions relating to the implementation of this Agreement.
     E. Definitions
         The following are per session activities within the meaning of this Article: vacation
     day camps; after school centers; evening community and youth and adult centers; evening
     elementary schools for adults; summer evening elementary schools for adults;
     fundamental adult education day classes; summer day high schools; summer evening
     high schools; summer junior high schools; summer special day schools; day treatment
     centers; institutional settings; summer day elementary schools; evening high and trade
     schools; the special after-school instructional help program; and extra-curricular athletic
     and non-athletic programs in day academic and vocational high schools, day junior high
     schools and special day schools, day treatment centers and institutional settings; and the
     suspension summer program.

                                        ARTICLE SIXTEEN
                                              LEAVES
     A. Cumulative Absence Reserves and Sick Leave
         1. Teachers on regular appointment reinstated after retirement will be credited with
     the cumulative reserves remaining to their credit upon retirement and such reserves as
     they accumulated as regular substitutes.
         2. Teachers on regular appointment who resign or retire will be credited upon
     resuming service as regular substitute teachers with 120/200 of the unused cumulative
     reserves remaining to their credit upon resignation or retirement.
         3. Teachers on regular appointment accepting regular substitute teaching positions in
     order to establish eligibility for other licenses will be credited with their cumulative
     reserves as regular teachers during their period of substitute service.




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         4. Teachers on regular appointment called to military duty will be credited upon
     their return with the same sick leave allowance for the period of their military service as
     they would have been entitled to in school service.
         5. Teachers on regular appointment whose licenses are terminated will be credited
     with 120/200 of their unused cumulative reserves if they then serve as regular substitutes,
     or if appointed anew, with their unused cumulative reserves.
         6. Employees of the City University of New York who transfer as regularly
     appointed teachers to the Board shall have their cumulative reserves transferred and
     credited to them, but not in excess of the maximum number of days creditable in this
     system.
         7. Unused sick leave accumulated as a per diem substitute shall be transferable to
     the teacher’s “bank” as a regular substitute or appointed teacher.
         8. Unused leave accumulated as a paraprofessional or substitute vocational assistant
     or teacher’s assistant shall be transferable to the teacher’s “bank” as a regular substitute
     or an appointed teacher.
         9. A teacher on regular appointment who has exhausted his/her cumulative sick
     leave may borrow up to 20 days of additional sick leave. However, in order to assure that
     borrowed sick leave is repaid, the employee may be required to sign an appropriate
     document prepared by the Board acknowledging a legal obligation to repay upon the
     cessation of service. For purposes of this provision “cessation of service” shall mean
     resignation, retirement, termination for cause or death.
          10. Sick leave privileges shall extend to the taking of annual physical checkups or the
     taking of annual laboratory tests. Such absences shall be limited to one day in each
     school year.
          11. Teachers on regular appointment shall be granted absence refunds for illness on
     application, without a statement from a physician, for a total of no more than 10 days in
     any school year. Teachers will be allowed to use three of such 10 days of sick leave for
     personal business provided that reasonable advance notice is given to the head of the
     school. Teachers may use the days allowed for personal business for the care of ill
     family members. For the purpose of this provision, family member shall be defined as:
     spouse; natural, foster or step parent; child; brother or sister; father-in-law; mother-in-
     law; any relative residing in the household; and domestic partner, provided such domestic
     partner is registered pursuant to the terms set forth in the New York City Administrative
     Code Section 3-240 et seq. Days off for personal business are intended to be used only
     for personal business which cannot be conducted on other than a school day and during
     other than school hours.
          12. Regular substitute teachers shall be granted absence refunds for illness on
     application, without a statement from a physician, for no more than five days in one
     school term. However, regular substitute teachers who serve two terms in one school
     year shall be granted a total of no more than 10 such absence refunds during the two
     terms, three of which may be used for personal business provided that reasonable
     advance notice is given to the head of the school. Regular substitute teachers may use
     two of the three days allowed for personal business in any school year for the care of ill
     family members. For the purpose of this provision, family member shall be defined as:
     spouse; natural, foster or step parent; child; brother or sister; father-in-law; mother-in-
     law; any relative residing in the household; and domestic partner, provided such domestic



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     partner is registered pursuant to the terms set forth in the New York City Administrative
     Code Section 3-240 et seq. Days off for personal business are intended to be used only
     for personal business which cannot be conducted on other than a school day and during
     other than school hours.
          13. Teachers covered by the Workers’ Compensation Law may receive full pay for
     the first five days of absence resulting from injury which they claim was sustained in the
     course of their employment. Subject to the limitations of Workers’ Compensation Law,
     such absence may be charged against sick leave reserve if the teacher submits a doctor’s
     certificate as required under the by-laws of the Board.
          14. Teachers serving in schools shall not suffer loss of sick bank days for absence due
     to illness from the following children’s diseases: rubeola (measles), epidemic parotitis
     (mumps), and varicella (chicken pox). It is understood that this paragraph does not apply
     to rubella (German measles).
          15. The Board will approve absences without loss of sick bank days for teachers who
     contract Hepatitis B as a result of working with children who have been evaluated as
     presenting a substantial risk of exhibiting acting out behavior.
          16. Employees who are absent due to allergic or positive reaction from a skin test
     shall not suffer loss of sick bank days.
          17. Teachers who resign or retire shall, upon application, receive termination pay on a
     basis of one half of up to 200 days of the unused sick leave accumulated as a regularly
     appointed or regular substitute teacher. If the resignation or retirement becomes effective
     at any time other than the end of a school year, sick leave for the period of service during
     that school year shall be paid at the rate of one day for each two full months of service.
     Effective upon ratification and adoption of this Agreement termination pay pursuant to
     this provision shall be paid in three equal cash installments payable two months, fourteen
     months and twenty six months following his/her termination date.
          18. The estate of a teacher who dies during the term of this contract shall receive
     termination pay calculated on the same basis. This paragraph shall not apply to those
     teachers who are presumed to have retired on the day immediately preceding their death
     pursuant to Section 13-545 of the Administrative Code of the City of New York, as
     amended.
          19. Absence for illness after September 1, 1967, will be charged on a day-for-day
     basis to any unused sick leave accumulated prior to September 1, 1967.
         20. Absence immediately prior to resignation shall be paid on the same basis as
     termination pay.
         21. Employees on sabbatical leaves of absence shall not accrue days in their
     cumulative absence reserves for the period of the sabbatical leave.
     B. Sabbatical Leaves
          1. Teachers on regular appointment will be eligible for a sabbatical leave for study
     or restoration to health after each 14 years of service. The first 14 years of service may
     include a maximum of three years of substitute service for which salary credit was
     granted. Courses for study sabbatical shall be job related in accordance with criteria
     established by the Chancellor.
         2. Approval of the school medical director is required for all sabbaticals for
     restoration to health. Teachers on regular appointment who have less than 14 years of




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     service will be eligible for a “special sabbatical leave for restoration to health” after seven
     years of service on regular appointment.
         A “special sabbatical leave for restoration of health” shall be for a period of six
     months, beginning on August 1 and ending on January 31 of the following year or
     beginning on February 1 and ending July 31 of the same year. However, a “special
     sabbatical leave for restoration of health” may be taken for a period of at least one month
     but less than six months under the following circumstances:
         a. The teacher meets all the eligibility criteria for a six-month “special sabbatical
     leave for restoration of health.”
         b. The teacher has exhausted his/her cumulative absence reserve.
         c. The school medical director will determine when the teacher is fit to return to
     duty. The superintendent will return the teacher to his/her assignment in the school as
     soon as possible, but in no event later than the beginning of the next marking period
     following the date of return determined by the school medical director, unless there is a
     valid educational reason for a different assignment in the school.
         d. The teacher will be deemed to have exhausted years of service for sabbatical
     eligibility based upon the formula.
                                     Calendar Davs of Leave x 7 years
                                                     180
         3. A sabbatical leave shall be for a period of one year, beginning on August 1 and
     ending on July 31of the following year.
         4. Teachers on regular appointment serving in high schools organized on a semi-
     annual basis or in junior high or intermediate schools will be eligible for sabbatical leaves
     for study beginning February 1 and ending July 31 of the same year, after each seven
     years of service on regular appointment.
         5. A teacher on sabbatical leave of absence shall receive compensation at the rate of
     seventy (70) percent of the teacher’s regular salary. The sabbatical leave pay of teachers
     who receive a bonus shall be based upon their annual salary and the amount of the annual
     bonus received. The sabbatical leave pay of teachers who receive a license salary
     differential shall be based upon their annual salary and the amount of the license
     differential.
         6. Teachers on special sabbatical leave for restoration of health (as defined in
     paragraph 2 above) shall receive compensation at the rate of sixty (60) percent of their
     regular salary during such leave. The pay for the “special sabbatical leave for restoration
     of health” (as defined in paragraph 2 above) of teachers who receive a bonus shall be
     based upon their annual salary and the amount of the annual bonus received. The pay for
     the “special sabbatical leave for restoration of health” of teachers who receive a license
     salary differential shall be based upon their annual salary and the amount of the license
     differential.
         7. Teachers serving a probationary period in a second license within the bargaining
     unit shall be permitted to take a sabbatical leave of absence or a “special sabbatical leave
     for restoration of health” (as defined in paragraph 2 above) during such period if they are
     otherwise eligible; however, there shall be no reduction, by reason of such leave, of the
     total probationary period which they are required to serve.
         8. An application for a sabbatical leave of absence or for a “special sabbatical leave
     for restoration of health” (as defined in paragraph 2 above) will not be denied to an



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     eligible teacher unless the leave would be contrary to applicable regulations. When the
     number of eligible applicants in any school or organizational unit exceeds the number of
     sabbatical leaves and “special sabbatical leaves for restoration of health” (as defined in
     paragraph 2 above) permissible under applicable regulations, applications shall be
     granted in the school or organizational unit in order of the Citywide seniority of the
     applicants. For this purpose, in the case of applications for sabbatical leave, seniority
     shall be determined by the number of years of service usable for eligibility for sabbatical
     leave, minus the years required for each sabbatical leave or “special sabbatical leave for
     restoration ofhealth” (as defined in paragraph 2 above) already taken.
         9. In accordance with the LOBA determination and award in Case No. IA-1-85, the
     sabbatical cap shall be 5%. Notwithstanding the 5% sabbatical cap, the taking of a
     sabbatical shall not cause a hardship in any department or subject area.
          10. In accordance with the LOBA determination and award in Case No. IA-1-85,
     sabbaticals shall be conditional upon the employee remaining in the New York City
     school system for two (2) years after the employee’s return. Sabbaticals of six months or
     less shall be conditional upon the employee remaining in the New York City school
     system for one (1) year after the employee’s return. Failure to comply with the
     applicable return provision shall make the employee liable to the New York City Board
     of Education for the salary that the employee received during the sabbatical period. If
     upon return from sabbatical, the services of the employee are terminated during the
     applicable return period, the requirement for any refund shall be eliminated. If an
     employee is unable to return from a sabbatical or is unable to complete the applicable
     service requirement upon return from a sabbatical due to a medical incapacity which has
     developed since the commencement of the sabbatical, such employee shall receive a
     hardship exception to this return provision. Such hardships shall be reviewed and
     approved by the Board’s Medical Bureau on a case-by-case basis.
     C. Special Study Sabbaticals to Achieve Certification
          1. Teachers on regular appointment may apply for a special one year or six month
     sabbatical leave of absence for study to be granted for the following purposes:
         a. Study to meet certification requirements for a license designated by the Board of
     Education and the Union as a shortage area; and/or
         b. Study to become certified in the license appropriate to the teacher’s current
     assignment.
         The Board and the Union will meet annually to decide the number of these special
     sabbatical leaves of absence for study to be granted depending on the funds available for
     this purpose.
         2. These special sabbatical leaves of absence for study will be granted to the senior
     applicants with priority for those who need 16 credits or less to complete certification.
         3. This special sabbatical leave of absence for study may be for a period of one year
     or for a period of six months. One year special sabbatical leaves of absence for study
     begin on August 1 and end on July 31of the following year. Six month special sabbatical
     leaves of absence for study begin on August 1 and end on January 31 of the following
     year or begin on February 1 and end on July 31of the same year.
         4. A teacher on special sabbatical leave of absence for study shall receive
     compensation at the rate of seventy (70) percent of the teacher’s regular salary. The
     sabbatical leave pay of teachers who receive a bonus shall be based upon their annual



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     salary and the amount of the annual bonus received. The sabbatical leave pay of teachers
     who receive a license salary differential shall be based upon their annual salary and the
     amount of the license differential.
          5. A teacher who receives this special sabbatical leave of absence for study will
     commit to completing certification and will accept assignment to teach in the license area
     for a minimum of two years.
          6. The Board and the Union will jointly seek funding to provide tuition
     reimbursement for teachers on these sabbaticals.
          7. These special sabbatical leaves of absence for study are not subject to the five
     percent cap, but shall count as used sabbaticals in determining eligibility for any future
     sabbatical.
          8. The substitute service creditable toward sabbatical leave eligibility pursuant to
     paragraph 1 of Section B above may be applied to a twelve month special sabbatical
     leave of absence for study. Furthermore, such substitute service, if otherwise creditable
     toward sabbatical leave eligibility, shall not be lost or diminished as a result of taking a
     six-month special sabbatical leave of absence for study.
          9. Administrative procedures for the effectuation of these provisions are to be
     formulated by the Board in consultation with the Union.
     D. TB Sabbaticals
          Teachers excused from service by the Board of Health of the City of New York
     because of tuberculosis may be granted up to five terms of sabbatical leave. Approval of
     the School Medical Director is required. Sabbaticals of this type are granted without
     reference to other regulations at the rate applicable to special sabbatical leaves for
     restoration ofhealth.
     E. Leaves of Absence Without Pay
          1. Purposes for Which Granted
          Leaves of absence without pay shall be granted upon application to teachers on
     regular appointment for the following purposes:
          a. Study related to the teacher’s license field;
         b. Study to meet eligibility requirements for a license other than that held by the
     teacher;
          c. Acceptance of a teaching position in a foreign country for one year, with such
     leave renewable for an additional year. Such teaching position shall be sponsored or
     approved by the government of the United States.
          The Board will recommend to the Teachers’ Retirement Board the granting of
     retirement credit for the duration of the aforesaid leaves.
          Teachers may be granted a leave of absence without pay of up to two years to adjust
     personal affairs (such as the winding up of a family business on the death or
     incapacitation of the family member in charge) in accordance with existing rules and
     regulations. The teacher may consult with the Union with respect to the matter.
     Teachers who are denied such a leave may refer the matter to the Chief Executive of the
     Division of Human Resources for review and final determination.
          “Urgent needs” of the school to which the teacher is assigned may be asserted by the
     Board asjustifying a temporary denial of any application for leave without pay.
          Through at least July 31, 1995, the Board will implement a liberal policy concerning
     the granting of leaves of absence without pay to UFT bargaining unit members who meet



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     the stated criteria for such leaves. Bargaining unit members who are denied such a leave
     at the school or district level may appeal to the Chief Executive of the Division of Human
     Resources, for review and final determination.
          2. Per Diem Service While on Leave
          Teachers on maternity leave and teachers on leave of absence without pay for study
     and related professional experience shall be permitted to perform per diem teaching
     service.
     F. Military Service Pay
          1. Excuse for Selective Service Examination
          Teachers called for selective service physical examination shall be excused without
     loss of pay for such purpose.
          2. Pay During Military Service
          Teachers on regular appointment who enter the military service shall be on leave of
     absence with pay during the first 30 days of such service unless the Board is otherwise
     required to make payment of salary during such military service.
     G. Payment for Jury Duty
          Teachers who are required to serve on jury duty will receive full salary during the
     period of such service, subject to their prompt remittance to the Board of an amount equal
     to the compensation paid to them for suchjury duty.
     H. Vocational High School Externship Program
          The Board and the Union agree that the following conditions apply to teachers who
     participate for up to one semester in the Vocational High School Teacher Externship
     Program (“Program”) to upgrade their skills:
          1. Participation in the Program shall be on a voluntary basis, by application
     following posting in the school of the qualifications required, identification of the sites
     where and the time schedule for the training. A copy of the Agreement will also be made
     available.
          2. Priority for selection shall be to the teacher(s) in whose room(s) the equipment is
     being installed for which skills upgrading is being offered through the Program.
     Thereafter preference shall be to the qualified teacher with the highest seniority in the
     school who applies (or intends to apply) for the particular shop, if not inconsistent with
     the needs of the school.
          3. During and after participation in the Program the teacher will continue in his/her
     position at the High School of Graphic Communication Arts, or other participating
     vocational high school, subject to the provisions of the Collective Bargaining Agreement.
          4. While participating in the Program the teacher will be relieved of classroom and
     other school based professional responsibilities.
          5. All compensation, seniority and benefits applicable to the teacher shall continue
     to accrue during the time he/she is participating in the Program.
          6. Participation in the Program shall be within the work day set forth in Article 6A
     of the Agreement, Monday through Friday, and in accordance with the Board calendar
     with respect to holidays, recesses and vacations.
          7. Teachers may continue to work in per session programs that do not interfere with
     their attendance in the Program. If a teacher is unable to continue the per sessionjob due
     to conflict with the Program’s schedule of hours, his/her retention rights in the per
     sessionjob will be treated as though he/she were on sabbatical leave.



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          8. Participation in the Program is conditioned upon the teacher remaining in the
     school system for at least two years after completion of the externship and accepting
     assignments in his/her school using the upgraded skills. But this provision shall not
     entitle the Board to involuntarily transfer the teacher except as authorized under the
     Collective Bargaining Agreement. Similarly, the teacher may not transfer out of the
     school during the two year period. Failure to comply with this return requirement shall
     be treated in all respects as provided in Article 16 BIO.
         9. The Board and the Union strongly recommend that the teacher’s professional
     activity following participation in the Program consist of development of skills and/or
     materials reflective of the externship.
          10. Teachers who wish to earn differential credit based on their participation in the
     Program shall develop and submit a work/study plan including a final project that reflects
     what was learned and is applicable to classroom instruction and practice. Three “G”
     credits will be granted in accordance with Board policy upon successful completion of
     the work/study plan, including evaluation of the project and payment of a $100
     registration fee.
     I. Discipline for Authorized Absences
         No employee shall be disciplined, adversely rated or have any derogatory material
     placed in his/her file for taking an approved sabbatical for restoration of health, approved
     unpaid leave for restoration of health or a central DOE approved paid leave. Discipline
     for time and attendance is not a reflection of the employee’s performance while at work.
     J. Return from Leave of Absence
           (a) Commencing with the beginning of the 2014-15 school year, employees on leaves
     of absence, for one school year or semester, through the end of the school year, must
     notify the DOE’s Chief Executive Officer of the Division of Human Resources or his/her
     designee in a manner prescribed by the DOE on or before May 15th of their intent to
     either return to service or apply to extend their leave of absence for the following school
     year. Failure to comply with this deadline shall be deemed as a voluntary resignation
     from the DOE, except in cases where it can be demonstrated that special circumstances
     prevented the employee from notifying the DOE.
         (b) Notwithstanding this notification given to the Board (DOE), prior to the
     commencement of the school year an employee may return to service or apply to extend
     his/her leave if he/she can demonstrate relevant circumstances materially changed after
     May 15th provided that the employee acts expeditiously following the change in
     circumstances. An application to extend a leave made under these circumstances shall be
     granted under the same circumstances as one made on or before May 15th.
         (c) An employee on leave for a restoration of health shall be required to notify the
     DOE’s Chief Executive Officer of the Division of Human Resources or his/her designee,
     in a manner prescribed by the DOE on or before May 15th, of his/her medical status and
     any plans, if known, as to whether he or she intends to return to work the following
     school year. Failure to notify the DOE in writing by May 15th shall be deemed as a
     voluntary resignation from the DOE, except in cases where it can be demonstrated that
     special circumstances prevented the employee from notifying the DOE.
         (d) Whether special circumstances prevented an employee from notifying the DOE
     on or before May 15th, relevant circumstances materially changed after May 15th, or an




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     employee acted expeditiously shall be subject to the grievance procedure, including
     binding arbitration.



                                      ARTICLE SEVENTEEN
                            RETENTION, EXCESSING AND LAYOFF
     A. Retention of Assignment-Regular Substitutes
          1. A regular substitute who, upon completion of one year of service in a school, has
     been notified in writing by the principal that he/she will be reassigned in that school for
     the following school year shall be assigned for the following school year to a regular
     substitute opening in that school unless the opening has ceased to exist. In the event that
     the opening has ceased to exist, the substitute shall be given at least fourteen (14) days
     notice prior to the beginning of the following school year that the opening has ceased to
     exist and that he/she will not be reassigned to the school. If such notice is not given and
     the substitute has not been assigned to another school, the community or assistant
     superintendent in charge of the school will provide the substitute with the opportunity
     during the first twenty (20) days of the following school year to perform per diem service
     available in the district. The opportunity to perform such service will be provided for a
     number of days, not to exceed ten (10), equal to the difference between fourteen (14)
     days and the actual number of days notice given to the substitute prior to the beginning of
     the school year.
         2. Regular substitute teachers with more than one year of continuous satisfactory
     service in a school shall have priority for retention in that school according to their length
     of service in the school. If it becomes necessary to terminate the services of a regular
     substitute with more than one year of continuous satisfactory service in a school by
     reason of appointment, or return from leave or other absence of a regular teacher, or by
     reason of contraction in the school organization, the regular substitute teacher with the
     least service in the school will be the first to be released.
         3. Where a CPT has been released because the position in the school has ceased to
     exist, that CPT will have priority for assignment to an unencumbered vacancy in the
     district. If no such position exists in the district, the Board will place the CPT in a
     position within the district held by a PPT who has less than one year of continuous
     satisfactory service in any school within the district. If no PPT in the district has less
     than one year of such service, the CPT will be placed in an available position within the
     school system.
         4. The seniority rules hereby established shall be applied on the basis oflicense held,
     except that elementary school teachers of common branches and early childhood will be
     grouped together and elementary school teachers of common branches (bilingual) and
     early childhood (bilingual) according to language will be grouped together for these
     purposes. Licensed teachers of CRMD, EH, HC and Special Education will be grouped
     together and licensed teachers of CRMD (bilingual), EH (bilingual) HC (bilingual) and
     Special Education (bilingual) according to language shall be grouped together for
     purposes of excessing.




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         5. Regular substitutes teaching out-of-license shall be given preference, on the basis
     of seniority in the school, over outside applicants for any position in license which
     becomes available in the school at the beginning of the school year or the school term.
         6. A regular substitute whose services must be terminated at any time before the last
     two weeks of the term by reason of appointment, or return from leave or other absence of
     a regular teacher, or by reason of contraction in the school organization shall be given ten
     (10) school days notice of the termination and the reason therefor. If such notice is not
     given, the community or assistant superintendent in charge of the school will provide the
     substitute with an opportunity to perform per diem service available in the district or in a
     high school for a number of days equal to the difference between ten (10) days and the
     actual number of days notice given.
         7. Regular substitute teachers who have completed one term or more of service in a
     school and who will not be rehired in that school for the following term shall be given
     five (5) days notice before the end of the term that they will not be rehired.
          8. Regular substitutes are to be given ten (10) school days notice of discharge,
     except in cases of emergency.
     B. Excessing Rules-Appointed Teachers
         Before applying the Rules for involuntary excessing, the senior teacher within license
     (including those whose seniority is determined by Rule 3, 3A, 3B, 3C, 3D, 3E, 3F, 3G,
     3H or 31) who volunteers will be excessed from the school to a vacancy within the same
     district or, in the case of high schools, within the jurisdiction of the responsible high
     school superintendent. If no senior teacher volunteers, the following excessing rules shall
     be adhered to in all levels.
         Rule 1.      Within the school, district or other organizational unit, the teacher with the
     least seniority within license will be the first to be excessed, and probationers will be
     excessed before those who have completed probation; except that elementary school
     teachers of common branches and early childhood will be grouped together and
     elementary school teachers of common branches (bilingual) and early childhood
     (bilingual) according to language will be grouped together for purposes of excessing.
     Licensed teachers of CRMD, EH, HC and Special Education will be grouped together,
     and licensed teachers of CRMD (bilingual), EH (bilingual), HC (bilingual) and Special
     Education (bilingual) according to language will be grouped together for purposes of
     excessing.
         For purposes of excessing only: (i) Any one or more F-Status positions within a
     license that equals 1.0 FTE (i.e. positions equaling 5 days a week) will be considered a
     single position (if in one school) or a single position on split assignment (if in different
     schools within a district), (ii) Prior to an employee being excessed out of a district s/he
     will be offered the position described in the preceding sentence, (iii) Notwithstanding the
     restrictions in this paragraph, a school will be allowed to create or maintain the F-Status
     positions described in (i) in order to accommodate a hardship for a previously appointed
     pedagogue or because of the particular needs of the program.
         Rule 1-A. To minimize excessing in elementary schools, ajunior teacher of common
     branches or early childhood who has a bilingual ancillary certificate may be retained in
     the school if no senior teacher of common branches or early childhood has the
     qualifications to teach a bona fide bilingual class. For this purpose, a bilingual class is




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     one where the majority of students are classified as limited English proficient (LEP) in
     accordance with the Chancellor’s regulations.
         Rule 1-B. To minimize excessing, a junior teacher serving in a special education
     program under a non-special education license who has met the qualifications set forth in
     Chancellor’s Regulation C-311 or C-312 may be retained in the school if no senior
     teacher in the same license who meets the qualifications set forth therein volunteers to
     serve in the special education program.
         Rule 1-C. To minimize excessing, a junior teacher serving in a resource room or
     SETSS position may be retained in the school if no senior teacher in the same license
     who meets the Citywide qualifications volunteers to serve in the resource room or SETSS
     position.
         Rule 2.      In determining the seniority of a teacher for purpose of excessing, layoff
     seniority shall apply.
         Rule 2-A. A teacher whose seniority just prior to appointment was determined
     pursuant to Rule 3, 3A, 3B, 3C, 3F or 3G to be in the same license as present regular
     appointment shall be deemed to have completed probation in the license for purpose of
     these excessing rules only.
         Rule 3.      Except as otherwise provided in Rule 3-G, where teachers of common
     branches are serving in the junior high schools and intermediate schools and have taught
     most of their time for three years in a subject area, they shall be considered for seniority
     purposes with licensed probationary teachers of the subject in which they have taught for
     the most recent three years.
         Rule 3-A. Except as otherwise provided in Rule 3-G, where teachers have served
     under a high school license in the junior high schools and intermediate schools for three
     years they shall be considered for seniority purposes with licensed probationary junior
     high school teachers in the subject area of their license.
         Rule 3-B. Except as otherwise provided in Rules 3-C and 3-G, where secondary
     teachers are serving in elementary schools and have served for three years in the school
     or for five years at the elementary level, they shall be considered for seniority purposes
     with licensed probationary teachers of common branches and early childhood.
         Rule 3-C. Except as otherwise provided in Rule 3-G, where teachers have served for
     three years in the elementary schools under a secondary school license for which there is
     an elementary school license in the same subject area, they shall be considered for
     seniority purposes with licensed probationary elementary school teachers in the subject
     area of their license.
         Rule 3-D. Teachers serving in Resource Rooms or SETSS positions in the school
     shall be grouped for seniority purposes and the Resource Room or SETSS teacher with
     the least seniority will be the first to be released from the Resource Room or SETSS in
     the school; except that Resource Room teachers and SETSS teachers who have served
     less than three years in Resource Rooms and SETSS will be released before those who
     have completed three years in Resource Rooms and SETSS.
         Rule 3-E. Where teachers are serving in a Special Education program under a
     Special Education license which is inappropriate for the program, they shall be grouped
     regardless of program for purposes of excessing, and such out-of-license teachers shall be
     excessed in reverse seniority order before any appropriately licensed teacher is excessed.




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         Where teachers are serving in a Special Education program under a non-Special
     Education license and possess valid New York State certification in Special Education,
     they shall be grouped together regardless of program and excessed in reverse seniority
     order before any Special Education licensed teacher is excessed; and teachers serving
     under non-Special Education licenses, lacking valid New York State certification in
     Special Education, shall be grouped together regardless of program and excessed in
     reverse seniority order before any teacher who possesses a valid New York State
     certification in Special Education is excessed.
         Rule 3-F. These excessing rules will apply to the excessing of teachers from the non-
     public schools program, except that for purposes of excessing teachers from the
     corrective mathematics component common branches and junior high school
     mathematics licenses shall be grouped.
         Rule 3-G. After October 1, 1987, teachers whose seniority on September 30, 1987
     was determined pursuant to former Rule 5, 5A, 5B or 5C to be in a particular license shall
     be deemed to have completed probation in that particular license for purposes of
     excessing hereunder.
         Rule 3-H. Teachers serving pursuant to an academic license where few opportunities
     exist for a full program in the license area will be considered for seniority purposes along
     with licensed teachers of the subject in which they have taught for the most recent three
     years. A list of license areas subject to excessing under this Rule will be made jointly by
     the Board and the Union, who will review the listed licenses every two years. Should the
     parties agree that opportunities for a full program in any listed license are sufficient, it
     will be removed from the list, and this excessing Rule will no longer apply to holders of
     the license.
         Rule 3-1. For purposes of excessing from a school or site, teachers serving under the
     Pre-K-12 arts licenses will be grouped with teachers serving under secondary licenses in
     the same specific arts areas, and the least senior teacher in the specific arts area will be
     excessed to a vacancy if one exists at the same level within the district/superintendency.
     If there is no vacancy at the same level, the teacher will be offered the option to be
     excessed to a vacancy at a different level within the district/superintendency if one exists.
         Rule 4.      Teachers in excess in a school unit or office under the jurisdiction of a
     community district must be placed in vacancies within the district to the fullest degree
     possible. For school units, districts, or other organizational units under the jurisdiction of
     the central board, teachers in excess must be placed in appropriate vacancies within the
     district or central office.
         Rule 5.      To minimize movement of personnel, excessed teachers shall be placed
     within the district/superintendency in appropriate openings or vacancies.
         Rule 6.      The central board has the responsibility for placing teachers who are
     excessed from a school or office and cannot be accommodated by their own
     district/superintendency. Where possible, the wishes of the teacher will be taken into
     account in his/her placement by the central board. Should a Citywide excess condition,
     as defined in Section 2588(3)(a) of the Education Law, occur Section D of this Article
     shall apply.
         Rule 7.      When a teaching position in central headquarters is abolished, the
     occupant of that position is excessed, and he/she shall be granted the same rights for
     placement as a teacher who is excessed from a community district.



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         Rule 8.     A teacher who has been excessed to another school may request an
     opportunity to return to the school from which he/she was excessed if within a year a
     vacancy should occur in that school. Such a request will have priority over any other
     transfer or appointment to that vacancy, and it shall be effectuated at the next
     reorganization of the school to which the teacher is returning, except that should the
     vacancy occur within ten school days after the teacher is excessed, he/she shall be
     informed of the vacancy and he/she may return to the school immediately. The
     opportunity to return of a teacher released or excessed from a Resource Room or SETSS
     position is to a Resource Room or SETSS vacancy in the school from which the teacher
     was released or excessed.9
         Rule 9.     A teacher under the jurisdiction of the Special Education District
     Superintendent who is excessed from an elementary orjunior high school shall be placed
     within license in a vacancy under the jurisdiction of the central board located within the
     community school district. When possible the wishes of the teacher will be taken into
     account in his/her placement by the central board. Should a Citywide excess condition,
     as defined in Section 2588(3)(a) of the Education Law, occur Section D of this Article
     shall apply.
         Rule 9-A. If an excessing situation exists in the Resource Room or SETSS Program
     in a school or unit other than a high school, the Resource Room or SETSS teacher in the
     school or unit with the least seniority, determined pursuant to Rule 3-D will be the first to
     be excessed to a Resource Room or SETSS vacancy located within the boundaries of the
     community school district or at the option of the teacher to a position in license in the
     school in accordance with seniority.
         If an excessing situation exists in the Resource Room or SETSS Program in a high
     school, the Resource Room or SETSS teacher in the high school with the least seniority,
     determined pursuant to Rule 3-D will be the first to be excessed from the high school to a
     High School Resource Room or SETSS vacancy within the superintendency or at the
     option of the teacher to a position in license in the school in accordance with seniority.
         Rule 9-B. Notwithstanding any other Rule except Rule 10 governing excessing,
     teachers serving in special education programs may remain in a school, where they are
     subject to excessing provided they are senior (under the applicable Rule) to another
     teacher in the school.
         Rule 10. Teachers at all levels who have served 20 years or longer on regular
     appointment shall not be excessed except as follows and except for those in neighboring
     schools who are excessed to staff a newly organized school:
         Rule 10-A. Teachers with twenty (20) years or more of seniority who are covered by
     Rule 10 (“Rule 10 status”) may be excessed consistent with all other applicable
     provisions of this Agreement, but they will be placed in the school from which they were
     excessed as an Excessed Employee/ATR and will not be rotated (as defined in Rule
     11(B)(6)(a). These individuals will have all the rights and privileges of other teachers on
     the school’s table of organization except for program preference rights, and may be used
     for coverages or other teacher related duties. However, teachers who have attained Rule
     10 status and are in schools that are phasing out may only be excessed in the last year of
     the phase out and only if there is no program in their license area or they have not taught

     9 The right of return to a vacancy in New Programs of District 79 teachers excessed from Closing Programs
     is set forth in Appendix I, paragraph 10.


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     a program in a different license area with a program satisfactorily during the past two (2)
     years. Rule 10 status cannot be attained while an individual is in excess.
         Rule 10-B. It is expressly understood that the obligation in Rule 11(11) to send
     Excessed Employees/ATRs for consideration for placement or to cover vacancies in their
     license area shall not apply to teachers with twenty (20) years or more of seniority who
     are excessed and become ATRs/Excessed Employees assigned to the schools from which
     they are excessed.
         Rule 11. Unless a principal denies the placement, an excessed teacher will be
     placed by the Board into a vacancy within his/her district/superintendency. The Board
     will place the excessed teacher who is not so placed in an ATR position in the school
     from which he/she is excessed, or in another school in the same district or
     superintendency.10
         A. ATR Program
         For purposes of this Rule 11(A), ATRs shall be defined as all UFT-represented school
     based titles in excess after the first day of school, except paraprofessionals and
     occupational and physical therapists.
         1. Interviews
         During the period September 15, 2014 through October 15, 2014 (and during the
     same period in each subsequent year to the extent this ATR Program is continued as set
     forth below), the Board (“DOE”) will arrange, to the greatest extent reasonably possible,
     for interviews between ATRs and schools with applicable license-area vacancies within
     the district or borough to which the ATR is assigned. After October 15th, ATRs may
     continue, at the DOE’s discretion, to be sent to interviews within the district or borough
     for applicable license-area vacancies. An ATR that declines or fails to report to an
     interview, upon written notice of it, two or more times without good cause shall be
     treated as having voluntarily resigned his/her employment.
         When an ATR is selected by a principal for a permanent placement in either the
     district or borough, the ATR shall be assigned to fill the vacancy in his/her license area,
     be placed on the school’s table of organization and take his/her rightful place in seniority
     order. Schools may continue to hire ATRs on a provisional basis consistent with existing
     agreements between the parties. An ATR that fails to accept and appear for an
     assignment within two (2) work days of receiving written notice of the assignment
     without good cause shall be treated as having voluntarily resigned his/her employment.
         Any school that selects an ATR for a permanent placement will not have that ATR’s
     salary included for the purpose of average teacher salary calculation.
         ATRs in Districts 75 and 79 shall be sent for interviews only in the same borough,
     within their respective district, as the school to which they were previously assigned.
         ATRs in BASIS shall be sent for interviews only in the same borough as the school to
     which they were previously assigned.
         2. Assignments of ATRs
         After October 15, 2014, ATRs, except those who have been penalized (as a result of a
     finding of guilt or by stipulation) in conjunction with §3020-a charges with a suspension
     of thirty (30) days or more or a fine of $2,000 or more, will be given a temporary
     provisional assignment to a school with a vacancy in their license area where available.

     10 Placement rights of teachers excessed from District 79 Closing Programs are set forth in Appendix I,
     paragraphs 3 ,4 and 5.


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     The DOE, at its sole discretion, may choose to assign ATRs to a temporary provisional
     assignment who have been penalized (as a result of a finding of guilt or by stipulation) in
     conjunction with §3020-a charges with a suspension of thirty (30) days or more or a fine
     of $2,000 or more.
         The DOE shall not be required to send more than one (1) ATR at a time to a school
     per vacancy for a temporary provisional assignment. These assignments will first be
     made within district and then within borough. For purposes of the ATR Program, ATRs
     shall also be given temporary provisional assignments to cover leaves and long term
     absences within their license area within district and then within borough. ATRs in
     Districts 75 and 79 shall be given temporary provisional assignments only in the same
     borough, within their respective district, as the school to which they were previously
     assigned.
         All temporary provisional assignments for an ATR in BASIS will be within the same
     borough as the school to which they were previously assigned.
         It is understood that at any time after a temporary provisional assignment is made, a
     principal can remove the ATR from this assignment and the ATR will be returned to the
     ATR pool and be subject to the terms and conditions of employment then applicable to
     ATRs pursuant to this Agreement.
         If a principal removes an ATR from an assignment to a vacancy in his/her license
     area because of problematic behavior as described below and the ATR is provided with a
     signed writing by a supervisor describing the problematic behavior, this writing can be
     introduced at an expedited §3020-a hearing for ATRs who have completed their
     probationary periods, as set forth below.
         If, within a school year or consecutively across school years, two (2) different
     principals remove an ATR who is on a temporary provisional assignment to a vacancy in
     his/her license area for problematic behavior and provide the ATR with a signed writing
     describing the problematic behavior, the ATR shall be subject to discipline up to and
     including discharge as provided below. The ATR will be returned to the ATR pool
     pending completion of the expedited ATR §3020-a procedure set forth below.
         An ATR who has been placed back in the ATR pool will be in the rotation to schools
     (as defined in Rule 11 (B)(6)(a)) unless he/she is again offered a temporary provisional
     assignment at another school. Rotational assignments or assignments to a school (as
     opposed to a vacancy in his/her license area) shall not form the basis of an incident of
     problematic behavior as described herein.
         To the extent that the provisions of this Rule 11(A)(2) conflict with the provisions of
     Rule 11(B) the provisions of this Rule ll(A)(2)shall govern.
         3. ATR §3020-a Procedure
         If, within a school year or consecutively across school years, an ATR has been
     removed from a temporary provisional assignment to a vacancy in his/her license area by
     two (2) different principals because of asserted problematic behavior, a neutral arbitrator
     from a panel of arbitratorsjointly selected for this purpose (the panel presently consisting
     of Martin F. Scheinman, Howard Edelman and Mark Grossman) shall convene a §3020-a
     hearing as soon as possible.
         Based on the written documentation described above and such other documentary
     and/or witness evidence as the employer or the respondent may submit, the hearing
     officer shall determine whether the ATR has demonstrated a pattern of problematic



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     behavior. For purposes of this program, problematic behavior means behavior that is
     inconsistent with the expectations established for professionals working in schools and a
     pattern of problematic behavior means two (2) or more instances in a vacancy in the
     ATR’s license area of problematic behavior within a school year or consecutively across
     school years. Hearings under this provision shall not exceed one full day absent a
     showing of good cause and the hearing officer shall issue a written decision within fifteen
     (15) days of the hearing date.
         The parties agree that in order to accomplish the purpose of establishing an expedited
     §3020-a process, the following shall serve as the exclusive process for §3020-a hearings
     for ATRs that have been charged based on a pattern of problematic behavior in
     accordance with this Agreement.

            •   The ATR shall have ten (10) school days to request a hearing upon receipt of
                the §3020-acharges;
            •   At the same time as the ATR is charged, the Board (DOE) will notify the UFT
                as to where the ATR is assigned at the time charges are served;
            •   The DOE shall provide the Respondent all evidence to be used in the hearing
                no more than five (5) school days after the DOE receives the Respondent’s
                request for a hearing;
            •   Within five (5) school days of receipt of the DOE’s evidence, the Respondent
                shall provide the DOE with any evidence the Respondent knows at that time
                will be used in the hearing;
            •   The hearing shall be scheduled within five to ten (5-10) school days after the
                exchange of evidence is complete;
            •   The hearing time shall be allocated evenly between the parties, with time used
                for opening statements, closing statements and cross-examination allocated to
                party doing the opening statement, closing statement or cross-examination and
                with time for breaks allocated to the party requesting the break;
            •   The hearing officer shall issue a decision within fifteen (15) days of the
                hearing date.

         For the purposes of charges based upon a pattern of problematic behavior under this
     section only, if the DOE proves by a preponderance of the evidence that the ATR has
     demonstrated a pattern of problematic behavior the hearing officer shall impose a penalty
     under thejust cause standard up to and including discharge.
         All hearing officer fees in excess of the SED rate shall be shared equally by the
     parties.
         It is understood that allegations of conduct which would fall within the definition of
     sexual misconduct or serious misconduct as defined in the applicable collective
     bargaining agreements shall be addressed through the existing process in Article 21G of
     this Agreement.
         4. Term
         This Rule 11(A) with respect to the absent teacher reserve (referred to above as the
     “ATR Program”) shall run through the end of the 2015-16 school year. At the end of that
     term, the parties must agree to extend the ATR Program and absent agreement, the parties
     shall return to the terms and conditions for ATR assignment as set forth in Rule 11(B).


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         The parties agree and understand that the due process protections provided in this
     provision shall modify the provisions of Education Law §3020-a and any other
     agreements between the parties.
         B. Excessed Employees/ATRs
         1. General Provisions
         a. Except as expressly provided herein, this Rule 11(B) shall not in any way
     constitute a modification of, limitation on or a waiver of any other provision of this
     Agreement or past practice.
         b. For purposes of this Rule 11(B) the term “Excessed Employee” shall refer to all
     UFT-represented employees that have been excessed, including Excessed Employees that
     have been sent to a school to be considered for placement and not selected (an “ATR”).
     For employees that do not have licenses, the term “license” as used herein shall mean the
     appropriate title.
         2. Consideration for Placement of Excessed Employees
         a. An Excessed Employee/ATR, upon notification of being excessed, shall be
     required to register on the Open Market System for purposes of providing updated
     contact information. Failure to so register shall eliminate the DOE’s obligation as to that
     Excessed Employee/ATR under this Rule 11(B).
         b. Employees excessed after the execution of this Agreement shall be sent to schools
     for consideration for placement as follows:
         (1) When one or more vacancies occur, the DOE shall send the most senior Excessed
     Employee in the district/superintendency with the appropriate license to the school(s) for
     consideration for placement, except that the DOE shall not be required to send Excessed
     Employees who have already been sent to a school for consideration for placement
     pursuant to this paragraph.
         (2) An Excessed Employee sent to a school for consideration for placement shall
     meet with a Principal or Assistant Principal. For non-school based employees, the term
     “Principal or Assistant Principal” shall refer to the equivalent supervisory title.
         (3) If the Principal denies the placement, and the vacancy remains, the DOE shall
     send a second Excessed Employee in the district/superintendency with the appropriate
     license to be considered for placement. Such Excessed Employee shall be the most
     senior in the district/superintendency who has not previously been sent for consideration
     for placement. No school shall be required to consider for placement more than two (2)
     excessed employees in a term. For purposes of this Agreement, a “term” shall be from
     September to January 31 or February 1 through of the end of the school year.
         (4) If the DOE notifies an Excessed Employee of the school he or she is being sent to
     for consideration for placement before the school year begins, he/she may choose to meet
     with the supervisor before the school year begins if a mutually agreeable time can be
     arranged. The DOE shall inform Excessed Employees that are notified subsequent to the
     start of the school year as soon thereafter as reasonably possible of the school to which
     he/she is being sent for consideration for placement.
         (5) Notwithstanding the above, an Excessed Employee who has not been sent for
     consideration for placement shall be sent for consideration for placement prior to an
     Excessed Employee with the same license who has been excessed in a subsequent term,
     even if the subsequently excessed employee has more seniority.




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          (6) No release by an Excessed Employee’s current Principal/Supervisor shall be
     required if a Principal/Supervisor accepts the Excessed Employee for placement.
          (7) The Principal or Assistant Principal shall meet with the Excessed Employee/ATR
     for consideration for placement during the regular work day. No supervisor shall prevent
     the Excessed Employee/ATR from attending such meetings.                        If Excessed
     Employees/ATRs fail to appear at a school for consideration for placement when
     properly notified, the DOE shall have fulfilled its obligation to the Excessed
     Employee/ATR under this section, except if the Excessed Employee/ATR has a
     reasonable excuse. If reasonably possible, the Excessed Employee/ATR shall notify the
     Principal ofhis/her inability to attend.
          (c) All employees currently in excess status shall be sent, in seniority order, to
     schools in their district/superintendency for consideration for placement in vacancies in
     their license area prior to any employee excessed after the date of this Agreement.
     Employees who are sent to a school for consideration for placement pursuant to this Rule
     11(B)(3) shall count for purposes of the provision in Rule ll(B)(2)(b)(3) limiting the
     number of Excessed Employees that a school must consider for placement to two (2) per
     term.
          3. Leaves and Long Term Absences
          a. The Principal shall select an appropriately licensed Excessed Employee/ATR in
     the district/superintendency, if any such employee exists, to fill all leaves and long-term
     absences. The Principal retains the right to remove an Excessed Employee/ATR from
     the filling of such leaves or long-term absences at any time and replace him or her with
     another appropriately licensed Excessed Employee/ATR. In the event that only one (1)
     Excessed Employee/ATR in a license area in a district/superintendency is available, the
     Joint Oversight Committee created in Rule 11(B)(7) shall address the issue.
          b. As used in this Rule 11(B)(3), the definition of “long term absences” shall be
     absences oflonger than twenty-nine (29) work days.
          4. Vacancies
          a. After September 15th an appropriately licensed Excessed Employee/ATR in the
     district/superintendency shall be temporarily utilized in a vacancy until the Principal
     makes a final determination whether to keep the employee in the position. An Excessed
     Employee/ATR that is filling a leave or long term absence may decline to be moved to or
     utilized in a vacancy.          If the school has not yet considered two Excessed
     Employees/ATRs pursuant to Rule ll(B)(2)(b)(3), it shall do so as soon as possible so
     long as the vacancy exists.
          b. If a Principal decides not to continue to utilize an Excessed Employee/ATR in the
     assignment, another Excessed Employee/ATR shall be utilized pursuant to the terms of
     this Section 4, if such an employee exists, beginning no later than the first work day of
     the following work week, except where three Excessed Employees/ATRs have been
     utilized or declined to be utilized in that vacancy. From the day the Principal decides not
     to continue to utilize a particular Excessed Employee/ATR until the first workday of the
     following week, the Principal may utilize a substitute.
          c. At the end of the school year in which the temporary utilization occurs, if both the
     Principal and the Excessed Employee/ATR agree in writing, the employee shall be
     appointed to fill the vacancy in the school and take his/her rightful place in seniority




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     order. If the employee or Principal do not wish the assignment to continue, the employee
     shall remain an ATR in their district/superintendency in a different school.
         d. An employee that is temporarily utilized in a school shall maintain all of his/her
     contractual rights.
         e. The prohibition against moving an Excessed Employee/ATR during a week
     pursuant to Rule 11(B)(5)(b) below shall not apply to an Excessed Employee/ATR who
     agrees to be moved to a vacancy pursuant to this Rule 11(B)(4).
         5. Assignment of Excessed Employees
         a. To the maximum extent possible, as provided herein, an Excessed Employee/ATR
     shall be used to cover for a UFT-represented employee in his/her title who is absent, prior
     to the employment of a substitute or paying another employee in the school to cover a
     class or classes (or other appropriate assignments). If the Principal determines for a
     legitimate educational reason that it is unacceptable to allow the excessed employee/ATR
     to continue to cover a particular position, the principal may employ a substitute for the
     remainder of the work week. The Principal shall not be permitted to hire a substitute
     beginning with the first work day of the following work week for the same absence,
     unless no Excessed Employee/ATR is available.
         b. An Excessed Employee/ATR shall be assigned to a school within his/her
     district/superintendency for no less than a week, but may be assigned to a different school
     within his/her district/superintendency each week. A “week” shall be Monday through
     Friday, or shorter if the work week is less than five (5) days.
         c. An Excessed Employee/ATR shall be notified no later than Friday (or the last
     work-day of the week) if he/she will be assigned to a different school the following week
     and, if so, to which school. An ATR who has not been notified that he/she has been
     assigned to a different school by Friday shall report on Monday, or the first work day of
     the work week, and for the duration of that week, to the last school to which he/she was
     assigned.
         6. Other Applicable Provisions
         a. For purposes of this Rule 11(B), the terms “rotated” or “rotation” shall refer to the
     assignment of certain Excessed Employees/ATRs to a different school within his/her
     district/superintendency on a revolving basis.
         b. The parties agree that for purposes of Rule 11(B)(3), starting with the
     commencement of the rotation, the DOE will assign ATRs/Excessed Employees to
     schools on a temporary basis to fill positions caused by leaves or long term absences as
     defined above that are not covered internally by a school through contractually
     permissible methods and where a substitute teacher would otherwise be utilized to cover
     for the absence or leave. The ATRs/Excessed Employees covering leaves and long term
     absences will not be rotated until the completion of the assignment unless the principal
     requests the removal of the ATR/Excessed Employee prior to its completion.
         c. The parties agree that for purposes of Rule 11(B)(4), the date the DOE shall begin
     temporarily utilizing appropriately licensed ATR/Excessed Employee will be the date of
     the start of the rotation of ATRs/Excessed Employees as determined by the DOE in a
     given school year.
         d. It is expressly understood that the obligation in this Rule 11(B) to send Excessed
     Employees/ATRs for consideration for placement or to cover vacancies, leaves or long
     term absences in their license area shall not apply to those Excessed Employees/ATRs



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     who are not in the weekly rotation (e.g., those temporarily utilized to cover a vacancy,
     leave or long term absence/assignment) to cover other vacancies, leaves or long term
     absences/assignments.
          e.      The parties agree that ATRs/Excessed Employees in the Brooklyn and Staten
     Island High School District (BASIS) who are rotated, shall be rotated within seniority
     district but not outside the borough in which the school they were originally excessed
     from is located.
          It is expressly understood that the obligation in this Rule 11(B) to send Excessed
     Employees/ATRs for consideration for placement or to cover vacancies, leaves or long
     term absences in their license area shall only apply to BASIS ATRs within the borough in
     which the school they were originally excessed from is located.
          7. Joint Committee
          There shall be a Joint Oversight Committee comprised in equal parts of
     representatives appointed by the President of the UFT and the Chancellor of the City
     School District, respectively. The Joint Oversight Committee shall meet regularly, but no
     less than twice each term, as defined herein. The Joint Oversight Committee shall
     monitor the implementation of this agreement to maximize cost savings and ensure
     proper implementation. The DOE shall promptly provide the Joint Oversight Committee
     with all appropriate data and information, so long as it is requested in a reasonable
     amount of time.
          The parties agree that starting in October of the school year, the Joint Oversight
     Committee (the “Oversight Committee”) will meet monthly, and at each meeting the
     DOE will provide reports on the number of ATRs/Excessed Employees by license and
     district, the number of ATRs/Excessed Employees in long term assignments and the
     number of leaves commenced at the start of each month. The parties also agree to
     discuss any and all particular issues concerning the implementation of this or Rule 11(B)
     at these Oversight Committee meetings.
          It is the intent of the parties to resolve issues relating to compliance with this
     agreement through the operation of the Oversight Committee. The UFT agrees that
     issues will be raised at the Oversight Committee prior to the commencement of any union
     initiated grievance or arbitration. The DOE agrees that should the committee agree about
     an issue of non compliance, the Division of Human Resources and Talent will reach out
     to DOE Staff and/or the school to ensure compliance. If a particular issue at a particular
     school warrants further intervention, the Deputy Chancellor for the Division of Talent,
     Labor and Innovation will intervene with appropriate DOE staff to ensure compliance
     with this agreement. At any time after an issue has been brought to the Oversight
     Committee, upon five (5) days written notice to the DOE, the UFT may proceed with a
     union initiated grievance. The DOE will issue a memorandum to schools outlining all the
     changes above and share a draft of the memo with the UFT for consultation purposes
     before issuing. This memo will be issued prior to the start of 2012-2013 school year.
          8. Provisional Agreement
          a.      The parties agree that after the end of the open market hiring period, if both the
     school’s principal and the Excessed Employee/ATR agree in writing, the Excessed
     Employee/ATR will be staffed to a school on a provisional basis for the school year or
     remainder of the school year. An agreement to be staffed provisionally for either all or




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     the remainder of the school year shall be in writing and signed by both the schools’
     principal and the Excessed Employee/ATR.
         b. An Excessed Employee/ATR that has been provisionally staffed for the year or
     remainder of the year by a school shall be treated in all respects as an employee on the
     school’s table of organization for that year or remainder of the school year.
         c. An employee that has been provisionally staffed by a school shall become an
     Excessed Employee/ATR again at the end of that school year unless both the employee
     and school principal agree in writing that he/she be hired and placed on the schools’ table
     of organization in their rightful spot in seniority order.
         d. Nothing in this Agreement is intended to alter or change the right of a principal to
     temporarily utilize an Excessed Employee/ATR in a vacancy and, if both the Principal
     and the Excessed Employee/ATR agree in writing at the end of the school year, to staff
     the employee to fill the vacancy in the school pursuant to this Rule 11(B).
         C. Resolved Grievances
         a. The UFT shall withdraw the UI ATR Grievance (UFT Case#C16257, OLR #11-
     27224, AAA # 13 390 02 368 10)
         b. This agreement resolves the issues that formed the basis of the arbitration requests
     UFT Case #C18754, AAA Case No. 13 390 00878 12 (ATR June 27, 2011 MOA) and
     this grievance and subsequent request for arbitration are withdrawn with prejudice.
         Rule 12. Teachers identified as being at risk of being excessed at the
     commencement of the following school year will be informed of this no later than June
     15, or as soon as is practicable if identified as being at risk of excess after June 15. The
     deadlines for excessing teachers will continue to be governed by applicable law.
     C. Appointment to New Program, License or Title
         Teachers who are displaced by the establishment of a new program, license or title
     shall be given an opportunity to present their qualifications and if found qualified shall be
     given preference for appointment to such new program, license or title.
     D. Layoff
          1. If a Citywide excess condition causes a layoff of staff in any licensed position,
     applicable provisions of law will be followed to determine the staff members to be laid
     off, without fault and delinquency with the understanding that said member of staff is to
     be placed on a preferred list for reinstatement to his/her former position.
         2. Employees on layoff who may be placed on a preferred list in another license
     other than the one in which they are laid off will be so placed.
     E. Tipping
         Beginning the Spring term in 1992 education funds in the Mayor’s Safe City/Safe
     Streets Program will be utilized to eliminate tipping by establishing a dispute resolution
     program staffed by teachers.
     F. Voluntary Severance for Personnel Who Have Been Excessed
          1.     The Board (“DOE”) may offer excessed personnel who have not secured a regular
     assignment after at least one year of being excessed, a voluntary severance program in an
     amount to be negotiated by the parties. If the parties are unable to reach agreement on
     the amount of the severance payment, the dispute will be submitted to arbitration
     pursuant to the contractual grievance and arbitration procedure. Such a severance
     program, if offered, will be offered to all personnel who have been in excess for more
     than one year.



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         In exchange for receipt of such severance, an excessed person shall submit an
     irrevocable resignation or notice of retirement.
         2. ATR Voluntary Severance Program
         The DOE shall offer a voluntary severance benefit (the “Severance Program”) to
     ATRs who volunteer to resign/retire and who execute an appropriate release in a form
     prescribed by the Board (DOE) and subject to legal requirements.
         The period during which ATRs may volunteer to separate from the DOE in
     accordance with the terms of the Severance Program shall commence on the 30th day and
     shall terminate at 5:00 p.m. on the 60th day following the Union’s ratification of this
     Agreement.
         Other than employees who have agreed in writing to resign from the DOE, employees
     who are ATRs as of June 1, 2014 who volunteer for the Severance Program shall receive
     a severance payment according to the following schedule:
         One (1) week of pay for ATRs with three (3) years of service or more, but less than
     four (4) years of service, as of the date of ratification of this Agreement.
         Two (2) weeks of pay for ATRs with four (4) years of service or more, but less than
     six (6) years of service, as of the date of ratification of this Agreement.
         Three (3) weeks of pay for ATRs with six (6) years of service or more, but less than
     eight (8) years of service, as of the date of ratification of this Agreement.
         Four (4) weeks of pay for ATRs with eight (8) years of service or more, but less than
     ten (10) years of service, as of the date of ratification of this Agreement.
         Five (5) weeks of pay for ATRs with ten (10) years of service or more, but less than
     twelve (12) years of service, as of the date of ratification of this Agreement.
         Six (6) weeks of pay for ATRs with twelve (12) years of service or more, but less
     than fourteen (14) years of service, as of the date of ratification of this Agreement.
         Seven (7) weeks of pay for ATRs with fourteen (14) years of service or more, but less
     than sixteen (16) years of service, as of the date of ratification of this Agreement.
         Eight (8) weeks of pay for ATRs with sixteen (16) years of service or more, but less
     than eighteen (18) years of service, as of the date of ratification of this Agreement.
         Nine (9) weeks of pay for ATRs with eighteen (18) years of service or more, but less
     than twenty (20) years of service, as of the date of ratification of this Agreement.
         Ten (10) weeks of pay for ATRs with twenty (20) years of service or more, as of the
     date of ratification of this Agreement.
         For purposes of this Severance Program, one (1) week of pay shall be defined as
     l/52nd of an ATR’s annual salary.
         In the event that any ATR who volunteers to participate in the Severance Program
     returns to service with the DOE, the ATR shall repay the severance payment received
     pursuant to the above within six (6) months of the ATR’s hiring to such position, through
     payroll deductions in equal amounts. This repayment provision shall not apply to ATRs
     who return to work as day-to-day substitute teachers.


                                    ARTICLE EIGHTEEN
                                 TRANSFERS AND STAFFING
        The Board and the Union recognize the need to maintain both staff stability and an
     equitable balance of experienced and inexperienced teachers in the schools. To meet this



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     need, and to provide opportunities within this framework for teachers to transfer from one
     school to another, the Board and the Union agree that transfers shall be based upon the
     following principles:
     A. General Transfers
         Principals will advertise all vacancies. Interviews will be conducted by school-based
     human resources committees (made up of pedagogues and administration) with the final
     decision to be made by the principal. Vacancies are defined as positions to which no
     teacher has been appointed, except where a non-appointed teacher is filling in for an
     appointed teacher on leave. Vacancies will be posted as early as April 15 of each year
     and will continue being posted throughout the spring and summer. Candidates (teachers
     wishing to transfer and excessed teachers) will apply to specifically posted vacancies and
     will be considered, for example, through job fairs and/or individual application to the
     school. Candidates may also apply to schools that have not advertised vacancies in their
     license areas so that their applications are on file at the school should a vacancy arise.
         Selections for candidates may be made at any time; however, transfers after August
     7th require the release of the teacher’s current principal. Teachers who have repeatedly
     been unsuccessful in obtaining transfers or obtaining regular teaching positions after
     being excessed, will, upon request, receive individualized assistance from the Division of
     Human Resources and/or the Peer Intervention Program on how to maximize their
     chances of success in being selected for a transfer.
     B. Hardship Transfers
         In addition to the vacancies available for transfer pursuant to Section A of this
     Article, transfers on grounds of hardship shall be allowed in accordance with the
     following:
         Transfers of teachers after three years of service on regular appointment may be made
     on grounds of hardship on the basis of the circumstances of each particular case, except
     that travel time by public transportation of more than one hour and thirty minutes each
     way between a teacher’s home (or City line in the case of a teacher residing outside the
     City) and school shall be deemed to constitute a “hardship” entitling the applicant to a
     transfer to a school to be designated by the Division of Human Resources which shall be
     within one hour and thirty minutes travel time by public transportation from the teacher’s
     home, or City line in the case of a teacher residing outside the City.
     C. VoluntaryTeacherExchange
         The Chancellor shall issue a memorandum promoting the exchange of new ideas and
     methodology and encouraging teachers to share their special skills with students and
     colleagues in other schools. To facilitate achievement of this goal, the Board and the
     Union agree to allow teachers to exchange positions for a one year period provided that
     the principals of both schools agree to the exchange. The exchange may be renewed for
     an additional one year period. For all purposes other than payroll distribution, the
     teachers will remain on the organizations of their home schools.
     D. Staffing New or Redesigned Schools11
         The following applies to staffing of new or redesigned schools (“Schools”)
          1.     A Personnel Committee shall be established, consisting of two Union
     representatives designated by the UFT President, two representatives designated by the
     community superintendent for community school district schools or by the Chancellor for1

     11 The rights of teachers to staff the New Programs in District 79 are set forth in Appendix I, paragraph 2.


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     schools/programs under his/her jurisdiction, a Principal/or Project Director, and where
     appropriate a School Planning Committee Representative and a parent.
         2. For its first year of operation the School’s staff shall be selected by the Personnel
     Committee which should, to the extent possible, make its decisions in a consensual
     manner.
         In the first year of staffing a new school, the UFT Personnel Committee members
     shall be school-based staff designated from a school other than the impacted school or
     another school currently in the process of being phased out. The Union will make its best
     effort to designate representatives from comparable schools who share the instructional
     vision and mission of the new school, and who will seek to ensure that first year hiring
     supports the vision and mission identified in the approved new school application.
             In the second and subsequent years, the Union shall designate representatives
     from the new school to serve on its Personnel Committee.
         3. If another school(s) is impacted (i.e., closed or phased out), staff from the
     impacted school(s) will be guaranteed the right to apply and be considered for positions
     in the School. If sufficient numbers of displaced staff apply, at least fifty percent of the
     School’s pedagogical positions shall be selected from among the appropriately licensed
     most senior applicants from the impacted school(s), who meet the School’s
     qualifications. The Board will continue to hire pursuant to this provision of the
     Agreement until the impacted school is closed.
         4. Any remaining vacancies will be filled by the Personnel Committee from among
     transferees, excessees, and/or new hires. In performing its responsibilities, the Personnel
     Committee shall adhere to all relevant legal and contractual requirements including the
     hiring of personnel holding the appropriate credentials.
         5. In the event the Union is unable to secure the participation of members on the
     Personnel Committee, the Union will consult with the Board to explore other alternatives.
     However the Union retains the sole right to designate the two UFT representatives on the
     Personnel Committee.

                                       ARTICLE NINETEEN
                               UNION ACTIVITIES, PRIVILEGES
                                     AND RESPONSIBILITIES
     A. Restriction on Union Activities
         No teacher shall engage in Union activities during the time he/she is assigned to
     teaching or other duties, except that members of the Union’s negotiating committee and
     its special consultants shall, upon proper application, be excused without loss of pay for
     working time spent in negotiations with the Board or its representatives.
     B. Time for Union Representatives
          1.      Chapter leaders shall be allowed time per week as follows for investigation of
     grievances and for other appropriate activities relating to the administration of the
     Agreement and to the duties of their office:
          a. In the elementary schools, four additional preparation periods.
         b. In the junior high schools, and in the high schools, relief from professional
     activity periods. In the junior high schools, chapter leaders shall be assigned the same
     number of teaching periods as homeroom teachers.




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         c. The Union shall inform the Board each school year of the UFT chapter leaders in
     large high schools who shall be relieved of one teaching period per day to perform the
     duties and responsibilities of their chapter leader positions. The Union shall reimburse
     the Board for each such chapter leader who is so relieved at the rate of twenty percent of
     the total employer cost of an entry level teacher, as more fully set forth in a separate
     memorandum between the parties.
         In addition to their other responsibilities, the duties and responsibilities referred to
     herein specifically include those associated with the implementation of contractual
     provisions and Board policy encouraging greater involvement of UFT-represented staff in
     various professional initiatives. It is expected that UFT chapter leaders will play a vital
     role in implementing these initiatives.
         d. In those special education schools, buildings or sites formerly known as the
     special day schools, day treatment centers and institutional settings, two additional
     preparation periods.
         e. The Chapter Leader of the Teachers Assigned, Education Administrators and
     Education Analysts/Officers Chapter shall be allowed one-day per week for the
     investigation of grievances of employees covered by this Article, and for other
     appropriate activities relating to the administration of this Agreement and to the duties of
     his/her office.
         2. Consistent with the needs of the school program, the principal in consultation
     with the school’s chapter leader will arrange to provide appropriate space and facilities
     (including but not limited to a desk, file and chairs) for the use of the school’s chapter
     leader in carrying out the functions of the office.
         3. District representatives and Union officers who are assigned to schools shall teach
     one period per day and shall be excused after their teaching period. They shall also be
     relieved of all homeroom and official classes.
         The Union will reimburse the Board at the applicable coverage rate per period for the
     loss of three teaching periods each day for district representatives and Union officers.
     C. Leaves of Absence for Union Officers
         Employees who are officers of the Union or who are appointed to its staff shall, upon
     proper application, be given a leave of absence without pay for each school year during
     the term of this Agreement for the purpose of performing legitimate duties for the Union.
     Employees given leaves of absence without pay shall receive credit toward annual salary
     increments on the schedules appropriate to their rank. The Board agrees to recommend
     to the Teachers’ Retirement Board that the time spent on leave of absence pursuant to this
     section be granted as service credit for retirement purposes and that the employees
     receiving such leave of absence be permitted to pay regular monthly contributions based
     upon their eamable salaries as members of the teaching staff for the period of such leave.
         No more than 32 leaves of absence without pay shall be granted for each school year.
         Effective September 2, 2014, the number of leaves of absence without pay shall
     increase by eighteen (18). The UFT agrees to pay the cost of the Board’s pension
     contributions and FICA taxes for individuals on these eighteen (18) additional leaves.
     The UFT shall provide the Office of the Chief Executive Officer of the Division of
     Human Resources with the names of those individuals applying for leaves.




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     D. Exclusive Check-Off
         The Board will honor, in accordance with their terms, only such written
     authorizations as are properly executed by employees in the unit covered by this
     Agreement for the deduction of their dues in behalf of the Union.
         The Board will honor individual written authorizations for the deduction of Union
     dues in accordance with their terms, including authorizations stating that they are
     irrevocable until the following June 30 and automatically renewable for another year
     unless written notice is given to the Board between June 15 and June 30.
     E. Agency Fee Deduction
         The Board shall deduct from the wage or salary of employees in the bargaining unit
     who are not members of the UFT the amount equivalent to the dues levied by the UFT
     and shall transmit the sum so deducted to the UFT, in accordance with Section 208(3)(b)
     of Article 14 of CSL. The UFT affirms it has adopted such procedure for refund of
     agency shop deduction as required in Section 208(3)(b) of Article 14 of CSL. This
     provision for agency fee deduction shall continue in effect so long as the UFT establishes
     and maintains such procedure.
         The Union shall refund to the employees any agency shop fees wrongfully deducted
     and transmitted to the Union.
         The Union agrees to hold the Board harmless against claims arising out of the
     deduction and transmittal of agency shop fees where there is a final adjudication by a
     court or arbitrator or by PERB that said agency shop fees should not have been deducted
     and/or transmitted to the Union.
         The agency shop fee deductions shall be made following the same procedures as
     applicable for dues check-off, except as otherwise mandated by law or this Article of the
     Agreement.
     F. Bulletin Boards
         1. At least one bulletin board shall be reserved at an accessible place in each school
     for the exclusive use of the Union for purposes of posting material dealing with proper
     and legitimate Union business.
         2. A bulletin board shall be provided at an accessible place in the bureau office for
     the exclusive use of the homebound teachers chapter leader for purposes of posting
     material dealing with proper and legitimate Union business.
     G. Chapter Meetings
         Upon request to the head of the school, the school chapter shall be permitted to meet
     within the school under circumstances which will not interfere with the instructional
     program. Such meetings may be held only during the lunch period or before or after
     school hours, at a place to be assigned by the head of the school, where other teachers or
     children are not present. Union officials may attend such meetings.
     H. Consultation with the Union
         1. The Chancellor or his/her designated representative shall meet and consult once a
     month during the school year with representatives of the Union on matters of educational
     policy and development and on other matters of mutual concern.
         2. The community or high school superintendent shall meet and consult once a
     month during the school year with representatives of the Union on matters of educational
     policy and development and on other matters of mutual concern.




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         3. The head of the school and the school chapter committee shall meet once a month
     during the school year to consult on matters of school policy and on questions relating to
     the implementation of this Agreement.
         4. A Union designated committee of teachers of library will meet once a month
     during the school year after school hours with the head of the Office of Media and
     Telecommunications on matters of policy involving the professional interests of the
     teachers of library.
         5. A Union designated committee of special education teachers will meet with the
     assistant superintendent for Citywide programs or his or her designees, who may not be a
     teacher covered by this Agreement, once a month during the school year after school
     hours to consult on matters involving the professional interests of the teachers. Meetings
     for teachers of the “400” schools will be with the person designated to supervise such
     schools.
         6. The Board and the Union will consult on the special needs of the multiple
     handicapped pupils in schools for the deaf.
         7. The Board and the Union shall establish a committee to review and consider
     issues raised by the Union relating to contracting-out of bargaining unit work.
         8. The parties shall establish a labor-management committee, to be known as the
     “Implementation Committee,” that will meet periodically, and at the end of each school
     year, to review and discuss the efficacy and success of the Lead Teacher program
     including whether Lead Teachers are being utilized consistently with the goals of the
     Lead Teacher Program.
     I. Information to the Union
         1. Lists of vacancies and any lists which may be established by the community
     school district or by the central board showing seniority of the teachers for purposes of
     implementing provisions of this Agreement shall be made available to the Union. In
     individual cases specific information as to seniority will be made available to the Union
     upon request.
         2. Copies of all official Board circulars and directives shall be sent to the Union.
         3. Available class statistics and other information necessary for implementation of
     the contract shall be furnished annually to the Union, and semiannually in the case of
     high schools organized on a semiannual basis.
     J. Information at the School
         1. All official circulars shall be posted on school bulletin boards for the inspection of
     teachers and shall be made available to teachers on request.
         2. Specific information as to the rotation of assignments, or as to seniority in the
     school will be made available by the principal upon the request of a teacher.
         3. A copy of current teaching and non-teaching assignments will be posted in each
     school and will also be given to the chapter leader.
         4. Copies of annual financial statements and audits of school monies shall be posted
     on school bulletin boards and made available to chapter leaders.
         5. The chapter leader shall have access to such school information as may be
     necessary to the performance of his/her duties, including teacher programs, room
     assignments, and allocation of non-teaching time.
         6. A copy of teacher assignments shall be given to the chapter leader of the
     homebound teachers chapter upon request.



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     K. Political Check-Off
         The Board will arrange for voluntary payroll deduction contributions for federal
     political contests in accordance with Title 2, Section 441b of the U.S. Code.

                                        ARTICLE TWENTY
                                    MATTERS NOT COVERED
         With respect to matters not covered by this Agreement which are proper subjects for
     collective bargaining, the Board agrees that it will make no changes without appropriate
     prior consultation and negotiation with the Union.
         The Board will continue its present policy with respect to sick leave, sabbatical
     leaves, vacations and holidays except insofar as change is commanded by law.
         All existing determinations, authorizations, by-laws, regulations, rules, rulings,
     resolutions, certifications, orders, directives, and other actions, made, issued or entered
     into by the Board of Education governing or affecting salary and working conditions of
     the employees in the bargaining unit shall continue in force during the term of this
     Agreement, except insofar as change is commanded by law.

                               ARTICLE TWENTY-ONE
                        DUE PROCESS AND REVIEW PROCEDURES
     A. Teacher Files
         Official teacher files in a school shall be maintained under the following
     circumstances:
         1. No material derogatory to a teacher’s conduct, service, character or personality
     shall be placed in the files unless the teacher has had an opportunity to read the material.
     The teacher shall acknowledge that he/she has read such material by affixing his/her
     signature on the actual copy to be filed, with the understanding that such signature merely
     signifies that he/she has read the material to be filed and does not necessarily indicate
     agreement with its content. However, an incident which has not been reduced to writing
     within three months of its occurrence, exclusive of the summer vacation period, may not
     later be added to the file.
         2. The teacher shall have the right to answer any material filed and his/her answer
     shall be attached to the file copy.
         3. Upon appropriate request by the teacher, he/she shall be permitted to examine
     his/her files.
         4. The teacher shall be permitted to reproduce any material in his/her file.
         5. Members may not grieve material in file, except that if accusations of corporal
     punishment or verbal abuse against a UFT-represented employee are found to be
     unsubstantiated, all references to the allegations will be removed from the employee’s
     personnel file.
         However, the teacher shall have the right to append a response to any letter. If
     disciplinary charges do not follow, the letter and response shall be removed from the file
     three years from the date the original material is placed in the file.
         6. The following issues shall not be the basis for discipline of pedagogues: a) the
     format of bulletin boards; b) the arrangement of classroom furniture; and c) the exact
     duration of lesson units.




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     B. Counseling Memos
          Supervisors may issue counseling memos. Counseling memos are not disciplinary.
     Counseling memos provide the opportunity for supervisors, in a non-disciplinary setting,
     to point out to employees areas of work that the supervisor believes need improvement.
     Counseling memos should include the supervisor’s proposals for how such improvement
     may be achieved. Any employee who receives a counseling memo may request from the
     supervisor either suggestions for how to improve or requests for the supervisor to model
     such improvement for the member. Counseling memos are a vehicle for supportive
     improvement.
          1. A counseling memo may only be written to an employee to make him/her aware
     of a rule, regulation, policy, procedure, practice or expectation. A counseling memo
     cannot include any disciplinary action or threat of disciplinary action.
          a. “Counseling Memo” must appear at the top of the memo in bold print and capital
     letters. At the conclusion of the memo the following must appear in bold print:
          “A counseling memo is not disciplinary in any manner and cannot be used in action
     against an employee except to prove notice if the employee denies notice.” If the
     language required in (a) is not included in the memo, it must be added.
          b. A counseling memo must be presented to an employee within one (1) month of
     the latest incident recounted in the memo. The memo may only reference similar prior
     incidents that occurred no more than four (4) months from the date of the latest incident.
          2. Counseling memos may not be used in any action or evaluation involving an
     employee in the bargaining unit (“U” rating, per session job, etc.) except to establish that
     the employee who denies knowledge of a rule, regulation, policy, procedure, practice or
     expectation was given prior notice of it, or to impeach factual testimony.
          a. Counseling memos may not be used in the rating of an employee in the bargaining
     unit.
          b. Counseling memos may not be referred to in, or attached to, any other letter sent
     to an employee for their official school file.
          3. Counseling memos may not be grieved.
          Any employee who receives a counseling memo shall have the right to answer within
     one (1) month of receipt of the counseling memo and the answer shall be attached to the
     file copy of the counseling memo.
          4. All counseling memos will be permanently removed from employee’s official
     school files three (3) years after the latest incident referred to in the memo.
     C. Summons
          1. A teacher summoned by the principal to a conference which may lead to
     disciplinary action for reasons of misconduct may be accompanied, at his/her option, by
     the chapter leader or his/her designated alternate.
          2. Teachers summoned to the office of a community or high school superintendent
     or to the Division of Human Resources shall be given two days notice and a statement of
     the reason for the summons, except where an emergency is present or where
     considerations of confidentiality are involved.
          Whenever an employee is summoned for an interview for the record which may lead
     to disciplinary action, he/she shall be entitled to be accompanied by a representative who
     is employed by the city school system, or by an employee of the Union who is not a
     lawyer, and he/she shall be informed of this right. However, where the community or



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     high school superintendent or the Division of Human Resources permits an attorney who
     is not a member of the city school system to represent any participant in the interview,
     the employee shall be entitled to be represented by an attorney. An interview which is
     not held in accordance with these conditions shall not be considered a part of the
     employee’s personnel file or record and neither the fact of the interview nor any
     statements made at the interview may be used in any subsequent Board proceeding
     involving the employee. It is understood that informal conferences, such as those
     between a community or assistant superintendent and a teacher, or the Division of Human
     Resources and a teacher, for professional improvement, may be conducted off the record
     and shall not be included in the employee’s personnel file or record.
         3.      Incidents investigated by the Chancellor or by a governmental investigatory
     agency must be reduced to writing by the appropriate supervisor within 6 months and 12
     months respectively from the date the incident either occurred or should have been
     discovered by the appropriate school officials. Employees must receive a complete copy
     of any such writing and an opportunity to answer in writing and to have such response
     attached. The writing may not be incorporated into the employee’s personnel file or
     record, unless this procedure is followed, and any such writing will be removed when an
     employee’s claim that it is inaccurate or unfair is sustained.12
     D. Discontinuance of Probationary Service and Appeals of Unsatisfactory Ratings
          1. Regular substitutes and teachers on probation, except as provided in subparagraph
     2 below, shall be entitled to the review procedures before the Chancellor as prescribed in
     Section 4.3.2 of the by-laws of the Board of Education.
         By-law 4.3.2 procedures for the review of a recommendation by a superintendent for
     discontinuance of probationary service of a teacher shall be modified to provide for the
     following:
         a. The 4.3.2 committee shall be a tripartite committee of professional educators, one
     selected by the teacher, one by the Board and a third selected by the other two from a list
     agreed upon by the Board and the Union.
         b. The committee will make an advisory recommendation to the community school
     board or the Chancellor for central programs within 20 days after the hearing.
         c. The costs of the teacher’s representative shall be paid by the teacher. The costs of
     the Board’s representative shall be paid by the Board. The costs of the mutually selected
     member of the committee shall be shared by the Board and the teacher.
         2. Teachers on probation who have completed at least three years of service on
     regular appointment in the school shall be entitled, with respect to the discontinuance of
     their probationary service, to the same review procedures as are established for tenured
     teachers under Section 3020-a of the Education Law.
         3. Teachers who receive doubtful or unsatisfactory ratings may appeal under Section
     4.3.1 of the by-laws of the Board of Education.
     E. Suspension
         Any teacher who is suspended pending hearing and determination of charges shall
     receive full compensation pending such determination and imposition of any penalty
     except as set forth in Article 21G5 and 21G6.



     12 The parties disagree as to the applicability of Section 10 of the October 2005 MOA to this Article 21C3.


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     F. Rating “Not Applicable”
         A rating of “Not Applicable (NA)” is to be used only in situations where a
     pedagogical employee is reassigned out of his/her regular assignment for disciplinary
     reasons. The “NA” rating will apply only for the period of reassignment, cannot be used
     in any proceeding as evidence of wrongdoing and will not otherwise affect any other
     rights afforded in the Agreement where ratings are an issue.
     G. Education Law §3020-a Procedures
         Tenured teachers facing disciplinary charges filed, or in the case of Section 1 “Time
     and Attendance”, discipline pursuant to that Section, will be subject to Section 3020-a of
     the Education Law as modified by paragraphs 1-16 below.
          1. Time and Attendance
         If the Board seeks to discipline a tenured pedagogue regarding absences and/or
     lateness but seeks a penalty short of termination, the following expedited procedure will
     apply:
         The Board will notify the employee that it intends to bring disciplinary action against
     the employee pursuant to this section. The Board will include in this notice the
     employee’s attendance record and any other documentation it intends to introduce at the
     hearing and a statement that pursuant to this section the arbitrator may award any penalty,
     or take other action, short of termination.
         Within 15 calendar days following this notice, the employee must notify the Board in
     writing of the nature of his\her defense and submit any documentation s\he intends to
     submit into evidence as well as a medical release for any medical documents related to
     such defense.
         If either party believes that it requires additional documents, it may request a
     telephonic conference with the arbitrator.
         The expedited hearing will occur within one month of the Board’s notification to the
     employee mentioned above. The hearing will be informal and the normal rules of trial
     procedure and evidence shall not apply. The arbitrator will issue an award and short
     decision within 15 calendar days of the hearing. The arbitrator’s award will be final and
     binding on all parties. The award may be introduced in another Education Law §3020-a
     hearing and any findings shall be binding on the §3020-a arbitrator.
          One arbitrator, agreed upon between the parties, will hear all absence and lateness
     cases hereunder. The parties may expand the number of arbitrators if necessary. The
     arbitrator will hear 4 cases per hearing date on a staggered schedule, but in no situation
     will one case take more than % a day. The parties may expand the number of cases heard
     in a day if they deem it practical.
         2. Rotational Panel
         As discussed and agreed upon, all parties would be served better by the
     implementation of a permanent arbitration panel (the “Panel”). The Panel members
     (referred to as hearing officers or arbitrators) must be agreeable to both sides, except as
     set forth herein.
          a. Subpanels
         A sub-panel of arbitrators on the Panel will hear cases based predominantly on
     charges of incompetence (TPU cases) and a sub-panel of arbitrators on the Panel will
     hear cases based predominantly on charges of misconduct (ATU cases). Expedited Cases
     shall be heard by a panel of hearing officers, the size of which will be set as described



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     below. A labor-management committee composed, in equal parts, of UFT and DOE
     representatives shall meet as needed to discuss any issues regarding the §3020-a Panel or
     process.
         b. Number of Hearing Officers
         (1) The parties agree to seat a minimum of twenty-five (25) hearing officers to hear
     all §3020-a cases. Should the parties fail to agree on the number of hearing officers by
     April 30th of preceding given school year and/or the Panel on which they will serve,
     either the Board (“DOE”) or UFT shall submit the matter to the Fact-Finding Panel
     consisting of Martin F. Scheinman, Howard Edelman, and Mark Grossman for binding
     arbitration to determine the number of hearing officers and/or the sub-panel on which
     they will serve that will sit for §3020-a cases the following school year. For the 2014-15
     school year the parties have agreed to seat twenty-five (25) hearing officers to hear
     §3020-a cases.
         (2) To select hearing officers, the parties shall, each year, following April 30th,
     exchange in good faith lists of no fewer than ten (10) hearing officers for consideration
     every other week. If the full Panel is not seated by October 15th of that school year, the
     DOE or UFT may request the Fact-Finding Panel consisting of Martin F. Scheinman,
     Howard Edelman, and Mark Grossman select the remaining hearing officers, subject to
     an individual hearing officer’s agreement to serve, necessary to complete the Panel of
     §3020-a hearing officers.
         (3) Representatives of the UFT and DOE shall meet at least twice a year to discuss
     the appropriateness of the number of hearing officers, including the possibility of
     agreeing to increase or decrease the number of hearing officers on either the
     incompetence or misconduct sub-panels on either a temporary or permanent basis.
         c. Term of Panel Members’ Service
         Panel members shall serve for a maximum of a one-year term. At the expiration of
     such term, the parties must agree to have arbitrators continue to serve on the Panel, and if
     not, replacement members will be selected by the method outlined herein. Removal prior
     to the end of the one-year term must be for good and sufficient cause upon mutual
     agreement of the parties.
         d. Scheduling
         Any arbitrator who agrees to serve on the Panel must agree to the following terms:
         (1) Each arbitrator selected to serve on Panel, including but not limited to those
     serving on the competence (TPU) sub-panel, must agree to provide five (5) consecutive
     hearing dates per month for the months of September through June and two (2) hearing
     dates for the months of July and August. Consecutive days may be construed to mean
     five (5) dates within two (2) weeks unless otherwise agreed.
         (2) Arbitrators must provide three (3) dates, within ten (10) to fifteen (15) calendar
     days from the date the case was assigned to him or her, for a pre-hearing conference.
     One of the dates shall be at 9:00 a.m. Advocates must accept one (1) of the three (3)
     dates offered or it will be assumed that the date or dates offered at 9:00 a.m. is (or are)
     acceptable. Said dates must be in compliance with Education Law §3020-a (within 10 to
     15 days from the date selected to serve) and the timeframes in section 13 below.
         (3) At the pre-hearing conference, arbitrators must provide and parties must accept
     five (5) consecutive hearing dates within the statutory timeframe as delineated in




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     Education Law §3020-a and the timeframes in section 13 below. Consecutive days may
     be construed to mean five (5) dates within two (2) weeks unless mutually agreed.
          (4) The parties are committed to having these cases heard in an expeditious manner.
     For this reason, absent extraordinary circumstances, arbitrators are not to adjourn hearing
     dates. It should be noted that normally attorney or party scheduling conflicts are not
     extraordinary circumstances.
          (5) In all cases, the final hearing shall be completed and a decision issued within
     timeframes set forth in Education Law § 3020-a and the timeframes in section 13 below.
          (6) There is a presumption that charges against the same employee will be
     consolidated unless the arbitrator finds that to do so would deny a fair hearing.
     Additionally, in routine matters, any motions must be made and responded to orally.
     Thereafter, a decision shall be rendered on the issue the same date the motion was made.
     Should the arbitrator find that written motion practice is necessary, either party reserves
     the right to respond orally but in no case shall motion practice take place outside the
     scope of the timelines as outlined in Education Law §3020-a and the timeframes in
     section 13 below.
          Failure to abide by these rules shall be “good and sufficient” grounds for removal of
     an arbitrator.
          3. Expedited Hearings
          Prior to the pre-hearing conference, the Board shall determine whether the nature of
     the case would permit offering Respondent expedited arbitration rather than regular
     arbitration of the case.
          If the Respondent accepts the offer of expedited arbitration, the hearing shall proceed
     in accordance with the expedited procedure set forth below and the Board may not seek a
     penalty to exceed six (6) months suspension or the equivalent monetary penalty. Should
     the Respondent reject the offer of expedited arbitration, the case shall proceed in
     accordance with the regular arbitration proceeding and the Board may seek any penalty
     including termination.
         Where the offer of expedited arbitration was rejected, the arbitrator (or the arbitration
     panel) shall not be informed of the offer of expedited arbitration nor that the offer was
     rejected.
          Cases heard under the expedited arbitration procedure shall be completed in three (3)
     consecutive days. Each advocate shall be provided equal time to present his or her
     respective case. Cross-examination usually will not go beyond the scope or duration of
     the direct examination.
          During the course of the hearings, should the evidence reveal more serious
     misconduct than originally charged, the arbitrator, upon his or her initiative, or upon the
     Board’s motion, is empowered for good cause to end the expedited proceeding and order
     a new, regular arbitration proceeding before a different arbitrator. At the regular
     arbitration, the Board may seek any penalty including termination. Upon a showing of
     unavailability during the regular arbitration, the prior record of a completed witness who
     testified in the expedited arbitration shall be admissible.
         Notwithstanding the above, if the Board (“DOE”) decides not to seek a penalty of
     more than a suspension of four (4) weeks or an equivalent fine, the case shall be heard
     under the expedited procedures provided in this section 3, without the need for the
     Respondent to accept an offer of expedited arbitration.



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         A separate track of “non-termination” cases will be established with a separate panel
     of additional hearing officers that exclusively hears expedited cases.
         The DOE will continue to submit cases through the expedited time and attendance
     procedures if the DOE deems the particular case appropriate for that procedure.
         4. Investigations and Reassignments
          Nothing in this section 4 shall be construed to convert non-mandatory subjects of
     bargaining into mandatory subjects ofbargaining.
         For purposes of this section 4, all timelines shall be measured in calendar days, but
     shall not include the summer break, all recess periods and holidays.13
         a.      Misconduct Cases (i.e., any case deemed by the DOE to deal exclusively or
     primarily with an employee’s behavior, not his or her pedagogy)
         Pending investigation of possible misconduct and completion of the §3020-a hearing,
     the Board (“DOE”) may reassign an employee only to (i) a DOE administrative office to
     do work consistent with law (an “Administrative Office Assignment”) or (ii) an
     administrative assignment within his or her school with a program consisting of
     Professional or Administrative Activities (as listed in Articles 7(A)(6)(a), 7(B)(8)(a),
     7(C)(4)(g)(l), or 7(K)(3)(d)) other than items #1 (small group instruction), #2 (one to one
     tutoring), #3 (advise student activities such as clubs, teams or publications) and #7
     (conflict resolution for students), which shall be scheduled consistent with Article
     7(B)(2)(c) regardless of the division in which the employee works (“Administrative
     School Assignment”). Where the Chancellor or his/her designee determines that it is in
     the best interests of the school system that an employee accused of sexual misconduct as
     defined in Article 21(G)(6) or serious financial misconduct involving more than $1,000
     not be allowed to work in an Administrative Office Assignment or an Administrative
     School Assignment pending the outcome of the investigation, the DOE may suspend the
     employee with pay rather than reassign him/her. The determination of the Chancellor or
     his/her designee to suspend an employee with pay shall be in writing. Prior to a
     suspension from all duties with pay, the Chancellor or his/her designee shall consult with
     the UFT President or his/her designee.
         The DOE shall prefer charges pursuant to Education Law §3020-a within sixty (60)
     days of an employee being reassigned or suspended, except in cases where the
     reassignment or suspension was caused by (i) an allegation of sexual misconduct as
     defined in section 6 below that is being investigated by the Special Commissioner of
     Investigation for the New York City School District (“SCI”); (ii) an allegation of serious
     financial misconduct involving more than $1,000 that is being investigated by SCI; (iii)
     criminal charges pending against the employee; (iv) an allegation of serious assault that is
     being investigated by SCI; (v) an allegation of tampering with a witness or evidence,
     where the allegation of tampering is being investigated by SCI. In cases where the sixty
     (60) day period does not apply, when SCI issues a report or, in the case of criminal
     charges, the employee notifies the DOE of the disposition of the criminal case pursuant to
     Chancellor's Regulation C-105, the DOE shall have fifteen (15) days to bring §3020-a
     charges against the employee or return the employee to his or her prior assignment.

     13 Probationary employees will be reassigned in the same manner as tenured employees under this section,
     i.e., to an Administrative Office Assignment, Administrative School Assignment, or suspension with pay
     (if permitted by this section). This section shall not be construed to create tenure or Education Law § 3020-
     a rights for an employee.


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     Nothing herein shall waive any limitations period for the bringing of charges pursuant to
     Education Law §3020-a. The Chancellor or his/her designee and the President of the
     UFT or his designee shall meet monthly, or less frequently if the UFT and DOE agree, to
     review the status of these cases. If requested by the UFT, the DOE and the UFT will
     meet to review the issue of investigations and reassignments extending beyond sixty (60)
     days and, if there has been a significant increase in the number of such investigations and
     reassignments, to negotiate ways to address this issue.
         Except in those cases where the DOE is not required to prefer charges within sixty
     (60) days, should the DOE not prefer §3020-a charges within sixty (60) days, the
     employee shall be returned to his/her prior assignment. If an employee is returned to
     his/her prior assignment, adverse action shall not be taken against the employee solely
     because of the reassignment. If §3020-a charges are preferred subsequent to the
     expiration of the sixty (60) day period, the employee may then again be reassigned to an
     Administrative Office Assignment or an Administrative School Assignment or, where the
     Chancellor or his/her designee determines that it is in the best interests of the school
     system that an employee accused of sexual misconduct as defined in Article 21(G)(6) or
     serious financial misconduct involving more than $1,000 not be allowed to work in an
     Administrative Office Assignment or an Administrative School Assignment pending the
     outcome of the investigation, suspend the employee with pay rather than reassign him/her
     pending determination of the §3020-a charges. The determination of the Chancellor or
     his/her designee to suspend an employee with pay shall be in writing. Prior to a
     suspension from all duties with pay, the Chancellor or his/her designee shall consult with
     the UFT President or his designee. An employee’s assignment pending investigation
     and/or a hearing shall not be raised at the hearing or deemed relevant in any way to the
     determination of the charges, any penalty issued or the adjudication of any issue in the
     hearing.
         b. Incompetence Cases (i.e., any case deemed by the DOE to deal exclusively or
     primarily with an employee’s pedagogy)
         Pending the bringing of Education Law §3020-a charges for alleged incompetence
     and completion of the §3020-a hearing, the DOE may reassign an employee only to an (i)
     Administrative Office Assignment or (ii) an Administrative School Assignment. The
     DOE shall prefer charges pursuant to Education Law §3020-a within ten (10) days of an
     employee being reassigned. Should the DOE not prefer §3020-a charges within ten (10)
     days, the employee shall be returned to his/her prior assignment. If an employee is
     returned to his/her prior assignment, adverse action shall not be taken against the
     employee solely because of the reassignment. If §3020-a charges are preferred
     subsequent to the expiration of the ten (10) day period, the employee may then again be
     reassigned to an Administrative Office Assignment or an Administrative School
     Assignment pending determination of the §3020-a charges.
         c. Tolling
         If the DOE gives a reassigned employee forty-eight (48) hours notice of an interview
     which may lead to disciplinary action and the reassigned employee either fails to appear
     on the scheduled day or fails to notify the DOE that s/he is invoking any right he/she may
     have to not answer questions, the DOE shall reschedule the interview within a reasonable
     period of time and the time between the originally scheduled interview and the
     rescheduled interview shall not count towards the applicable 60-day or 10-day limits on



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     the length of time an employee may be reassigned or suspended with pay. Where a
     principal schedules an interview which may lead to disciplinary action of an employee
     that has been given an Administrative School Assignment and forty-eight (48) hours
     notice is not required by this Agreement, Chancellor’s regulations, or law, the following
     shall apply: If the reassigned employee either fails to appear on the scheduled day or
     fails to notify the principal that s/he is invoking any right he/she may have to not answer
     questions, the principal shall reschedule the interview within a reasonable period of time
     and the time between the first scheduled interview and the rescheduled interview shall
     not count towards the applicable 60-day or 10-day limits on the length of time an
     employee may be reassigned. Nothing herein shall constitute a waiver or alteration of
     any right the DOE may have to compel an employee to attend an interview which may
     lead to disciplinary action or any right an employee may have to not answer questions.
          d. Status of Investigations
          The DOE agrees to meet on a bimonthly basis with the UFT to assess the status of
     investigations extending beyond sixty (60) days where the employee has been suspended
     without pay.
          e. Notice of Grounds for Reassignment
          The letter the DOE provides to each UFT-represented employee (“Employee”) to
     inform the Employee that he or she has be reassigned will indicate the general grounds
     for each reassignment (where an Employee is being investigated by the Office of the
     Special Commissioner of Investigation (“SCI”), just that information will be supplied).
     The DOE will provide all currently reassigned Employees who have not been arrested or
     charged under Education Law §3020-a with written confirmation of the general grounds
     for the reassignment.
          f. Reassignment Process
          (1) The DOE has identified a unit within the Division of Human Resources that will
     be responsible for managing and tracking all reassignment cases, ensuring that all
     reassignments are made consistent with applicable policy, and working with the other
     DOE offices involved to make sure that the process is accelerated based on, among
     others, the initiatives set forth in this Agreement. This unit will be making regular
     quarterly reports that will be shared with the UFT.
          (2) Absent unusual circumstances, allegations being investigated by principals will
     not result in an Employee being removed from his or her school.
          (3) Any reassignments that are not authorized by the Office of Personnel
     Investigation or OSI will be reviewed by central DOE. The DOE will provide the UFT
     with regular listings of reassigned pedagogues, no less frequently than on a weekly basis,
     and if the UFT disagrees with any reassignment decisions it can present its objections for
     consideration to the Office of Labor Relations. Should a principal reassign an Employee
     without proper approval pursuant to the central DOE process, the central DOE shall
     return the Employee to the school from which the Employee was reassigned and the
     principal’s school-based budget shall be charged for the salary the Employee earned
     while reassigned (the agreement contained in this sentence shall not be a mandatory
     subject ofbargaining).
          (4) Wherever possible, Employees reassigned will be reassigned in the borough in
     which such Employee works. This paragraph shall not be construed as a modification to
     Chancellor’s Regulation C-770.



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          (5)      The DOE will review issues raised by the UFT with respect to the facilities and
     work space provided to reassigned Employees. In order to help ensure a safe working
     environment, the UFT and DOE will work together to develop a facilities protocol for
     building concerns consistent with the Public Employee Safety and Health Act.
         5. Serious Misconduct
         The parties agree that certain types of alleged misconduct are so serious that the
     employee should be suspended without pay pending the outcome of the disciplinary
     process. Serious misconduct shall be defined as actions that would constitute:
          • the felony sale, possession, or use of marijuana, a controlled substance, or a
              precursor of a controlled substance or drug paraphernalia as defined in Article 220
              or 221 of the Penal Law; or
          • any crime involving physical abuse of a minor or student (crimes involving sexual
              abuse of a minor or student are addressed in paragraph 6 below); or
          • any felony committed either on school property or while in the performance of
              teaching duties; or
          • any felony involving firearms as defined in Article 265 of the Penal Law; or
          • actions that would constitute a class A-I or A-II felony or any felony defined as a
              violent felony offense in NY Penal Law § 70.02.
         If an employee is accused of committing serious misconduct, the employee shall be
     removed from payroll for a term not to exceed two (2) months after a finding by the
     “probable cause arbitrator” that there is probable cause to believe that the actions alleged
     were committed by the employee and that they constitute “serious misconduct” as
     defined above. Probable cause exists when evidence or information which appears
     reliable discloses facts or circumstances making it likely that such conduct occurred and
     that such person committed the conduct. To establish probable cause, the investigator
     assigned to the matter must be present and testify under oath before the arbitrator. The
     Board may also be required to produce signed statements from the victim or witnesses, if
     any. Thereafter, the Respondent shall have an opportunity to respond orally to the offer
     of proof. The arbitrator may ask relevant questions or may make further inquiry at the
     request of Respondent. The hearing shall not require testimony of witnesses nor shall
     cross-examination be permitted. An indictment on a class A-I or A-II felony, an
     indictment on any felony defined as a violent felony offense in NY Penal Law § 70.02, or
     a felony indictment on any other conduct that constitutes serious misconduct pursuant to
     this section 5 shall create a rebuttable presumption of probable cause.
          Said probable cause hearing usually shall not exceed one half of a hearing day.
          One arbitrator, agreed to by both parties, shall be assigned to hear all probable cause
     matters for a period of one year. If the parties cannot agree upon one arbitrator, each
     party shall select one arbitrator who together will select the probable cause arbitrator.
          Should the Board meet its burden of establishing probable cause of serious
     misconduct, the employee shall remain suspended without pay during the pendency of
     the disciplinary action, but in no event shall such period exceed two months except as set
     forth herein.
         The parties expect that these cases shall be completed within two (2) months.
     However, where it is not possible to complete the hearing within the two (2) month
     period despite the best efforts of all parties, and where the arbitrator believes that the
     evidence already presented tends to support the charges of serious misconduct, the


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     arbitrator may extend the period of suspension without pay for up to thirty (30) days in
     order to complete the proceedings.
          If the Respondent requests not to have the case proceed for a period of thirty (30)
     days or more and that request is granted, during the period of this adjournment, the
     Respondent shall remain in non-paid status. As noted above, however, the parties are
     committed to having these cases heard in an expeditious manner. For this reason, absent
     extraordinary circumstances, arbitrators are not to adjourn hearing dates.
          While suspended without pay pending the arbitration hearing on serious misconduct
     charges, the Respondent may continue his or her existing health coverage, except that in
     no event shall the Respondent be entitled to continue his or her existing health coverage
     for more than six (6) months while on non-paid status except at the absolute discretion of
     the Chancellor. In the event that the Respondent is exonerated of all serious misconduct
     charges, the employee shall be restored to his or her position and be entitled to receive
     back pay and be made whole for the amount of time he or she remained off payroll. In
     the event that the arbitrator finds the employee guilty of the serious misconduct and
     imposes a penalty less than termination, the arbitrator shall decide whether and to what
     extent a reinstated employee shall be entitled to receive any back pay for the time the
     employee was suspended without pay.
          If a finding of probable cause was based on an indictment pursuant to this section 5,
     the employee shall remain off payroll pending the disposition of the criminal case. The
     Board (“DOE”) shall have fifteen (15) days after the employee notifies the DOE of the
     disposition of the criminal case pursuant to Chancellor's Regulation C-105 to bring
     Education Law §3020-a charges based on the same conduct as was at issue in the
     criminal case. If the DOE prefers §3020-a charges on the same conduct as was at issue in
     the criminal case within the fifteen (15) days, and the employee was convicted in the
     criminal case of any offense that constitutes serious misconduct, he/she shall remain off
     payroll until a decision in the §3020-a case and such §3020-a case shall be completed
     within the timeframes for hearings set forth in section 13 below. If the DOE prefers
     §3020-a charges on the same conduct as was at issue in the criminal case within the
     fifteen (15) days, and the employee was acquitted of all offenses that constitute serious
     misconduct, the DOE shall reassign the employee to an Administrative Office
     Assignment or an Administrative School Assignment, suspend the employee with pay (if
     permitted pursuant to section 13 below) or request a second probable cause hearing to
     continue the suspension without pay until the final outcome of the §3020-a hearing and
     such §3020-a case shall be completed within the timeframes for hearings set forth in
     section 13 below. If the DOE does not bring Education Law §3020-a charges within
     those fifteen (15) days, the employee shall be restored to the payroll effective as of the
     date the disposition of the criminal case and returned to his/her prior position. Nothing in
     this paragraph shall alter the provisions of this section with respect to entitlement to back
     pay. The DOE agrees to meet on a bimonthly basis with the UFT to assess the status of
     investigations extending beyond sixty (60) days where the employee has been suspended
     without pay. For purposes of this paragraph, all timelines shall be measured in calendar
     days, but shall not include the summer break, all recess periods and holidays.
          The parties agree that these types of cases shall receive the highest priority, and, upon
     the Board’s request, hearings may be held on such matters during any days previously
     committed by the Panel to other employees, as set forth above. In other words, hearings



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     for serious misconduct take precedence over other disciplinary matters, and the Board
     may require adjourning other cases previously scheduled before the assigned arbitrator
     during that time frame in order for that arbitrator to hear serious misconduct cases within
     the two-month time frame.
          6. Sexual Offenses Involving Students or Minors
          A tenured pedagogue who has been charged under the criminal law or under §3020-a
     of the New York State Education Law with an act or acts constituting sexual misconduct
     (defined below) shall be suspended without pay upon a finding by a hearing officer of
     probable cause that sexual misconduct was committed.
          A rebuttable presumption of probable cause shall exist where the Special
     Commissioner of Investigations (“SCI”) substantiates allegations of sexual misconduct,
     or a tenured pedagogue has been charged with criminal conduct based on act(s) of sexual
     misconduct.
          A report from the Chancellor’s Office of Special Investigations (“OSI”)
     substantiating allegations of sexual misconduct is relevant evidence of probable cause but
     does not create a rebuttable presumption of probable cause.
          If a finding of probable cause was based on criminal charges pursuant to this section
     6, the Board (“DOE”) shall have fifteen (15) days after the employee notifies the DOE of
     the disposition of the criminal charge pursuant to Chancellor's Regulation C-105 to bring
     Education Law §3020-a charges based on the same conduct as was at issue in the
     criminal charge. If the DOE brings such a §3020-a charge, the employee shall remain off
     payroll until a decision in the §3020-a case and such §3020-a case shall be completed
     within the timeframes for hearings set forth in this Agreement. If the DOE does not bring
     §3020-a charges based on the same conduct as was at issue in the criminal charge within
     fifteen (15) days of the employee notifying the DOE of the disposition of the criminal
     charge pursuant to Chancellor's Regulation C-105, the employee shall be restored to the
     payroll effective as of the date the disposition of the criminal charge. Nothing in this
     paragraph shall alter the provisions of this section with respect to entitlement to back pay.
     The DOE agrees to meet on a bimonthly basis with the UFT to assess the status of
     investigations extending beyond sixty (60) days where the employee has been suspended
     without pay. For purposes of this paragraph, all timelines shall be measured in calendar
     days, but shall not include the summer break, all recess periods and holidays.
          In §3020-a proceedings, a mandatory penalty of discharge shall apply to any tenured
     pedagogue a) found by a hearing officer to have engaged in sexual misconduct, or b) who
     has pleaded guilty to or been found guilty of criminal charges for such conduct.
          The §3020-a hearing should be completed within two months, but the suspension
     without pay shall be extended one additional month if the hearing has not been
     completed, unless the Board has received an adjournment or otherwise delayed the
     proceeding. The suspension without pay shall also be extended until a criminal action is
     resolved and any §3020-a proceeding is also completed.
          If the §3020-a hearing results in a dismissal of the charges or if the criminal
     proceeding ends in an acquittal or dismissal (and the Board has decided not to prefer
     charges), the pedagogue shall be entitled to back pay with interest for the entire period of
     the suspension without pay.
          For purposes of this section, sexual misconduct shall be defined as follows:




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         For purposes of this definition, “student” shall mean a student or any minor. Sexual
     Misconduct, as used herein, shall not be construed to include nonsexual touching or other
     nonsexual conduct.
         a. Sexual Misconduct is behavior that is intended to initiate, create, foster or
     advance a romantic or sexual relationship by an employee with a student, whether
     physical, verbal, in writing or by electronic means, regardless oflocation. It includes:
         (1) Any sexual physical contact, or touching, without a legitimate purpose, including
     any act of sexual penetration with an object or body part;
         (2) Exposing a student to drawings, photographs or other representations of a sexual
     nature, whether verbal, written, electronic or physical, without a legitimate purpose (this
     prohibition is not intended to preclude the use of depictions of nudity for legitimate
     purposes, for example, with reference to biology, health or art);
         (3) Providing a gift to a student, making sexual or romantic comments or discussing
     sexual acts with a student, for the purpose of initiating, creating, fostering or advancing a
     romantic or sexual relationship.
         b. Sexual Misconduct also includes:
         i. Publishing, recreating or reproducing images of a sexual act involving a student;
         ii. Any act of public lewdness, as defined in section 245.00 of the Penal Law, or
     exposure, as defined in section 245.01 of the Penal Law, directed at a student, that occurs
     on or off of school grounds;
         iii. Possession or use of child pornography as defined by the Penal Law, unless the
     respondent can demonstrate that such possession was inadvertent;
         iv. Serious or repeated verbal abuse, as defined in the Chancellor’s regulations, of a
     sexual nature;
         v. Any action involving the use of an imaging device that would constitute criminal
     conduct as defined under sections 250.40, 250.45 or 250.50 of the Penal Law;
         vi. Inducing or attempting to induce incapacitation or impairment of a student for the
     purpose of having sexual intercourse, sexual contact or for the purpose of creating
     pornographic images or materials, regardless of whether sexual activity actually takes
     place; and
         vii. Any action that would constitute criminal conduct under Article 130 of the Penal
     Law against a student.
         A letter of agreement dated October 2, 2005 regarding sexual misconduct is attached
     as Appendix G.
         7. Other Felony Offenses
         Tenured pedagogues who have been convicted of, or who have pled guilty to, any
     felony not addressed in paragraph 5, above shall be suspended without pay pending the
     final outcome of the Education Law §3020-a disciplinary proceeding. The §3020-a
     hearing should be completed within two months, but the suspension without pay shall be
     extended one additional month if the hearing has not been completed, unless the Board
     has received an adjournment or otherwise delayed the case.
         8. Discovery Procedures and Testimony
         In order to comply with timelines for hearings, the UFT and the Board (“DOE”) agree
     that hearings must be held in as efficient a manner as possible. Disputes relating to
     document production, witness lists and other procedural issues often consume hearing




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     time and should be dealt with to the maximum extent possible in the pre-hearing
     conference.
         a. Discovery
         Without waiver or limitation of any other materials and information that the
     respondent Employee (“Respondent”) is entitled to under Education Law §3020-a and the
     relevant collective bargaining agreements (“Discovery”), or the timing for providing such
     other Discovery, at least one (1) week prior to the Pre-Hearing Conference, the DOE’s
     attorney will supply the Respondent (or Respondent’s attorney) with the following:
         (1) Copies of all letters in the Respondent’s personnel file(s) related to the Education
     Law §3020-a charges;
         (2) Copies of the final report regarding the investigation conducted by either the
     Special Commissioner of Investigations (“SCI”), the Office of Special Investigations
     (“OSI”) or by a principal; and
         (3) Copies of all witness statements related to the charges in the DOE’s possession at
     that time. (The DOE will diligently attempt to obtain all witness statements prior to
     providing copies to Respondent or Respondent’s attorney pursuant to this provision “c”
     though failure to do so will not be grounds for exclusion of evidence from an Education
     Law §3020-a hearing.)
         Without waiver or limitation of any other materials and information that the DOE
     may be entitled to from Respondent, or the timing for providing such other Discovery, at
     least one week prior to the Pre-Hearing Conference, the Respondent (or Respondent’s
     attorney) will provide a witness list to the DOE’s attorney if the Respondent (or
     Respondent’s attorney) has possession of such. Otherwise, a witness list will be provided
     to the DOE’s attorney by Respondent (or Respondent’s attorney) whenever practicable
     one week prior to the presentation of Respondent’s defense.
         This Agreement shall not constitute a waiver of either the Respondent’s or the DOE’s
     right to object to the admissibility of documents obtained in the regular course of
     discovery pursuant to the Education Law and/or this Agreement.
         In addition to any other obligations the DOE may have to preserve potential
     Discovery material, at the time the DOE prefers Education Law § 3020-a charges against
     an Employee, the Office of Legal Services will send a letter to the relevant principal or
     school leader requiring the principal or school leader to direct all DOE employees and
     agents under his/her supervision to preserve (i) any relevant records related to students
     who may be called to testify and (ii) all relevant class rosters.
         At the Pre-Hearing Conference, the DOE’s attorney and the Respondent (or
     Respondent’s attorney), along with the Hearing Officer, will attempt to: (i) pre-mark
     exhibits; (ii) stipulate to any facts which are not in dispute; and (iii) stipulate to the
     admission of any documents to which there is not a dispute about admissibility.
         Every effort should be made for a Respondent to attend the Pre-Hearing Conference
     as well as for the DOE to have a person available who has authority to approve a
     settlement of the case.
         The DOE will provide the student records for testifying students to the Hearing
     Officer for in camera inspection by the Hearing Officer prior to the hearing date at which
     the student testifies. It will continue to be the Hearing Officer’s decision, within the
     requirements of Education Law § 3020-a and the relevant collective bargaining
     agreements, as to whether, and when, these student records are provided to Respondent or



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     Respondent’s attorney. This provision remains subject to the Family Educational Rights
     and Privacy Act.
         The UFT and the DOE shall jointly hold meetings with the Hearing Officers and
     instruct them with respect to the applicable time limitations in Education Law § 3020-a
     and the relevant collective bargaining agreements.
         To effectuate the purpose of the statute, the parties agree that Education Law §3020-a
     authorizes the following in advance of the hearing, to the extent it is not required to be
     produced earlier as provided above:
         Both sides will exchange witness lists, witness statements, and physical evidence
     (e.g., photographs) at least before the presentation of their direct case and earlier upon
     motion to the arbitrator.
         The Respondent shall receive copies of investigatory statements, notes, other
     exculpatory evidence, and relevant student records after in camera review.
         The Board shall receive evidence and documents from the Respondent upon a
     showing during the hearing that it is relevant.
         Additionally, if the case has stemmed from an investigation conducted by the Special
     Commissioner of Investigation (SCI), the Board will provide the entire SCI file to
     Respondent, including exculpatory evidence, during the discovery phase of the §3020-a
     hearing unless such information is privileged. Failure to do so shall form the basis of
     such evidence being precluded from introduction in the §3020-a proceedings. This
     provision remains subject to the Family Educational Rights and Privacy Act.
         b. Testimony
         The hearing process itself can be conducted in a more efficient manner that allows for
     issues to be fully and fairly litigated. To accomplish this, the parties to the hearings shall
     adhere to the following guidelines:
         (1) It is the intent of the UFT and DOE that, to the extent practicable, hearing days
     shall be fully utilized, that hearing days not end before 5:00 p.m. and the parties to the
     hearing have multiple witnesses ready to testify to avoid the loss of part of the day.
         (2) Where a hearing day is not fully used, the unused time will be counted towards
     the time allocated to the party that caused the delay.
         (3) Attorneys shall not meet with others between direct and cross examination for
     longer than twenty (20) minutes, except in unusual circumstances.
         (4) Hearing Officers shall ensure that cross-examination is not used by either party as
     a dilatory tactic in order to reduce one of the parties’ allotted time to present its case.
         (5) Evidence shall be limited to relevant matters.
         (6) Rebuttal shall be used only to deny some affirmative fact that the opposing party
     has tried to prove. During rebuttal, a party to the hearing may not offer proof to
     corroborate evidence that has already been presented by that party or proof tending
     merely to support that party’s case after the opposing party has rested.
         If relevant and requested at the pre-hearing conference, either party may introduce (i)
     relevant background evidence about a witness by affidavit from the witness; (ii) an
     affidavit from a doctor’s office attesting to an employee’s visit or non-visit on a particular
     date; (iii) an affidavit attesting to the date of an employee’s arrest, the charge (if any)
     against the arrested employee, and the disposition of that charge. Such a witness may be
     cross-examined regarding any matter discussed in an affidavit.




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         If relevant, a (i) business record, (ii) attendance list from a faculty meeting,
     orientation and/or training session, or (iii) any human resource document submitted by a
     respondent (e . g absence or sick note) may be admitted with an affidavit from a
     custodian of the record, without the need for live testimony from a witness to authenticate
     the document.
         Nothing in this section 8(b) shall be construed to convert non-mandatory subjects of
     bargaining into mandatory subjects ofbargaining.
         9. Incompetence Cases
         The parties agree that in the spirit of progressive discipline, rather than necessarily
     charge an employee with incompetence, an employee who receives an unsatisfactory
     rating for the first time may be offered the opportunity to enroll in the Peer Intervention
     Program (“PIP”) for a term of one year. Refusal to enter the PIP program is admissible in
     any future disciplinary proceedings. The parties further agree that during the first school
     term of the intervention, no formal observations will be made. During the second school
     term, although the employee will still be in the PIP, the administration is free to conduct
     observations and to rate the employee accordingly. Since the end-of-year rating will be
     based on these observations, a minimum of two (2) observations shall be conducted
     during the second school term. PIP may not be invoked by the employee once the
     disciplinary process has commenced.
         Pursuant to, and as further described in section J “Peer Intervention Plus Program”
     below, during their participation in the Peer Intervention Plus Program (“PIP Plus”),
     participating teachers shall not be charged with incompetence pursuant to Education Law
     §3020-a. The fact that an employee has declined to participate or that the BOE has
     denied a request to participate or has not offered the teacher an opportunity to participate
     in the programs will be admissible in §3020-a proceedings. Observation reports of the
     consulting teachers will be admissible in §3020-a proceedings.
          10. Attorney Teams
         Each Board attorney will be paired with a Union attorney for four (4) consecutive
     cases. Should one case settle, another case between the same attorneys shall be
     substituted for the case settled in an effort to utilize the dates set by the parties with the
     arbitrator.
          11. ATR §3020-a Procedure
         The terms of the ATR §3020-a Procedure are set forth in Rule 11(A)(3) of Article
     17B.
          12. Service of Charges
         In order to make the process as efficient as possible, service of notice of the nature of
     the charges and the actual charges shall be consolidated and served together upon an
     employee along with specifications and, in incompetence cases, a bill of particulars.
     Nothing in this Agreement shall alter a Respondent’s entitlement, if any, to a bill of
     particulars in misconduct cases.
          13. Timeframe for Hearings
         Within 10 - 15 days of the Board’s receipt of the request for a hearing from an
     employee charged under Education Law § 3020-a, a pre-hearing conference shall be held.
     Both Education Law § 3020-a and this Agreement require hearings, including closing
     statements, to be completed within sixty (60) days of the pre-hearing conference and a
     decision to be rendered within thirty (30) days of the final hearing date. The UFT and the



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     Board (“DOE”) agree this timeframe must be adhered to by all parties to the hearings and
     strictly enforced by hearing officers. Hearing officers shall establish a trial schedule at
     the pre-hearing conference to ensure that hearings are completed within the required
     statutory and contractual timeframes and ensure an equitable distribution of days between
     the DOE and the charged employee.
          Education Law § 3020-a permits “limited extensions” beyond the sixty (60) days
     where it is determined that “extraordinary circumstances” warrant. “Extraordinary
     circumstances” shall be construed narrowly by hearing officers so that the granting of
     “limited extensions” allowing hearings to last beyond sixty (60) days is the exception and
     not the rule. Pursuant to section 2, above, a hearing officer may be removed prior to the
     end of his or her one-year term only for good and sufficient cause, which may include
     failure to comply with this Agreement, upon mutual agreement of the UFT and DOE.
          If the hearing officer determines that a necessary witness is a former student who is
     unavailable because he/she is residing outside of New York City or a current student who
     is unavailable because he/she has left New York City for an extended period of time, this
     shall constitute an “extraordinary circumstance.” In such a case, the hearing officer shall
     schedule the hearing to begin or continue as soon as possible given the availability of the
     witness as demonstrated to the hearing officer.
         A party to the hearing or the hearing officer may request an unedited copy of the
     relevant transcript if a certified transcript is not available when needed.                The
     unavailability of a certified transcript shall not excuse adherence to the time limitations
     for completion of a hearing and issuance of a decision. The UFT and DOE will jointly
     explore the feasibility of expediting the receipt of Education Law §3020-a hearing
     transcripts by the UFT and DOE jointly paying the court reporters’ fees and then seeking
     reimbursement from the New York State Education Department.
          For purposes of this section 13, all timelines shall be measured in calendar days, but
     shall not include the summer break, all recess periods and holidays.
          14. Decisions
          Both Education Law §3020-a and this Agreement require decisions within thirty (30)
     days of the completion of the hearing.
          15. Meeting with the Panel of Hearing Officers
          The Chancellor and the President of the UFT will personally, jointly meet with the
     panel of hearing officers annually to impress upon the hearing officers that both parties to
     this Agreement are serious about meeting the timelines in the law, the collective
     bargaining agreements, and this Agreement. The Chancellor and the President will urge
     the hearing officers to strictly control the hearings and require all parties to the hearing to
     conform to the timelines provided herein. They will assure the hearing officers that no
     hearing officer will be removed by either party to this Agreement for enforcing these
     rules.
          16. Settlements
          The UFT and the Board (“DOE”) are committed to exploring innovative settlement
     approaches that would permit the parties to Education Law §3020-a proceedings to reach
     settlement in a greater number of cases brought under Education Law §3020-a.
     H. FalseAccusations14
          Knowingly false accusations of misconduct against employees will not be tolerated.

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         1. If an accusation of sexual misconduct or physical abuse against an employee is
     found by the Board or Special Commissioner of Investigation to have been knowingly
     false when made, the Board will take the following actions to restore the falsely accused
     employee’s reputation: removing all references to the charges from the employee’s
     personnel file(s) and adding evidence of the unfounded nature of the charge to
     departmental files that may have to be maintained to satisfy other legal requirements, if
     any; and restoring any back pay owed with interest and, at the employee’s request,
     confirming to any regulatory agency the finding that the employee was falsely accused.
     In addition, where the knowingly false accusation was made by a student of the
     employee, absent compelling and extraordinary circumstances the student will be
     permanently reassigned from the employee’s class.
         2. The disciplinary process should never be used to retaliate against whistleblowers
     or for any other illegal reasons. All employees who make a knowingly false allegation
     shall be subject to discipline, but decisions relating to the imposition of such discipline on
     non-UFT bargaining unit members shall not be subject to the grievance processes set
     forth in the relevant collective bargaining agreements.
     I. Peer Intervention Program (PIP)
         The Board and the Union recognize that instructional services should be delivered by
     a highly qualified and motivated staff, accorded the respect and professional treatment to
     which they are entitled. Towards that end the Board and the Union have agreed to
     provide resources and peer assistance on a voluntary confidential basis to staff who have
     completed probation and who believe that their teaching competence will benefit from
     that assistance in the manner provided below:
         1. The Peer Intervention Panel shall be composed of nine members, six of whom
     shall be selected by the Union and three of whom shall be administrators selected by the
     Board.
         2. This Panel will set qualifications and procedures for the selection of intervenors,
     an alternative careers liaison and a coordinator of the program. The Panel shall advertise,
     as needed, the intervenor, coordinator and alternative careers liaison positions on a
     Citywide basis, posting the qualifications and procedures previously developed. The
     program’s professional staff shall be selected in accordance with the posted procedure.
         3. The Panel will also design and continually monitor a professional development
     program that enables the selected staff to meet the goals set forth above.
         4. The intervenors shall serve for four year renewable terms.
         5. Any teacher who has a reasonable basis for needing such assistance and/or
     receives a U-rating or formal warning may request assistance from the Peer Intervention
     Program, in writing on a form promulgated by the Panel. The Panel will review requests
     and promptly notify the teacher of its determination as to whether assistance will be
     provided in that case. Such communications will be kept completely confidential.
         6. The intervenor will develop a plan to assist the participating teacher tailored to the
     specific needs of that teacher and will work with the teacher directly for not more than
     one year.
         7. For three months following the start of the intervention period, supervisors will
     not evaluate or observe the participating teacher. However, supervisors will otherwise
     continue to exercise their responsibilities.




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         8. The Board, the Union, and the participating teacher agree that for any disciplinary
     action other than an appeal of a previous U-rating, all time limitations within which to
     bring such actions will be tolled for the three month period in which the supervisor does
     not evaluate or observe the participating teacher. For such U-rating appeals, the parties
     agree that the time limitations are tolled for the entire period of intervention.
         9. All communications between the intervenor and the participating teacher shall be
     completely confidential. As a condition of involvement in the program, all participants in
     the program, including the intervenor and the participating teacher, must consent to the
     confidentiality provisions set forth in this paragraph. The Board and Union agree that the
     intervenor, or any other person involved in the peer intervention program shall not be
     subpoenaed by the Board or the Union or called to testify, produce documents or
     participate in any other way concerning the intervention in any proceedings under §3020-
     a of the Education Law as modified by Article 21G above (hereinafter “§3020-a
     proceeding”). No arbitrator, in any proceeding under the parties’ control, shall accept
     evidence regarding such communications. If PIP is used as a remedy in a §3020-a
     proceeding or if the parties agree to use it as a settlement to such a proceeding, this
     paragraph continues to apply except that if the intervention was not successful a
     statement from the program saying “PIP was attempted and was not successful” may be
     submitted into evidence in any subsequent §3020-a proceeding with respect to charges
     concerning teaching competence.
          10. Except as otherwise herein provided, the Union, the Board or any participating
     teacher may exercise any constitutional, statutory, regulatory or contractual right
     otherwise provided by law, regulation or contract.
          11. The Board agrees to make available on a best efforts basis alternative career
     opportunities in the Board and/or the City for teachers who decide to leave the teaching
     profession in the course of or following intervention through access to other employment
     alternatives within the system and/or the City; and/or retraining/redeployment through the
     Board ofEducation orNew York City.
          12. Administrative procedures for effectuation of these provisions will be formulated
     by the Panel in consultation with the Board and the Union and thereafter distributed by
     the Panel.
          13. These procedures relate solely to issues of competency and no other grounds of
     discipline.
          14. The acts of the panel, intervenor, coordinator, Union and Board shall be final.
     J. Peer Intervention Plus Program (“PIP Plus”)
          1. The existing Peer Intervention Program (PIP) will work with any teachers who
     would like assistance (as capacity permits) except those in danger of receiving charges
     pursuant to Education Law §3020-a for incompetence who have been recommended for
     the new program established below.
         2. A new program (PIP Plus) will be created for tenured teachers in danger of
     receiving charges pursuant to §3020-a for incompetence, which will be staffed by
     independent consulting teachers. These consulting teachers will not be employed by the
     Board of Education and will not be active members of the UFT, and instead will be
     provided by an independent third party vendor, mutually agreed to by the parties,
     pursuant to a contract in a form developed by the Board and approved by the UFT.




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         3. Consulting teachers in the PIP Plus will develop plans to assist the participating
     U-rated tenured teachers, tailored to the specific needs of the teachers. During their
     participation in the PIP Plus, participating teachers will not be charged with
     incompetence pursuant to §3020-a. Observation reports of the consulting teachers will be
     provided to the participating teachers, and will be admissible in §3020-a proceedings.
     Participation in the program is voluntary. A principal may recommend participation or a
     teacher may volunteer to participate. The fact that an employee has declined to
     participate or that the Board has denied a request to participate or has not offered the
     teacher an opportunity to participate in the programs will be admissible in §3020-a
     proceedings.
         4. A labor/management committee will review the PIP Plus program annually and
     agree on necessary changes, if any.
         5. The existing Peer Intervention Program will not be decreased in size because of
     the establishment of this new PIP Plus program.
         6. The Board (“DOE”) will evaluate cases of tenured Employees receiving
     unsatisfactory rating(s) for poor performance and, where it deems it appropriate, will
     refer the case to PIP Plus.
     K. Medical Review Procedures
         1. Requests for Medical Examination of Teachers
         The report of the immediate supervisor requesting examination of a teacher pursuant
     to Education Law §2568 shall be made in duplicate. A copy of the report shall be
     forwarded to the teacher.
         2. Skin Test
         The Board and the Union shall seek legislation to permit employees a choice of skin
     test or X-Ray. Until such legislation is enacted teachers in this system will be given a
     skin test. The skin test will be administered by the Department of Health. Where a skin
     test result proves to be positive, the Board may require an X-Ray test. An enabling
     resolution to this effect was adopted by the Department ofHealth on May 6, 1962.
         3. Injury In the Line of Duty
         In order to provide for an expeditious handling of injury in the line of duty claims, the
     following is provided:
         a. Within five school days of a claim of injury in the line of duty requiring an
     employee to be absent, the superintendent shall make a determination as to whether the
     accident occurred in the line of duty.
         b. Where the employee is in a non-pay status pending a determination by the
     Medical Bureau of the duration of absence attributable to injury in the line of duty, the
     Medical Bureau will make its determination within ten days of the employee’s submitting
     himself or herself for the required physical examination.
         4. Medical Report and Review
         a. The report of the Medical Bureau on a teacher who was called for medical
     evaluation shall, upon written request of the teacher, be sent to the teacher’s physician
     within 25 days after the evaluation.
         b. Upon the teacher’s request to the Medical Bureau, his/her physician shall have the
     right to examine his/her medical file.
         c. A regular teacher shall have the right to an independent evaluation by a medical
     arbitrator selected from rotating panels of doctors to be selected by mutual agreement of



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     the Board and the Union if the finding of the Medical Bureau to the Chancellor has
     resulted in:
         (1) Placement of the teacher on a leave of absence without pay for more than one
     month; or
         (2) Termination of the teacher’s services; or
         (3) A recommendation for disability retirement; or
         (4) A denial of a leave with or without pay for more than one month.
         A request for an independent evaluation of the finding of the Medical Bureau shall be
     submitted in writing by the teacher to the Division of Human Resources within 10 school
     days of receipt of notice from the Division of Human Resources that he/she has been
     placed on leave of absence without pay for more than one month, or that his/her services
     have been terminated, or that he/she has been recommended for disability retirement, or
     that he/she has been denied a leave with or without pay for more than one month. The
     Board and the Union may agree on a case by case basis to permit, in special
     circumstances, an independent medical evaluation to teachers who do not otherwise
     qualify for one under this Agreement.
         The medical arbitrator shall examine the teacher and consult with the teacher’s
     physician and the Board’s physician. The arbitrator’s authority shall be limited to
     determining the medical aspects of the teacher’s claim. The arbitrator’s decision shall be
     rendered within 10 days after he/she has completed the evaluation of the teacher, and if
     made within his/her authority under this Agreement shall be accepted as final and binding
     by the Board and the teacher.
         The fee of the medical arbitrator shall be shared equally by the Board and the teacher.

                                     ARTICLE TWENTY-TWO
                                    GRIEVANCE PROCEDURE
         It is the declared objective of the parties to encourage the prompt and informal
     resolution of employee complaints as they arise and to provide recourse to orderly
     procedures for the satisfactory adjustment of complaints. A resolution should occur at
     the earliest possible step in every case that can reasonably be resolved.
         In order to accomplish its stated purpose, a grievance conference must be attended by
     those individuals who may be able to promote resolution or, if resolution is not possible
     in a particular case, to provide the necessary information for a fair determination of the
     grievance. At the Chancellor’s level, principals will be expected to attend or to have a
     suitable representative present at the conference. Failure to attend may result in
     sustaining the grievance on procedural grounds.
     A. Definition
         A “grievance” shall mean a complaint by an employee in the bargaining unit (1) that
     there has been as to him/her a violation, misinterpretation or inequitable application of
     any of the provisions of this Agreement or (2) that he/she has been treated unfairly or
     inequitably by reason of any act or condition which is contrary to established policy or
     practice governing or affecting employees, except that the term “grievance” shall not
     apply to any matter as to which (1) a method of review is prescribed by law, or by any
     rule or regulation of the State Commissioner of Education having the force and effect of
     law, or by any bylaw of the Board of Education or (2) the Board of Education is without
     authority to act.



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         In the case of per session employees, a “grievance” shall mean a complaint by a per
     session employee that there has been as to him/her a violation, misinterpretation or
     inequitable application of any of the provisions of this Agreement covering his/her
     particular per session employment.
         In the case of teachers assigned, education administrators, education officers,
     education analysts, adult education teachers covered by this Agreement, lead teachers,
     math and literacy coaches, mentors, substitute vocational assistants, and teacher’s
     assistants, a “grievance” shall mean a complaint by such an employee that there has been
     as to him/her a violation, misinterpretation or inequitable application of any of the
     provisions of this Agreement covering his/her employment as a teacher assigned, an
     education administrator, an education officer, an education analyst, a WNYE teacher, an
     adult education teacher covered by this Agreement, a lead teacher, a math and literacy
     coach, a mentor, a substitute vocational assistant or a teacher’s assistant.
         As used in this article, the term “employee” shall mean also a group of employees
     having the same grievance.
     B. Adjustment of Grievances
         Grievances of employees within the bargaining unit shall be presented and adjusted in
     the following manner:
         1. General Procedures
         a. School Level (Step 1)
         Any employee within the bargaining unit may, either orally or in writing, present a
     grievance to the head of the school within thirty school days after the employee has
     knowledge of the act or condition which is the basis of the complaint. A grievance which
     is presented in writing shall set forth specifically the act or condition and the grounds on
     which the grievance is based, the contractual provision which is alleged to have been
     violated and the remedy sought. A Step 1 Grievance Form such as the one set forth in
     Appendix C shall be used, but failure to use the form will not result in forfeiture of the
     grievance. A grievance which is technically flawed at Step 1 may be promptly amended
     or refiled without regard to the stated time limitations.
         The employee and the head of the school shall confer on the grievance with a view to
     arriving at a mutually satisfactory resolution of the complaint. At the conference, the
     employee may appear personally or he/she may be represented by a Union representative
     or by any teacher of his/her choice in the school; but where the employee is represented
     he/she must be present. The Union representative shall be the chapter leader or his/her
     alternate in the school or, where there is no Union member in the school, any other
     designated Union representative.
         Whenever a grievance presented to the head of the school by the employee personally
     or through a personal representative would involve the application or interpretation of the
     terms of this Agreement, or would affect the working conditions or welfare of the
     employees in the bargaining unit, he/she shall give the chapter leader or his/her alternate
     in the school the opportunity to be present and state the views of the Union, except that,
     where there is no Union member in the school, the Union may be represented by any
     other designated Union representative.
         The head of the school shall communicate his/her decision to the aggrieved employee
     and to his/her representative and to any Union representative who participated in this step
     within five school days after receiving the complaint. Where the grievance has been



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     presented in writing, the decision shall be in writing and the decision shall include
     supporting reasons in response to the information supplied by the grievant on the Step 1
     Grievance Form or its equivalent.
         b. Chancellor (Step 2)
         If the grievance is not resolved at Step 1 the Union may appeal from the decision at
     Step 1 to the Chancellor addressed to the attention of the Deputy Executive Director,
     Office of Labor Relations and Collective Bargaining within 15 school days after the Step
     1 decision was given to the employee. The appeal shall be in writing, shall set forth
     specifically the reasons for the appeal, and shall be accompanied by a copy of the
     decision at Step 1. It shall also state the name of the employee’s Union representative.
         The Chancellor or his/her designated representative shall meet and confer with the
     Union representative and the aggrieved employee with a view to arriving at a mutually
     satisfactory resolution of the complaint. The Union representative and the aggrieved
     employee shall be given at least two school days notice of the conference and an
     opportunity to be heard. The Union representative may be the representative at Step 1 or
     a representative designated by the Union grievance department, or both.
         Notice of the conference shall also be given to the head of the school. The head of
     the school will be expected to attend the conference or to have a suitable representative
     present at the conference in order to promote resolution of the grievance or, if resolution
     is not possible, to provide the necessary information for a fair determination of the
     grievance.
         The Chancellor shall communicate his/her decision in writing, together with the
     supporting reasons, to the aggrieved employee and to the Union representative who
     participated in this step, within 20 school days after receiving the appeal.
         The head of the school shall also receive a copy of the decision at this step. The
     Union shall receive a copy of any decision at this step.
         2. Procedures for Special Groups of the Teaching Staff
         a.       The procedures set forth in paragraph 1 of this Article shall apply to all employees
     in the unit, except that:
         (1) In the case of teachers of the homebound, the grievance shall be presented at Step
     1 to the borough supervisor.
         (2) In the case of per session employees, the grievance shall be presented at Step 1 to
     the head of the particular per session activity or his/her designated representative and at
     Step 2 to the Chancellor or his/her designated representative. The Union representative at
     each step shall be a member of the Union’s grievance committee. The decision at Step 1
     shall be communicated within five working days after receiving the complaint of
     employees employed in summer per session activities and within 10 school days after
     receiving the complaint of employees employed in all other per session activities.
     However, grievances arising under Article 15C 2 (Retention), 4 (Selection of New Per
     Session Teachers) or 6 (Reduction in Per Session Positions) must be presented within two
     workdays after the employee has knowledge of the act or condition which is the basis of
     the complaint. The decision at Step 1 shall be communicated within two working days
     after receiving the complaint. The grievance may be appealed by the Union to the
     Chancellor within five working days after the decision at Step 1 has been received. The
     Chancellor shall communicate his/her decision within ten working days after receipt of
     the appeal. If the grievance is not resolved at the Chancellor’s level, it may be appealed



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     to arbitration by the Union within 15 working days and the parties shall arrange for the
     prompt hearing of the grievance at arbitration. The parties will make every effort to
     process these grievances more expeditiously than the time limits prescribed above. The
     arbitrator shall render the award within five days after the close of the hearing.
          (3) Chapter 683 grievances regarding summer assignments shall be heard according
     to the following procedure:
          (a) All internal District 75 postings, vacancy notices and turnaround (retention rights)
     lists will be prominently posted and made available to employees in all District 75 sites.
          i. All internal application notices/postings for District 75 staff who do not claim
     retention rights shall be posted in the schools no later than April 30.
          ii. Retention rights turnaround documents shall be posted in the schools no later than
     May 15.
          iii. The Final Assignment list shall be posted in all schools no later than June 7.
          (b) Subsequently, an employee who has a complaint regarding a non-per session
     summer assignment shall attempt to resolve it informally. If the complaint has not been
     resolved, the complainant shall file a grievance with the Superintendent no later than the
     10th workday from the posting of the final assignment list, or in the case of assignments
     that were not contained in the final assignment list, no later than the 10th workday from
     knowledge of the assignment which is the basis for the complaint. The Superintendent or
     his or her designee shall meet and confer with the aggrieved employee with a view to
     arriving at a mutually satisfactory resolution of the complaint. The employee shall be
     entitled to Union representation. The employee shall be present at this conference. The
     Superintendent shall communicate his/her decision in writing, together with supporting
     reasons, to the aggrieved employee and to the Union District Representative within five
     (5) working days after having received the appeal.
          If the grievance is not resolved at the Superintendent’s level, the Union may appeal
     the decision to the Chancellor within five (5) working days after the decision by the
     Superintendent or his or her designee has been issued. The appeal shall be in writing,
     shall set forth specifically the reasons for the appeal and shall be accompanied by a copy
     of the appeal and decision at Step 1. The Chancellor or his/her designated representative
     shall meet and confer with the Union Representative and the aggrieved employee with a
     view to arriving at a mutually satisfactory resolution of the complaint.
          The Chancellor shall communicate his/her decision in writing, together with the
     supporting reasons, to the aggrieved employee and to the Union Representative who
     participated in this step within five (5) working days after receiving the appeal. If the
     grievance is not resolved at the Chancellor’s level, or if no decision is issued within five
     (5) working days from the receipt of the appeal, the UFT may proceed to arbitration. The
     UFT shall notify the Superintendent and the Board’s Office of Labor Relations and
     Collective Bargaining of its intent to proceed to arbitration no later than the Monday
     following Labor Day of the year in which the grievance arose.
          The Superintendent shall also receive a copy of the decision at this Step. The Union
     shall receive a copy of any decision at this Step.
          (4) In the case of adult education teachers covered by this Agreement, the grievance
     shall be presented at Step 1 to the Executive Director or head of the particular program
     and at Step 2 to the Chancellor. The Union representative at each step shall be a member




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     of the Union’s grievance committee. The decision at Step 1 shall be communicated
     within 10 working days after receiving the complaint of the employee.
         (5) In the case of teachers assigned, education administrators, education officers and
     education analysts, the grievance shall be presented at Step 1 to the appropriate
     community superintendent or his/her designee, assistant superintendent for high schools,
     or the Executive Director responsible for the office, and at Step 2 to the Chancellor. The
     Union representative at each step shall be a member of the Union’s grievance committee.
     The decision at Step 1 shall be communicated within 10 working days after receiving the
     complaint of the employee.
         (6) In the case of lead teachers and math and literacy coaches, the grievance shall be
     presented at Step 1 to the principal and at Step 2 to the Chancellor. The Union
     representative at each step shall be a member of the Union's grievance committee. The
     decision at Step 1 shall be communicated within 10 working days after receiving the
     complaint of the employee.
         (7) In the case of mentors the grievance shall be presented at Step 1 to the principal
     and at Step 2 to the Chancellor. The Union representative at each step shall be a member
     of the Union’s grievance committee. The decision at Step 1 shall be communicated
     within 10 working days after receiving the complaint of the employee.
         b.      The special procedures set forth in paragraph 4 of this Article shall not apply to
     per session employees, adult education teachers covered by this Agreement, teachers
     assigned, education administrators, education officers and education analysts.
         3. Special Procedures for Grievances Relating to Salary and Leave Matters
         Any grievance relating to salary and leave matters shall be filed by the Union directly
     with the Executive Director of the Division of Human Resources. In such cases, the
     provisions of the general procedures relating to Step 2 shall apply to the presentation and
     adjustment of the grievance at the level of the Executive Director except that (1) the
     grievance shall be filed within a reasonable time not to exceed three months after the
     employee has knowledge of the act or condition which is the basis of the complaint and
     (2) the employee need not be present at the conference. The Executive Director shall
     render a decision on behalf of the Chancellor and such decision shall be considered a
     decision at the level of the Chancellor under this Article.
         4. Special Procedures for Grievances Arising out of School Reorganization
         Where the grievance arises out of school reorganization and involves class size,
     teacher programs or assignments and is not covered by paragraphs 5 or 6 below, the time
     limits prescribed inBl above shall be modified in these respects:
         a. The grievance must be presented within two school days after the employee has
     knowledge of the act or condition which is the basis of the complaint, except that
     conformity to class size limits shall not be the subject of grievance during the first ten
     school days of each term.
         b. The head of the school shall communicate his/her decision within two school days
     after receiving the complaint.
         c. The grievance must be appealed by the Union to the Chancellor (Step 2) within
     five school days after the decision at Step 1 has been received.
         d. The Chancellor shall communicate his/her decision within ten school days after
     receipt of the appeal.




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         e. If the grievance is not resolved at Step 2, it may be appealed to arbitration by the
     Union within 15 school days and the parties shall arrange for the prompt hearing and
     resolution of the grievance at arbitration.
         f. The Union shall designate an order of priority for arbitration of unresolved
     reorganization grievances involving teacher programs or assignments. Such grievances
     shall be expeditiously arbitrated. Grievances heard on or before October 5th shall be
     decided, and the award rendered within five days. If the grievance is sustained, it shall be
     implemented immediately. If not rendered by October 10th, an arbitration award
     sustaining a grievance shall be implemented no later than the next reorganization.
         5. Expedited Reorganization Grievance Procedure
         The parties are committed to resolving reorganization grievances on an expedited
     basis. To that end, they have jointly adopted the appropriate and agreed upon standards
     for determining these cases in the hope that school administration and UFT
     representatives will be able to resolve many of these matters locally, without the need to
     resort to arbitration. The parties intend joint training to familiarize those involved with
     the cases in the agreed upon standards and the new procedure being adopted.
         a. Reorganization arbitrations shall be scheduled during the last two (2) weeks of
     June, and the first three (3) weeks in September. If necessary, cases may be heard
     through the end of September. For reorganizations that take place in February,
     arbitrations shall be scheduled during the month of February. Complaints arising at any
     time during the school year will follow the expedited time frame detailed below. These
     arbitrations shall count toward the two hundred (200) arbitration dates that are permitted
     to be scheduled per year for all UFT grievances.
         b. The current deadlines by which teachers must receive their programs shall
     continue.
         c. The chapter leader shall be considered a proper grievant in all grievances relating
     to program deadlines and contractually mandated consultations, including allegations that
     postings are inconsistent with an agreement reached at contractually mandated
     consultations.
         d. An employee shall notify the principal or his or her designee of a complaint
     within two (2) school days, after the employee has knowledge of the act or condition
     which is the basis for the complaint. Within two (2) school days following notification,
     the principal or his or her designee must meet with the employee in an effort to resolve
     the complaint. The employee may choose to be accompanied by the chapter leader. If
     the complaint remains unresolved, the employee shall have two (2) school days from the
     date of the grievance conference to file a grievance appeal with the Superintendent. A
     copy of the grievance appeal shall be forwarded to the chapter leader and the UFT district
     representative.
         e. A Demand for Arbitration shall be filed contemporaneously with the district level
     grievance, with a copy to be forwarded to the appropriate Superintendent(s) and the
     Board’s Office of Labor Relations and Collective Bargaining.
         f. Both the employee and principal, or his or her designee, must attend a conference
     conducted by the Superintendent or his or her designee. The UFT district representative
     or his or her designee shall be present to observe the process and represent the UFT. The
     conference shall be held within three (3) school days of receipt of the district level




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     grievance appeal. The Superintendent or his or her designee shall have four (4) school
     days from the conference to render a decision on the grievance.
          g. The decision shall set forth reasons. If no decision is issued within four (4) school
     days of the conference, the UFT may proceed to arbitration. The UFT shall notify the
     Superintendent(s) and the Board’s Office of Labor Relations and Collective Bargaining
     of its intent to proceed to arbitration.
          h. Arbitrations may commence as early as seven (7) school days from the initial
     filing of the grievance and shall proceed using procedures detailed in paragraph F of this
     Article.
          i. Only the following issues arising under Article 7 (A, B, C, D, E, F, J and K) are
     appropriate reorganization grievances within the meaning of this subsection 5:
          (1) Program Preference
              (a)     Grade level
              (b)     More/less difficult
              (c)      Subject
              (d)      Sessions
              (e)      Special classes
              (f)      Special education classes
          (2) SpecialTeaching Positions
          (3) Cluster Positions
          (4) Compensatory Time Positions
          (5) Rotation
          (6) Number of Preparations
          (7) Numbers of Rooms
          (8) Postings
          (9) Consultations
          6. Expedited Procedure for Class Size and Group Size Grievances
          The parties are committed to resolving class size and group size grievances on an
     expedited basis. To that end, they have jointly adopted the appropriate and agreed upon
     standards for determining these cases in the hope that school administration and UFT
     representatives will be able to resolve many of these matters locally, without the need to
     resort to arbitration. The parties intend joint training to familiarize those involved with
     the cases in the agreed upon standards and the new procedure being adopted.
          a. During the first ten (10) school days of each term, the chapter leader and the
     principal shall attempt to resolve informally all class size and group size problems within
     the school. It is expected that during the first ten (10) school days, the principal will
     consult and seek assistance from the superintendent and the chapter leader will consult
     with the UFT district representative to attempt to resolve all class size and group size
     problems. Complaints arising at any time during the school year will follow the
     expedited time frame detailed herein.
          b. If the principal and chapter leader cannot resolve class size and group size
     problems within the school, after the first ten (10) school days, the Union may file a
     demand for arbitration within two (2) school days of their failure to resolve the grievance.
          Such demand shall be filed by facsimile, or any other agreed upon method, to the
     affected Superintendent(s) and the Board’s Office of Labor Relations and Collective
     Bargaining.



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          c.       Arbitrations shall commence within five (5) school days of the demand for
     arbitration. The class size arbitrations shall count toward the two hundred (200)
     arbitration dates that are permitted to be scheduled per year for all UFT grievances and
     shall proceed using procedures detailed in paragraph G of this Article. Group size
     arbitrations do not count toward the two hundred (200) arbitration dates, and shall
     proceed pursuant to paragraph G of this Article.
          7. Priority Handling of Grievances
          The Board and the Union will consult periodically on the priority of handling
     grievances pending at Step 2 with a view to expediting the processing of grievances
     which require prompt disposition.
          8. Initiation or Appeal of Special Types of Grievances or Complaints
          a. Grievances arising from the action of officials other than the head of a school may
     be initiated with and processed by such officials in accordance with the provisions of
     Step 1 of this grievance procedure. Where appropriate, such grievances may be initiated
     with the Chancellor by the Union.
         b. Where a substantial number of employees in more than one school (or, in the case
     of teachers of the homebound, in more than one borough) have a complaint arising from
     the action of authority other than the head of a school (or borough supervisor) the Union,
     upon their request, may initiate a group grievance in their behalf.
          c. The Union has the right to initiate or appeal a grievance involving alleged
     violation of the Agreement. Such grievance shall be initiated with the appropriate
     community or assistant superintendent or where appropriate, with the Chancellor.
          9. Appearance and Representation
          Conferences held under this procedure shall be conducted at a time and place which
     will afford a fair and reasonable opportunity for all persons entitled to be present to
     attend. When such conferences are held during Board of Education working hours, all
     persons who participate shall be excused without loss of pay for that purpose.
          10. Time Limits
          a. Failure at any step of this procedure to communicate the decision on a grievance
     within the specified time limits shall permit the aggrieved employee to proceed to the
     next step. Failure at any step of this procedure to appeal a grievance to the next step
     within the specified time limits shall be deemed to be acceptance of the decision rendered
     at that step.
         b. The time limits specified in any step of this procedure may be extended, in any
     specific instance, by mutual agreement.
     C. Arbitration
         A grievance dispute which was not resolved at the level of the Chancellor under the
     grievance procedure may be submitted by the Union to an arbitrator for decision if it
     involves the application or interpretation of this Agreement. Grievances involving the
     exercise of Board discretion under any term of this Agreement may be submitted to
     arbitration to determine whether the provision was disregarded or applied in a
     discriminatory or arbitrary or capricious manner so as to constitute an abuse of discretion,
     namely: whether the challenged judgment was based upon facts which justifiably could
     lead to the conclusion as opposed to merely capricious or whimsical preferences, or the
     absence of supporting factual reasons.




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          A grievance may not be submitted to an arbitrator unless a decision has been rendered
     by the Chancellor under the grievance procedure, except as provided in Section B6b of
     this Article, and except in cases where, upon expiration of the 20-day time limit for
     decision the Union filed notice with the Chancellor of intention to submit the grievance to
     arbitration and no decision was issued by the Chancellor within five school days after
     receipt of such notice.
          The proceeding shall be initiated by the Union filing with the Board a notice of
     arbitration. The notice shall be filed within 15 school days after receipt of the decision of
     the Chancellor under the grievance procedure or, where no decision has been issued in
     the circumstance described above, three days following the expiration of the five school
     day period provided above. The notice shall include a brief statement setting forth
     precisely the issue to be decided by the arbitrator and the specific provision of the
     Agreement involved. The parties shalljointly schedule the arbitration hearings.
          A panel of seven arbitrators, or more, shall be designated by mutual agreement of the
     parties to serve for any case or cases submitted to them in accordance with their ability to
     promptly hear and determine the case or cases submitted;
          Arbitrators shall serve one year terms which extend from September 1 through
     August 31 of the following year. Arbitrators who are selected after September 1 shall
     hear cases for a minimum of one year, with a term ending on August 31;
          Arbitrators will be continued for additional one year terms, unless either party
     discontinues the services of any of the panel arbitrators by notification to the other party
     by May 15 that such arbitrators shall not be selected for an additional term. Arbitrators
     not selected by the parties to serve an additional term will be notified jointly by the
     parties;
          Arbitrators who are not continued for an additional term shall finish any case they
     have begun hearing;
          If a panel arbitrator(s) is not continued for an additional one year term, a
     replacement(s) shall be selected to serve on the panel by the mutual agreement of the
     parties. Should agreement not be reached in sufficient time to ensure that the
     replacement arbitrator(s) commences service on September 1, the parties shall maintain
     the same number of hearing dates which would have existed if the replacement
     arbitrator(s) could have provided dates starting in September. The parties further agree to
     schedule the same number of dates, regardless of the number of arbitrators on the panel,
     normally scheduled in a school year. This maintenance of service shall be accomplished
     in the following manner:
          a. First, by requesting additional hearing dates from the panel arbitrators; and
          b. If necessary, by requesting hearing dates from arbitrators previously agreed upon
     for this purpose; and
          c. If necessary, by requesting that the American Arbitration Association provide
     simultaneously to each party an identical list of names of persons chosen from the Panel
     of Labor Arbitrators, as outlined in Rule 12 of the A.A.A. Labor Arbitration Rules (as
     amended and in effect January 1, 1992).
          The parties agree to enter into a stipulation of facts whenever possible in advance of
     the hearing.
          The parties seek the most expeditious decisions in arbitrations and will not normally
     file briefs or order transcripts. If either or both parties order transcripts, it shall be on an



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     expedited basis. The parties may agree to file post-hearing briefs. However, if a party
     unilaterally files a brief, it shall be filed within five working days of the hearing or receipt
     of the transcript, if one is ordered. The other party shall have the right to file a reply brief
     within five working days of receipt of the brief.
         The voluntary labor arbitration rules of the American Arbitration Association shall
     apply to the proceedings insofar as they relate to the hearings and fees and expenses.
         The arbitrator shall issue his/her decision not later than 30 days from the date of the
     closing of the hearings or, if oral hearings have been waived, then from the date of
     transmitting the final statements and proofs to the arbitrator. The decision shall be in
     writing and shall set forth the arbitrator’s opinion and conclusions on the issues
     submitted. The arbitrator shall limit his/her decision strictly to the application and
     interpretation of the provisions of this Agreement and he/she shall be without power or
     authority to make any decision:
          1. Contrary to, or inconsistent with, or modifying or varying in any way, the terms
     of this Agreement or of applicable law or rules or regulations having the force and effect
     oflaw;
         2. Involving Board discretion under the provisions of this Agreement, under Board
     by-laws, or under applicable law, except that the arbitrator may decide in a particular case
     whether the provision was disregarded or applied in a discriminatory or arbitrary or
     capricious manner so as to constitute an abuse of discretion, namely whether the
     challenged judgment was based upon facts which justifiably could lead to the conclusion
     as opposed to merely capricious or whimsical preferences or the absence of supporting
     factual reasons.
         3. Limiting or interfering in any way with the powers, duties and responsibilities of
     the Board under its by-laws, applicable law, and rules and regulations having the force
     and effect of law.
         The decision of the arbitrator, if made in accordance with his/her jurisdiction and
     authority under this Agreement, will be accepted as final by the parties to the dispute and
     both will abide by it.
         The arbitrator may fashion an appropriate remedy where he/she finds a violation of
     this Agreement. To the extent permitted by law, an appropriate remedy may include back
     pay. The arbitrator shall have no authority to grant a money award as a penalty for a
     violation of this Agreement except as a penalty is expressly provided for in this
     Agreement.
         The arbitrator’s fee will be shared equally by the parties to the dispute.
         The Board agrees that it will apply to all substantially similar situations the decision
     of an arbitrator sustaining a grievance and the Union agrees that it will not bring or
     continue, and that it will not represent any employee in, any grievance which is
     substantially similar to a grievance denied by the decision of an arbitrator.
         Two hundred (200) arbitration dates may be scheduled per year for all UFT
     grievances. The use of the two hundred (200) days will governed in all respects by the
     rules in this Agreement, including, but not limited to, rules that exclude certain
     arbitrations from the two hundred (200) day limit.
         Principals may testify at arbitrations by telephone subject to the following conditions:
     (i) the principal may not look at any written material or be aided by anyone in the room
     during his/her testimony except as authorized or directed by the arbitrator; (ii) the



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     principal may not be joined in the room by anyone without notifying the arbitrator, all
     parties and their representatives; (iii) the UFT district representative, or the UFT district
     representative’s designee, may be present in the room with the principal; and (iv) the
     principal’s testimony shall still be under oath. The sole role of the UFT district
     representative, or the UFT district representative’s designee, shall be to verify the
     principal’s compliance with these conditions; the UFT district representative or designee
     may not participate in the proceedings except to notify the arbitrator and/or the parties’
     representatives if he or she believes these conditions are being violated. The UFT district
     representative, or the UFT district representative’s designee, shall not be released from
     his/her classroom responsibilities for this purpose. Nothing in this Agreement shall in
     any way limit the right of the UFT arbitration advocate to cross-examine the principal. If
     the arbitrator orders the principal to testify or be cross-examined in person, the principal
     shall not be allowed to testify or be cross-examined by telephone.
         Nothing in this Agreement shall in any way limit the currently existing rights of
     Employees to attend arbitrations.
     D. General Provisions as to Grievances and Arbitration
         1. The filing or pendency of any grievance under the provisions of this Article shall
     in no way operate to impede, delay or interfere with the right of the Board to take the
     action complained of, subject, however, to the final decision on the grievance.
         2. Nothing contained in this Article or elsewhere in this Agreement shall be
     construed to permit the Union to present or process a grievance not involving the
     application or interpretation of the terms of this Agreement in behalf of any employee
     without his/her consent.
         3. Nothing contained in this Article or elsewhere in this Agreement shall be
     construed to deny to any employee his/her rights under Section 15 of the New York Civil
     Rights Law or under the State Education Law or under applicable Civil Service Laws and
     Regulations.
         4. (a) Procedural arbitrability objections based upon the asserted untimeliness of a
     grievance or appeal, or failure to follow or properly adhere to contractual grievance
     procedures will, normally, be raised at the Chancellor’s level. In instances where the
     employer could not reasonably have been able to raise such a claim at the Chancellor’s
     level, but intends to raise such a claim at the arbitration level, for the first time, the
     employer shall communicate to the Union within one week prior to the scheduled hearing
     of such intent.
         (b) These guidelines are not intended to be applied to preclude a party from raising an
     arbitrability objection at a hearing where such preclusion would appear to be unfair or
     substantially prejudicial to a party’s interest in the ultimate outcome of a case.
         (c) Nothing contained herein shall be construed as a waiver of any substantive
     arbitrability objection or to preclude any other resort to judicial proceedings as provided
     by law.
     E. Expedited Arbitration Procedure for the Lead Teacher and Lead Instructional
     Mentor Applicant Pool
         The purpose of this procedure is to carry out the intent of the parties set forth in
     Article 11 IV A10 and Article 11 IV D4 to resolve promptly all disputes regarding the
     Applicant Pool of Lead Teachers and Lead Instructional Mentors subject to expedited
     arbitration.



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         To the extent possible, each expedited arbitration shall be completed by the last day
     of June of the school year in which the application was made. The parties to the
     arbitration shall make all necessary reasonable efforts to complete the procedure by the
     deadline, including shortening the time frames if necessary.
          1. If the central personnel committee (the “Committee”) rejects an application for
     inclusion in the pool, it shall notify the rejected candidate of the right to challenge the
     decision according to this procedure within ten calendar days if the applicant applied for
     a lead teacher position and within fifteen calendar days if the applicant applied for a Lead
     Instructional Mentor position.
         2. The Appellant - a candidate who is not selected by the Committee - shall initiate
     the challenge by filing a written request for review with the United Federation of
     Teachers Coordinator. The request must be filed within five calendar days (not counting
     weekends and holidays) after the Appellant receives the Committee’s decision and right-
     to-challenge notice. The Appellant is limited to filing no more than three review
     requests.
         3. The request shall include the name, address and phone number of the Appellant,
     the Pool applied for, and a statement that the review of the Committee's decision is
     requested. A form for this purpose shall be available from the Board, the Union and the
     School Personnel Committee.
         4. Upon receiving the request, the UFT Coordinator shall notify the Committee and
     the arbitrator that a request for review has been filed. The Committee shall respond
     within five calendar days to the UFT Coordinator with the following information: the
     names of the successful candidates; the qualifications for the position; and the reasons it
     rejected the Appellant. The UFT Coordinator shall then send that information to the
     Appellant.
         5. The Chancellor and the UFT President or their designees shall jointly select an
     arbitrator (or arbitrators) to arbitrate these cases. The Board and the Union shall share the
     arbitrators’ fees equally.
         6. The parties to the proceeding shall be the Committee and the Appellant(s). The
     parties agree to continue to schedule arbitrations as efficiently as possible (i.e. multiple
     cases before one arbitrator each day).
         7. The arbitrator shall schedule the hearing to start not later than seven (7) days (not
     counting weekends and holidays) after the UFT Coordinator received the request for
     review.
         8. In order to develop a full and complete basis for a decision, the arbitrator shall
     inquire fully into all matters in issue. The Appellant(s) should be prepared to state the
     basis of the challenge and may do so at any time during the hearing. The Committee
     should be prepared to support the basis for its decision.
         9. The arbitrator shall issue a written, signed award within five (5) days of the close
     of the hearing. If the arbitrator sees the need for an opinion, it shall be in summary form.
          10. If the arbitrator sustains the challenge, the Appellant shall be included in the Pool.
          11. The arbitrator’s power and authority under this procedure shall be only to resolve
     an Appellant’s challenge to the decision of the Committee. The arbitrator’s decision shall
     be limited strictly to the application and interpretation of the applicable provisions of
     Articles 11(IV)A5 and Article 11(IV)D2 and 3. Other grievances or complaints arising in
     a school shall be resolved through the procedures appropriate to them.



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          12. The parties shall accept as final the arbitrator’s award and abide by it if it is made
     in accordance with thejurisdiction and authority granted under this procedure.
          13. Regarding the hearings, fees and expenses, the proceedings shall follow the
     Expedited Labor Arbitration Procedures of the American Arbitration Association as
     amended and effective on September 1, 1993, as long as they do not conflict with the
     procedures described above.
     F. Arbitrations Pursuant to the Expedited Reorganization Grievance Procedure
         Arbitrations filed pursuant to the Expedited Reorganization Grievance Procedure in
     B5 above shall be processed as follows:
          1. Each arbitrator shall hear up to five (5) reorganization grievances in a day. Where
     possible, grievances from the same school and/or borough shall be scheduled on the same
     day.
         2. The arbitration shall be informal and proceed in the following manner:
         a. The parties shall provide the Arbitrator at the beginning of each case all relevant
     documents, such as, but not limited to: 1) Postings; 2) Preference sheets; 3) Resumes; and
     4) Seniority lists.
         b. The grievant and the principal, or his or her designee, must be in attendance.
     Each side shall have thirty (30) minutes to present their respective cases. The arbitrator
     may extend this time limit. Only disputed facts shall be presented to the arbitrator.
         c. Witnesses for the Union and the Board shall be limited to discuss only those facts
     in dispute.
         d. In order to develop a full and complete basis for a decision, the arbitrator shall
     inquire fully into all matters at issue.
         3. Each arbitrator shall be given precedential reorganization decisions with the
     agreed upon reorganization standards. No other decisions shall be presented except
     relevant regular panel member decisions decided subsequent to July 1, 2001.
         4. At any time prior to issuance of an award, either party may decide that a case may
     have precedential value and shall be referred for an arbitration hearing pursuant to Article
     22C, and the rules applicable to that procedure shall apply. The next panel member in the
     established rotation shall be assigned the case.
         5. The arbitrator shall issue an award within five (5) school days of the arbitration
     hearing. Such award may be transmitted by facsimile directly to the parties, including the
     Board’s Office of Labor Relations and Collective Bargaining and the UFT’s
     Grievance/Arbitration Department. Arbitrators shall not issue written opinions unless
     jointly requested by the parties. The award is non-precedential unless the parties jointly
     request a formal written opinion.
         6. All sustained awards shall be implemented within five (5) school days of
     issuance, unless otherwise specified by the award, except that decisions rendered on or
     after October 10th shall be implemented no later than the next reorganization.
         7. The arbitrator shall retain jurisdiction until the next reorganization unless
     otherwise specified in the award.
         8. If an arbitrator is unable to complete his or her assignment before issuing his or
     her award, the American Arbitration Association shall appoint the next panel member in
     the established rotation.




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     G. Arbitrations Pursuant to the Expedited Procedure for Class Size and Group Size
     Grievances
         Arbitrations filed pursuant to the Expedited Procedure for Class Size and Group Size
     Grievances in B6 above shall be processed as follows:
         1. Each arbitrator shall hear up to five (5) schools’ class size and/or group size cases
     in a day. Where possible, schools within the same superintendency shall be scheduled on
     the same day.
         2. The arbitration hearing shall be expedited in the following manner:
         a. The Union shall provide the arbitrator with a standardized form, agreed upon by
     the parties, with the following agreed upon information at the beginning of each case:
         (1) Name ofTeacher (for identification purposes only)
         (2) School
         (3) District
         (4) Classes/Groups which are oversized
         (5) Registers of each class/group on the grade or subject/course name, as applicable,
     being grieved
         (6) Prior grievance history
         b. The UFT District Representative and Superintendent, or their designee, shall each
     have thirty (30) minutes to present their respective cases. The arbitrator may extend this
     time limit. Only disputed facts shall be presented to the arbitrator.
         c. Witnesses for the Union and the Board shall be limited to discuss only those facts
     which are in dispute.
         d. In order to develop a full and complete basis for a decision, the arbitrator shall
     inquire fully into all matters at issue.
         e. Each arbitrator shall be given precedential class/group size decisions with the
     agreed upon class/group size decision summaries. No other decisions shall be presented
     except relevant regular panel member decisions decided subsequent to July 1, 2001.
         f. At any time prior to issuance of an award, either party may decide that a case may
     have precedential value and shall be referred for an arbitration hearing pursuant to Article
     22C, and the rules applicable to that procedure shall apply. The next panel member in the
     established rotation shall be assigned the case.
         g. The arbitrator shall issue an award within five (5) school days of the arbitration
     hearing. Such award shall be transmitted by facsimile directly to the UFT District
     Representative, the Superintendent(s), the UFT Grievance/Arbitration Department and
     the Board’s Office of Labor Relations and Collective Bargaining. The award shall
     include the following information:
         (1) Sustained or denied.
         (2) If sustained, the guidelines for compliance (e.g., equalization, new class or
     monetary penalty).
         (3) If denied, the basis for the denial.
         Arbitrators shall not issue written opinions unlessjointly requested by the parties. The
     award is non-precedential unless the partiesjointly request a formal written Opinion.
         h. All sustained awards shall be implemented within five (5) school days of
     issuance. No class that ultimately complies with the contractual maximum class size
     limitations shall constitute an Article 7M3 class size exception, except that said awards
     can be used for grievance history background.



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         i. The arbitrator shall retain jurisdiction over his or her decision. If a sustained
     award is not implemented within five (5) school days, the arbitrator shall convene a
     conference between the Board’s Office of Labor Relations and Collective Bargaining and
     the UFT’s Grievance/Arbitration Department within five (5) school days, but no earlier
     than October 1st in the case of class size grievances.
         j. If the Board asserts that it cannot comply with the arbitrator’s award, it must set
     forth a plan of action to remedy the class size or group size violation. If the Board has
     acted in good faith, and the plan of action is not unreasonable, it will be accepted by the
     arbitrator.
         k. If the arbitrator concludes that the Board’s plan of action is not appropriate, he or
     she shall be empowered, on a non-precedential basis, to issue a supplemental award
     within five (5) school days, as follows: For elementary schools, the school may be
     directed to add one additional paraprofessional for every two oversized classes in a grade,
     or at the school’s option, one teacher for every four classes, with a minimum of one hour
     teacher coverage per oversize class. For all other school organizations, the school may be
     directed to implement a comparable remedy appropriate to the level. In the case of group
     size awards, the arbitrator may impose a monetary penalty.
     H. Arbitration of APPR Complaints
          l. Nothing in this section H shall constitute a waiver or modification of any
     provision of the Commissioner of Education’s June 1, 2013 Determination and Order
     (“Order”) or of any collective bargaining agreement, letter, other agreement between the
     DOE and the UFT, or applicable DOE by-laws, policies, and regulations of the
     Chancellor, or past practice unless expressly modified by the parties herein. Further,
     notwithstanding anything to the contrary, nothing in the Memorandum of Agreement
     entered into between the Board and the UFT in May 2014 modifying the collective
     bargaining agreements that expired on October 31, 2009 (or the 2009-2018 collective
     bargaining agreement covering teachers) shall be construed as altering or eliminating the
     APPR complaint process referenced herein and the Streamlined Process to Resolve
     APPR Compliance Issues described in the Order.
         2. For the purposes of this section H, any alleged violation of the Order which might
     be arbitrated shall be referred to as an "APPR Complaint," except for Union-Initiated
     grievances pertaining to the Order which shall be heard pursuant to the procedures
     provided for in this Agreement.
         3. Nothing herein shall constitute a waiver of, modification of, or addition to any right
     that either party or a UFT-represented employee has to raise any issue which, by the
     terms of the Order, may be the subject of an APPR Complaint.
         4. Beginning on October 26, 2013, APPR Complaints shall be processed between the
     parties in accordance with the procedures set forth herein.
         a. A teacher may present an APPR Complaint in writing to the head of school within
     five (5) school days after the teacher has knowledge of the act or condition which is the
     basis of the APPR Complaint.
         b. If an APPR Complaint is not resolved within twenty (20) school days of the
     presentation of the APPR Complaint to the head of school, within twenty (20) school
     days of that date, the UFT may file an Intent to Arbitrate the APPR Complaint with the
     DOE's Office of Labor Relations. The UFT may schedule an arbitration of any APPR
     Complaint for which it has filed an Intent to Arbitrate with the DOE's Office of Labor



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     Relations upon fifteen (15) school days' notice to the DOE's Office of Labor Relations,
     by filing a demand for arbitration which shall include a brief description of the specific
     facts of the underlying grievance and the provision of the Order that is alleged to have
     been violated, in order to allow the DOE to sufficiently understand and defend the
     grievance in the arbitration. The determination to proceed to arbitration of an APPR
     Complaint is within the sole discretion of the UFT. The parties agree to work in good
     faith to develop a system to be used generally for filing Intents to Arbitrate and demands
     for arbitration electronically.
          c.      At least five (5) school days prior to an arbitration of an APPR Complaint, the
     DOE shall provide the UFT with a brief written statement concerning the APPR
     Complaint, which shall set forth the DOE's position concerning the APPR Complaint
     with sufficient particularity for the UFT to understand and address it in the arbitration.
          5. As per the Order, the UFT may arbitrate up to one hundred fifty (150) APPR
     Complaints per school year. Each shall be considered one "slot" of arbitration and the
     parties agree that APPR Resolution Complaints shall be scheduled as slots.
          6. Notwithstanding the Order, for the 2013-14 school year there will be no
     prescribed number of slots per day scheduled. At the conclusion of the school year the
     parties will discuss whether to continue or modify this arrangement. Should the parties
     fail to come to an agreement on the scheduling of slots, they will follow the procedures
     set forth in the Order for scheduling APPR Complaints for arbitration.
          7. The parties agree to jointly select arbitrators from the parties' panel of arbitrators
     (Article 22C of this Agreement) to hear and decide APPR Complaint arbitrations. Absent
     an agreement and subject to consent by individual arbitrators, APPR Complaints will be
     assigned to arbitrators in the same manner as grievances are pursuant to Article 22 of this
     Agreement.
          8. Arbitration of APPR Complaint arbitration hearings shall be limited to one hour
     with each side allotted up to thirty (30) minutes to present their respective cases
     (including any cross-examination and breaks), except that the arbitrator hearing the
     APPR Resolution Assistance Requests may, under extraordinary circumstances, where
     the nature of the case demands it, extend the time of the arbitration hearing. The
     arbitrator shall issue a decision on the APPR Complaint within five (5) school days of the
     conclusion of the hearing. The arbitrator's decision shall be final and binding upon the
     parties and shall include a brief explanation of the basis for the decision. Decisions
     resulting from arbitrations of APPR Complaints shall not be precedential, admissible, or
     citable in any other proceeding except by mutual agreement of the parties, and to enforce
     the terms of the Decision.
          9. Either party, upon written notice to the other party (and the assigned arbitrator, if
     there is one) prior to the issuance of the decision may require that an APPR Complaint be
     scheduled for arbitration pursuant to the grievance procedure contained in Article 22 of
     this Agreement. However, if the DOE requires that an APPR Complaint be heard as an
     arbitration pursuant to this Agreement, the APPR Complaint arbitration shall not count
     towards the UFT's contractual number of arbitration dates. Should the UFT require that
     an APPR Complaint arbitration be heard as an arbitration pursuant to the CBA, all
     hearing dates shall count towards the UFT's contractual number of arbitration dates. An
     APPR Complaint arbitration heard pursuant to the parties' grievance procedure contained
     in the CBA shall have precedential weight in future APPR Grievance arbitrations. The



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     parties recognize the importance of these cases in helping to guide the evaluation process
     and are committed to having these cases adjudicated in an expeditious manner. Toward
     that end, cases heard under the grievance procedure contained in Article 22 shall be
     completed as soon as possible but no later than two (2) months from the date the Union
     initiates the scheduling of the case. Further the parties shall jointly request that the
     arbitrator issue an award within five (5) school days of the last hearing date, with an
     opinion to follow if necessary. Notwithstanding the above, nothing herein shall be
     interpreted to limit either party's ability to fully present its case. In unique circumstances,
     the arbitrator shall have the right, upon application by either party, to extend the two (2)
     month time frame.
          10.      The parties agree that this MOU shall not be construed or interpreted as a waiver
     or modification in any way of either party's rights, claims, and defenses regarding the
     arbitrability of any dispute arising pursuant to the Order. Nothing contained herein
     prohibits the UFT from filing a UI grievance which shall be processed in accordance with
     the procedures set forth in paragraph 2.

                                  ARTICLE TWENTY-THREE
                                    SPECIAL COMPLAINTS
         It is the declared objective of the parties to encourage the prompt and informal
     resolution of special complaints not covered by the grievance procedure and to dispose of
     such complaints as they arise and to provide recourse to orderly procedures for their
     adjustment.
     A. Definition
         A “special complaint” is a complaint by an employee in the bargaining unit that
     persons or groups are engaging in a course of harassing conduct, or in acts of
     intimidation, which are being directed against him/her in the course of his/her
     employment and that the school principal or community or assistant superintendent has
     not afforded the employee adequate relief against such course of conduct or acts of
     intimidation.
     B. Filing and Priority Handling
         A special complaint shall be promptly filed with the Chancellor by the Union. Such
     complaint shall receive expedited handling pursuant to this Article.
     C. Joint Investigation and Informal Resolution
         Within twenty-four (24) hours after the special complaint is filed with the Chancellor,
     the Board (“Department”) must notify the Union of the management member assigned to
     the joint investigating committee (“JIC”). The JIC shall consist of one representative
     designated by the Chancellor and one representative designated by the Union shall
     investigate the complaint at the school level to ascertain the facts and bring about a
     prompt resolution of the problem without resort to formal procedures. In the course of its
     investigation, the joint committee shall confer with the principal of the school, the
     community or assistant superintendent and other persons involved in the controversy. In
     view of the expedited nature of Special Complaint proceedings, the JIC shall complete its
     investigation in no more than one (1) school day, and as soon as possible but no later than
     seven (7) school days from the filing date. The Union shall notify the Department
     member of the of the JIC, the Chancellor’s designee or the Office of Labor Relations
     advocate assigned to the case at the fact finding stage, in writing as soon as possible,



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     should new allegations of harassment arise after the Committee has completed its
     investigation.
     D. Administrative Hearing and Continued Attempt at Informal Resolution
          If the complaint is not resolved by the joint investigating committee the Union shall
     request a hearing before the Chancellor. Within forty-eight (48) hours after receipt of the
     request for hearing, the Chancellor, or a representative designated by him/her, shall hold
     a hearing at which the joint investigating committee shall report its findings and all
     persons involved, including the affected employee, shall have an opportunity to be heard.
     The complaining employee shall be represented by the Union.
          At the hearing the Chancellor or his/her representative shall make every effort to
     resolve the complaint informally and all persons involved shall cooperate toward this
     end. The Chancellor’s hearing shall be completed in no more than one (1) school day.
     E. Decision of the Chancellor
          Within seventy-two (72) hours following the close of the hearing, the Chancellor
     shall notify all parties of his/her decision and the manner in which it shall be effectuated.
          Should the Department fail to process a complaint or issue a timely decision at any
     step, the Union shall be permitted to proceed to the next step in the Special Complaint
     process. The Union will not be prejudiced in any way by the Department’s failure to
     adhere to the Special Complaint procedure and the timelines therein. When the
     Department fails to issue a Chancellor’s decision within 72 hours following the close of
     the hearing, the case shall not count toward the annual cap of arbitration dates set forth in
     Article 22 if the Union decides to bring the complaint to fact finding.
          If within ten (10) school days after the close of a Chancellor’s level hearing the
     Department fails to issue a decision or position statement similar to the kind the parties
     utilize in expedited arbitration, the one day hearing cap for fact finding will be increased
     to two days for that particular case. None of the hearing dates will count toward the
     annual cap of arbitration dates set forth in Article 22. The fact finder shall manage the
     case with the two day cap as he or she deems appropriate. Rebuttal time shall be set
     aside for the Union to utilize if it so chooses.
          If within ten (10) school days prior to the date a special complaint is scheduled for
     fact finding the Department fails to issue a Chancellor’s level decision or a position
     statement similar to the kind the parties utilize in expedited arbitration, the one day
     hearing cap for fact finding will be increased to three days. None of the hearing days will
     count toward the annual cap of arbitration dates set forth in Article 22. The fact finder
     shall manage the case with the three day cap as he or she deems appropriate. Rebuttal
     time shall be set aside for the Union to utilize if it so chooses. The fact-finding hearing
     shall be completed in no more than one (1) school day.
     F. Fact FindingandRecommendations
          If the complaint is not resolved by the Chancellor, the Union shall submit it for
     hearing and fact finding before an arbitrator selected in accordance with Article 22C of
     this Agreement. The submission shall be made within ten (10) school days after the
     issuance of the Chancellor’s decision. The fact-finding hearing shall be completed in no
     more than one (1) school day.
          The voluntary labor arbitration rules of the American Arbitration Association shall
     apply to the proceeding insofar as they relate to the hearing, fees and expenses.




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         The fact finder shall render findings not later than seventy-two (72) hours from the
     date of the close of the hearings or, if oral hearings have been waived, then from the date
     of transmitting the final statements and proofs to the fact finder. The findings of fact
     shall be in writing. The fact finder shall limit his/her findings strictly to the question
     whether the employee’s complaint has been substantiated by the evidence. If the fact
     finder finds the complaint to be substantiated and unremedied, he/she shall recommend
     an appropriate remedy.
         The fact finder shall not interpret or apply the provisions of this Agreement or
     exercise any of the other functions specified in Article 22 of this contract, nor shall he/she
     exercise any of the powers conferred pursuant to Section 3020-a of the Education Law.
     G. Board Consideration
         Within ten (10) days after receipt of the fact finder’s report, the Board shall make a
     determination.
     H. Expansion of Special Complaint Procedure to Include Supervisors
         Complaints against supervisors may be considered in an expeditious manner in
     accordance with the provisions of this Article.

                                    ARTICLE TWENTY-FOUR
                                PROFESSIONAL CONCILIATION
         The Board and the Union agree that professional involvement of teachers in
     educational issues should be encouraged. However, it is recognized that there may be
     differences in professionaljudgment.
     A. School Level
         1. Where differences related to school-based decisions in one of the following areas
     cannot be resolved, a conciliation process will be available to facilitate the resolution of
     these differences:
         a. Curriculum mandates
         b. Textbook selection
         c. Program offerings and scheduling
         d. Student testing procedures and appraisal methodology
         e. Pedagogical and instructional strategy, technique and methodology.
         In order to utilize the conciliation process, the UFT chapter may request, through the
     Union, the service of (a) person(s) identified as expert in conciliation. Selections of such
     person(s) will be made by the Board and the Union from a list of conciliators mutually
     agreed upon by the Board and the Union.
         2. Within five school days, the Board Coordinator will contact the appropriate
     superintendent who will promptly advise the Board Coordinator as to whether he/she will
     directly address the issue.
         a. If the issue is addressed by the superintendent, he/she should resolve it within ten
     school days. If not resolved, the Board Coordinator will assign a conciliator at the end of
     that period.
         b. If the superintendent does not respond to the Board Coordinator or advises that
     he/she is not addressing the issue, the Board Coordinator will assign a Conciliator within
     five school days.




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          3. The Conciliator will initiate the conciliation process within ten days. This stage
     of the process is expected to be completed within a month unless the participants,
     including the Conciliator, believe it beneficial to continue the process.
          4. At the conclusion of the conciliation:
          a. If a resolution is reached, the Conciliator will prepare an agreement for both
     parties to confirm and sign. It is expected that both parties will adhere in good faith to
     the agreement. Where one of the parties believes that a good faith effort is not being
     made to adhere to the agreement, the party will contact the superintendent and district
     representative who will assess the situation and take actions as necessary to assure
     implementation of the agreement. If the superintendent and district representative cannot
     resolve it, the issue will be forwarded to the Chancellor and Union President for
     resolution.
          b. If there is no resolution, the Conciliator will send letters to the parties confirming
     termination of the conciliation process. In addition, the Conciliator will send letters to
     the Board and Union Coordinators advising them of the same.
     B. District Level
          1. A teacher(s) who wishes to conciliate a professional difference regarding a
     community school district, high school or Citywide special education superintendency
     policy/procedure shall forward it to the UFT school chapter for review. If appropriate,
     the chapter will forward it to the district representative who will present the issue to the
     superintendent.
          a. If the issue is addressed by the superintendent, he/she should resolve it within ten
     school days.
          b. If the issue is not addressed at the end of that period, or, if the superintendent
     elects not to address the issue in this fashion, the district representative may refer the
     issue for conciliation to the UFT Coordinator.
          2. After a decision to proceed with conciliation has been made the Board
     Coordinator will assign a Conciliator within five school days. The Conciliator will
     initiate the conciliation process within ten school days with the district representative and
     the superintendent. This stage of the conciliation process is expected to be completed
     within a month unless the participants, including the Conciliator, believe it beneficial to
     continue the process.
          3. At the conclusion of the conciliation:
          a. If a resolution is reached, the Conciliator will prepare an agreement for both
     parties to confirm and sign. It is understood that for any agreement that requires a waiver
     of a policy adopted by a community school board, the superintendent would be expected
     to seek the waiver. It is expected that both parties will adhere in good faith to the
     agreement.
          b. If there is no resolution, the Conciliator will send letters to the parties and the
     Board and Union Coordinators confirming termination of the conciliation process.

                                  ARTICLE TWENTY-FIVE
                                    CHARTER SCHOOLS
     A. Conversion Charter Schools
        Pursuant to Article 56 of the New York State Education Law (the “Charter Schools
     Law”) an existing public school may be converted to a charter school. As modified



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     below, teachers of a Conversion Charter School shall be subject to this Collective
     Bargaining Agreement, in accordance with the Charter Schools Law, including but not
     limited to salary, medical, pension and welfare benefits and applicable due process
     procedures. The provisions regarding the right of return which follow apply to teachers
     in such Board schools that are converted to charter schools (“Conversion Charter
     Schools”).
          1. At the point of conversion of a Board school to a Conversion Charter School,
     incumbent employees who choose not to remain as employees in the school as a charter
     school will have the placement rights contained in Articles 17 and 18of this Agreement.
         2. The Board agrees to extend leaves beyond the statutory two year period to the full
     term of their employment in the charter school for Board employees who become
     Conversion Charter School employees. Such employees shall have a right to return to
     their former geographic district or superintendency in accordance with their seniority.
     For such employees, service in a Conversion Charter School and Board service shall be
     combined for all contractual purposes where length of service is a factor.
         3. Conversion Charter School pedagogical employees placed at the Board shall be
     eligible for up to a total of two years credit toward tenure based upon satisfactory service
     at a Conversion Charter School and any applicable prior Board service.
         4. The contractual salary limitations for Conversion Charter School employees
     placed at the Board shall not apply to certified pedagogical employees.
         5. If a Conversion Charter School closes or if the employee is laid off due to
     economic necessity beyond their control, certified pedagogical Conversion Charter
     School employees who were not Board employees when hired by the Conversion Charter
     School shall have placement rights in the Board equal to a certified provisional teacher
     with no seniority.
         6. If a Conversion Charter School closes or if the employee is laid off due to
     economic necessity beyond their control, uncertified pedagogical Conversion Charter
     School employees shall have no placement rights in the Board, but the Board will use its
     best efforts to place such employees in available vacancies.
         7. Conversion Charter Schools shall be required to maintain the same medical,
     pension and welfare benefits as apply to Board employees covered by these agreements.
         Except as otherwise set forth herein, pursuant to and in accordance with the Charter
     Schools Law, the terms and conditions of this Collective Bargaining Agreement apply to
     teachers serving in the Converted Charter Schools. However, nothing shall limit the
     Board of Trustees of the converted Charter School from exercising their rights to modify
     the Collective Bargaining Agreement for the purposes of employment in the charter
     school, in accordance with and pursuant to the provisions of Section 2854(3)(b) of the
     Charter Schools Law.
         While the Charter Schools Law, as written, provides that the decision to apply for
     conversion of an existing school resides in the parents of the student body, the Board
     believes the participation of the UFT and its members is critical in this process. The
     successful conversion of schools to the Charter model necessitates the involvement of the
     faculty at these schools. Because of this, the Board fully intends to consult with the UFT
     in the conversion process, and will seek a collaborative atmosphere in moving forward.
     Towards that end, in Board schools that are under consideration for conversion to Charter
     School status, if 50% or more of the staff chooses to stay at the Board of Education, the



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     Board and the Union shall undertake a joint review of the impact of conferring charter
     status on the school.
         Also, for Board schools that convert to charter status, the Memorandum of
     Understanding between the Board and the Charter School shall provide that the grievance
     procedure for UFT employees, unless and until modified in accordance with the Charter
     School Law, shall be the contractual grievance procedure modified to provide that Step 1
     shall be at the level of the head of the school, Step 2 shall be to the Board of Directors of
     the school and Step 3 shall be to binding arbitration.
     B. New Charter Schools
         It is agreed that UFT-represented employees who leave the Board to serve in a new
     charter school shall have the following rights:
         1. Employees shall be granted a two year leave of absence;
         2. Employees returning from a leave of absence shall be credited for time served at
     the charter school toward their placement on the salary schedule; and
         3. Employees shall have a right to return to their former geographic district or
     superintendency in accordance with their seniority.

                                     ARTICLE TWENTY-SIX
       PROGRESSIVE REDESIGN OPPORTUNITY SCHOOLS FOR EXCELLENCE
                                              (PROSE)
     A. Mission
         1. To achieve success and outstanding results through a truly collaborative
     environment for all schools at all levels among the key stakeholders responsible for
     educating New York City’s schoolchildren - teachers and other school-based staff,
     principals, and parents.
         2. To build this partnership on a basis of collaboration and mutual respect that
     empowers school-based staff (including administrators) and enables students to leam,
     thrive, and achieve mastery.
         3. To treat instructional staff as professionals by empowering them and holding
     them responsible for providing the highest quality of teaching.
         4. To foster continuous innovation in the way that labor and management,
     principals, supervisors, and teachers and other school-based staff share information, share
     decision-making, and share accountability for student achievement and sound educational
     outcomes.
         5. To empower school-based staff to embrace new ways of teaching children, even if
     this means modifying certain existing regulations and work rules. This includes
     reexamining current instructional practice, such as the school day and school year,
     student assessment, evaluation, and class size.
         6. To leverage technology in instruction to engage students and improve
     professional development. This partnership will use technology to improve the
     assessment of student learning, workforce engagement, and parent satisfaction.
         7. To usejoint training and labor-management facilitators.
         8. To give existing schools the opportunity and flexibility to change certain rules and
     challenge the traditional way of doing things - provided they meet specific, measurable
     performance targets.
         9. To demonstrate creativity and innovation in the pursuit of educational excellence.



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     B. Joint PROSE Panel.
           1. Upon ratification of the successor collective bargaining agreements to the 2007-
     2009 collective bargaining agreements, a collaborative, decision-making Panel made up
     of an equal number of members selected by the UFT President and the Chancellor will
     invite school teams of UFT-represented employees and CSA-represented administrators
     to submit proposals for five years long for participation in the PROSE program where
     schools with real educator voice and decision making input and/or authority are permitted
     to design schools that work best for the students and communities they serve.
          2. The program will begin as soon as practicable, consisting of a mix of high- and
     low achieving schools, and a mix of elementary, middle, and high schools.
          3. The Panel will set a goal of implementing two hundred (200) PROSE Program
     schools over the next five years that will be overseen and report into the office of the
     Senior Deputy Chancellor.
          4. Proposals will be for a maximum of five (5) years. The Panel may end a school’s
     participation in the program only if the school is not succeeding.
     C. How the Joint Panel screens and evaluates proposals.
           1. Proposals will be screened based on the extent to which they demonstrate:
          a. Partnership between UFT-represented employees and CSA-represented
     administrators in decision-making;
          b. A proven record of previous collaboration and success (which includes, but is not
     limited to, academic success on assessments);
          c. Creativity and flexibility in modifying DOE-regulations and CBA provisions as
     specified in section C(l)(j);
          d. A school community where many voices are listened to;
          e. Strong buy-in from both UFT-represented employees and CSA-represented
     administration;
          f. A commitment to capacity-building and sustainability from the Board (DOE),
     UFT and CSA;
          g. Jointly-designed andjob-embedded professional development and training;
          h. A five (5) year commitment to the proposal;
          i. Measurable, reportable performance targets (defined more broadly than academic
     success on assessments). If any school does not meet its targets, the panel may take away
     its PROSE status at the end of five years or sooner;
          j. Proposals may (but do not have to) include changes to this Agreement that relate
     to (i) configuration of the existing work hours and/or work year (Article 6), including
     extending the school day and/or year, provided there is no diminution of annual salary;
     (ii) programs, assignments and teaching conditions in schools and programs (Article 7);
     professional support for new teachers (Article 8G); (iii) evaluation; (iv) professional
     development assignments and positions (Article 11 IV); (v) working conditions of per
     session teachers (Articles 15C2 and 15C4); (vi) Step 1 of the grievance process (Article
     22Bla); and (vii) transfers to the school (Article 18A, paragraph 1, sentence 2). The
     Chancellor and UFT President may agree to other articles of this Agreement that schools
     may propose to change. Proposals may (but do not have to) include modifications to
     Chancellor’s Regulations except those affecting student safety or implementing state and
     federal laws and regulations.




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          2. Proposals must include:
          a. Evidence of the school's current success, or if a group, at least one (1) school in
     the group's success in providing a quality education to students. The Panel will consider
     multiple measures of success, not only academic measures. Schools that serve high-need
     students and schools without screened or selective admissions are especially encouraged
     to apply.
          b. A list of the types of innovative, teacher-led practices that the school currently
     uses or is planning to use to promote student success. Examples could include: school-
     based staff selection procedures, UFT-represented employee representation on and
     powers of current school committees that positively influence the quality of instruction
     delivered to students, School-Based options for scheduling or other policies;
          c. A specific description of how the school intends to use the contractual and
     regulatory flexibility of the PROSE program to provide employees with decision-making
     input and authority in the school and build on its successes during the duration of the
     plan. As part of their proposals, schools may choose to establish committees consisting
     of key school-based stakeholders to examine resource allocation, schedules, curriculum,
     technology, professional development, hiring, and parent engagement.
          d. A proposed budget for the initial year, including both current budgetary resources
     and any requested supplementary funds. No such supplemental funds are guaranteed.
     The UFT and DOE will commit to pursuing additional outside funding to support
     innovative school plans, where feasible. The PROSE program is not contingent on
     securing additional outside funding.
          e. A mechanism for PROSE Program schools to regularly report their progress to the
     Panel including, but not limited to, annual goals and budgets.
     D. How a school becomes a PROSE Program School.
          1. Applying schools must submit a proposal which has been approved by the School
     Leadership Team oftheir school.
          2. To be accepted, the UFT and DOE Panel members must agree to accept the
     proposal and allow a school's participation in the PROSE program. Once approved by
     the Panel (including any required revisions), a proposal is submitted to the school for
     adoption.
          3. The proposal may be implemented only upon ratification by sixty-five percent
     (65%) of all those UFT-represented employees voting and acceptance by the school's
     principal. Proposals may also be modified by the same ratification and approval process
     set forth in this subsection D.
          4. UFT-represented employees who wish to transfer out of a school that has been
     approved to participate in the PROSE program may do so on the same basis as similarly
     situated employees, with the exception that teachers who wish to transfer out of the
     school for the 2014-15 school year may do so by October 15th without Principal release
     if they find another position in accordance with the applicable CBA.
          5. If accepted and approved as provided herein, the UFT, DOE and the applying
     school will implement the proposal as approved.
          6. Individual schools or groups of schools may apply; however, preference will be
     given to groups of schools which demonstrate a mix of types of schools. Where a group
     of schools apply, each school in the group must ratify the proposal by sixty-five percent
     (65%), as provided herein, in order to participate.



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         7. Participation in the PROSE program can be renewed at the expiration of the initial
     proposal term, in accordance with the Panel’s approval, and with ratification by sixty-five
     percent (65%) of school’s staff, and approval by the school's principal, and a vote of the
     school leadership team.
         8. The Panel shall, as soon as practicable, implement the PROSE program, adopt
     application procedures, and accept proposals from schools.
         9. The DOE and UFT will collaborate in developing pre-application and post-
     application workshops to be delivered during the 2014-15 school year for applications
     which will be implemented after the 2014-15 school year.
     E. New Schools.
         1. The DOE and the UFT will develop an alternative process for the creation of new
     schools that are proposed by either teachers and parents.
         2. These schools can be proposed in addition to the two hundred (200) PROSE
     Program Schools and if approved in accordance with the agreed upon procedures will
     have the same flexibility with regard to Chancellor’s regulations and work rules as
     PROSE Program Schools.

                                   ARTICLE TWENTY-SEVEN
                           CONFORMITY TO LAW-SAVING CLAUSE
        A. If any provision of this Agreement is or shall at any time be contrary to law, then
     such provision shall not be applicable or performed or enforced, except to the extent
     permitted by law and any substitute action shall be subject to appropriate consultation
     and negotiation with the Union.
        B. In the event that any provision of this Agreement is or shall at any time be
     contrary to law, all other provisions of this Agreement shall continue in effect.

                                  ARTICLE TWENTY-EIGHT
                                      NO-STRIKE PLEDGE
         The Union and the Board recognize that strikes and other forms of work stoppages by
     teachers are contrary to law and public policy. The Union and the Board subscribe to the
     principle that differences shall be resolved by peaceful and appropriate means without
     interruption of the school program. The Union therefore agrees that there shall be no
     strikes, work stoppages, or other concerted refusal to perform work, by the employees
     covered by this Agreement, nor any instigation thereof.

                                     ARTICLE TWENTY-NINE
                                           DEFINITIONS
         A. Wherever the term “Board” is used in the Agreement it shall mean the City
     Board, it being understood, nevertheless, that this contract is binding on all community
     school districts in accordance with Section 2590 of the Education Law.
         B. Wherever the term “community school board” or “community board” is used in
     the Agreement it shall mean the Board of Education of a community district.
         C. Where applicable herein “seniority in the school” shall be determined by the
     number of years of continuous service in the school as a regularly appointed teacher and
     as a regular substitute teacher. In the case of teachers who were excessed into the school,
     continuous service in the school shall include in addition the number of years of



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     continuous regular and regular substitute service in the previous school. Continuity of
     service shall not be deemed to be interrupted by absence determined to be due to illness,
     accident or injury suffered in line of duty or by time spent in military service, the Peace
     Corps or VISTA, or by layoff or leave without pay.

                                        ARTICLE THIRTY
                                NOTICE-LEGISLATIVE ACTION
         The following Article is required by the Public Employee’s Fair Employment Act, as
     amended by Section 204a, approved March 10, 1969.
         It is agreed by and between the parties that any provision of this Agreement requiring
     legislative action to permit its implementation by amendment of law or by providing the
     additional funds therefor, shall not become effective until the appropriate legislative body
     has given approval.

                                    ARTICLE THIRTY-ONE
                                    COPY OF AGREEMENT
        The parties will have available copies of this Agreement upon request.

                                  ARTICLE THIRTY-TWO
                          INCORPORATION OF DETERMINATION
                                         AND AWARD
         The determination and award of the arbitration panel in Case No. IA-1-85 is
     incorporated into this Agreement and made a part hereof.

                                   ARTICLE THIRTY-THREE
                                            DURATION
         This Agreement and each of its provisions shall be effective as of November 1, 2009,
     and shall continue in full force and effect through November 30, 2018. Negotiations for
     a subsequent Agreement will commence no sooner than April 30, 2018 upon request of
     either party filed two weeks in advance or as otherwise mutually agreed.


                                        APPENDIX A
                                   SALARY SCHEDULES OF
                                   DAY SCHOOL TEACHERS

                                                  I

         In any and all schedules hereinafter set forth advancement by increments shall be
     conditioned upon regulations adopted by the Board of Education upon recommendation
     of the Chancellor.
         Whenever, in the schedules which follow, provision is made for the payment of a
     salary differential based upon the completion of additional approved study, the certificate
     issued by the Chancellor shall provide that the effective date thereof shall be determined
     in accordance with appropriate regulations issued by the Chancellor with the approval of
     the Board of Education.



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                                                 II

     A. Salaries and Differentials
         1. Salary Schedules and Differential Eligibility
         The specified increases in salaries and rates of pay set forth in Appendix A (or
     elsewhere in this Agreement or in any Appendix) for day school teachers or for any other
     employees covered by this Agreement shall apply in accordance with their terms to
     employees covered by this Agreement.
         2. Special Education Differential
         All special education teachers currently receiving the additional compensation set
     forth in Appendix A 11 F c or g of the 1975-78 Agreement shall continue to receive such
     additional compensation at the rate in effect on September 8, 1978 so long as they serve
     in any special education assignment. A teacher serving in a high school who is receiving
     the additional compensation hereunder and who is involuntarily assigned to a program
     which would disqualify him/her from continuing to receive such additional compensation
     shall have the opportunity to transfer to a vacancy for which he/she is qualified and
     which would enable him/her to continue to receive the additional compensation.
     Teachers newly assigned or employed in special education assignments after September
     8, 1978 shall not be eligible for the additional compensation set forth therein.
     B. Salary Schedules
         The approximate qualifications which appear at the head of each column marked
     “Descriptive Designation” are for general descriptive purposes only. In order to be
     placed on a particular schedule, the teacher must meet, in full, the qualifications
     hereinafter described.
         All regularly appointed teachers will advance to the next step in the salary schedule
     on the anniversary date of their appointment and on March 1 of each year until they have
     advanced to the last step of the salary schedule.
         Regular substitute teachers will advance to the next step in the salary schedule upon
     completion of each full year of regular substitute service and on March 1 of each such
     year but not beyond Step 4A of the salary schedule.
         Full-term and other-than-occasional per diem substitutes serving in full-time
     vacancies shall be compensated at the first salary step in Schedule Cl, or at such salary
     step and rate as may be payable pursuant to a certificate of salary fixation issued by the
     Chancellor. Such per diem substitute teachers will advance to the next step in the salary
     schedule upon completion of 170 school days of service and on March 1, following the
     completion of each such unit of 170 school days of service but not beyond Step 4A of the
     salary schedule.
         Full-term and other-than-occasional per diem substitutes serving in regularly
     scheduled part time positions shall be compensated for each full day of service at the rate
     of one two-hundredth of the first salary step of Schedule Cl, or at the rate of one two-
     hundredth of such salary step and rate as may be payable pursuant to a certificate of
     salary fixation issued by the Chancellor. Such per diem substitute teachers will advance
     to the next step in the salary schedule upon completion of 170 school days of service and
     on March 1, following the completion of each such unit of 170 school days of service but
     not beyond Step 4A of the salary schedule.



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                            TEACHER SALARY SCHEDULE
                                  MAY 19, 2008


               BA                  BA+30               EARNED                MA+30     EARNED
                                                       MA OR                           MA OR
                                                       EQUIV                           EQUIV+30
               Cl        Cl+PD     C2        C2+ID     C2+PD     C2+ID+PD    C6        C6+PD
      1A       $45,530   $49,831   $47,124   $50,071   $51,425   $54,372     $53,019   $57,320
      IB       $45,530   $49,831   $47,124   $50,071   $51,425   $54,372     $53,019   $57,320
      2A       $48,434   $52,735   $50,028   $52,975   $54,329   $57,276     $55,923   $60,224
      2B       $48,434   $52,735   $50,028   $52,975   $54,329   $57,276     $55,923   $60,224
      3A       $48,836   $53,137   $50,430   $53,377   $54,731   $57,678     $56,325   $60,626
      3B       $48,836   $53,137   $50,430   $53,377   $54,731   $57,678     $56,325   $60,626
      4A       $49,543   $53,844   $51,137   $54,084   $55,438   $58,385     $57,032   $61,333
      4B       $49,543   $53,844   $51,137   $54,084   $55,438   $58,385     $57,032   $61,333
      5A       $50,153   $54,454   $51,747   $54,694   $56,048   $58,995     $57,642   $61,943
      5B       $50,153   $54,454   $51,747   $54,694   $56,048   $58,995     $57,642   $61,943
      6A       $50,812   $55,113   $52,406   $55,353   $56,707   $59,654     $58,301   $62,602
      6A+L5    $51,812   $56,113   $53,406   $56,353   $57,707   $60,654     $59,301   $63,602
      6B       $51,744   $56,045   $53,338   $56,285   $57,639   $60,586     $59,233   $63,534
      6B+L5    $52,744   $57,045   $54,338   $57,285   $58,639   $61,586     $60,233   $64,534
      7A       $53,128   $57,429   $54,722   $57,669   $59,023   $61,970     $60,617   $64,918
      7A+L5    $54,128   $58,429   $55,722   $58,669   $60,023   $62,970     $61,617   $65,918
      7B       $56,370   $60,671   $57,964   $60,911   $62,265   $65,212     $63,859   $68,160
      7B+L5    $57,370   $61,671   $58,964   $61,911   $63,265   $66,212     $64,859   $69,160
      8A       $59,404   $63,705   $60,998   $63,945   $65,299   $68,246     $66,893   $71,194
      8A+L5    $60,404   $64,705   $61,998   $64,945   $66,299   $69,246     $67,893   $72,194
      8B       $63,006   $67,307   $64,600   $67,547   $68,901   $71,848     $70,495   $74,796
      8B+L5    $64,006   $68,307   $65,600   $68,547   $69,901   $72,848     $71,495   $75,796
      8B+L10   $67,095   $71,396   $68,689   $71,636   $72,990   $75,937     $74,584   $78,885
      8B+L13   $69,197   $73,498   $70,791   $73,738   $75,092   $78,039     $76,686   $80,987
      8B+L15   $73,636   $77,937   $75,230   $78,177   $79,531   $82,478     $81,125   $85,426
      8B+L18   $74,800   $79,101   $76,394   $79,341   $80,695   $83,642     $82,289   $86,590
      8B+L20   $83,412   $87,713   $85,006   $87,953   $89,307   $92,254     $90,901   $95,202
      8B+L22   $88,259   $92,560   $89,853   $92,800   $94,154   $97,101     $95,748   $100,049
      L5       $1,000
      L10      $4,089
      L13      $6,191
      L15      $10,630
      L18      $11,794
      L20      $20,406
      L22      $25,253




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                                        MAY 1, 2013

               BA                   BA+30               EARNED                MA+30     EARNED
                                                        MA OR                           MA OR
                                                        EQUIV                           EQUIV+30
                Cl        Cl+PD     C2        C2+ID     C2+PD     C2+ID+PD    C6        C6+PD
      1A        $45,985   $50,329   $47,595   $50,571   $51,939   $54,915     $53,549   $57,893
      IB        $45,985   $50,329   $47,595   $50,571   $51,939   $54,915     $53,549   $57,893
      2A        $48,918   $53,262   $50,528   $53,504   $54,872   $57,848     $56,482   $60,826
      2B        $48,918   $53,262   $50,528   $53,504   $54,872   $57,848     $56,482   $60,826
      3A        $49,324   $53,668   $50,934   $53,910   $55,278   $58,254     $56,888   $61,232
      3B        $49,324   $53,668   $50,934   $53,910   $55,278   $58,254     $56,888   $61,232
      4A        $50,038   $54,382   $51,648   $54,624   $55,992   $58,968     $57,602   $61,946
      4B        $50,038   $54,382   $51,648   $54,624   $55,992   $58,968     $57,602   $61,946
      5A        $50,655   $54,999   $52,265   $55,241   $56,609   $59,585     $58,219   $62,563
      5B        $50,655   $54,999   $52,265   $55,241   $56,609   $59,585     $58,219   $62,563
      6A        $51,320   $55,664   $52,930   $55,906   $57,274   $60,250     $58,884   $63,228
      6A+L5     $52,330   $56,674   $53,940   $56,916   $58,284   $61,260     $59,894   $64,238
      6B        $52,261   $56,605   $53,871   $56,847   $58,215   $61,191     $59,825   $64,169
      6B+L5     $53,271   $57,615   $54,881   $57,857   $59,225   $62,201     $60,835   $65,179
      7A        $53,659   $58,003   $55,269   $58,245   $59,613   $62,589     $61,223   $65,567
      7A+L5     $54,669   $59,013   $56,279   $59,255   $60,623   $63,599     $62,233   $66,577
      7B        $56,934   $61,278   $58,544   $61,520   $62,888   $65,864     $64,498   $68,842
      7B+L5     $57,944   $62,288   $59,554   $62,530   $63,898   $66,874     $65,508   $69,852
      8A        $59,998   $64,342   $61,608   $64,584   $65,952   $68,928     $67,562   $71,906
      8A+L5     $61,008   $65,352   $62,618   $65,594   $66,962   $69,938     $68,572   $72,916
      8B        $63,636   $67,980   $65,246   $68,222   $69,590   $72,566     $71,200   $75,544
      8B+L5     $64,646   $68,990   $66,256   $69,232   $70,600   $73,576     $72,210   $76,554
      8B+L10    $67,766   $72,110   $69,376   $72,352   $73,720   $76,696     $75,330   $79,674
      8B+L13    $69,889   $74,233   $71,499   $74,475   $75,843   $78,819     $77,453   $81,797
      8B+L15    $74,372   $78,716   $75,982   $78,958   $80,326   $83,302     $81,936   $86,280
      8B+L18    $75,548   $79,892   $77,158   $80,134   $81,502   $84,478     $83,112   $87,456
      8B+L20    $84,246   $88,590   $85,856   $88,832   $90,200   $93,176     $91,810   $96,154
      8B+L22    $89,142   $93,486   $90,752   $93,728   $95,096   $98,072     $96,706   $101,050
      L5       $1,010
      L10      $4,130
      L13      $6,253
      L15      $10,736
      L18      $11,912
      L20      $20,610
      L22      $25,506




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                                        MAY 1, 2014


               BA                   BA+30               EARNED                MA+30     EARNED
                                                        MA OR                           MA OR
                                                        EQUIV                           EQUIV+30
                Cl        Cl+PD     C2        C2+ID     C2+PD     C2+ID+PD    C6        C6+PD
      1A        $46,445   $50,832   $48,071   $51,077   $52,459   $55,464     $54,085   $58,472
      IB        $46,445   $50,832   $48,071   $51,077   $52,459   $55,464     $54,085   $58,472
      2A        $49,407   $53,794   $51,033   $54,039   $55,421   $58,426     $57,047   $61,434
      2B        $49,407   $53,794   $51,033   $54,039   $55,421   $58,426     $57,047   $61,434
      3A        $49,817   $54,204   $51,443   $54,449   $55,831   $58,836     $57,457   $61,844
      3B        $49,817   $54,204   $51,443   $54,449   $55,831   $58,836     $57,457   $61,844
      4A        $50,538   $54,925   $52,164   $55,170   $56,552   $59,557     $58,178   $62,565
      4B        $50,538   $54,925   $52,164   $55,170   $56,552   $59,557     $58,178   $62,565
      5A        $51,162   $55,549   $52,788   $55,794   $57,176   $60,181     $58,802   $63,189
      5B        $51,162   $55,549   $52,788   $55,794   $57,176   $60,181     $58,802   $63,189
      6A        $51,833   $56,220   $53,459   $56,465   $57,847   $60,852     $59,473   $63,860
      6A+L5     $52,853   $57,240   $54,479   $57,485   $58,867   $61,872     $60,493   $64,880
      6B        $52,784   $57,171   $54,410   $57,416   $58,798   $61,803     $60,424   $64,811
      6B+L5     $53,804   $58,191   $55,430   $58,436   $59,818   $62,823     $61,444   $65,831
      7A        $54,196   $58,583   $55,822   $58,828   $60,210   $63,215     $61,836   $66,223
      7A+L5     $55,216   $59,603   $56,842   $59,848   $61,230   $64,235     $62,856   $67,243
      7B        $57,503   $61,890   $59,129   $62,135   $63,517   $66,522     $65,143   $69,530
      7B+L5     $58,523   $62,910   $60,149   $63,155   $64,537   $67,542     $66,163   $70,550
      8A        $60,598   $64,985   $62,224   $65,230   $66,612   $69,617     $68,238   $72,625
      8A+L5     $61,618   $66,005   $63,244   $66,250   $67,632   $70,637     $69,258   $73,645
      8B        $64,272   $68,659   $65,898   $68,904   $70,286   $73,291     $71,912   $76,299
      8B+L5     $65,292   $69,679   $66,918   $69,924   $71,306   $74,311     $72,932   $77,319
      8B+L10    $68,443   $72,830   $70,069   $73,075   $74,457   $77,462     $76,083   $80,470
      8B+L13    $70,588   $74,975   $72,214   $75,220   $76,602   $79,607     $78,228   $82,615
      8B+L15    $75,115   $79,502   $76,741   $79,747   $81,129   $84,134     $82,755   $87,142
      8B+L18    $76,303   $80,690   $77,929   $80,935   $82,317   $85,322     $83,943   $88,330
      8B+L20    $85,088   $89,475   $86,714   $89,720   $91,102   $94,107     $92,728   $97,115
      8B+L22    $90,033   $94,420   $91,659   $94,665   $96,047   $99,052     $97,673   $102,060
      L5       $1,020
      L10      $4,171
      L13      $6,316
      L15      $10,843
      L18      $12,031
      L20      $20,816
      L22      $25,761




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                                   SEPTEMBER 1, 2014


               BA                  BA+30               EARNED                MA+30     EARNED
                                                       MA OR                           MA OR
                                                       EQUIV                           EQUIV+30
               Cl        Cl+PD     C2        C2+ID     C2+PD     C2+ID+PD    C6        C6+PD
      1A       $48,445   $52,832   $50,071   $53,077   $54,459   $57,464     $56,085   $60,472
      IB       $48,445   $52,832   $50,071   $53,077   $54,459   $57,464     $56,085   $60,472
      2A       $49,407   $53,794   $51,033   $54,039   $55,421   $58,426     $57,047   $61,434
      2B       $49,407   $53,794   $51,033   $54,039   $55,421   $58,426     $57,047   $61,434
      3A       $49,817   $54,204   $51,443   $54,449   $55,831   $58,836     $57,457   $61,844
      3B       $49,817   $54,204   $51,443   $54,449   $55,831   $58,836     $57,457   $61,844
      4A       $50,538   $54,925   $52,164   $55,170   $56,552   $59,557     $58,178   $62,565
      4B       $50,538   $54,925   $52,164   $55,170   $56,552   $59,557     $58,178   $62,565
      5A       $51,162   $55,549   $52,788   $55,794   $57,176   $60,181     $58,802   $63,189
      5B       $51,162   $55,549   $52,788   $55,794   $57,176   $60,181     $58,802   $63,189
      6A       $51,833   $56,220   $53,459   $56,465   $57,847   $60,852     $59,473   $63,860
      6A+L5    $52,853   $57,240   $54,479   $57,485   $58,867   $61,872     $60,493   $64,880
      6B       $52,784   $57,171   $54,410   $57,416   $58,798   $61,803     $60,424   $64,811
      6B+L5    $53,804   $58,191   $55,430   $58,436   $59,818   $62,823     $61,444   $65,831
      7A       $54,196   $58,583   $55,822   $58,828   $60,210   $63,215     $61,836   $66,223
      7A+L5    $55,216   $59,603   $56,842   $59,848   $61,230   $64,235     $62,856   $67,243
      7B       $57,503   $61,890   $59,129   $62,135   $63,517   $66,522     $65,143   $69,530
      7B+L5    $58,523   $62,910   $60,149   $63,155   $64,537   $67,542     $66,163   $70,550
      8A       $60,598   $64,985   $62,224   $65,230   $66,612   $69,617     $68,238   $72,625
      8A+L5    $61,618   $66,005   $63,244   $66,250   $67,632   $70,637     $69,258   $73,645
      8B       $64,272   $68,659   $65,898   $68,904   $70,286   $73,291     $71,912   $76,299
      8B+L5    $65,292   $69,679   $66,918   $69,924   $71,306   $74,311     $72,932   $77,319
      8B+L10   $68,443   $72,830   $70,069   $73,075   $74,457   $77,462     $76,083   $80,470
      8B+L13   $70,588   $74,975   $72,214   $75,220   $76,602   $79,607     $78,228   $82,615
      8B+L15   $75,115   $79,502   $76,741   $79,747   $81,129   $84,134     $82,755   $87,142
      8B+L18   $76,303   $80,690   $77,929   $80,935   $82,317   $85,322     $83,943   $88,330
      8B+L20   $85,088   $89,475   $86,714   $89,720   $91,102   $94,107     $92,728   $97,115
      8B+L22   $90,033   $94,420   $91,659   $94,665   $96,047   $99,052     $97,673   $102,060
      L5       $1,020
      L10      $4,171
      L13      $6,316
      L15      $10,843
      L18      $12,031
      L20      $20,816
      L22      $25,761




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                                       MAY 1, 2015


               BA                  BA+30               EARNED                MA+30      EARNED
                                                       MA OR                            MA OR
                                                       EQUIV                            EQUIV+30
               Cl        Cl+PD     C2        C2+ID     C2+PD     C2+ID+PD    C6         C6+PD
      1A       $49,908   $54,427   $51,583   $54,680   $56,104   $59,199     $57,779    $62,298
      IB       $49,908   $54,427   $51,583   $54,680   $56,104   $59,199     $57,779    $62,298
      2A       $50,899   $55,418   $52,574   $55,671   $57,095   $60,190     $58,770    $63,289
      2B       $50,899   $55,418   $52,574   $55,671   $57,095   $60,190     $58,770    $63,289
      3A       $51,321   $55,840   $52,996   $56,093   $57,517   $60,612     $59,192    $63,711
      3B       $51,321   $55,840   $52,996   $56,093   $57,517   $60,612     $59,192    $63,711
      4A       $52,064   $56,583   $53,739   $56,836   $58,260   $61,355     $59,935    $64,454
      4B       $52,064   $56,583   $53,739   $56,836   $58,260   $61,355     $59,935    $64,454
      5A       $52,707   $57,226   $54,382   $57,479   $58,903   $61,998     $60,578    $65,097
      5B       $52,707   $57,226   $54,382   $57,479   $58,903   $61,998     $60,578    $65,097
      6A       $53,398   $57,917   $55,073   $58,170   $59,594   $62,689     $61,269    $65,788
      6A+L5    $54,449   $58,968   $56,124   $59,221   $60,645   $63,740     $62,320    $66,839
      6B       $54,378   $58,897   $56,053   $59,150   $60,574   $63,669     $62,249    $66,768
      6B+L5    $55,429   $59,948   $57,104   $60,201   $61,625   $64,720     $63,300    $67,819
      7A       $55,833   $60,352   $57,508   $60,605   $62,029   $65,124     $63,704    $68,223
      7A+L5    $56,884   $61,403   $58,559   $61,656   $63,080   $66,175     $64,755    $69,274
      7B       $59,240   $63,759   $60,915   $64,012   $65,436   $68,531     $67,111    $71,630
      7B+L5    $60,291   $64,810   $61,966   $65,063   $66,487   $69,582     $68,162    $72,681
      8A       $62,428   $66,947   $64,103   $67,200   $68,624   $71,719     $70,299    $74,818
      8A+L5    $63,479   $67,998   $65,154   $68,251   $69,675   $72,770     $71,350    $75,869
      8B       $66,213   $70,732   $67,888   $70,985   $72,409   $75,504     $74,084    $78,603
      8B+L5    $67,264   $71,783   $68,939   $72,036   $73,460   $76,555     $75,135    $79,654
      8B+L10   $70,510   $75,029   $72,185   $75,282   $76,706   $79,801     $78,381    $82,900
      8B+L13   $72,720   $77,239   $74,395   $77,492   $78,916   $82,011     $80,591    $85,110
      8B+L15   $77,383   $81,902   $79,058   $82,155   $83,579   $86,674     $85,254    $89,773
      8B+L18   $78,607   $83,126   $80,282   $83,379   $84,803   $87,898     $86,478    $90,997
      8B+L20   $87,658   $92,177   $89,333   $92,430   $93,854   $96,949     $95,529    $100,048
      8B+L22   $92,752   $97,271   $94,427   $97,524   $98,948   $102,043    $100,623   $105,142
      L5       $1,051
      L10      $4,297
      L13      $6,507
      L15      $11,170
      L18      $12,394
      L20      $21,445
      L22      $26,539




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                                       MAY 1, 2016


               BA                   BA+30                EARNED                 MA+30      EARNED
                                                         MA OR                             MA OR
                                                         EQUIV                             EQUIV+30
               Cl        Cl+PD      C2        C2+ID      C2+PD      C2+ID+PD    C6         C6+PD
      1A       $51,650   $56,327    $53,383   $56,589    $58,062    $61,265     $59,796    $64,472
      IB       $51,650   $56,327    $53,383   $56,589    $58,062    $61,265     $59,796    $64,472
      2A       $52,676   $57,353    $54,409   $57,615    $59,088    $62,291     $60,822    $65,498
      2B       $52,676   $57,353    $54,409   $57,615    $59,088    $62,291     $60,822    $65,498
      3A       $53,112   $57,789    $54,845   $58,051    $59,524    $62,727     $61,258    $65,934
      3B       $53,112   $57,789    $54,845   $58,051    $59,524    $62,727     $61,258    $65,934
      4A       $53,881   $58,558    $55,614   $58,820    $60,293    $63,496     $62,027    $66,703
      4B       $53,881   $58,558    $55,614   $58,820    $60,293    $63,496     $62,027    $66,703
      5A       $54,547   $59,224    $56,280   $59,486    $60,959    $64,162     $62,693    $67,369
      5B       $54,547   $59,224    $56,280   $59,486    $60,959    $64,162     $62,693    $67,369
      6A       $55,262   $59,939    $56,995   $60,201    $61,674    $64,877     $63,408    $68,084
      6A+L5    $56,350   $61,027    $58,083   $61,289    $62,762    $65,965     $64,496    $69,172
      6B       $56,276   $60,953    $58,009   $61,215    $62,688    $65,891     $64,422    $69,098
      6B+L5    $57,364   $62,041    $59,097   $62,303    $63,776    $66,979     $65,510    $70,186
      7A       $57,782   $62,459    $59,515   $62,721    $64,194    $67,397     $65,928    $70,604
      7A+L5    $58,870   $63,547    $60,603   $63,809    $65,282    $68,485     $67,016    $71,692
      7B       $61,308   $65,985    $63,041   $66,247    $67,720    $70,923     $69,454    $74,130
      7B+L5    $62,396   $67,073    $64,129   $67,335    $68,808    $72,011     $70,542    $75,218
      8A       $64,607   $69,284    $66,340   $69,546    $71,019    $74,222     $72,753    $77,429
      8A+L5    $65,695   $70,372    $67,428   $70,634    $72,107    $75,310     $73,841    $78,517
      8B       $68,524   $73,201    $70,257   $73,463    $74,936    $78,139     $76,670    $81,346
      8B+L5    $69,612   $74,289    $71,345   $74,551    $76,024    $79,227     $77,758    $82,434
      8B+L10   $72,971   $77,648    $74,704   $77,910    $79,383    $82,586     $81,117    $85,793
      8B+L13   $75,258   $79,935    $76,991   $80,197    $81,670    $84,873     $83,404    $88,080
      8B+L15   $80,084   $84,761    $81,817   $85,023    $86,496    $89,699     $88,230    $92,906
      8B+L18   $81,351   $86,028    $83,084   $86,290    $87,763    $90,966     $89,497    $94,173
      8B+L20   $90,718   $95,395    $92,451   $95,657    $97,130    $100,333    $98,864    $103,540
      8B+L22   $95,989   $100,666   $97,722   $100,928   $102,401   $105,604    $104,135   $108,811
      L5       $1,088
      L10      $4,447
      L13      $6,734
      L15      $11,560
      L18      $12,827
      L20      $22,194
      L22      $27,465




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                                       MAY 1, 2017


               BA                    BA+30             EARNED                    MA+30     EARNED
                                                       MA OR                              MA OR
                                                       EQUIV                              EQUIV+30
               Cl         Cl+PD      C2       C2+ID    C2+PD         C2+ID+PD    C6        C6+PD
      1A       $54,000    $58,890    $55,812  $59,164  $60,704       $64,052     $62,517   $67,405
      IB       $54,000    $58,890    $55,812  $59,164  $60,704       $64,052     $62,517   $67,405
      2A       $55,073    $59,963    $56,885  $60,237  $61,777       $65,125     $63,590   $68,478
      2B       $55,073    $59,963    $56,885  $60,237  $61,777       $65,125     $63,590   $68,478
      3A       $55,529    $60,419    $57,341  $60,693  $62,233       $65,581     $64,046   $68,934
      3B       $55,529    $60,419    $57,341  $60,693  $62,233       $65,581     $64,046   $68,934
      4A       $56,333    $61,223    $58,145  $61,497  $63,037       $66,385     $64,850   $69,738
      4B       $56,333    $61,223    $58,145  $61,497  $63,037       $66,385     $64,850   $69,738
      5A       $57,029    $61,919    $58,841  $62,193  $63,733       $67,081     $65,546   $70,434
      5B       $57,029    $61,919    $58,841  $62,193  $63,733       $67,081     $65,546   $70,434
      6A       $57,776    $62,666    $59,588  $62,940  $64,480       $67,828     $66,293   $71,181
      6A+L5    $58,914    $63,804    $60,726  $64,078  $65,618       $68,966     $67,431   $72,319
      6B       $58,837    $63,727    $60,649  $64,001  $65,541       $68,889     $67,354   $72,242
      6B+L5    $59,975    $64,865    $61,787  $65,139  $66,679       $70,027     $68,492   $73,380
      7A       $60,411    $65,301    $62,223  $65,575  $67,115       $70,463     $68,928   $73,816
      7A+L5    $61,549    $66,439    $63,361  $66,713  $68,253       $71,601     $70,066   $74,954
      7B       $64,098    $68,988    $65,910  $69,262  $70,802       $74,150     $72,615   $77,503
      7B+L5    $65,236    $70,126    $67,048  $70,400  $71,940       $75,288     $73,753   $78,641
      8A       $67,547    $72,437    $69,359  $72,711  $74,251       $77,599     $76,064   $80,952
      8A+L5    $68,685    $73,575    $70,497  $73,849  $75,389       $78,737     $77,202   $82,090
      8B       $71,642    $76,532    $73,454  $76,806  $78,346       $81,694     $80,159   $85,047
      8B+L5    $72,780    $77,670    $74,592  $77,944  $79,484       $82,832     $81,297   $86,185
      8B+L10   $76,291    $81,181    $78,103  $81,455  $82,995       $86,343     $84,808   $89,696
      8B+L13   $78,682    $83,572    $80,494  $83,846  $85,386       $88,734     $87,199   $92,087
      8B+L15   $83,728    $88,618    $85,540  $88,892  $90,432       $93,780     $92,245   $97,133
      8B+L18   $85,053    $89,943    $86,865  $90,217  $91,757       $95,105     $93,570   $98,458
      8B+L20   $94,846    $99,736    $96,658  $100,010 $101,550      $104,898    $103,363 $108,251
      8B+L22   $100,357   $105,247   $102,169 $105,521 $107,061      $110,409    $108,874 $113,762
      L5       $1,138
      L10      $4,649
      L13      $7,040
      L15      $12,086
      L18      $13,411
      L20      $23,204
      L22      $28,715




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                                        MAY 1, 2018

               BA                     BA+30                  EARNED                 MA+30    EARNED
                                                             MA OR                           MA OR
                                                             EQUIV                           EQUIV+30
                Cl         Cl+PD      C2            C2+ID    C2+PD      C2+ID+PD    C6       C6+PD
      1A        $55,059    $60,045    $56,907       $60,324  $61,894    $65,308     $63,743  $68,727
      IB        $55,059    $60,045    $56,907       $60,324  $61,894    $65,308     $63,743  $68,727
      2A        $56,153    $61,139    $58,001       $61,418  $62,988    $66,402     $64,837  $69,821
      2B        $56,153    $61,139    $58,001       $61,418  $62,988    $66,402     $64,837  $69,821
      3A        $56,618    $61,604    $58,466       $61,883  $63,453    $66,867     $65,302  $70,286
      3B        $56,618    $61,604    $58,466       $61,883  $63,453    $66,867     $65,302  $70,286
      4A        $57,437    $62,423    $59,285       $62,702  $64,272    $67,686     $66,121  $71,105
      4B        $57,437    $62,423    $59,285       $62,702  $64,272    $67,686     $66,121  $71,105
      5A        $58,147    $63,133    $59,995       $63,412  $64,982    $68,396     $66,831  $71,815
      5B        $58,147    $63,133    $59,995       $63,412  $64,982    $68,396     $66,831  $71,815
      6A        $58,909    $63,895    $60,757       $64,174  $65,744    $69,158     $67,593  $72,577
      6A+L5     $60,069    $65,055    $61,917       $65,334  $66,904    $70,318     $68,753  $73,737
      6B        $59,990    $64,976    $61,838       $65,255  $66,825    $70,239     $68,674  $73,658
      6B+L5     $61,150    $66,136    $62,998       $66,415  $67,985    $71,399     $69,834  $74,818
      7A        $61,595    $66,581    $63,443       $66,860  $68,430    $71,844     $70,279  $75,263
      7A+L5     $62,755    $67,741    $64,603       $68,020  $69,590    $73,004     $71,439  $76,423
      7B        $65,355    $70,341    $67,203       $70,620  $72,190    $75,604     $74,039  $79,023
      7B+L5     $66,515    $71,501    $68,363       $71,780  $73,350    $76,764     $75,199  $80,183
      8A        $68,871    $73,857    $70,719       $74,136  $75,706    $79,120     $77,555  $82,539
      8A+L5     $70,031    $75,017    $71,879       $75,296  $76,866    $80,280     $78,715  $83,699
      8B        $73,047    $78,033    $74,895       $78,312  $79,882    $83,296     $81,731  $86,715
      8B+L5     $74,207    $79,193    $76,055       $79,472  $81,042    $84,456     $82,891  $87,875
      8B+L10    $77,787    $82,773    $79,635       $83,052  $84,622    $88,036     $86,471  $91,455
      8B+L13    $80,225    $85,211    $82,073       $85,490  $87,060    $90,474     $88,909  $93,893
      8B+L15    $85,370    $90,356    $87,218       $90,635  $92,205    $95,619     $94,054  $99,038
      8B+L18    $86,721    $91,707    $88,569       $91,986  $93,556    $96,970     $95,405  $100,389
      8B+L20    $96,706    $101,692   $98,554       $101,971 $103,541   $106,955    $105,390 $110,374
      8B+L22    $102,325   $107,311   $104,173      $107,590 $109,160   $112,574    $111,009 $115,993
      L5       $1,160
      L10      $4,740
      L13      $7,178
      L15      $12,323
      L18      $13,674
      L20      $23,659
      L22      $29,278




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                                       JA-452

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                                   JUNE 16, 2018


               BA                 BA+30                   EARNED             MA+30       EARNED
                                                          MA OR                          MA OR
                                                          EQUIV                          EQUIV+30
               Cl       Cl+PD    C2              C2+ID    C2+PD    C2+ID+PD C6           C6+PD
      1A        $56,711  $61,847  $58,614         $62,134  $63,751   $67,267  $65,656      $70,789
      IB        $56,711  $61,847  $58,614         $62,134  $63,751   $67,267  $65,656      $70,789
      2A        $57,838  $62,974  $59,741         $63,261  $64,878   $68,394  $66,783      $71,916
      2B        $57,838  $62,974  $59,741         $63,261  $64,878   $68,394  $66,783      $71,916
      3A        $58,317  $63,453  $60,220         $63,740  $65,357   $68,873  $67,262      $72,395
      3B        $58,317  $63,453  $60,220         $63,740  $65,357   $68,873  $67,262      $72,395
      4A        $59,160  $64,296  $61,063         $64,583  $66,200   $69,716  $68,105      $73,238
      4B        $59,160  $64,296  $61,063         $64,583  $66,200   $69,716  $68,105      $73,238
      5A        $59,891  $65,027  $61,794         $65,314  $66,931   $70,447  $68,836      $73,969
      5B        $59,891  $65,027  $61,794         $65,314  $66,931   $70,447  $68,836      $73,969
      6A        $60,676  $65,812  $62,579         $66,099  $67,716   $71,232  $69,621      $74,754
      6A+L5     $61,871  $67,007  $63,774         $67,294  $68,911   $72,427  $70,816      $75,949
      6B        $61,790  $66,926  $63,693         $67,213  $68,830   $72,346  $70,735      $75,868
      6B+L5     $62,985  $68,121  $64,888         $68,408  $70,025   $73,541  $71,930      $77,063
      7A        $63,443  $68,579  $65,346         $68,866  $70,483   $73,999  $72,388      $77,521
      7A+L5     $64,638  $69,774  $66,541         $70,061  $71,678   $75,194  $73,583      $78,716
      7B        $67,316  $72,452  $69,219         $72,739  $74,356   $77,872  $76,261      $81,394
      7B+L5     $68,511  $73,647  $70,414         $73,934  $75,551   $79,067  $77,456      $82,589
      8A        $70,937  $76,073  $72,840         $76,360  $77,977   $81,493  $79,882      $85,015
      8A+L5     $72,132  $77,268  $74,035         $77,555  $79,172   $82,688  $81,077      $86,210
      8B        $75,238  $80,374  $77,141         $80,661  $82,278   $85,794  $84,183      $89,316
      8B+L5     $76,433  $81,569  $78,336         $81,856  $83,473   $86,989  $85,378      $90,511
      8B+L10    $80,120  $85,256  $82,023         $85,543  $87,160   $90,676  $89,065      $94,198
      8B+L13    $82,631  $87,767  $84,534         $88,054  $89,671   $93,187  $91,576      $96,709
      8B+L15    $87,931  $93,067  $89,834         $93,354  $94,971   $98,487  $96,876     $102,009
      8B+L18    $89,322  $94,458  $91,225         $94,745  $96,362   $99,878  $98,267     $103,400
      8B+L20    $99,607 $104,743 $101,510        $105,030 $106,647  $110,163 $108,552     $113,685
      8B+L22   $105,394 $110,530 $107,297        $110,817 $112,434  $115,950 $114,339     $119,472
      L5         $1,195
      L10        $4,882
      L13        $7,393
      L15       $12,693
      L18       $14,084
      L20       $24,369
      L22       $30,156




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     C. Longevity Increments
         1.      Effective September 16, 1998 (May 19, 2008 for the five year longevity
     increment) or on such date thereafter as the requirements shall be met, additional
     compensation shall be paid to those teachers eligible therefor pursuant to the conditions
     and at the rates set forth below. Such additional compensation shall be known as the
     “longevity increment” and the gross annual salary rates of teachers to whom said
     longevity increment is payable shall be computed by adding the sum provided per annum
     to the rates ascertained without consideration of said longevity increment. Longevity
     increments shall be payable as follows to appointed teachers with the requisite years of
     pedagogical service in the New York City public schools:

                                 LONGEVITY INCREMENTS

      Years of NYC
      Public School                                     Effective Date
         Service
                         May                                                                     June
                                  May l,    May 1,     May 1,    May 1,    May 1,     May 1,
                          19,                                                                     16,
                                  2013       2014      2015      2016       2017      2018
                         2008                                                                    2018
     5 but less than
                         $1,000      $1,010     $1,020      $1,051    $1,088    $1,138     $1,160 $1,195
     10
     10 but less than
                         $4,089      $4,130     $4,171      $4,297    $4,447    $4,649     $4,740 $4,882
     13
     13 but less than
                         $6,191      $6,253     $6,316      $6,507    $6,734    $7,040     $7,178 $7,393
     15
     15 but less than
                         $10,630 $10,736 $10,843 $11,170 $11,560 $12,086 $12,323 $12,693
     18
     18 but less than
                         $11,794 $11,912 $12,031 $12,394 $12,827 $13,411 $13,674 $14,084
     20
     20 but less than
                         $20,406 $20,610 $20,816 $21,445 $22,194 $23,204 $23,659 $24,369
     22
     22 or more          $25,253 $25,506 $25,761 $26,539 $27,465 $28,715 $29,278 $30,156
         2.      Pursuant to law, the service required for these longevity increments shall include
     teaching service outside the New York City public school system and/or related non-
     teaching experience for which salary credit was granted by the Board prior to April 12,
     1971.
     D. Payment Under Schedule Cl
         Rates under Schedule Cl shall be paid to teachers who do not qualify as provided
     hereinafter in this Section for payment under any other Schedule.
     E. Qualification for Schedule C2-First Differential
          1.      Rates under Schedule C2 shall be paid to teachers covered by this Agreement
     when they qualify for a salary differential by reason of having completed (1) 30 semester
     hours of approved study beyond the baccalaureate or (2) 30 semester hours of approved
     study beyond such courses offered for and accepted by the Board as the equivalent of a
     baccalaureate for eligibility for the license under which the teacher is serving at the time
     of filing application for the salary differential or (3) holding an approved master’s degree



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     issued by a recognized college or university. In any of the above cases, qualification for
     the differential shall be evidenced by a certificate issued by the Chancellor.
         2. Effective January 1, 1958, rates under Schedule C2 shall be paid to teachers
     covered by this Agreement who, at the time of licensing, were not required to be holders
     of a baccalaureate or its equivalent as an exclusive prerequisite to said licensing; with the
     proviso that such teachers qualify for a salary differential, as evidenced by a certificate
     issued by the Chancellor, by reason of having completed 30 semester hours of approved
     study beyond the academic qualifications submitted and accepted for said licensing;
     except that the additional 30 semester hours of approved study shall be waived (for
     purposes of placement under this paragraph only) in the case of any teacher holding a
     baccalaureate or who was graduated from an approved four year normal school course, if
     such teacher was licensed as a result of an examination wherein the academic
     qualifications for the license were not restricted to holders of a baccalaureate or its
     equivalent.
         3. Effective July 1, 1964, any teacher who was graduated from an approved three-
     year normal or teacher training school course and has completed 15 semester hours of
     approved study beyond such graduation shall qualify for salary placement under
     Schedule C2 if such a teacher, at the time of licensing, was not required to be a holder of
     a baccalaureate or its equivalent as an exclusive prerequisite to such licensing.
         4. Effective July 1, 1962, teachers of shop subjects (trades) shall qualify for the
     salary differential payable pursuant to the terms and conditions of this paragraph upon
     completion of the required 32 semester hours of approved teacher training courses set
     forth in Section 389 of the Board of Education by-laws.
         Effective February 1, 1985, teachers of shop subjects (trades) shall qualify for the
     salary differential payable pursuant to the terms and conditions of this paragraph upon
     completion of the required 30 semester hours of approved teacher training courses set
     forth in Chancellor’s Regulation C389. Years of experience beyond those required for
     the license may be substituted for the required 30 semester hours of approved teacher
     training courses at the rate of 15 credits for each year of such experience, provided that
     experience used for this purpose is not used to qualify for any other differential.
         5. Effective July 1, 1965, teachers of business subjects shall qualify for the salary
     differential payable pursuant to the terms and conditions of this paragraph upon
     submitting evidence of meeting in full the requirements of such license which were in
     effect as of July 1, 1963 through June 30, 1965, as then set forth in Section 347b of the
     Board ofEducation by-laws.
         6. Effective July 1, 1963, teachers of related technical subjects shall qualify for the
     salary differential payable pursuant to the terms and conditions of this paragraph upon
     submitting evidence of meeting in full, the requirements for such license as set forth in
     Section 387 of the Board ofEducation by-laws.
     F. Qualification for Schedule C6-Second Differential
          1. Commencing September 1, 1969, eligibility for the second differential (Schedule
     C6) shall be acquired by a teacher who:
         a. holds an approved doctorate issued by a recognized college or university; or
         b. holds an approved master’s degree issued by a recognized college or university
     and who, after having earned the baccalaureate has satisfactorily completed 30 semester
     hours of approved credits in college or university study in addition to those required for



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     the master’s degree; and/or effective September 1996, professional development courses
     and /or activities approved by the Chancellor; or
         c.      effective September 1996, achieves full National Board for Professional Teaching
     Standards (NBPTS) certification.
         Provided, however, that a teacher regularly employed by the Board of Education on
     June 30, 1967, who had satisfied the conditions of eligibility then existing or who
     satisfied those conditions not later than June 30, 1970, shall not be affected by this
     alteration of the conditions of entitlement;
         Provided, further, that teachers of shop subjects (trades), teachers of industrial arts,
     teachers of business subjects and teachers of related technical subjects may continue to
     qualify by meeting the requirements existing on June 30, 1967, as listed in sub-
     paragraphs (1) through (12), below.
         2.a.Teachers who were regularly employed on June 30, 1967, may qualify for the
     second differential by meeting any of the following requirements not later than June 30,
     1970:
         (1) Teachers who hold an approved doctorate issued by a recognized college or
     university.
         (2) Teachers who hold an approved master’s degree issued by a recognized college or
     university and who, after having earned the baccalaureate, have completed 30 semester
     hours of approved study.
         (3) Teachers who hold an approved baccalaureate issued by a recognized college or
     university and who, beyond such degree, have completed 60 semester hours of approved
     study.
         (4) Effective July 1, 1964, teachers who, at the time of appointment, were not required
     to hold a baccalaureate as an exclusive prerequisite to qualify for the teaching license,
     provided:
         (a) graduates of an approved four year normal or teacher training school, or holders
     of a baccalaureate, have completed 30 semester hours of approved study beyond such
     graduation or degree, or
         (b) graduates of an approved three-year normal or teacher training school have
     completed 45 semester hours of approved study beyond such graduation, or
         (c) graduates of an approved two-year normal or teacher training school have
     completed 60 semester hours of approved study beyond such graduation.
         (5) Teachers who have completed 60 semester hours of approved study beyond such
     courses offered for and accepted by the Board of Examiners as the equivalent of a
     baccalaureate for eligibility for the license under which the teacher is serving at the time
     of filing application for salary differential.
         (6) Teachers of shop subjects (trades) who hold a baccalaureate and in addition have
     had five years ofjoumeyman trade experience.
         (7) Teachers of shop subjects (trades) who have established eligibility for the first
     differential and who in addition thereto (1) have successfully completed a program of 30
     semester hours of courses formulated by the State Commissioner of Education for
     extension oflicense to permit teaching of related technical material in the trade areas; and
     (2) hold a certificate of competency in related technical subjects issued on the basis of a
     recommendation of the Board of Examiners following the passing of a suitable
     examination.



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          SUBSTITUTION: An in-service course or courses marked “C” or “D” or a course or
     courses taken at a recognized college or university may be substituted for a course or
     courses of the same number of semester hours to be offered under paragraph (7) above,
     provided such course or courses were completed prior to September 1, 1959.
         (8) Teachers of shop subjects (trades) who have established eligibility for the first
     differential, and who in addition thereto have completed 30 semester hours of approved
     study; with the proviso that each year of journeyman experience beyond the number
     required for the license may be submitted as the equivalent of 15 semester hours of
     approved study. Effective February 1, 1985, journeyman experience submitted to
     establish eligibility for the first differential may not be submitted to establish eligibility
     for the second differential.
         (9) Effective July 1, 1962, teachers of shop subjects (trades) appointed prior to July 1,
     1947, to serve in junior high schools whose licenses qualified them for appointment to
     service in academic or vocational high schools at that time in the same manner as
     teachers of shop subjects (trades) who were appointed prior to July 1, 1947, to academic
     or vocational high schools.
         (10) Effective July 1, 1963, teachers of industrial arts appointed prior to July 1, 1947,
     to serve in junior high schools.
         (11) Effective July 1, 1965, teachers of business subjects who have established
     eligibility for the first differential and who, in addition thereto, have completed 30
     semester hours of approved study. All approved courses, beyond those needed to meet
     license requirements in effect as of July 1, 1963, through June 30, 1965, as then set forth
     in Section 347b of the Board of Education by-laws, shall be credited toward the second
     differential.
         (12) Effective July 1, 1963, teachers of related technical subjects who have
     established eligibility for the first differential and who in addition thereto have completed
     30 semester hours of approved study, with the proviso that a maximum of 15 semester
     hours of study shall be granted for approved and appropriate experience of not less than
     one year above the three years required by Section 387 of the Board of Education by-
     laws.
         b. For teachers who were regularly employed on June 30, 1967, service as a
     cooperating teacher for a full term in an approved teacher training program may be
     submitted as the equivalent of two semester hours of approved study in meeting
     requirements for the second differential under paragraph a, above. A maximum of four
     semester hours of approved study may be granted for such service.
     G. FootnotestoSchedules
          1. A teacher appointed prior to July 1, 1947, who returns to active service following
     a leave of absence without pay or upon withdrawal of resignation or upon restoration to
     service by the Chancellor shall be compensated under the appropriate schedule at a salary
     step computed in accordance with the revised equated date of appointment, by reference
     to all salary schedules, charts and conditions operative between July 1, 1947, and the date
     of resumption of active service.
         2. Teachers of agriculture shall be paid under the appropriate schedule with the
     addition of 10% to their rates.




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     H. Promotional Differential
         On such date as the requirements shall be met, as evidenced by a certificate issued by
     the Chancellor, additional compensation, known as the “Promotional Differential,” shall
     be paid to teachers eligible therefor pursuant to the conditions set forth below. The
     promotional differential shall be at the rate of $4,301 per annum ($4,344 effective May 1,
     2013; $4,387 effective May 1, 2014; $4,519 effective May 1, 2015; $4,677 effective May
     I, 2016; $4,890 effective May 1, 2017; $4,986 effective May 1, 2018; and $5,136
     effective June 16, 2018). The gross annual salary rates of teachers to whom said
     promotional differential is payable shall be computed by adding the applicable sum per
     annum to the annual rates ascertained without consideration of said promotional
     differential.
         Promotional differentials shall be payable to:
         1. Regularly appointed teachers serving under junior or senior high school licenses
     in day academic or day vocational high schools,junior high schools and, effective July 1,
     1963, in “400” schools, “600” schools or “K-8” schools or as teachers of homebound
     children, who have met requirements, in full, for such licenses.
         2. Teachers who hold an approved master’s degree issued by a recognized college or
     university.
         3. Teachers who hold an approved baccalaureate issued by a recognized college or
     university and who beyond such degree have satisfactorily completed 30 semester hours
     of approved credits in college or university study, provided however, that teachers
     seeking eligibility under this subdivision shall have completed not less than 36 semester
     hours of study in an approved subject matter area, which may be in combination of
     graduate and undergraduate study.
         4. All teachers compensated under Salary Schedule C6 as of June 30, 1962, provided
     said teachers shall have completed 24 hours of study in an approved subject matter area
     which may be in combination of graduate and undergraduate study. The differential
     herein provided shall become payable only when the study requirements have been met.
         5. Teachers of shop subjects (trades) appointed after July 1, 1947, who are
     compensated under Salary Schedule C2, and who have completed the required 32
     semester hours of approved teacher training courses set forth in Section 389 of the Board
     ofEducation by-laws.
         6. Teachers assigned to service in special education areas in accordance with
     Footnote “g” of Section 513 of the Board’s by-laws and who do not otherwise qualify for
     the promotional differential shall be permitted to qualify for such promotional differential
     by offering the appropriate special education courses to the extent described in Footnote
     “g” of Section 513 as part of the subject matter area courses described in paragraphs 3
     and 4, above. Teachers who qualify in this manner shall be eligible for the promotional
     differential upon submitting, with their applications, a waiver of the additional
     compensation of $200 per annum currently payable. However, if and when teachers in
     special education areas shall qualify for the promotional differential, upon filing separate
     applications therefor under paragraph 2, 3, 4 or 5 above, such additional compensation of
     $200 per annum shall nevertheless be paid to those teachers during assignment to special
     education areas if they otherwise are eligible to receive the additional compensation
     under the terms of this Agreement.




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          7. Effective July 1, 1965, teachers of special classes as covered by Section 312 of
     these by-laws, teachers of speech improvement, and teachers of homebound children who
     were licensed to teach in such special education areas and were appointed to serve in
     such license prior to July 1, 1947.
          8. Effective July 1, 1965, teachers who, at the time of appointment, were not
     required to hold a baccalaureate or its equivalent to qualify for the teaching license under
     which the teacher is serving and who are graduates of a recognized two, three or four
     year normal school or training school for teachers, provided that such teachers have
     completed (a) 120 semester hours of approved study accepted by the Board as the
     equivalent of a baccalaureate, and (b) 30 semester hours of approved credits in college or
     university study beyond such baccalaureate equivalent, and (c) not less than 36 semester
     hours of study in an approved subject matter area, which may be in combination of
     graduate and undergraduate study.
          9. Substitute teachers may qualify for the promotional differential by meeting the
     eligibility requirements set forth in paragraphs 2, 3, 4 and 5, above. Substitute teachers
     shall qualify also if they are compensated under Salary Schedule C6 by virtue of a license
     issued as a result of prior service as a regular teacher compensated under Salary Schedule
     Ila.
          10. Effective September 9, 1975, the “approved subject matter areas” referred to
     above shall include every subject in which a subject matter license exists or may be
     established.
     I. Intermediate Differential
          On such date as the requirements shall be met, as evidenced by a certificate issued by
     the Chancellor, additional compensation at the rate of $2,947 ($2,976 effective May 1,
     2013; $3,006 effective May 1, 2014; $3,097 effective May 1, 2015; $3,206 effective May
     1, 2016; $3,352 effective May 1, 2017; $3,417 effective May 1, 2018; and $3,520
     effective June 16, 2018) per annum shall be paid to those teachers eligible therefor
     pursuant to the conditions set forth below. Such additional compensation shall be known
     as the “Intermediate Differential,” and the gross annual salary rates of teachers to whom
     said intermediate differential is payable, shall be computed by adding the applicable sum
     to the rates ascertained without consideration of said intermediate differential.
          Intermediate differentials shall be payable to teachers who hold an approved
     baccalaureate issued by a recognized college or university and who beyond such degree
     have satisfactorily completed 60 semester hours of approved credits in college or
     university study.
          The intermediate differential is not payable to anyone receiving the second
     differential.

                                          APPENDIX B
                                     SPECIAL CIRCULAR
         1. A child who threatens or engages in physical violence to himself, his/her fellow
     students, or a teacher may be directed by the teacher to report immediately to the
     principal or other designated supervisor under such escort as is prescribed by the school.
     Such pupil shall not be returned to the classroom without consultation between the
     principal and the teacher.




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         2. Pupils who so seriously disrupt the classroom work as to impede effective
     instruction may be reported by the teacher to the principal or other designated supervisor.
     Such report shall be in writing and shall contain substantiating data on the behavior of the
     child.
         3. Upon receiving a report of violent or disruptive behavior the principal or his/her
     designated representative shall make a suitable investigation and shall promptly initiate a
     course of action that will best serve the needs of the school and the child.
         4. If the problem is not solved in this manner after available courses of action have
     been taken and the decision has been reached by the principal that the child still so
     seriously disrupts the classroom work as to impede effective instruction, the child should
     be referred to other facilities within the school. If no such facilities exist within the
     school the principal shall refer the case to the community or assistant superintendent
     under existing procedures.
         5. Each plan of action should involve the parent, the teacher, the child and other
     appropriate personnel. No final decision on placement or care should be arrived at
     without such participation.
         6. If action by the principal is unduly delayed or if the child is repeatedly returned to
     the same teacher’s classroom or if a series of actions by the principal does not resolve the
     issue, the teacher may appeal to the community or assistant superintendent. The
     community or assistant superintendent shall set up an appropriate procedure for review
     and disposition of such cases. If the community or assistant superintendent finds that the
     continued presence of that child in a regular classroom so interferes with instruction as to
     be seriously detrimental to the interests of all the children (including the particular child),
     he/she shall, if consistent with applicable law, direct that the child not be returned to a
     regular class and follow appropriate procedures for the proper placement of the child.
         7. There shall be established in each district a panel to hear appeals from the
     decision of the community or assistant superintendent. The panel shall consist of a
     teacher selected by the Union, a parent selected by the local school board from a list of
     three names submitted to it by the district parents’ council, and a third member selected
     by the community or assistant superintendent who shall be employed by the school
     system in the field of psychology or social work or guidance. The panel shall have the
     power to make recommendations in writing to the Chancellor who shall make the final
     decision on the appeal in accordance with applicable law. During the first year of this
     circular the Chancellor will render his/her decision within 30 days following receipt of
     the panel recommendations and thereafter within 15 days.

                                          APPENDIX C
                                       GRIEVANCE FORMS
                                       STEP 1 GRIEVANCE

     School:____________________________________ District:_______________________

     Name of Grievant:__________________________________________________________

     Title (teacher, guidance counselor, etc.):________________________________________

     File Number:______________________________________________________________


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     Date Grievance Occurred:______________________________________________

     Set forth specifically the act or condition and the grounds on which the grievance is
     based:
     Specific contractual article and section alleged to be violated:
     Specific remedy sought:


                                                                  (Signature of Grievant)

                                                          Date filed:

                                    GRIEVANCE CONFERENCE
     Date:

                    Attendees:

     Name                   Title

     Decision including supporting reason:



                                                                         (Signature)



                                            APPENDIX D
                               MENTOR TEACHER INTERNSHIP
         On June 10, 2002, the following understanding was reached regarding the Mentor
     Teacher Internship Program:
         The Mentor Advisory Selection Committee, subject to selection criteria, recommends
     teachers and retirees to Superintendents for approval to act as mentors. Under existing
     guidelines, applicants who are current teachers have a preference for referral to
     Superintendents before retirees or teachers on unpaid leave.
         The parties agree that the Board’s memo to the field on the Mentor Teacher
     Internship Program will be amended to establish preferences for referrals to
     Superintendents in the following order of priority from among applicants who are
     recommended by the committee: school based staff developers, teachers in the school,
     district based staff developers, full time mentors, retirees and teachers on unpaid leave.
     During the school year, staff developers will not be assigned to mentor more than two
     teachers. It is understood that participation in the Mentor Teacher Intern Program will
     continue to be voluntary.




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                                            APPENDIX E
                                      HEALTH INSURANCE
         In accordance with the LOBA determination and award in Case No. IA-1-85 and
     subsequent agreements, the following shall apply:
          1. Effective July 1, 1983 and thereafter, the Employer’s cost for each contract for
     each Employee under age 65 and for each retiree under age 65 who selects either
     HIP/HMO or Blue Cross/GHI-CBP coverage (or a replacement plan) shall be equalized
     at the community rated basic HIP/HMO plan payment rate as approved by the State
     Department of Insurance on a category basis of individual or family, e.g. the Blue
     Cross/GHI-CBP payment for family coverage shall be equal to the HIP/HMO payment
     for family coverage.
         2. If a replacement plan is offered to employees and retirees under age 65 which
     exceeds the cost of the HIP/HMO equalization provided for in Section 1, the City shall
     not bear the additional costs.
         3. The Employers shall contribute on a City employee benefits program-wide basis
     the additional annual amount of $30 million to provide a health insurance stabilization
     reserve fund which shall be used to continue equalization and protect the integrity of
     health insurance benefits.
         4. The health insurance stabilization reserve fund shall be used: to provide a
     sufficient reserve; to maintain to the extent possible the current level of health insurance
     benefits provided under the Blue Cross/GHI-CBP plan; and, if sufficient funds are
     available, to fund new benefits.
         5. The health insurance stabilization reserve fund shall be credited with the
     dividends or reduced by the losses attributable to the Blue Cross/GHI-CBP plan.

                                      APPENDIX F
                                SALARY SCHEDULES OF
                           ADULT EDUCATION TEACHERS
        Adult Education teachers will be paid in accordance with the following salary
     schedules:

                    ADULT EDUCATION TEACHER SALARY SCHEDULE
                                   MAY 19, 2008

                             BA      EARNED                     MA+30      EARNED
                                      MA OR                                 MA OR
                                      EQUIV                               EQUIV+30
                            Cl        C2+PD      C2+ID+PD         C6        C6+PD
               1A         $45,530    $51,425     $54,372        $53,019   $57,320
               IB         $45,530    $51,425     $54,372        $53,019   $57,320
               2A         $48,434    $54,329     $57,276        $55,923   $60,224
               2B         $48,434    $54,329     $57,276        $55,923   $60,224
               3A         $48,836    $54,731     $57,678        $56,325   $60,626
               3B         $48,836    $54,731     $57,678        $56,325   $60,626
               4A         $49,543    $55,438     $58,385        $57,032   $61,333
               4B         $49,543    $55,438     $58,385        $57,032   $61,333



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             5A        $50,153   $56,048   $58,995     $57,642   $61,943
             5B        $50,153   $56,048   $58,995     $57,642   $61,943
             6A        $50,812   $56,707   $59,654     $58,301   $62,602
             6A+L5     $51,821   $57,707   $60,654     $59,301   $63,602
             6B        $51,744   $57,639   $60,586     $59,233   $63,534
             6B+L5     $52,744   $58,639   $61,586     $60,233   $64,534
             7A        $53,128   $59,023   $61,970     $60,617   $64,918
             7A+L5     $54,128   $60,023   $62,970     $61,617   $65,918
             7B        $56,370   $62,265   $65,212     $63,859   $68,160
             7B+L5     $57,370   $63,265   $66,212     $64,859   $69,160
             8A        $59,404   $65,299   $68,246     $66,893   $71,194
             8A+L5     $60,404   $66,299   $69,246     $67,893   $72,194
             8B        $63,006   $68,901   $71,848     $70,495   $74,796
             8B+L5     $64,006   $69,901   $72,848     $71,495   $75,796
             8B+L10    $67,095   $72,990   $75,937     $74,584   $78,885
             8B+L13    $69,197   $75,092   $78,039     $76,686   $80,987
             8B+L15    $73,636   $79,531   $82,478     $81,125   $85,426
             8B+L18    $74,800   $80,695   $83,642     $82,289   $86,590
             8B+L20    $83,412   $89,307   $92,254     $90,901   $95,202
             8B+L22    $88,259   $94,154   $97,101     $95,748   $100,049
             L5       $1,000
             L10      $4,089
             L13      $6,191
             L15      $10,630
             L18      $11,794
             L20      $20,406
             L22      $25,253


                                      MAY 1, 2013

                      BA         EARNED                MA+30     EARNED
                                 MA OR                           MA OR
                                 EQUIV                           EQUIV+30
                      Cl         C2+PD     C2+ID+PD    C6        C6+PD
             1A       $45,985    $51,939   $54,915     $53,549   $57,893
             IB       $45,985    $51,939   $54,915     $53,549   $57,893
             2A       $48,918    $54,872   $57,848     $56,482   $60,826
             2B       $48,918    $54,872   $57,848     $56,482   $60,826
             3A       $49,324    $55,278   $58,254     $56,888   $61,232
             3B       $49,324    $55,278   $58,254     $56,888   $61,232
             4A       $50,038    $55,992   $58,968     $57,602   $61,946
             4B       $50,038    $55,992   $58,968     $57,602   $61,946
             5A       $50,655    $56,609   $59,585     $58,219   $62,563
             5B       $50,655    $56,609   $59,585     $58,219   $62,563
             6A       $51,320    $57,274   $60,250     $58,884   $63,228



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             6A+L5    $52,330   $58,284    $61,260     $59,894   $64,238
             6B       $52,261   $58,215    $61,191     $59,825   $64,169
             6B+L5    $53,271   $59,225    $62,201     $60,835   $65,179
             7A       $53,659   $59,613    $62,589     $61,223   $65,567
             7A+L5    $54,669   $60,623    $63,599     $62,233   $66,577
             7B       $56,934   $62,888    $65,864     $64,498   $68,842
             7B+L5    $57,944   $63,898    $66,874     $65,508   $69,852
             8A       $59,998   $65,952    $68,928     $67,562   $71,906
             8A+L5    $61,008   $66,962    $69,938     $68,572   $72,916
             8B       $63,636   $69,590    $72,566     $71,200   $75,544
             8B+L5    $64,646   $70,600    $73,576     $72,210   $76,554
             8B+L10   $67,766   $73,720    $76,696     $75,330   $79,674
             8B+L13   $69,889   $75,843    $78,819     $77,453   $81,797
             8B+L15   $74,372   $80,326    $83,302     $81,936   $86,280
             8B+L18   $75,548   $81,502    $84,478     $83,112   $87,456
             8B+L20   $84,246   $90,200    $93,176     $91,810   $96,154
             8B+L22   $89,142   $95,096    $98,072     $96,706   $101,050
             L5       $1,010
             L10      $4,130
             L13      $6,253
             L15      $10,736
             L18      $11,912
             L20      $20,610
             L22      $25,506


                                     MAY 1, 2014


                      BA        EARNED                 MA+30     EARNED
                                MA OR                            MA OR
                                EQUIV                            EQUIV+30
                      Cl        C2+PD      C2+ID+PD    C6        C6+PD
             1A       $46,445   $52,459    $55,464     $54,085   $58,472
             IB       $46,445   $52,459    $55,464     $54,085   $58,472
             2A       $49,407   $55,421    $58,426     $57,047   $61,434
             2B       $49,407   $55,421    $58,426     $57,047   $61,434
             3A       $49,817   $55,831    $58,836     $57,457   $61,844
             3B       $49,817   $55,831    $58,836     $57,457   $61,844
             4A       $50,538   $56,552    $59,557     $58,178   $62,565
             4B       $50,538   $56,552    $59,557     $58,178   $62,565
             5A       $51,162   $57,176    $60,181     $58,802   $63,189
             5B       $51,162   $57,176    $60,181     $58,802   $63,189
             6A       $51,833   $57,847    $60,852     $59,473   $63,860
             6A+L5    $52,853   $58,867    $61,872     $60,493   $64,880
             6B       $52,784   $58,798    $61,803     $60,424   $64,811



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                                     JA-464

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             6B+L5    $53,804   $59,818    $62,823     $61,444   $65,831
             7A       $54,196   $60,210    $63,215     $61,836   $66,223
             7A+L5    $55,216   $61,230    $64,235     $62,856   $67,243
             7B       $57,503   $63,517    $66,522     $65,143   $69,530
             7B+L5    $58,523   $64,537    $67,542     $66,163   $70,550
             8A       $60,598   $66,612    $69,617     $68,238   $72,625
             8A+L5    $61,618   $67,632    $70,637     $69,258   $73,645
             8B       $64,272   $70,286    $73,291     $71,912   $76,299
             8B+L5    $65,292   $71,306    $74,311     $72,932   $77,319
             8B+L10   $68,443   $74,457    $77,462     $76,083   $80,470
             8B+L13   $70,588   $76,602    $79,607     $78,228   $82,615
             8B+L15   $75,115   $81,129    $84,134     $82,755   $87,142
             8B+L18   $76,303   $82,317    $85,322     $83,943   $88,330
             8B+L20   $85,088   $91,102    $94,107     $92,728   $97,115
             8B+L22   $90,033   $96,047    $99,052     $97,673   $102,060
             L5       $1,020
             L10      $4,171
             L13      $6,316
             L15      $10,843
             L18      $12,031
             L20      $20,816
             L22      $25,761


                                 SEPTEMBER 1, 2014


                      BA        EARNED                 MA+30     EARNED
                                MA OR                            MA OR
                                EQUIV                            EQUIV+30
                      Cl        C2+PD      C2+ID+PD    C6        C6+PD
             1A       $48,445   $54,459    $57,464     $56,085   $60,472
             IB       $48,445   $54,459    $57,464     $56,085   $60,472
             2A       $49,407   $55,421    $58,426     $57,047   $61,434
             2B       $49,407   $55,421    $58,426     $57,047   $61,434
             3A       $49,817   $55,831    $58,836     $57,457   $61,844
             3B       $49,817   $55,831    $58,836     $57,457   $61,844
             4A       $50,538   $56,552    $59,557     $58,178   $62,565
             4B       $50,538   $56,552    $59,557     $58,178   $62,565
             5A       $51,162   $57,176    $60,181     $58,802   $63,189
             5B       $51,162   $57,176    $60,181     $58,802   $63,189
             6A       $51,833   $57,847    $60,852     $59,473   $63,860
             6A+L5    $52,853   $58,867    $61,872     $60,493   $64,880
             6B       $52,784   $58,798    $61,803     $60,424   $64,811
             6B+L5    $53,804   $59,818    $62,823     $61,444   $65,831
             7A       $54,196   $60,210    $63,215     $61,836   $66,223



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             7A+L5    $55,216   $61,230    $64,235     $62,856   $67,243
             7B       $57,503   $63,517    $66,522     $65,143   $69,530
             7B+L5    $58,523   $64,537    $67,542     $66,163   $70,550
             8A       $60,598   $66,612    $69,617     $68,238   $72,625
             8A+L5    $61,618   $67,632    $70,637     $69,258   $73,645
             8B       $64,272   $70,286    $73,291     $71,912   $76,299
             8B+L5    $65,292   $71,306    $74,311     $72,932   $77,319
             8B+L10   $68,443   $74,457    $77,462     $76,083   $80,470
             8B+L13   $70,588   $76,602    $79,607     $78,228   $82,615
             8B+L15   $75,115   $81,129    $84,134     $82,755   $87,142
             8B+L18   $76,303   $82,317    $85,322     $83,943   $88,330
             8B+L20   $85,088   $91,102    $94,107     $92,728   $97,115
             8B+L22   $90,033   $96,047    $99,052     $97,673   $102,060
             L5       $1,020
             L10      $4,171
             L13      $6,316
             L15      $10,843
             L18      $12,031
             L20      $20,816
             L22      $25,761


                                     MAY 1, 2015


                      BA        EARNED                MA+30      EARNED
                                MA OR                            MA OR
                                EQUIV                            EQUIV+30
                      Cl        C2+PD      C2+ID+PD    C6        C6+PD
             1A       $49,908   $56,104    $59,199     $57,779   $62,298
             IB       $49,908   $56,104    $59,199     $57,779   $62,298
             2A       $50,899   $57,095    $60,190     $58,770   $63,289
             2B       $50,899   $57,095    $60,190     $58,770   $63,289
             3A       $51,321   $57,517    $60,612     $59,192   $63,711
             3B       $51,321   $57,517    $60,612     $59,192   $63,711
             4A       $52,064   $58,260    $61,355     $59,935   $64,454
             4B       $52,064   $58,260    $61,355     $59,935   $64,454
             5A       $52,707   $58,903    $61,998     $60,578   $65,097
             5B       $52,707   $58,903    $61,998     $60,578   $65,097
             6A       $53,398   $59,594    $62,689     $61,269   $65,788
             6A+L5    $54,449   $60,645    $63,740     $62,320   $66,839
             6B       $54,378   $60,574    $63,669     $62,249   $66,768
             6B+L5    $55,429   $61,625    $64,720     $63,300   $67,819
             7A       $55,833   $62,029    $65,124     $63,704   $68,223
             7A+L5    $56,884   $63,080    $66,175     $64,755   $69,274
             7B       $59,240   $65,436    $68,531     $67,111   $71,630



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             7B+L5     $60,291   $66,487   $69,582     $68,162    $72,681
             8A        $62,428   $68,624   $71,719     $70,299    $74,818
             8A+L5     $63,479   $69,675   $72,770     $71,350    $75,869
             8B        $66,213   $72,409   $75,504     $74,084    $78,603
             8B+L5     $67,264   $73,460   $76,555     $75,135    $79,654
             8B+L10    $70,510   $76,706   $79,801     $78,381    $82,900
             8B+L13    $72,720   $78,916   $82,011     $80,591    $85,110
             8B+L15    $77,383   $83,579   $86,674     $85,254    $89,773
             8B+L18    $78,607   $84,803   $87,898     $86,478    $90,997
             8B+L20    $87,658   $93,854   $96,949     $95,529    $100,048
             8B+L22    $92,752   $98,948   $102,043    $100,623   $105,142
             L5       $1,051
             L10      $4,297
             L13      $6,507
             L15      $11,170
             L18      $12,394
             L20      $21,445
             L22      $26,539


                                       MAY 1, 2016


                      BA         EARNED               MA+30       EARNED
                                 MA OR                            MA OR
                                 EQUIV                            EQUIV+30
                      Cl         C2+PD     C2+ID+PD    C6         C6+PD
             1A       $51,650    $58,062   $61,265     $59,796    $64,472
             IB       $51,650    $58,062   $61,265     $59,796    $64,472
             2A       $52,676    $59,088   $62,291     $60,822    $65,498
             2B       $52,676    $59,088   $62,291     $60,822    $65,498
             3A       $53,112    $59,524   $62,727     $61,258    $65,934
             3B       $53,112    $59,524   $62,727     $61,258    $65,934
             4A       $53,881    $60,293   $63,496     $62,027    $66,703
             4B       $53,881    $60,293   $63,496     $62,027    $66,703
             5A       $54,547    $60,959   $64,162     $62,693    $67,369
             5B       $54,547    $60,959   $64,162     $62,693    $67,369
             6A       $55,262    $61,674   $64,877     $63,408    $68,084
             6A+L5    $56,350    $62,762   $65,965     $64,496    $69,172
             6B       $56,276    $62,688   $65,891     $64,422    $69,098
             6B+L5    $57,364    $63,776   $66,979     $65,510    $70,186
             7A       $57,782    $64,194   $67,397     $65,928    $70,604
             7A+L5    $58,870    $65,282   $68,485     $67,016    $71,692
             7B       $61,308    $67,720   $70,923     $69,454    $74,130
             7B+L5    $62,396    $68,808   $72,011     $70,542    $75,218
             8A       $64,607    $71,019   $74,222     $72,753    $77,429



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             8A+L5     $65,695   $72,107    $75,310     $73,841    $78,517
             8B        $68,524   $74,936    $78,139     $76,670    $81,346
             8B+L5     $69,612   $76,024    $79,227     $77,758    $82,434
             8B+L10    $72,971   $79,383    $82,586     $81,117    $85,793
             8B+L13    $75,258   $81,670    $84,873     $83,404    $88,080
             8B+L15    $80,084   $86,496    $89,699     $88,230    $92,906
             8B+L18    $81,351   $87,763    $90,966     $89,497    $94,173
             8B+L20    $90,718   $97,130    $100,333    $98,864    $103,540
             8B+L22    $95,989   $102,401   $105,604    $104,135   $108,811
             L5       $1,088
             L10      $4,447
             L13      $6,734
             L15      $11,560
             L18      $12,827
             L20      $22,194
             L22      $27,465


                                       MAY 1, 2017


                      BA         EARNED                 MA+30      EARNED
                                 MA OR                             MA OR
                                 EQUIV                             EQUIV+30
                      Cl         C2+PD      C2+ID+PD    C6         C6+PD
            1A        $54,000    60,704     $64,052     $62,517    $67,405
            IB        $54,000    $60,704    $64,052     $62,517    $67,405
            2A        $55,073    $61,777    $65,125     $63,590    $68,478
            2B        $55,073    $61,777    $65,125     $63,590    $68,478
            3A        $55,529    $62,233    $65,581     $64,046    $68,934
            3B        $55,529    $62,233    $65,581     $64,046    $68,934
            4A        $56,333    $63,037    $66,385     $64,850    $69,738
            4B        $56,333    $63,037    $66,385     $64,850    $69,738
            5A        $57,029    $63,733    $67,081     $65,546    $70,434
            5B        $57,029    $63,733    $67,081     $65,546    $70,434
            6A        $57,776    $64,480    $67,828     $66,293    $71,181
            6A+L5     $58,914    $65,618    $68,966     $67,431    $72,319
            6B        $58,837    $65,541    $68,889     $67,354    $72,242
            6B+L5     $59,975    $66,679    $70,027     $68,492    $73,380
            7A        $60,411    $67,115    $70,463     $68,928    $73,816
            7A+L5     $61,549    $68,253    $71,601     $70,066    $74,954
            7B        $64,098    $70,802    $74,150     $72,615    $77,503
            7B+L5     $65,236    $71,940    $75,288     $73,753    $78,641
            8A        $67,547    $74,251    $77,599     $76,064    $80,952
            8A+L5     $68,685    $75,389    $78,737     $77,202    $82,090
            8B        $71,642    $78,346    $81,694     $80,159    $85,047



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            8B+L5    $72,780    $79,484    $82,832     $81,297    $86,185
            8B+L10   $76,291    $82,995    $86,343     $84,808    $89,696
            8B+L13   $78,682    $85,386    $88,734     $87,199    $92,087
            8B+L15   $83,728    $90,432    $93,780     $92,245    $97,133
            8B+L18   $85,053    $91,757    $95,105     $93,570    $98,458
            8B+L20   $94,846    $101,550   $104,898    $103,363   $108,251
            8B+L22   $100,357   $107,061   $110,409    $108,874   $113,762
            L5       $1,138
            L10      $4,649
            L13      $7,040
            L15      $12,086
            L18      $13,411
            L20      $23,204
            L22      $28,715


                                     MAY 1, 2018


                     BA         EARNED                 MA+30      EARNED
                                MA OR                             MA OR
                                EQUIV                             EQUIV+30
                     Cl         C2+PD      C2+ID+PD    C6         C6+PD
            1A       $55,059    $61,894    $65,308     $63,743    $68,727
            IB       $55,059    $61,894    $65,308     $63,743    $68,727
            2A       $56,153    $62,988    $66,402     $64,837    $69,821
            2B       $56,153    $62,988    $66,402     $64,837    $69,821
            3A       $56,618    $63,453    $66,867     $65,302    $70,286
            3B       $56,618    $63,453    $66,867     $65,302    $70,286
            4A       $57,437    $64,272    $67,686     $66,121    $71,105
            4B       $57,437    $64,272    $67,686     $66,121    $71,105
            5A       $58,147    $64,982    $68,396     $66,831    $71,815
            5B       $58,147    $64,982    $68,396     $66,831    $71,815
            6A       $58,909    $65,744    $69,158     $67,593    $72,577
            6A+L5    $60,069    $66,904    $70,318     $68,753    $73,737
            6B       $59,990    $66,825    $70,239     $68,674    $73,658
            6B+L5    $61,150    $67,985    $71,399     $69,834    $74,818
            7A       $61,595    $68,430    $71,844     $70,279    $75,263
            7A+L5    $62,755    $69,590    $73,004     $71,439    $76,423
            7B       $65,355    $72,190    $75,604     $74,039    $79,023
            7B+L5    $66,515    $73,350    $76,764     $75,199    $80,183
            8A       $68,871    $75,706    $79,120     $77,555    $82,539
            8A+L5    $70,031    $76,866    $80,280     $78,715    $83,699
            8B       $73,047    $79,882    $83,296     $81,731    $86,715
            8B+L5    $74,207    $81,042    $84,456     $82,891    $87,875
            8B+L10   $77,787    $84,622    $88,036     $86,471    $91,455



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            8B+L13   $80,225    $87,060    $90,474     $88,909    $93,893
            8B+L15   $85,370    $92,205    $95,619     $94,054    $99,038
            8B+L18   $86,721    $93,556    $96,970     $95,405    $100,389
            8B+L20   $96,706    $103,541   $106,955    $105,390   $110,374
            8B+L22   $102,325   $109,160   $112,574    $111,009   $115,993
            L5       $1,160
            L10      $4,740
            L13      $7,178
            L15      $12,323
            L18      $13,674
            L20      $23,659
            L22      $29,278


                                    JUNE 16, 2018

                     BA         EARNED                 MA+30      EARNED
                                MA OR                             MA OR
                                EQUIV                             EQUIV+30
                     Cl         C2+PD      C2+ID+PD    C6         C6+PD
            1A       $56,711    $63,751    $67,267     $65,656    $70,789
            IB       $56,711    $63,751    $67,267     $65,656    $70,789
            2A       $57,838    $64,878    $68,394     $66,783    $71,916
            2B       $57,838    $64,878    $68,394     $66,783    $71,916
            3A       $58,317    $65,357    $68,873     $67,262    $72,395
            3B       $58,317    $65,357    $68,873     $67,262    $72,395
            4A       $59,160    $66,200    $69,716     $68,105    $73,238
            4B       $59,160    $66,200    $69,716     $68,105    $73,238
            5A       $59,891    $66,931    $70,447     $68,836    $73,969
            5B       $59,891    $66,931    $70,447     $68,836    $73,969
            6A       $60,676    $67,716    $71,232     $69,621    $74,754
            6A+L5    $61,871    $68,911    $72,427     $70,816    $75,949
            6B       $61,790    $68,830    $72,346     $70,735    $75,868
            6B+L5    $62,985    $70,025    $73,541     $71,930    $77,063
            7A       $63,443    $70,483    $73,999     $72,388    $77,521
            7A+L5    $64,638    $71,678    $75,194     $73,583    $78,716
            7B       $67,316    $74,356    $77,872     $76,261    $81,394
            7B+L5    468,511    $75,551    $79,067     $77,456    $82,589
            8A       $70,937    $77,977    $81,493     $79,882    $85,015
            8A+L5    $72,132    $79,172    $82,688     $81,077    $86,210
            8B       $75,238    $82,278    $85,794     $84,183    $89,316
            8B+L5    $76,433    $83,473    $86,989     $85,378    $90,511
            8B+L10   $80,120    $87,160    $90,676     $89,065    $94,198
            8B+L13   $82,631    $89,671    $93,187     $91,576    $96,709
            8B+L15   $87,931    $94,971    $98,487     $96,876    $102,009
            8B+L18   $89,322    $96,362    $99,878     $98,267    $103,400



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              8B+L20     $99,607     $106,647     $110,163      $108,552 $113,685
              8B+L22     $105,394    $112,434     $115,950      $114,339 $119,472
              L5         $1,195
              L10        $4,882
              L13        $7,393
              L15        $12,693
              L18        $14,084
              L20        $24,369
              L22        $30,156


         Adult Education teachers shall be placed on the salary schedules above in accordance
     with the following:
          1. Teachers who meet the requirements for the salary differentials set forth above
     pursuant to applicable Board regulations, shall be placed on the appropriate salary lane.
         2. Teachers who do not qualify for salary differentials shall be placed on the base
     salary schedule.
         3. All teachers shall be placed on a salary step in accordance with their years of
     adult education service except as otherwise set forth in 4 and 5 below.
         4. Only teachers who are both appointed and are also assigned to work full-time, and
     those appointed pursuant to Chapter 201 of the Laws of 1979, may be paid a salary
     greater than Step 4a except as provided in paragraph 5 below. Teachers appointed
     pursuant to the closed exam mandated by Chapter 201 of the Laws of 1979 may be paid a
     salary greater than Step 4A provided that they continue to meet the requirements for
     appointment under that license exam.
         5. Non-appointed incumbents whose adult education service exceeds three years on
     April 1, 1995 will be paid the greater of either (a) the salary on Step 4a of the appropriate
     salary lane; or (b) the base (B.A. lane) salary reflecting their years of adult education
     service on April 1, 1995.
         Teachers paid pursuant to (b) shall thereafter receive only the general increases
     received by teachers on Step 4a, and they shall not advance further on the steps of the
     base (BA) salary schedule. However, should such a teacher later become eligible for a
     salary differential, he or she will be paid the greater of either the April 1, 1995 base
     salary as adjusted in accordance with this provision, or the Step 4a salary of the then
     appropriate salary lane.
         6. Appointed teachers who are assigned to work full-time and who have at least an
     earned MA or equivalent shall advance on the salary schedule on their anniversary date
     and on March 1 of each year. All other teachers shall advance on the salary schedule only
     from one “A” step to the next higher “A” step (for example from Step 1A to Step 2A,
     etc.) on their anniversary date.
         7. Longevity increments are based on years of adult education service and are
     effective on the applicable anniversary date.
          8. The salary of individual teachers is pro-rated up or down depending on their
     regular assignment relative to 1,181 hours per year.
         9. “Full-time” assignment for adult education teachers shall mean regular
     assignment to work thirty hours and fifty minutes per week for a total of 1,181 hours



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     during the workyear. Teachers may be in full-time status for all or part of the workyear.
     The typical workyear is 191^ 6-hour and 10 minute days. Nothing herein shall be
     construed to alter the contractual workyear of 191 % workdays set forth in Article 14B2.

                                  APPENDIX G
                    PROCEDURES FOR PROBABLE CAUSE HEARINGS

         On October 2, 2005 the following understanding was reached regarding probable
     cause hearings:
         The UFT will conduct a meeting of lawyers who represent UFT members at
     Education Law §3020-a proceedings to inform them about the new procedures regarding
     offenses involving sexual misconduct with a student or a minor not a student. During
     that meeting there will be a discussion of what could constitute probable cause, including
     that we agree that in a probable cause hearing the hearing officer may accept hearsay as
     evidence of probable cause, and that a criminal complaint and corroborating affidavit or
     the SCI report is sufficient evidence to create a rebuttable presumption of probable cause.

                                      APPENDIX H
                             HOUSING SUPPORT PROGRAM FOR
                               SHORTAGE AREA TEACHERS

     Program Overview

         The Housing Support Program for shortage area teachers - which would be offered to
     certified, experienced teachers in middle and high school level math and science, and
     special education at all levels - is aimed at attracting the top talent in critical nationwide
     shortage areas to New York City. This program recognizes the challenges of relocating
     to or living in the metropolitan area and encourages both teachers formerly employed by
     the BOE and current teachers in other districts to consider New York City as an
     alternative to other career choices or other competitive school districts.
         The program is an exciting - and new - opportunity to bring high quality, experienced
     teachers to our nation’s highest need schools at the middle and high school levels in math
     and science, and special education at all levels. Fully certified teachers in these shortage
     areas who have taught a minimum of two years - either in their previous careers or
     currently, will be eligible (the BOE may elect to reduce the eligibility standard to one
     year’s teaching experience). All applicants will have to pass a rigorous selection process.
     Successful applicants will receive housing support in return for a three-year service
     commitment.

     Target Teacher Population

         This program will target NY certified (or eligible through reciprocity) experienced
     teachers with two or more years’ full-time teaching in the local tri-state area and
     nationally (the BOE may elect to reduce the eligibility standard to one year’s teaching
     experience). Those certified teachers who formerly taught in New York City are also
     eligible as long as they have been out of the system for at least 2 years. During upcoming
     recruitment trips to California, the northwest and the mid-southeast regions, recruiters


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     will encounter experienced teachers in critical shortage fields for whom a housing
     support program will definitely be an incentive to relocate. Advertising is done in
     advance of these trips, along with pre-screening of candidates’ resumes. In addition, this
     program will be an incentive for teachers who may have left the profession to care for
     families or to be employed in non-teaching careers to strongly consider returning to
     active teaching. To be eligible for the housing support program, teachers may not have
     been employed as an appointed teacher by the Board of Education in the immediate past
     two years.

     Details of Housing Support

         Applicants selected for the Program will be eligible for payment of housing-related
     expenses up to $5,000 which would be used for the following:
             • Relocation expenses
             • Down-payment on a mortgage
             • Initial fees associated with rentals (broker fees, security deposits, first-
                month’s rent)
             • Current mortgage or rental payments
         Teachers must commit to teach in New York City for a minimum of three years, and
     during the first two years of that commitment period, would receive a monthly housing
     stipend of $400 per month. Should the teacher resign or retire during the commitment
     period, the housing stipend would immediately cease and the teacher would repay a
     portion of the $5,000 upfront payment dependent upon years of service commitment
     remaining (participants whose circumstances during the service commitment change may
     apply for a release from the 3-year commitment based on medical or other severe
     hardship).

     Teacher Selection and Deployment Details

     Selection

         The Housing Support Program will focus on recruiting math and science teachers at
     the middle and high school level and special education teachers at all levels. All teachers
     in this program will be expected to teach in a high-needs school as identified through the
     Teachers ofTomorrow list of schools.
         Overall, those eligible for Housing Support program will possess the following:
              • Demonstrated ability to improve student achievement in their subject area.
              • Strong instructional knowledge and content-expertise.
              • Commitment to supporting the academic achievement of all students.
              • Commitment to continuous learning and improvement of instructional
                 practice.
              • Strong communication skills.
         DHR will determine an eligible candidate’s suitability for the Housing Support
     program by:
              • Interviewing applicants to assess whether they meet the qualifications listed
                 above.



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            •   Judging applicants against a hiring rubric.
            •   Checking references and validating full time teaching experience in the
                shortage area from prior schools/ school districts.
            •   Verifying certification in the shortage area.

     Deployment

         Once Housing Support program participants are selected, we must ensure that the
     schools with the strongest need for these experienced teachers receive them. Therefore,
     we plan to target the following types of schools to receive these teachers:
         Teachers of Tomorrow (TOT) schools which include all SURR schools, Impact
     schools and most SINI schools, in addition to schools which are located in traditionally
     more difficult to staff areas. The current list is comprised of 506 schools at all grade
     levels, but our focus would be at the middle and high schools levels.
         Teachers selected to fill vacancies at TOT schools would also be eligible for the TOT
     stipend of $3,400 per year for up to four years, separate and apart from the Housing
     Support Program. DHR expects to have teachers available for selection in early summer
     and will source these candidates to specific high and middle schools with math, science
     and special education vacancies posted in Galaxy.

     Service Commitment

         Teachers will receive the housing support detailed above in exchange for a service
     commitment of three years of teaching in the critical shortage field in a BOE school
     (participants whose circumstances during the service commitment period change may
     apply for a release from the 3-year commitment based on medical or other severe
     hardship).
         A teacher who fails to satisfy the full term of the service agreement will agree in
     advance to repay a pro-rata portion of the value of the support provided as a penalty.
     This penalty will only be imposed on those individuals who voluntarily terminate their
     employment, or who do not provide satisfactory service or meet all NY certification
     requirements.
         This and all other program requirements will be detailed in a supplemental contract to
     be signed by the participant and a representative from the Office of Recruitment. The
     contract will be modeled on the current scholarship contract and will be approved by the
     Legal Department and discussed with the UFT prior to distribution.

     Project Management

        The Office of Teacher Recruitment will execute all parts of the housing support
     program and follow up tracking and information required.

     Program Evaluation

         We expect the Housing Support program teachers to bring us experienced teachers
     able to assist in significantly improving student achievement. Therefore, we are
     proposing to work with research professors Jim Wyckoff and Tom Kane, who are


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     currently studying the comparative effectiveness of BOE teachers hired from different
     pathways, to measure the effectiveness of teachers hired through this pathway.

     Housing Assistance Program

         BOE and UFT will partner with the Department of Housing Preservation and
     Development (HPD) and partner non-profit organization(s) to provide home ownership
     assistance to UFT members which will include home ownership counseling and access to
     down-payment assistance for eligible members and their families. In addition, BOE and
     UFT will work with HPD to disseminate information and provide technical assistance
     regarding current lotteries for affordable rental and homeownership housing across the
     City.

                                      APPENDIX I
                             DISTRICT 79 REORGANIZATION

     Memorandum of Agreement entered into this 29th day of June 2007, by and between the
     Board of Education of the City School District of the City of New York (hereinafter
     referred to as the “BOE”) and the United Federation of Teachers, Local 2, AFT, AFL-
     CIO (hereinafter the “UFT”) amending the collective bargaining agreements for 2003-07
     and 2007-09 between the UFT and the BOE governing Teachers and the corresponding
     provisions of the other collective bargaining agreements for 2003-07 and 2007-09 that
     govern other UFT-represented employees assigned to District 79 (hereinafter collectively
     the “Contract”) to the extent set forth below.

     IN WITNESS WHEREOF, it is mutually agreed to as follows:

                1. The UFT will withdraw with prejudice any currently pending grievances
                   related to the reorganization of District 79. The UFT will withdraw with
                   prejudice any currently pending grievances related to (i) the closure of the
                   current GED program (ASHS, CEC, OES, and VTC), (ii) New
                   Beginnings, (iii) Schools for Pregnant Teens, (iv) Second Opportunity
                   Schools and (v) Off-site Suspension Centers (hereinafter collectively, the
                   “Closing Programs”) and the creation of (i) a new GED program known as
                   GED Plus (hereinafter “GED Plus”); (ii)a new school known as Restart;
                   (iii) two new ACCESS schools (hereinafter, collectively, “GED
                   Plus/Restart/ACCESS”) and (iv) a new program for students suspended
                   for one year (hereinafter “the New Suspension Program”) (GED
                   Plus/Restart/ACCESS and the New Suspension Program hereinafter
                   collectively the “New Programs”). The UFT waives any claims under the
                   Contract or under law not yet asserted as to (i) whether the Closing
                   Programs are substantially the same as the New Programs; (ii) whether the
                   BOE complied with its obligation to bargain with the UFT with respect to
                   the BOE’s decision to end the Closing Programs and create the New
                   Programs; and (iii) whether the closure of the Closing Programs, the
                   creation of the New Programs or the resulting personnel actions violate the
                   Contract or any applicable law. The UFT does not waive any claims other


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                 than those set forth in this paragraph 1 nor any claim that the BOE
                 violated this Memorandum of Agreement.

              2. Section 18D of the Contract will apply to the staffing of the New
                 Programs listed above except that section 18D(3) will apply to one-
                 hundred percent of the bargaining unit positions (not fifty percent of the
                 bargaining unit positions). There will be one personnel committee
                 established for each of the New Programs, but, for GED
                 Plus/Restart/ACCESS, there will be five subcommittees, one for each
                 borough. Grievances challenging whether the personnel committee’s
                 decision regarding the qualifications of individual applicants will be
                 granted if the arbitrator finds that there was no “reasonable basis” for the
                 determination. If one subcommittee finds an applicant qualified for GED
                 Plus/Restart/ACCESS, that applicant shall be deemed qualified for
                 employment in any borough. The GED Plus/Restart/ACCESS personnel
                 committee may require applicants to submit a cover letter or resume
                 explaining how they meet the posted qualifications. The BOE shall make
                 every effort to have applications, including cover letters, submitted on-
                 line. The subcommittees shall do phone interviews for applicants that
                 have prior commitments that prevent them from coming to in-person
                 interviews. The subcommittees will work according to a single hiring
                 rubric created by the GED Plus/Restart/ACCESS personnel committee.
                 The UFT and BOE will jointly conduct training sessions for members of
                 the five subcommittees on the rubric. The GED Plus/Restart/ACCESS
                 personnel committee and the subcommittees shall consider applicants
                 from all employees in all license areas.

              3. Employees excessed from the Closing Programs shall assert a preference
                 as to where they will be deployed in the Absent Teacher Reserve (should
                 they not secure a regular position) as follows: high school employees will
                 list five individual high schools and then a borough; elementary and
                 middle school employees will list five districts and then a borough.
                 Preferences will be granted in seniority order up to a limit of one
                 assignment per fully phased- in school (except in District 79, which is
                 covered by paragraph 4 and not this paragraph 3). Should these
                 employees still be in ATR status in subsequent school years they will be
                 deployed in the same district or borough as the school they were deployed
                 to under the preference system provided for in this paragraph 3.

              4. Any actual vacancies in the New Programs that exist as of September 17,
                 2007 will be filled with excessed employees from the Closing Programs,
                 in license (for GED Plus/Restart/ACCESS, all teaching licenses are
                 appropriate) and in seniority order, under the following conditions:
                 employees placed in these vacancies will serve for the balance of the
                 2007-2008 school year unless they are removed for disciplinary reasons.
                 At the end of the 2007-2008 school year, if both the principal and



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                 employee agree, the employee will be appointed to fill the vacancy in the
                 school. If either the employee or principal do not wish the assignment to
                 continue, the employee will be placed back in ATR status and will be
                 deployed according to the process set forth in paragraph 3 above.

              5. The Second Opportunity Schools (hereinafter “SOS”) and Off-Site
                 Suspension Centers (“OSC”) will close effective August 29, 2007.
                 Employees currently working in SOS who wish to work in the New
                 Suspension Program will be selected for the New Suspension Program.
                 The second sentence of paragraph 6, the first sentence of paragraph 10 and
                 the entire paragraph 12 of the Stipulation of Settlement executed
                 November 17, 2006 with respect to SOS (the “Stipulation”) shall apply to
                 the New Suspension Program (the provisions in Paragraph 12 shall apply
                 only to alleged violations of the second sentence of paragraph 6 and the
                 first sentence of Paragraph 10 of the Stipulation). Those employees
                 having rights under the first sentence of paragraph 10 of the Stipulation
                 may, alternatively, choose to be deployed as an ATR according to the
                 process set forth in paragraph 3 of this Agreement above. Nothing
                 contained herein shall be construed as a waiver of any provision of the
                 Stipulation until SOS and OSC are closed. Placement in the New
                 Suspension Program shall continue to be voluntary. Staff presently
                 assigned to SOS will have the right to remain in the New Suspension
                 Program. Current SOS and OSC employees will notify the BOE by June
                 30, 2007 whether they will choose to work the SOS summer 2007 session.
                 SOS employees will be given the opportunity to indicate by July 13, 2007
                 whether they will choose to work in the New Suspension Program or,
                 alternatively, whether they will choose to be deployed as an ATR
                 according to the process set forth in paragraph 3 of this Agreement above.

              6. The New Suspension Program’s summer school program (hereinafter the
                 “Suspension Summer Program”) will be governed in all respects by the
                 provisions of the Contract and Chancellor’s Regulations governing per
                 session programs, except that the pay for such summer service for UFT-
                 represented employees will be pro-rata. Employees working in the New
                 Suspension Program shall have preference for the Suspension Summer
                 Program.

              7. Current SOS employees will be rated on their performance during the
                 summer of 2007. Those who receive a satisfactory rating and who worked
                 in SOS during the summer of 2006 and received a satisfactory rating for
                 the 2005-2006 school year will have retention rights under Section 15c2(a)
                 of the Contract for work in 2008 Suspension Summer Program.

              8. The BOE will post teaching positions that will support pregnant and
                 parenting teens across the system. 100% of the teachers currently serving
                 in the School for Pregnant Teens who apply and meet the posted



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                      qualifications will be hired for these positions. The BOE will consult with
                      the UFT regarding the posting for these positions. These teachers will be
                      deployed out of the BOE’s LYFE centers and referral centers (“hubs”)
                      where appropriate and the BOE will consult with the UFT regarding such
                      deployment decisions. No LYFE Center shall be closed through at least
                      the 2008-2009 school year.

                 9. The UFT will serve on a committee to be established by the BOE, which
                    may also include advocates, community representatives and experts, to
                    examine and make recommendations regarding best practices in
                    supporting students across the system who are pregnant or parenting teens.

                 10. District 79 staff who are excessed from the Closing Programs will have
                     the right of return to a vacancy in New Programs in seniority order if they
                     were found qualified by an 18D committee but did not secure the position
                     because more senior qualified applicants were selected. For the programs
                     in which multiple licenses are appropriate, all license areas will be
                     grouped together for purposes of determining seniority with respect to the
                     previous sentence.

                 11. All other terms of the Contract shall remain in full force and effect unless
                     it is otherwise amended by or are inconsistent with the terms of this
                     Memorandum of Agreement.

     Agreed to this____day of June 2007:

     Department of Education

     /s/ Joel Klein



     United Federation ofTeachers

     /s/ Randi Weingarten




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                                        APPENDIX J
                                    FALSE ACCUSATIONS


                                                               Joel I Klein
                                                               Chancellor
                                                               Department of Education
                                                               52 Chambers Street
                                                               New York, NY 10007


     December 17, 2007


     Randi Weingarten
     President
     United Federation ofTeachers
     52 Broadway
     New York, NY 10002


     Dear Ms Weingarten,

     Notwithstanding any provision of the Teacher CBA (and corresponding provisions in
     other UFT contracts) to the contrary, the parties agree that grievances may be initiated
     under Article 21H (False Accusations) of the Teacher agreement (and corresponding
     provisions in other UFT contracts) for the purpose of securing implementation of its
     specific provisions, including removal of material from the employee's personnel file.

     Sincerely,



     Joel I Klein




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                                        APPENDIX K
                                    PENSION LEGISLATION

     October 17, 2007



     Randi Weingarten
     President
     United Federation ofTeachers
     52 Broadway - 14th Floor
     New York, NY 10004

     Dear Ms. Weingarten:

     This letter will confirm certain mutual understandings and agreements of the parties.

     The parties agree to jointly support legislation to amend current pension provisions that
     will contain the following elements in order to implement an optional "25/55" retirement
     program for current employees in the Teachers Retirement System (TRS) and the below
     listed UFT-represented members in the Board of Education Retirement Systems (BERS)
     and to provide a revised retirement paradigm for newly-hired employees in TRS and
     newly-hired UFT-represented members in BERS listed below. The UFT-represented
     BERS titles to be included are: all nurse and therapists titles, substitute vocational
     assistants, all non-annualized adult education titles, directors and assistant directors of
     drug and alcohol programs, sign language interpreters, all military science instructor
     titles, and all education officer and analyst titles.

     The legislation will incorporate the following:

          (1)   An "opt-in period" of six months in which any incumbent employee who
                wishes to participate in this optional program must affirmatively submit a
                written election to participate.

          (2)   Additional Member Contributions (AMC) - in addition to all currently
                required statutory contributions, an Additional Member Contribution (AMC)
                of 1.85% shall be paid by those employees electing to participate in this
                optional program as well as by all newly-hired employees participating in the
                TRS and newly-hired UFT-represented above listed members participating in
                BERS retirement systems. These additional member contributions shall
                become effective on the first business day after the enactment of this enabling
                legislation.

          (3)   Current incumbent employees including those on leave who elect to
                participate in this optional program and who pay the requisite AMC shall be
                eligible to retire at age 55 with 25 years of credited service with immediate



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                payability of pension benefits without any reduction.        Assuming the
                legislation is effectuated in the 2007-08 school year, those who elect this
                pension will be eligible to retire 6/30/2008 or later.

          (4)   Employees hired after enactment of this enabling legislation shall be eligible
                to retire at age 55 with 27 years of service and receive immediate payability of
                pension benefits without any reduction. This will not be construed to change
                the eligibility for retiree health insurance benefits (i.e., ten years of credited
                service and pension payability) as determined by the City and Municipal
                Labor Committee and in accordance with the Administrative Code.

          (5)   To the extent the parties have not captured all of the necessary elements
                required to be enacted with enabling legislation (e.g., loan provisions, refund
                rules, etc.), the intent is that those elements shall be analogous to those
                comparable provisions contained in Chapter 96 of the Laws of 1995. Should
                the parties be unable to agree on those specific terms in a timely fashion, they
                agree that the City Actuary, in consultation with the Law Department's
                Pension Division and the UFT, shall determine the final language for the
                proposed legislation consistent with the parties' mutual understandings.

     If the above accords to your understanding, please execute the signature line below.

                                                          Very truly yours,



                                                           James F. Hanley


     Agreed and Accepted By:


     __________________                                   October 17, 2007
     Randi Weingarten                                     Date
     President
     United Federation ofTeachers




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                                       APPENDIX L
                                      CONSULTANTS

                                                             Joel I Klein
                                                             Chancellor
                                                             Department of Education
                                                             52 Chambers Street
                                                             New York, NY 10007


     December 17, 2007


     Randi Weingarten
     President
     United Federation ofTeachers
     52 Broadway
     New York, NY 10002


     Dear Ms Weingarten,

     The parties have agreed to the following clarifications of the 2007-09 Collective
     Bargaining Agreement covering Teachers (the “CBA”):

     The UFT has reserved its rights to take any appropriate legal action with respect to
     consultants being used as mentors.

     The parties agree that Article 8G2 and Appendix D of the CBA do not apply to the
     school-based mentoring program set forth in Article 11(IV)B or the Lead Instructional
     Mentor Position set forth in Article 11(IV)(D).

     Sincerely,



     Joel I. Klein




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                                                                        APPENDIX M
                                                                         PARKING




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                                                                                                 August 26, 200s
                               Ms. Randi Weingarten
                               President
                               United Federation ofTeachcr~
                               52 Broadway
                              New York.NY 10004

                              DearMs~
                                                                                                                      .
                                        As yciu "know, Mayor 'Blooril~·anno.unced -~lier this. ye'ijr
                                                                                                        that ihe City of New
                              York is implementing a comprebeosi:<• prog,:ani \0 mluce
                                                                                           the number !l!ld abnsc of
                              government parking pl.e.cards. This program is part of"our efforts
                                                                                                    to reduce traffic
                              r.ongesti011, decrease tb.e City's carbon footprint, and encoun
                                                                                              ge the use of public
                              transportation. Aceordingly, the City has desigJUlted the Departm
                                                                                                    ent of Transportation
                              (DOT) and the Police Department as the sole issuing ~gencies
                                                                                                of placards for on-street
                              parking. No other agencies, including the Department ofEdliG1
                                                                                                 1tion (DOE). are now
                              permitted to issue on-street parking placards. With'rcspect
                                                                                            to DbE, the transition to the
                              new system will be implemented.ov.ei the coming weeks a:;
                                                         .         '.    , •_   ... .. ...
                                                                                  -
                                                                                             follows,: '
                                                                                             '      •.   ,:        .
                                  1. DOE currently has l 0,0076~ -street parking spots ell~ted
                                                                                                  . by DOT. These spots
                                     have bee.n assigned to individual schools by DOE based on
                                                                                                   the location Of the on•
                                     street spots and schools. All of these spots will continue
                                                                                                to be available for school
                                     patlcing. In addition, DOE has 15,060 off-street parldng spots,
                                     also continue to be available for school p11rki.ng ._
                                                                                                                   eacn
                                                                                                            ofwbicJi will

                                 2. DOT will produce ao.d DO~.will issu~ l'0,007                 Agency
                                                                                                Au1borized:.On-Street
                                    Padcing Placards '91hicJi allow an 'inillviduaJ to park in tilt on-siree
                                                                                                            t spaces ·
                                    dt'.ligaateq for a specific school DOE,vill eontinue to.issue
                                                                                                      sep8r8te placards
                                    valid only for ace~ ti) _the 15,060 Off-street parking spots ..
                                                               .                  .
                                 3. Wilhre s~t to the recipients.of-the-.on-street and off-stree
                                                                                                 t placards, principals
                                    and the United Federation of Teachers (UFT) Chap!er Lead~
                                                                                                      will decide an one
                                    of1hc following dislributionmelh.ods: (l) assignment to individu
                                                                                                        al staff; (2) ·
                                    pooling of placards for use each day; or (3) some combilla
                                                                                                tiori of these two
                                                            and lJFT
                                    options. If a princfJ)l!l  the      ~hapter ~er-cannot agree, then 1he UFT




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                               President and Commisstoncr of the Office of Labor Relations, or their respccti ve
                               design~, will make a final decision.

                           4. If a principal or UFT Chapter Leaderbelicves: (1) a.school deserves additional
                              cmb-space allocar"':'3- for &ehooi paddng; (2)'the =ber of cum:m on-street
                              spaces was incorrectly qounted; or {~) tbere•is additional off-street space that is
                              undem!ilfaed, they can appeal-to DOT and DOE througll the Mayor's Office of
                              Operations.             ·

                          s. DOT will prod~and OOE'will issuoatleast i",000.additional placards1o
                              .!eacliers e.nd staff whose w~rk rC:<J.uires them-to visit multiple sites during ~e
                               rourse of their workdays, and .will also consider requests for plw:ards fo1 teachers
                               that travel lietween.assigned ~a.Is. ~ecific offi,ce& and groups for whom 1hesc
                               placards are int.epded illclude, bµt arc n.o~ limited to, tliefoJlo;..iilg: Adult and
                               Continuing Education, Citywide Speech Seh'.ices, Bd~onal Vision_Services,
                              .Hearing Education '$m:ioos, }iom~ Instruction,.Hospital lnstructiou, Non-Public
                               &hool"s, UF_T, and sOllle adminisa:Ative-offi.ces. The majority oftbese placards
                               will be Agency _Busipess Parkin,:-Ple.cards whicl!.-allow airindividwil to park
                               citywide for three hours at a t\mc· (padong meters, ~c). The distribution oftbese
                              placards will be dcte:nni.Ded .by the_Chanccllor or his desigt1ee.            ·
                          6. The issuance ofnew p~ds Will srart with the ~ginning of the ·school year so
                             tJ,at the system c,m be :fullj in-place.by' O<;tober I. Once:th& new syst= has bceo
                             implemented, viol:rtors will be subje<l\10 enforcement by the Police Department.

                          7. The UFT will hold the grievance in ,abeyance.

                             Note that with respect to Transit Check, we are ~ead y in the process of
                      implementing a program and the:RFP 1lia:t b.a$·been put out is due back·to the City in
                      September.
                                                                                . .,_ ·...
                             Please feel free to contacl·!Ile at {412). 788-3191_·with-any questions or additional
                      concerns regarding the transition to lhc 1;ew system.

                                                                            Sincerely,

                                                                          <~ / ~'
                                                                          ~~
                                                                            Ilc!ward "Skyler



                      oc: Jo~] I.Klein, Chancellor, Dep~ei;itofEducation
                          Raymond W. Kelly, Commissioner;-Police Department
                          JamesP. Hanley, Commissioner, Office of Labor Relations
                          Janette Sadllc-Khan, Co~sione r, D~!lflment ofTtails,,ortatioii




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                                              APPENDIX N
                                     CLOSING OF ISLAND AND HORIZON
                                              ACADEMIES
                                             CLOStNG Of ISLAND AND HORIZON ACADEMIES
                                                   MEMORANDUM OF AGREEMENT
                                                                  Between
                         THE BOARD OF EDUCATION OF THE CITY SCHOOL DISTRICT OF THE CllY OF NEW YORK
                                                                    And
                                      UNITED FEDERATION OF TEACHERS, LOCAL 2, AFT, AFL-CIO

                     This Memorandum of Agreement{"MOA"), effective as of July 16, 2010, Is made byand_between the
                     Board of Education of the City School District of the City of New York ("DOE") and the United
                     Federation of Teachers, Local 2, AFT, AFL-CIO {' UFT'.) regarding the closing of Island and Horizon
                     Academ ies ("Closing Programs"} on Rlkers Island and the opening of a single program ("Rikers Island
                     Academy" or "New Program ") for the 2010-2011 school year and beyond.

                     WHEREAS, the mission of Distrlct 79: Alternative Schools and Programs ("District 79") is to re-
                     engage and empower students throu~h rigorous Instruction and quality support services, and to
                     serve as a model for innovative and replicable ~tegles of alternative sct;ools and programs and In
                     connection therewith District 79 operates the educational programs on Rlkers Island, public school
                     programs tt.atseek to educate and provide social/emotional and other supports to S11Jdents who are
                     incarcerated therein;

                    INwrrNESS WHEREOF, It Is mutually agreed to as follows:

                    1.    The LIFT waives any claims -under any of tha collective bargaining agreements (the •cBAs")
                    between the LIFT and the DOE or under law as to;
                          (I)      Whether the Closing Programs are subst'lntlally the same as the Naw Program;
                          (II)     Whether the DOE complied with Its obligation to bargain with the UFT with respect to
                                   the DOE's decision to end the Closing Programs and create the New Program; and
                          (Ill)    Whether the closure of the Closing Programs, the creation of the New Program or the
                                   resulting personnel actloris violate the CBAs or any applicable law.

                           The UFT does not waive any claims of any type other than those specifically set forth In this
                    paragraph 1, nor any claim that the DOE violated this MOA.

                    2.       The Closing Programs will close effective August 27, 2010 and the New Program will open as
                    of that same date.

                    3.      All LIFT-represented employees ("Employees") excessed from the Closing Programs will have
                    three opUons;                                                ·
                            (I)     apply for positions in the New Program and have the opportunity to be selected for a
                                    position in the New Program in accordance with the procedures set forth herein;
                            (ii)    seek a position outside of District 79 through the Open Market Hiring System, the
                                    Excessed staff Selection Sys~em, and any other applicable resources; or
                            {I ii)  be placed as an Absent Teacher Reserve (•ATR") In e District 79 program pursuant to
                                    the procedures setforth herein.

                    Employees currently assigned to the Closing Programs shall have until July 26, 2010 to apply to worl<
                    In the New Program.

                    4.     Sectloo 18D of the collectlva bargaining agreement covering teachers (the "Teachers' CBA")
                    will apply to tile staffing of all positions for all Employees In the New Program with the following
                    changes: Section 18D4 of the Teachers CBA will apply to one-hundred percent of the positions (not
                    fifty percent of the positions). Notwithstanding Section 18D1 of the Teachers' CBA, there will be
                    three (3) personnel committees established for the' New Program and each committee shall consist
                                                                                                              Pagei




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                      of two (2) UFT representatives, two (2) DOE representatives, and either the principal of the New
                      Prog,am or District79 representative. These committees:
                             (I)    May require applicants only to submit a cover letter or resume explaining how they
                                    meet the posted quaHficatlons. The cover letters and resumes shall be submitted
                                    online to an address designated by the DOE In the postln~.
                             (ii)   Shall conduct interviews for all qualtfled applicants from July 20, 2010 throull)1
                                    August 31, 2010.
                             (Ill)  Shall conduct phone inte,views for applicants that have prior commitments that
                                    prevent them from com ing to In-person Interviews.
                            (Iv)    Shall work according to a single hiring rubric created by the personnel oommittee.
                             (iv)   Shall consider qualified applicants from all Employees in all license areas.

                     The UFT and DOE will Jointly conduct a training session f or t11e members of the peisonnel
                     committees on the rubric on July 19, 2010.

                     Grievances cttallenging whether the personnel committees' decision regarding the qualifications of
                     individual applicants will be granted If tt,e arbitrator finds that there was no •reasonable basis' for
                     the determlnatlon.

                            Teachers who are selected to work In the New Program may assert a program preference In
                     accordance ~th the procedures set forth In the CBAs for the term beginning September 2010. To
                     the extent any such preference process exists regarding programs or assignments In other
                     applicable CBAs, this paragraph shall not be construed as a waiver of any such provisions. School
                     seolo~ty. where applicable, will include all prior service In either or both of the closing programs. The
                     DOE agrees Iii implement any reorganization giievance decisions arising from the process no later
                     than February 1, 201L

                    5.      The UTT and DOE shall agree on the number of Absent Teacher Reserve ("ATR") positions
                    that there may be at each school/program (and, where applica ble, particular site) In District 79 glven
                    space llmltatlonS. All Employees excessed from the Closing Programs shall be given a complete 11st
                    of these positions. The DOE shall place all Employees excessed from the Closing Programs (who are
                    not selected by the personnel committees for the New Program and who do not secure another
                    regular position) Into an ATR position in District 79, in seniority order, at the school/program (and,
                    where applicable, partJcular site) of the Employee·s preferenre. In addition to any other rights the
                    Employee may have, an Employee who believes that the partinular location he/she Is assigned to in
                    an ATR position Is an undue burden because of the travel time from the Employee's home to the site,
                    he/she may request that representatives of the DOE and UFT jointly review the assignment. Hthe
                    UFT and DOE representatives agree the assignment presents an undue burden, the Empleyee shall
                    be reassigned to a _  location Jointly determined by the UFT and DOE representatives . . Should any
                    Employee excessed from the Closing Programs be In ATR status In subsequent school years, they vAII
                    not be assigned outside of the borough they were assigned to pursuant to the preference system
                    provided tor lnt;hlS paragraph 5.

                     6.      By September 21, 2010, Employees excessed from Closing Programs serving In ATR
                     positions pursuant to paragraph 5 shall, In license and In sen iority order, be placed, if they choose, In
                     any vacancies that exist In District 79 programs, under thefollow1ng conditions: Employees placed
                     in the vacancies shall se,ve for the balance of the 2010-2011 school year. At the end of the 2010-
                     2011 school yea r, If both the principal and Employee agree, the Employee will t,e appointed to ffll the
                   . vacancy In the school. If either the Employee or prlnclpal do not wish the assignment to continue,
                     the Employee will be placed back in ATR status and will return to ATR status In District 79 lo the
                     same borough as they were assigned as an ATR pu rsuant to paragraph 5.



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                    7.       Th e summer school programs on Rikers Island will continue for the summer of 2010 and
                    retentions rights to that program shall continue to be governed In all respects by the provisions of
                    the applicable CBAs and existing regulations, precedents, policias and practices. Distrtct 79
                    reserves the right to modify the size of Its summer program for the summer of2010 and beyond atld
                    also reserves the right to cl1ange the existing sum mer program at Rlkers lsi<lnd in the future. This
                    MOA shall not be construed as a waiver by the UFT or any Employee of any rights (under any CBA or
                    otherwise) regarding summer school programs at Rlkers Island, including, but not limited to, should
                    District 79 change the summer programs In the future.

                    8.     The DOE shall maintain a Teacher Center In the New Program tor the 2010-11 school year.

                    9.      District 79 shall request a 'Gate 1' pass from the New York Cify Department of Corrections
                    ('DOC-) for use by a UFT-deslgnated representative. The UFT acknowledges the DOC Is not a party to
                    this MOA and has the final authority as to whether the District 79 request is granted.

                    10.    Given the consolidation of programs and the unique setup at Rike~ Island, to the DOE shall
                    program the 5 release periods per week for the chapter leader pursuant to Article 19B1b of th_e
                    Teachers' CBA either consecutively on one day or in two blocks on two days.

                    11.     Any settlement of, decision in or order In Pu bile Employment Relations Board cases U-27415
                    and U-27692 shall apply fully to the New Program in the same manner as It would apply to the
                    Closing Programs.

                    12.      Nothing In this Agreement shall constitute a waiver or modiffCation of any provision of the
                    CBA, other agreement between the Department and the UFT, applicable Department by-laws,
                    policies, and regulations of the Chancellor, or past practice except as specifically set forth herein.

                    13.       This MOA may be executed In counterparts, each of whlcl'I shall be deemed an original but
                    all of which shall together constltute one and the same instrument.

                    14.    This MOA represents the entire understanding and agreement of the partles with respect to
                    the subject matter hereof and any other purported written and/ or verbal agreement shall be null and
                    void.

                    THE FOREGOING IS UNDERSTOOD, ACCEPTED AND AGREED TO BY:


                    UN ITED FEDERATION OF TEACH ERS, LOCAL 2,          BOARD OF EDUCATION OF THE Cl1Y SCHOOL
                    AFT, AFL-CIO               .                       DISTRICT OF THE CffY OF NEW YORK




                                                                       Slgnet1/

                   Name: _ __ _ _ _ _ _ _ __                           Name: _ __ _ _ _ _ __ __


                   Title: _ __ _ _ _ _ __ __                           Title: _ _ __ __ _ _ _ _ __


                   Date: _ _ _ __ _ _ _ __ _                           Date: _ __ _ _ _ _ _ __ __

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                                                        APPENDIX O
                                                     PEER VALIDATORS




                    Department of
                    Education
                    ci.-m.,TmrM&.CIWIOilol




                    Adam Ross
                    United Federation of Teachers
                    S2 Broadway
                    New York, NewYork 10007

                    Dear Adam:

                    In the eve nt a Peer Validator concurs with a principal's assessment of a teachers performance and the
                    Department files charges against the teacher under Education Law §3012-c, this letter shall
                    acknowledge the Parties' agreement. Peer Validators are not permitted to assess teachers preparation
                    and professionalism on components la, le and/or 4e outside of a teachers classroom observation
                    (pursuant to the MCA).

                    Howeve r, notwithstanding the Parties' agreement regarding components la, le and 4e, teachers shall
                    not be precluded from specifically contesting the validity of the ratings of components la, le and/or 4e
                    regardless of whether or not they have been reviewed by Peer Validators.

                    Please sign and rel urn to me at your earliest convenience.




                    Adam Ross




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                                                             APPENDIX P
                                                                UNIT
                                                                PLAN




                   Topic/Theme/Duration


                    Essentla I Question(s)




                    Standard(s)




                    Key Student Learning
                    Objectives


                           ..          -       - .. .. . ·······-·- ----···   -- _..__, -·--·-~·•·· ·-· -··-··--·--·   --- .

                    Sequence of Key Learning
                    Activities




                    Text(s) and Materia ls to be
                    Used




                    Assessment(s)




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------------X
NICOLE BROECKER, MICHELLE MARTINO, GINA
PORCELLO, AMOURA BYRAN, RENA GELLMAN,                                             INDEX NO._____________
FOTINA           LAMBOS,             KERRY           BEN-JACOB,
EKATERINA               UDINA,           ANDREA             TICHIO,
MARIANNA             CIACCA-LISS, ANITA                     QUASH,
KELLY DIXON, FELICIA HAGAN, MARITZA
ROMERO, MARIA RUSCELLI, BETIZIADA CRUZ,
FRANCINE TRAPANI, JEANNINE LAM, JESSICA
NARCISCO, BRIANNA PEREZ, NICOLETTA
MASULLO, ANASTASIA CHRISTOPOULOS, FAYE                                              ORDER TO SHOW CAUSE
KOTZER, BENEDICT LOPARRINO, YADITZA
RODRIGUEZ, RAFAEL ADRIAN TORO, SERINA
MENDEZ,            DINA          HUSSIEN,           HERENDYRA
PEREYRA, ROSA ABREU, LISA WILLIAMS, JOAN
GIAMMARINO, ANDREA JACKSON, MARIA
KLAPAKIS,             STELLA            PORTO,           TONIANN
MIRAGLIA,                  ROSEANNA                    SILVESTRI-
INCANTALUPO, JULIA A. MAVIS, CHRISTOPHER
HANSEN, ANNETTE BACK OF, DIANE PAGEN,
LYNN PEPE, STEPHANIE EDMONDS, YVONNE
COSTELLO, DEBBY HARTZ, SORAYA SANCHEZ,
MONIQUE MOORE, ANGELA VELEZ, SALLY
MUSSAFI, JESSICA NICCHIO, DORCA GENAO,
RACHEL MANISCALCO, JAMES HOFFMAN,
SHARLAYNE               JACOBS,          CRYSTAL             SALAS,
FRANCES DIPROSSIMO, CAROLA MARTINEZ-
VAN BOKKEM, AYSE USTARES, ELIZABETH
FIGUEROA, DIANE BAKER-PACIUS, NICOLE
MOORE, ELIZABETH PLACENCIO, DEBBIE
BERTRAM,              KIMBERLI            MADDEN,              FRAN
SCHMITTER,               VICTORIA             RUSSO,           PAUL
CIFARELLI, DANIELLE HEAL, SARA COOMBS-
MORENO, LISA SIMO, TAMI BENEDUCE,
ZABDIEL           VALERA,           NATHALIE            CHARLES,
JANELLE LOTITO, JEANEAN SANCHEZ, MARIE
MOSLEY,            TARA         PALLADINO,              DANIELLE
MCGUIRE, JULIA HARDING, LEAH KUKLA,
STEPHANIE             FRANZESE,            JULIA         BALASIS-
MARING, BETH SCHIANO, on behalf of themselves
and all other similarly situated employees of the New
York City Department of Education,
                                                             Plaintiffs,

                                  -against-

NEW YORK CITY DEPARTMENT OF EDUCATION,
MEISHA PORTER, in her official and individual
capacities, UNITED FEDERATION OF TEACHERS,


                                                                1
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LOCAL        2,    AMERICAN         FEDERATION         OF
TEACHERS, AFL-CIO, MICHAEL MULGREW, in his
official and individual capacities, JOHN DOE #1-10, in
their official and individual capacities; and JANE DOE
#1-10 in their official and individual capacities,
                                                   Defendants.
----------------------------------------------------------------------- X

         Upon the Affidavit of Nicole Broecker, sworn to on the 16th day of November 2021, the
Affidavit of Jeannine Lam, sworn to on the 15th day ofNovember 2021, Affidavit of Stella Porto,
sworn to on the 16th day ofNovember 2021, Affidavit of Gina Porcello, sworn to on the 15th day
of November 2021, Affidavit of Dina Hussein, sworn to on the 15th day of November 2021
accompanying Affirmation of Austin Graff, affirmed to on the 17th day ofNovember 2021, the
accompanying Memorandum of Law, and upon the copy of the Complaint hereto annexed, it is


         ORDERED, that the above named Defendants show cause before a motion term of this
Court     at   Room       ___,     United     States     Courthouse,        ____________________________ ,
_________________ ,            County       of     ______________ ,          State   of   New   York   on
___________________________ , 2021 a t ______o’clock in th e ____ noon thereof, or as soon
thereafter as counsel may be heard, why an order should not be issued pursuant to Rule 65 of the
Federal Rules of Civil Procedure:


                  (a)      enjoining and restraining the Defendants from withholding pay from any
                           and all tenured principals who have failed to take a COVID-19 vaccine;


                  (b)      enjoining and restraining the Defendants from withholding pay from any
                           and all tenured assistant principals who have failed to take a COVID-19
                           vaccine;


                  (c)      enjoining and restraining the Defendants from withholding pay from any
                           and all tenured teachers who have failed to take a COVID-19 vaccine;




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           (d)   enjoining and restraining the Defendants from withholding pay from any
                 and all civil service employees entitled to N.Y. Civil Service Law § 75
                 rights who have failed to take a COVID-19 vaccine;


           (e)   enjoining and restraining the Defendants from withholding pay from any
                 and all employees of the New York City Department of Education who, as
                 a term of their union’s collective bargaining agreement with the New York
                 City Department of Education cannot be terminated or disciplined without
                 a hearing, like secretaries or paraprofessionals, who have failed to take a
                 COVID-19 vaccine like paraprofessionals and secretaries;

           (f)   enjoining and restraining the New York City Department of Education
                 from disciplining, including but not limited to terminating any and all
                 tenured principals who have failed to take a COVID-19 vaccine without
                 proffering charges and specifications and granting the tenured principal a
                 hearing on the charges;

           (g)   enjoining and restraining the New York City Department of Education
                 from disciplining, including but not limited to terminating any and all
                 tenured assistant principals who have failed to take a COVID-19 vaccine
                 without proffering charges and specifications and granting the tenured
                 principal a hearing on the charges;

           (h)   enjoining and restraining the New York City Department of Education
                 from disciplining, including but not limited to terminating any and all
                 tenured teachers who have failed to take a COVID-19 vaccine without
                 proffering charges and specifications and granting the tenured principal a
                 hearing on the charges;


           (i)   enjoining and restraining the New York City Department of Education
                 from disciplining, including but not limited to terminating any and all civil
                 service employees entitled to N.Y. Civil Service Law § 75 rights who have



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                      failed to take a COVID-19 vaccine without proffering charges and
                      specifications and granting the tenured principal a hearing on the charges;

                (j)   enjoining and restraining the New York City Department of Education
                      from disciplining, including but not limited to terminating any and all
                      employees of the New York City Department of Education who, as a term
                      of their union’s collective bargaining agreement with the New York City
                      Department of Education, like paraprofessionals or secretaries who cannot
                      be terminated or disciplined without a hearing who have failed to take a
                      COVID-19 vaccine without proffering charges and specifications and
                      granting the tenured principal a hearing on the charges;

and it is further


        ORDERED, that, sufficient reason having been shown therefore, pending the hearing of
Plaintiffs’ application for a preliminary injunction, pursuant to Rule 65, Fed. R. Civ. P., the
Defendants are temporarily:


                (a)   enjoined and restrained the Defendants from withholding pay from any
                      and all tenured principals who have failed to take a COVID-19 vaccine
                      and shall immediately restore all tenured principals who have been placed
                      on unpaid status because of their COVID-19 vaccination status to active
                      pay status and restore their wages, benefits, including health benefits, and
                      pension credits; and


                (b)   enjoined and restrained the Defendants from withholding pay from any
                      and all tenured assistant principals who have failed to take a COVID-19
                      vaccine and shall immediately restore all tenured assistant principals who
                      have been placed on unpaid status because of their COVID-19 vaccination
                      status to active pay status and restore their wages, benefits, including
                      health benefits, and pension credits; and




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           (c)   enjoined and restrained the Defendants from withholding pay from any
                 and all tenured teachers who have failed to take a COVID-19 vaccine and
                 shall immediately restore all tenured teachers who have been placed on
                 unpaid status because of their COVID-19 vaccination status to active pay
                 status and restore their wages, benefits, including health benefits, and
                 pension credits; and


           (d)   enjoined and restrained the Defendants from withholding pay from any
                 and all civil service employees entitled to N.Y. Civil Service Law § 75
                 rights who have failed to take a COVID-19 vaccine and shall immediately
                 restore all civil service employees entitled to N.Y. Civil Service Law § 75
                 rights who have been placed on unpaid status because of their COVID-19
                 vaccination status to active pay status and restore their wages, benefits,
                 including health benefits, and pension credits; and

           (e)   enjoined and restrained the Defendants from withholding pay from any
                 and all employees of the New York City Department of Education who, as
                 a term of their union’s collective bargaining agreement with the New York
                 City Department of Education, like secretaries or paraprofessionals who
                 cannot be terminated or disciplined without a hearing who have failed to
                 take a COVID-19 vaccine and shall immediately restore all employees of
                 the New York City Department of Education who, as a term of their
                 union’s collective bargaining agreement with the New York City
                 Department of Education, like secretaries or paraprofessionals who cannot
                 be terminated or disciplined without a hearing who have been placed on
                 unpaid status because of their COVID-19 vaccination status to active pay
                 status and restore their wages, benefits, including health benefits, and
                 pension credits;; and

           (f)   enjoined and restrained the New York City Department of Education from
                 denying or suspending access to the TEACH system and all other
                 computer access to any employee who has been placed in an unpaid leave


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                 status because of the Plaintiffs’ or similarly situated persons’ COVID-19
                 vaccination status; and

           (g)   enjoined and restrained the New York City Department of Education from
                 disciplining, including but not limited to terminating any and all tenured
                 principals who have failed to take a COVID-19 vaccine without proffering
                 charges and specifications and granting the tenured principal a hearing on
                 the charges, including, but not limited to the December 1, 2021 threat to
                 unilaterally separate tenured principals who have not made a decision
                 regarding the New York City Department of Education’s deadline to
                 decide whether to extend his/her leave without pay due to vaccination
                 status; and

           (h)   enjoined and restrained the New York City Department of Education from
                 disciplining, including but not limited to terminating any and all tenured
                 assistant principals who have failed to take a COVID-19 vaccine without
                 proffering charges and specifications and granting the tenured principal a
                 hearing on the charges, including, but not limited to the December 1, 2021
                 threat to unilaterally separate tenured principals who have not made a
                 decision regarding the New York City Department of Education’s
                 deadline to decide whether to extend his/her leave without pay due to
                 vaccination status; and

           (i)   enjoined and restrained the New York City Department of Education from
                 disciplining, including but not limited to terminating any and all tenured
                 teachers who have failed to take a COVID-19 vaccine without proffering
                 charges and specifications and granting the tenured teachers a hearing on
                 the charges, including, but not limited to the December 1, 2021 threat to
                 unilaterally separate tenured teachers who have not made a decision
                 regarding the New York City Department of Education’s deadline to
                 decide whether to extend his/her leave without pay due to vaccination
                 status; and



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                  (J)   enjoining and restraining the New York City Department of Education
                        from disciplining, including but not limited to terminating any and all civil
                        service employees entitled to N.Y. Civil Service Law § 75 rights who have
                        failed to take a COVID-19 vaccine without proffering charges and
                        specifications and granting the civil service employees entitled to N.Y.
                        Civil Service Law § 75 rights a hearing on the charges including, but not
                        limited to the December 1, 2021 threat to unilaterally separate civil service
                        employees entitled to N.Y. Civil Service Law § 75 rights who have not
                        made a decision regarding the New York City Department of Education’s
                        deadline to decide whether to extend his/her leave without pay due to
                        vaccination status; and


                  (k)   enjoining and restraining the New York City Department of Education
                        from disciplining, including but not limited to terminating any and all
                        employees of the New York City Department of Education who, as a term
                        of their union’s collective bargaining agreement with the New York City
                        Department of Education, like secretaries or paraprofessionals who cannot
                        be terminated or disciplined without a hearing who have failed to take a
                        COVID-19 vaccine without proffering charges and specifications and
                        granting the employee a hearing on the charges including, but not limited
                        to the December 1, 2021 threat to unilaterally separate those employees of
                        the New York City Department of Education who, as a term of their
                        union’s collective bargaining agreement with the New York City
                        Department of Education cannot be terminated or disciplined without a
                        hearing who have not made a decision regarding the New York City
                        Department of Education’s deadline to decide whether to extend his/her
                        leave without pay due to vaccination status;


and its further




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          ORDERED that security in the amount of $0.00 be posted by the Plaintiffs prior to
________________________, 2021, a t _________o’clock in th e ___ noon of that day; and it is
further


          ORDERED, that personal service of a copy of this Order, the Affidavit of Nicole
Broecker, sworn to on the 16th day of November 2021, the Affidavit of Jeannine Lam, sworn to
on the 15th day of November 2021, Affidavit of Stella Porto, sworn to on the 16th day of
November 2021, Affidavit of Gina Porcello, sworn to on the 15th day of November 2021,
Affidavit of Dina Hussein, sworn to on the 15th day of November 2021 accompanying
Affirmation of Austin Graff, affirmed to on the 17th day of November 2021, the accompanying
Memorandum of Law, and upon the copy of the Complaint hereto annexed on or before____
o’clock in th e ____noon,______________, 2021 shall be deemed good and sufficient service
thereof upon the Defendants.


D ated:____________ , New York
Issued:



                                                    United States District Judge




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------------X
  NICOLE BROECKER, MICHELLE MARTINO,
  GINA PORCELLO, AMOURA BYRAN, RENA                                        INDEX NO.
  GELLMAN, FOTINA LAMBOS, KERRY BEN-
  JACOB, EKATERINA UDINA,                             ANDREA
  TICHIO, MARIANNA CIACCA-LISS, ANITA                                            EMERGENCY
  QUASH, KELLY DIXON, FELICIA HAGAN,                                       AFFIRMATION   OF AUSTIN
  MARITZA ROMERO, MARIA RUSCELLI,                                            GRAFF IN SUPPORT OF
  BETIZIADA CRUZ, FRANCINE TRAPANI,                                        THE PLAINTIFFS’ MOTION
  JEANNINE           LAM,         JESSICA NARCISCO,                           FOR A TEMPORARY
  BRIANNA PEREZ, NICOLETTA MASULLO,                                        RESTRAINING ORDER AND
  ANASTASIA               CHRISTOPOULOS,                  FAYE                 A PRELIMINARY
  KOTZER, BENEDICT LOPARRINO, YADITZA                                            INJUNCTION
  RODRIGUEZ, RAFAEL ADRIAN TORO,
  SERINA           MENDEZ,              DINA         HUSSIEN,
  HERENDYRA PEREYRA, ROSA ABREU, LISA
  WILLIAMS, JOAN GIAMMARINO, ANDREA
  JACKSON, MARIAKLAPAKIS,                              STELLA
  PORTO, TONIANN MIRAGLIA, ROSEANNA
 SILVESTRI-INCANTALUPO, JULIA A. MAVIS,
 CHRISTOPHER                  HANSEN,               ANNETTE
 BACKOF, DIANE PAGEN,                         LYNN         PEPE,
 STEPHANIE                EDMONDS,                   YVONNE
 COSTELLO,            DEBBY HARTZ,                    SORAYA
 SANCHEZ,            MONIQUE MOORE, ANGELA
 VELEZ, SALLY MUSSAFI, JESSICA NICCHIO,
 DORCA GENAO, RACHEL MANISCALCO,
 JAMES                   HOFFMAN,              SHARLAYNE
 JACOBS,           CRYSTAL             SALAS, FRANCES
 DIPROSSIMO,                    CAROLA MARTINEZ-
 VAN BOKKEM, AYSE USTARES, ELIZABETH
 FIGUEROA,              DIANE           BAKER-P ACIUS,
 NICOLE                  MOORE,                  ELIZABETH
 PLACENCIO, DEBBIE BERTRAM, KIMBERLI
 MADDEN, FRAN SCHMITTER, VICTORIA
 RUSSO, PAUL CIFARELLI, DANIELLE HEAL,
 SARA COOMBS-MORENO, LISA SIMO, TAMI
 BENEDUCE, ZABDIEL VALERA, NATHALIE
 CHARLES, JANELLE LOTITO, JEANEAN
 SANCHEZ,             MARIE           MOSLEY,             TARA
 PALLADINO, DANIELLE MCGUIRE, JULIA
 HARDING,           LEAH         KUKLA,          STEPHANIE
 FRANZESE, JULIA BALASIS-MARING, BETH
 SCHIANO, on behalf of themselves and all other



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 similarly situated employees of the New York City
 Department of Education,
                                           Plaintiffs,

                                         -against-

 NEW YORK CITY DEPARTMENT OF
 EDUCATION, MEISHA PORTER, in her official
 and individual capacities, UNITED FEDERATION
 OF TEACHERS, LOCAL 2, AMERICAN
 FEDERATION OF TEACHERS, AFL-CIO,
 MICHAEL MULGREW, in his official and
 individual capacities, JOHN DOE #1-10, in their
 official and individual capacities; and JANE DOE
 #1-10 in their official and individual capacities,
                                                                          Defendants.
 ............................................................................................. X

           AUSTIN GRAFF, an attorney admitted to practice law before this Court, who is not a
party to this Action, affirmed to be true under penalties of perjury says:

           1.         Iam associated with The Scher Law Firm, LLP, the attorneys for the Plaintiffs, in
the above-entitled Action, and am familiar with the relevant facts and circumstances surrounding
the allegations that comprise this litigation based upon the records maintained by my office
regarding this matter. I submit this Affirmation in support of the Defendants’ Motion for a
Preliminary Injunction pursuant to FRCP Rule 65.

           2.                      On October 2, 2021, the Defendant NEW YORK CITY DEPARTMENT OF
EDUCATION (“NYCDOE”) suspended without pay all NYCDOE employees who did not receive
a COV1D-19 vaccination. See, Exhibit A, a copy of the October 2, 2021 email. The NYCDOE
employees, many are tenured principals, tenured assistant principals, and tenured teachers who
have statutory and constitutional rights to charges and a hearing pursuant to N.Y. Education Law
§ 3020-a before discipline is imposed upon them, including but not limited to suspension without
pay. Yet, in violation of their statutory and constitutional rights to due process, the NYCDOE has
suspended these NYCDOE employees from their jobs and suspended them without pay without




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         3.     There are other NYCDOE employees who, through collective bargaining
 agreements between the NYCDOE and the employees’ unions obtained contractual due process
 rights to charges and a hearing before discipline can be imposed upon them. Despite the collective
 bargaining agreement provisions providing for due process, the NYCDOE has suspended these
 employees without due process and has suspended them without pay in violation of the collective
 bargaining agreement due process rights.

        4.      In addition, the NYCDOE has set an arbitrary date of December 1, 2021 for the
 Plaintiffs, those NYCDOE employees who have not been vaccinated and who have either a
 statutory right to a hearing or a contractual right to a hearing, to decide whether to waive all of
 their rights and be placed on an unpaid leave o f absence until September 2022 and if no decision
 is made, the NYCDOE has threatened to “unilaterally separate” those employees from the jobs.
 Exhibit A.


        5.      The Plaintiffs come to this Court seeking a Temporary Restraining Order and a
Preliminary Injunction reinstating them to pay status since, as discussed in the accompanying
Memorandum of Law, the Plaintiffs have a constitutional property interest in their pay.

        6.     The Plaintiffs come to this Court seeking a Temporary Restraining Order and a
Preliminary Injunction restraining and enjoining the NYCDOE from “unilaterally separat[ing]”
the NYCDOE employees from their jobs for those employees who have a right to charges and a
hearing pursuant N.Y. Education Law § 3020-a or the collective bargaining agreements. The
Plaintiffs are asking for a Temporary Restraining Order and a Preliminary Injunction enjoining the
NYCDOE from requiring the Plaintiffs and all others similarly situated from having to decide by
November 30/December 1 whether or not to take a leave without pay while forfeiting their rights
or face “unilateral separation]” from their job.




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         8.     The Plaintiffs are asking for immediate relief because the Plaintiffs have been
unconstitutionally placed on suspension without pay since October 2021 and are faced with an
arbitrary deadline of November 30, 20201 that if permitted to remain in place will violate their
constitutional rights to due process.

         9.     On November 17, 2021 by email, I provided notice to the NYCDOE and the
Defendant UNITED FEDERATION OF TEACHERS, LOCAL 2, AMERICAN FEDERATION
OF TEACHERS, AFL-CIO, that the Plaintiffs will be filing the within Motion. See, Exhibit C.


         10.    For the reasons argued in this Motion, the accompanying Affidavit, and in the
accompanying Memorandum of Law, the Plaintiffs request a preliminary injunction be granted.


         11.    The Plaintiffs rely upon the following exhibits in support of their Motion:

                (a)    Exhibit A, is a copy of the October 2, 2021 NYCDOE email;
                (b)    Exhibit B, is a copy of the Complaint without exhibits; and
                (c)    Exhibit C, is a copy of the November 17, 2021 letter to the NYCDOE and
                       UFT

         12.            For the reasons argued in the accompanying Memorandum of Law, and the
accompanying Affidavits, the Plaintiffs’ Motion for an Injunction should be granted.

         WHEREFORE, the Plaintiffs respectfully request that the Court grant this Motion, as well
as such other and further relief as may be just and proper.

Dated:          Carle Place, New York
                November 17,2021




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             UNI l'El) STATES DISTRICT COURT
             FASTERN DISTRJCT OF NEW YORK
             ····-····················-···---··--·-········--··--------X
             NICOLE BROECKER. cl ul.. on hchalf of
             themselves ,m<l all · other similarly situnlcd                         INDEX NO. _ _ _ _ __
             employees of thc New York City Dcpunment of
             hluca1ion,
                                                            Plnintilfa.                   AFFIDAVIT OF
                                                                                      NICOU: DROECKER IN
                                         -against-                                       SUPPORT Of THE
                                                                                    Pl.AINTIFFS' MOTION FOR
            :-ll \\'  YORK      CITY DEl'ARTMENT CW                                       A TEMPORARY
            l·D\ ICATION, CITY OF NEW YORK. MEISIIA                                 Rf.STRAINING ORDER AND
            f'OR rER. in her nllicial and individual capacllie~.                          PRF.I.IMINARY
            l ";fTl(I) ITDl:R,\TION OF ·1 FAClll·RS. I OC1\I                               INJUNCTION
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            and mdi\ idual eapacilil'S. JOIIN DOE #I-JO. in
            !heir ollicial and individual capacities; and JANE
            DOI # 1-10 in their oniciul and individlllll
            capacities.
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                    "IICOLF. BRO ECKER being <luly sworn, deposes, ,md slates under pt!nalty of perjul)
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          Case 23-655, Document 72, 06/05/2023, 3525004, Page246 of 286
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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     _____________________________________________X
     NICOLE BROECKER, e t a/., on behalf of
     themselves and all other similarly situated                    INDEX NO.
     employees of the New York City Department of
     Education,
                                          Plaintiffs,                    AFFIDAVIT OF
                                                                       JEANNINE LAM IN
                               -against-                                SUPPORT OF THE
                                                                    PLAINTIFFS’ MOTION FOR
    NEW YORK CITY DEPARTMENT OF                                          A TEMPORARY
    EDUCATION, MEISHA PORTER, in her official                       RESTRAINING ORDER AND
    and individual capacities, UNITED FEDERATION                         PRELIMINARY
    OF TEACHERS, LOCAL 2, AMERICAN                                        INJUNCTION
    FEDERATION OF TEACHERS, AFL-CIO,
    MICHAEL MULGREW, in his official and
    individual capacities, JOHN DOE #1-10, in their
    official and individual capacities; and JANE DOE
    #1-10 in their official and individual capacities,
                                                   Defendants.
    _____________________________________________ X

   STATE OF NEW YORK              )
                                  )ss.
   COUNTY OF NASSAU               )

          JEANNINE LAM, being duly sworn, deposes, and states under penalty of perjury that:


           1.             I am a Plaintiff in this Action. I have not received a COVID-10 vaccine. I am a
   tenured teacher with the New York City Department of Education ("NYCDOE”). As a Civil
   Service employee who holds a position by permanent appointment in the competitive class of the
   classified civil scmcc, I possess N.Y, Civil Service § 75 rights. I offer this Affidavit based upon
   my personal knowledge and conversations 1 have had with my fellow NYCDOE employees who
  have not received a COVtD-19 vaccine.


          2.              I have attempted to grieve through the UNITED FEDERATION OF TEACHERS.
  LOCAL 2, AMERICAN FEDERATION OF TEACHERS, AFL-CIO ("UFT”). The UFT has
  utterly refused to process any grievance for placing me on an unpaid leave status. See, Exhibit 1,
  a copy of the email communications with the UFT.


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           3.     In tact, until November 12, 2021, the UFT’s website made clear that the UFT has
   suspended filing any grievances during the COVID-19 pandemic. See, Exhibit 2. a copy ot the
   UFT’s website (visited November 12, 2021).

          4.      Only after I spoke with a UFT representative, the director of the grievance
   department of the UFT, and a lawyer in the general counsel’s office of the UFT, the UFT changed
   its website to remove the damaging evidence that the UFT has blatantly disregarded its members’
   rights under the collective bargaining agreement as well as our constitutional rights to due process
   and our pay.

          5.      I have actively pursued grievance rights pursuant to the UFT’s collective bargaining
  agreement with the NYCDOE, but the UFT has not permitted me to challenge the conduct of
  NYCDOE that is unconstitutional, illegal, and a breach of the collective bargaining agreement.

          6.      The UFT’s contract with the NYCDOE states: “Any teacher who is suspended
  pending hearing and determination of charges shall receive full compensation pending such
  determination of any penalty....” Exhibit 3. a copy of the UFT’s collective bargaining agreement
  with the NYCDOE, at Article 22.E.

          7.      This provision of the UFT’s collective bargaining agreement with the NYCDOE is
  being violated by the NYCDOE because as a member of the UFT, 1, along with all others similarly
  situated have been suspended without pay, without any charges being proffered, and before any
  determination of any penalty has been made.

          8.      The UFT has colluded with the NYCDOE to trample upon all members of the UFT
  who has not been vaccinated against COVID-19.




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Grievances (Last Step of Seeking U FT Support)


From: Jeannine Lam (jlam682@yahoo.com)

To:      mmulgrew@uft.org

Cc:      agraff@scherlawflrm.com

Date:    Saturday, November 13, 2021, 12:12 A M EST




To M ic h a e l M u lg re w :


I am fe e lin g d issa t isf ied at th is t i m e aft e r m y att e m p ts to se e k h e lp a b o u t th e e m in e n t p la n s th a t th e
N YC D O E has to “ u n ila te ra lly s e p a ra te " m e. I h ave so u g h t th e h e lp to g rie v e t w o th in g s th a t are g o in g on
an d am st i ll se e k in g to f ind o u t w h a t th e U F T w ill be d o in g to h e lp m e grie v e. T h e t w o g rie v a n c e s are
related .


T h e f i rst g rie v a n c e atte m p t is a b o u t th e s to p p in g o f m y pay w ith o u t d u e process. A lth o u g h th is is b e in g
c a lle d a Leave w ith o u t Pay (LW O P), I n e e d to be p a id an d did n o t a p p ly fo r any LEAVE! T h e N YC D O E is
im p le m e n t i ng a m a n d a te a n d w h e re else in N Y S tate is any o th e r sc h o o l d is tric t im p le m e n t i ng su ch a
m a n d a te ? T h is is cle a rly a p u n is h m e n t fo r n o t c o m p ly in g w ith th e m a n d a te . I w a s given a p e rm a n e n t
m e d ic a l a c c o m m o d a t ion fro m th e N YC D O E at th e start o f th is “ p a n d e m ic", d u rin g th e p a n d e m ic I g o t a
s e p a ra te m e d ica l a c c o m m o d a t ion d u e to a d iffe re n t se t o f m e d ic a l issues, & n o w m y m e d ica l
a c c o m m o d a t ion w a s n o t eve n in th e e th o s o f c o n s id e r a t ion w h ile m y re lig io u s e x e m p t ion w a s d e n ie d , ju st
like 7 th o u s a n d o th e rs at f i rst, an d th e n I w a s o n e o f th e a b o u t 1 2 0 0 -1 3 0 0 w h ic h w e re d e n ie d by an
“ in d e p e n d e n t a rb itra to r". Each day I am u n d e r fu r th e r d u re ss an d w o rr y fo r m y fu tu re a b ility to su stain m y
life, y e t m y p a p e r (digital) re q u e s ts are ju st s w e p t a sid e again an d again w ith o u t re m e d y o r a ssista n ce, like
s w a f f i ng an a n n o y in g fly o u t o f th e way. I d o n 't m e a n to b e a both er. I m e a n to ask fo r h elp !


T h e s e c o n d is a b o u t th e fa ct th at, a lth o u g h I w a s to ld I w o u ld be on LW OP, I w a s p aid on 1 0 /1 6 /2 0 2 1 , so I
w a s n 't even su re if th e N YC D O E w a s b e in g tru e to th e ir plan to n o t pay us sin ce th e y d id. T h e n , th e s e days
w e r e n o ta te d in m y C A R as “ u n a u th o riz e d a b s e n c e s " w h ich , a c c o rd in g to C h a n c e llo rs ' R e g u la t io n s can be
u sed as th e s o le rea so n fo r th e N YC D O E to see k te rm in a t ion. W h e n I c o n ta c te d th e U F T th e y to ld m e th a t
th e re w a s a co d e , “ 2 V M " w h ic h sta n d s fo r u n v a ccin a te d a n d n o t to w o rr y a b o u t it. I am w o rr ie d it an d I am
n o t sat isf ied w ith th is answ er. I w a s to ld th a t th a t c o d e w ill n o t ch a n g e an d th a t w h a t m a tt ers is w h a t th e y
see o n th e U F T 's en d, n o t in th e D O E 's p a y roll p o rta l, b u t I'd like to g e t th is re a ssu ra n ce d ire c tly th ro u g h a
g rie v a n c e p ro ce ss to be su re I am g o in g to b e p r o te c te d an d n o t re ta lia te d ag ain st fo r se e k in g m y n eed s, as
I h ave d o n e in th e past.


T h is w h o le th in g - re la te d to b o th th e s e g rie v a n ce s I h ave b u t ca n 't a c tu a lly f ile - is c o n ce rn in g , an d y e t I
h ave n o t b e e n g iven an y p e rm is s io n o r g u id a n c e fro m an y U F T p e rso n n e l, n o t even th e D ire c to r o f th e
G rie v a n c e D e p a rtm e n t w h e n I asked h im in w r it ing on h o w to g rie v e th e issu es he w a s a lre a d y p riv y to in
th e em ails!


I h ave d o n e m y d u e dilig e n ce : I have c o n ta c te d m y U F T rep on th e sc h o o l level, Eric S ch m itt at M S 137 w h o
to ld m e to call th e d is tric t an d p ro v id e d th e c o n ta c t in fo r m a t ion. I c o n ta c te d th e U F T rep at th e d istrict
level w ith th a t n a m e o f Tam ika in D istrict 27. I w ro te to M ic h a e l Sill w h o , see m in gly, had Beth A. N o rto n
sen d m e a legal fo rm le tte r w h ic h sh e has b e e n a lso se n d in g to th e o th e r m e m b e rs o f th e so cia l m e d ia
g ro u p s I h ave b e e n priv y to, w h o are a lso se e k in g to g rie v e th e s e sa m e issues. W e are all su ffe rin g terrib ly.
                  Case 23-655, Document 72, 06/05/2023, 3525004, Page251 of 286
                                                                    JA-507

    Case 1:21-cv-06387-KAM-LB                          Document 2-3             Filed 11/17/21             Page 6 of 249 PagelD #: 464

Beth A. N o rto n did pass on th e U F T 's legal c o n ce rn s, w h ic h I b ro u g h t to h e r a tte n t io n (w h ile n o o th e r U F T
p e rs o n n e l n o t ice d th e issue) & th e D ire c to r o f G rie v a n ce s, David C a m p b e ll, w ro te to m e p e rs o n a lly to
th a n k m e fo r le f f i ng th e m know , so y o u are w e lc o m e to o , b u t th e d a m a g e has a lre a d y b e e n d o n e . It se e m s
th a t th is b o ld e d sta te m e n t kept th e w o rk f lo w at th e U F T d o w n as, on th e U F T w e b s ite , it said th a t the
grievance process was suspended due to the pandem ic! David C a m p b e ll p r o m p tly to o k th a t m e ssa ge
d o w n to d a y an d m a d e th e e d its w h ic h th e U F T Legal Team re q u e s te d fo r him to, b u t th e h arm h ad a lre a d y
b e e n d o n e to all o f th e U F T m e m b e rs w h o u sed th is w r itt en w o rd as fa c tu a l e v id e n c e th a t th e g rie v a n c e
p ro c e s s w a s n o t a c tu a lly ta k in g place. I had taken , as o th e r m e m b e rs d id to o , th a t as a sta te m e n t o f fact,
an d th e m e ssa g in g a n d e x p e rie n c e in try in g to g rie v e a n y th in g o n ly c o n f irm e d th a t th is b o ld e d s ta te m e n t
th a t th e y w e re n o t p ro ce ssin g any g rie v a n c e s as tru e , h e n c e th a t I h ave g o n e th ro u g h th e la d d e r o f refe rral
to Y O U . D avid C a m p b e ll w r o te to m e th a t, actually, g rie v a n c e s h ave b e e n fu lly o p e n sin ce th e b e g in n in g o f
th e s c h o o l year, b u t m y e x p e rie n c e p rio r s h o w s th a t th e re is n o s u p p o r t to f ile g rie v a n ce s, b u t ra th e r to
push th e p a p e rs asid e. N o n e th e le s s , I im m e d ia te ly trie d o n e last d e s p e ra te att e m p t, ap p a re n tly , to have
him h e lp m e w ith m y g rie v a n c e s via e m a il as he w a s a lre a d y priv y to all o f th e e m a il co n v e rsa t io n s w h ic h
w e r e a u to m a t ica lly fo r w a rd e d by Beth A. N o rto n w h e n sh e c o n ta c te d him . U n fo rtu n a te ly , b u t I d id n o t get
any re s p o n s e fro m him , n o r h ave I h e a rd again fro m Beth A. N o rto n sin ce he passed th a t m e ssa g e on an d I
re s p o n d e d all to th e m .


T h a t is w h y I am n o w re a ch in g o u t to y o u to f ind o u t h o w yo u can h e lp m e f i le g rie v a n ce s a b o u t th e s e
e m e rg e n c y issu es I am e x p e rie n c in g . P le a se g e t b a ck to m e at y o u r e a rlie s t c o n v e n ie n c e in w r it i ng b e fo re
M o n d a y . I'm in e x tre m e d u re ss d u e to th e d e c is io n s o f th e N Y C D O E 's hasty, h e a v y -h a n d e d tre a tm e n t, by
s to p p in g m y p a y ch e ck s w ith o u t d u e p rocess, an d it se e m s e v e r-e v id e n t th a t th e n ext ste p s are to d o
w h a te v e r th e y can d o in th e ir p o w e r to s e p a ra te m e fro m m y pay, in sp ite o f th e fa c t th a t th e r e h ave b e e n
n o e ffo rts o f s u p p o r t in a c c o m m o d a t i ng m y re lig io u s a n d / o r m e d ica l a c c o m m o d a t ion n e e d s as la w fu lly
re q u ire d . I s h o u ld be a b le to d o so w ith th e s u p p o r t o f th e UFT, ra th e r th a n n e e d in g to see k any legal
s u p p o rt, b u t I h ave b e e n fo rc e d to see k legal c o u n s e l on th is m a tt e r at th is t im e. I h ave b e e n te a c h in g 20
y ears & I am 47 y e a rs old, I am id e n t ified as havin g a d is a b ility & it is cle a rly n o ta te d in th e N YC D O E
m e d ic a l system , an d I h ave n o w a lso f iled fo r a r e lig io u s e x e m p t ion w h ic h w a s d e n ie d by th e N YC D O E and
by th e “ in d e p e n d e n t a r b itra to r" & n o w th e N YC D O E is e n fo rc in g th is in d e p e n d e n t m an 's c o n s t it u t io n a lly
q u e s t io n a b le d e c is io n s in his q u e s t io n a b le w r it t en p ie c e u p o n a p u b lic e n t ity, th e N YC D O E. T h e city is
le t ting th is in d e p e n d e n t m a n 's d e c is io n d ic ta te o v e r all o f w h a t w e, as e d u ca to rs, have b e e n f ig h t i ng fo r all
o f o u r c a re e rs to keep a n d d isre g a rd in g th e p re s e n t p o lic ie s o f th e city. P le a se d o n o t le t th is m a n 's w r itt en
w o rd d ic ta te th e N YC D O E 's e sta b lis h e d p o lic y a n d p ra ct ices as e m b o d ie d in b y la w s, circu lars, p e rs o n n e l
m e m o ra n d a o r C h a n c e llo r's R e g u la t ions.


Sincerely,
J e a n n in e Lam
                Case 23-655, Document 72, 06/05/2023, 3525004, Page252 of 286
                                                     [-$ ]
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        From:             Jeannine Lam
        To:               Austin Graff
        Subject:          Grievance Process
        Date:             Friday, November 12, 2021 2:46:05 PM
        Attachments:      Suspended Grievance Process BEFORE.png




       -
                          Suspended Grievance Process Removed AFTER.png




         Grievances

         The union contracts empowers us as educat ors to do our jobs well. It includes articles and rights whose sole
         aim is to ensure that we have the resources, support and structures in place to do our best to educate our
         student s. It gives us an important voice in the workplace and a mechanism for addressing problems.

         What should you do if you feel your contractual rights have been violated? Speak with your chapter leader
         about possibly filing a grievance. Filing a gri evance is the way UFT members object to the DOE's violation of
         the contract or of established DOE policy and pract ice as embodied in bylaws, circulars, personnel
         memoranda or Chancellor's Regulations.

         Don't delay. Grievances have time frames. Most grievances must be filed within 30 days of an incident. Two
         notable exceptions, reorganization and per-session grievances, must be filed within two days of knowledge.

         Please note: the grievance process has been suspended for the duration of the pandemic. Speak to
         your chapter leader about filing an operational issues complaint to resolve issues.

         Your chapter leader can e.xplain the grievance process to you, including possible ways to resolve your
              Case 23-655, Document 72, 06/05/2023, 3525004, Page253 of 286
                                                           [-$ ]
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        Q > Teaching > New Teachers> Your rights as new members > Grievances



        Grievances

        The union contracts empowers us as educators to do our jobs well. It includes articles and rights whose sole
        aim is to ensure that we have the resources, support and structures in place to do our best to educate our
        students. It gives us an important voice in the workplace and a mechanism for addressing problems.

        What should you do if you feel your contractual rights have been violated? Speak with your chapter leader
        about possibly filing a grievance. Filing a grievance is the way UFT members object to the DOE's violation of
        the contract or of established DOE policy and practice as embodied in bylaws, circulars, personnel
        memoranda or Chancellor's Regulations.

        Don't delay. Grievances have time frames. Most grievances must be filed within 30 days of an incident. Two
        notable exceptions, reorganization and per-session grievances, must be filed within two days of knowledge.

        Your chapter leader can explain the grievance process to you, including possible ways to resolve your
        complaint without having to resort to a grievance. If your complaint is not reso lved, the chapter leader can
        assist you in preparing and filing a formal grievance.
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                        JA-510
Case 23-655, Document 72, 06/05/2023, 3525004, Page255 of 286
                        JA-511
           EXHIBIT 3 TO LAM AFFIDAVIT -
TEACHERS COLLECTIVE BARGAINING AGREEMENT (CBA)
     (REPRODUCED HEREIN AT PP. JA-251-JA-488)
           Case 23-655, Document 72, 06/05/2023, 3525004, Page256 of 286
                                                             [...__]
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                   UNTTl' D STATilS DlnRJ<.7 COURT



                                                                             INDY.X No. _ _ _ __


                                                                                    AWIDAVITOF
                                                                             fn'J:LLA PORTO IN 8UPPOR'f
                                                                                  OFTIJ.£ PLAINJ11'1'9'
                                                                                    MO'l10NFORA
                                                                             TEMPORARY REIJntAINING
                                                                             ORD.EA AND PREUMINAR\'
                                                                                      INJVNC11ON
                  EASlllRN DISTRJCT OF Nl:"W YORK
                  --------------x
                 NJCOI..F BROECXER. a al., on behalf or
                 lhcamlves ud all other 1U11ihuiy lltuatod eo,plo)'ca
                 oflbe New Yon: City Deplrfflneat ofllduemion,
                                              .              PllintilTt,

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                 NBW      YORK       CflY     DEPAIOMBNT           OF
                 EDUCATION, CilY OF NEW YORK, MBISHA
                 J'ORTHR. iD her official and lndivklual ~ities.
                 UNfllID FEDERATION 01' 'JEACHER.S, LOCAi.
                 2, AMERICAN fBDJbtA:llON OF lllACHF.RS,
               AFJ..CIO. MICIJAEL MULGRBW, In bit o>fli.-ial
               aod indMdual capacities, JOHN DOE #1-10, in their
               official Gld illdividua1 ~des; and JANE DOE #1 •
               IO iD IIM!rrolf"tcial and individual capecities,
                                                            DcfCl1Clanu.
               --------------~x
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              ::.1'A11?0J.'NEW¥0RKi-         1)
                                             )n.
              COUNlYOFMf ~\ftk.}

                     STELLA PORTO, bdng duly !Morn,~. 1111d SlalCS under penally of perjmythat:

                       I; l am a Pbtintiff in 1h11 A,;tio11. J hllvc oot received a COVJD-1!1 vaeciae. I am a
             rc11ufCC! w}.flan1 principal wilh lhe N~ York Cil}' Tlcp111J11ent ot l:ducation (."NYCDOE"). I
             offer l!tfs Affidavit ~ upon tny pcnoenal kuo,.-ledge llnd «JAVemiioas l ha"e h•d with.;111)'
             fel~ NYCOO£ cmplqy wlrll have not ren,ived • COVIi). 111 vacdnc.

                     2!Dcspiie bcill3 a 1enlftd 1$11111 princip:;al with N.Y. BdllCIIIMl lJM § 30211-11 .-:illory
             rigbls, J l!ave bo:al suspended wlUIOIII pa)    °"   October 4, 021 bcaute I ha,-.! llOI t :11 •
             (."()VJO. 19 V8l:CUIC.




            m.

                    4. An NYCDO lfflU~ MMIIMI
            bave I n,ai:ivcd • right lo • bwiilf·bd1111
           Case 23-655, Document 72, 06/05/2023, 3525004, Page257 of 286
                                                               [-$ ]
     Case 1:21-cv-06387-KAM-LB Document 2-4 Filed 11/17/21 Page 2 of 2 PageID #: 709
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                            5. 11,c NYCl)()t imposed " p,nolly of 111spcnsion wilhout pay wilhout complyins with
                  N. )'. I ducouon Liw § 3020-a


                        6. I have bcm 1111pcndcd without any due procc..-. The NYCDOE oimply ....,..vcd me
                  from my pt"liilion without noci~. chJIQ;ct, or a hearing.

                           7. lho NYCl>OE i• d,ociplining me without providing me my proceduml due proceu
                  nghls.


                        8. On behalf of the Plaintiffs and oil othe"' sinularly situated, I •m rcqueoting thal the
               Court II""'' the l'laintitfs a Tcmpomry Rcs1rnming Ord<r and a Prcliminmy lnjunc:tion, re"oring
               our p.1 y and harring the NYCDOF from lenninaling our cmploymenl wilhoul duo ~ •




              sworn bc:fon: me on this
             l '- day of November 2021


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              2
             Case 23-655, Document 72, 06/05/2023, 3525004, Page258 of 286
                                                       [-$ ]
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           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF NEW YORK
           ----------------------------------------······--·--------------------X
           NICOLE BROECKER. et al., on behalf of
           themselves and all other similarly situated                              INDEX NO. _ _ _ _ __
           employees of the New York City Department of
           Education,
                                                 Plaintiffa.                             AFFIDA VJT OF
                                                                                       GINA PORCELL O IN
                                         -against-                                      SUPPORT OF THE
                                                                                    PLAINTIF FS' MOTION I-OR
           NEW       YORK        CITY      DEPARTMENT OF                                 A TEMPOR ARY
           EDUCATIO      N,  CITY    OF  NEW    YORK. MEISHA                        RESTRAINING ORDER AND
           PORTER. in her official and individual capacities,                             PRELIMINARY
           UNITED FEDERATION OF TEACHERS, LOCAL                                            INJUNCTION
           2. AMERICAN FEDERATION OF TEACI IERS,
           AFL-CIO. MICHAEL MULGREW, in his official
           and individual capacities. JOHN DOE# 1-10, in their
           official and individual capacities; and JANE DOE
           # I-IO in their official and individual capacities.
                                                           Defendants.
           ---------------------------------------------------------------------X
          STA TE OF FLORIDA                  )

          COUNTY OF        -fb-L-~~              ss.


                  GINA PORCELL O, being duly sworn. deposes. and states under penalty of perjury that:


                   I.    I am a Plaint iff in this Action. I have not n:ceivcd a COY ID-19 vaccine. I am a
          $Choo! secretary with the New York City Department or Education (''NYCDOE"). I am a member
                                                                                                                    of
          of School Secrctanc~ Chapter. United Federation of Teachers, Local 2. Amcrica11 Fcdcrnt1on
          TcaclH:r~. AFL-CIO ("'Secretaries l 1nion"').           1 offc1 this Aflida\'JI ba!-ed llpnn m:, pcr::.on,il

          knowkdgc and con\'Cl'sations I have had with my fellow NYCDOF employees who ha\e not
          received a COVI D-I 9 vaccine.


                  2.    The Secretaries Union ' 5 collective haigaining agreement with th e NYC! >01: states:
          ··Any school secretary who is suspended pending hea1 ing and determinat ion of charge, ,hall
          receive full compensation pending such dctcrniination and imposition of any penalty . ... ·· Exhibit
          I. a copy of the Sccrcrnric::s Union's co!lccllve bargainmg agreement at Article 16.F.
             Case 23-655, Document 72, 06/05/2023, 3525004, Page259 of 286
                                                      [-$ )
     Case 1:21-cv-06387-KAM-LB Document 2-5 Filed 11/17/21 Page 2 of 107 PageID #: 711
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                   3.    This provision of the Secretaries Union\, colkct,vc bargarning agreement entitled
                                                                                                       requires
         me and other:- ,imilarly situated to charge, and a hearing bcfot c we arc terminated. It also
                                                                                              and
         the NYCDOI~ 10 pay my full compcns<1t1011 pending the hcarmg officer's determination
         1mpo-;i1ion of any penalty.


                   4. De:-pitc having these contractual 11gh1:.. I, ,md all other:- similarly ,1111ated, ha\'e
                                                                                                            9
         been ,uspcnded without pay i.inn: October 4. 2021 hl'cau c "e hm-e not takc-11 a COVID-1
         , accinc.


                   5       We have not rccci, cd any w nttcn charges nor have wc received a right to a hearing
         before the NYCDOE :-uspended u-; without pay.


                   Cl.  The NYCDOE m1po:-cd u penalty of ,,u:.pen:.ion without pay without complying
         with the Seerctarics Union·s colkctivc bargaining agreement with the NYCOOl:.


                   7.       Me and others ~,milarly situated have been suspended without any due prncess
         The NYCDOE simply removed us from our position~ without notice. charges, or a hcanng.


                    8.      The NYCDOE is <hsc1pl111ing us without providing us our procedural due process
         rights.


                    9.      On behalf of the Plamtill~ and all others similarly sitm,tcd, I ,1m rcquest111g that th e
         Comt      grant the Plamtiffs a Temporarv Restraining Order and a Preliminary Injunction, restoring




                                                                    Gina Porcello

         Sworn before me on this
         / S- day of November 2021

         l /.--1~& ,d~.,..,4
           otary Public
                                µ.-,_




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                             ____
     Case 23-655, Document 72, 06/05/2023, 3525004, Page260 of 286
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             Case 23-655, Document 72, 06/05/2023, 3525004, Page261 of 286
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     Case 1:21-cv-06387-KAM-LB Document 2-6 Filed 11/17/21 Page 1 of 71 PageID #: 817
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        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
        ---------------------------------------------------------------------X
        NICOLE BROECKER, et al., on behalf of
        themselves and all other similarly situated                              INDEX NO. - - - - - -
        employees of the New York City Department of
        Education,
                                             Plaintiffs,                              AFFIDAVIT OF
                                                                                     DINA HUSSIEN IN
                                     -against-                                       SUPPORT OF THE
                                                                                 PLAINTIFFS' MOTION FOR
       NEW YORK CITY DEPARTMENT OF                                                    A TEMPORARY
       EDUCATION, CITY OF NEW YORK, MEISHA                                       RESTRAINING ORDER AND
       PORTER, in her official and individual capacities,                             PRELIMINARY
       UNITED FEDERATION OF TEACHERS, LOCAL                                            INJUNCTION
       2, AMERICAN FEDERATION OF TEACHERS,
       AFL-CIO, MICHAEL MULGREW, in his official
       and individual capacities, JOHN DOE# 1- I 0, in their
       official and individual capacities; and JANE DOE
       #1-10 in their official and individual capacities,
                                                      Defendants.
       ---------------------------------------------------------------------X
      STATE OF NEW YORK )
                        ) ss.
      COUNTY OF _ _ _ _ )


              DINA HUSSIEN, being duly sworn, deposes, and states under penalty of perjury that:


              1.       I am a Plaintiff in this Action. I have not received a COVID-19 vaccine. I am a
      paraprofessional with the New York City Department of Education ("NYCDOE"). I am a member
      of the United Federation of Teachers, Local 2, American Federation of Teachers, AFL-CIO
      ("UFT"). I offer this Affidavit based upon my personal knowledge and conversations I have had
      with my fellow NYCDOE employees who have not received a COVID-19 vaccine.


              2.       The UFT's collective bargaining agreement with the NYCDOE states that before a
      paraprofessional can be discharged, the employee has a right to "be given a written notice of
      discharge and a statement of the general reasons for such action" and "upon his/her request, be
      afforded an opportunity for a prompt and careful review of the discharge in accordance with the
     provisions set forth in" the grievance procedure under the collective bargaining a!,rreement.
                Case 23-655, Document 72, 06/05/2023, 3525004, Page262 of 286
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     Exhibit l, a copy of the paraprofossionals' collective bargaining agreement, at Article Twenty-
     Three.


                3.   This provision of the UFT's collective bargaining agreement with the NYCDOE
     entitled me and others similarly situated to charges and a hearing before we arc terminated. It also
     requires the NYCDOE to pay my full compensation pending the hearing officer's detennination
     and imposition of any penalty.


                4.   Despite having these contractual rights, I, and all others similarly situated, have
     been suspended without pay since October 4, 2021 because we have not taken a COVID-19
     vaccine.


                5.   We have not received any written charges nor have we received a right to a hearing
     before the NYCDOE suspended us without pay.


                6.   The NYCDOE imposed a penalty of suspension without pay without complying
      with the UFT's collective bargaining agreement with the NYCDOE.


                7.   Me and others similarly situated have been suspended without any due process.
     The NYCDOE simply removed us from our positions without notice, charges, or a hearing.


                8.   The NYCDOE is disciplining us without providing us our procedural due process
      rights.




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              Case 23-655, Document 72, 06/05/2023, 3525004, Page263 of 286
                                                       [-$ ]
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              '>.      On lx·half ofth1..• Plaintiff-; and all oth1..·r, -.,milurl~ :-itu:itt·d. I am 11,_.q,11:~ting that the
      Court grant the Ph1intiff, a TcmpM,t~ R1::-.tr,1ining Ordl'r :mu :1 l'n:liminar~ l11i11m:1ion. restoring
      our pa~ anJ harring th1..• NYCDOI· fmm 11.-nninating our 1..•mph1~ 1111..•111 \\ i1h,n11 due process.



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     Notary Publi~




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             EXHIBIT 1 TO HUSSIEN AFFIDAVIT -
PARAPROFESSIONAL COLLECTIVE BARGAINING AGREEMENT (CBA)
        (REPRODUCED HEREIN AT PP. JA-184-JA-250)

                        EXHIBITA -
       E-MAIL FROM NYC DEPARTMENT OF EDUCATION TO
            JEANNINE LAM, DATED OCTOBER 2, 2021
           (REPRODUCED HEREIN AT PP. JA-78-JA-79)
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------ X
   NICOLE BROECKER, e t a i , on behalf of
   themselves and all other similarly situated                               INDEX NO,
   employees of the New York City Department of
   Education,
                                         Plaintiffs,

                                 -against-

  NEW YORK CITY DEPARTMENT OF
  EDUCATION, MEISHA PORTER, in her official
  and individual capacities, UNITED FEDERATION
  OF TEACHERS, LOCAL 2, AMERICAN
  FEDERATION OF TEACHERS, AFL-CIO,
  MICHAEL MULGREW, in his official and
  individual capacities, JOHN DOE #1-10, in their
  official and individual capacities; and JANE DOE
  #1-10 in their official and individual capacities,
                                                          Defendants.
  -----------------------------------------------------------------------X




     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THE PLAINTIFFS’
     MOTION FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                            INJUNCTION




                                      THE SCHER LAW FIRM, LLP
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                                   PRELIMINARY STATEMENT


          This Memorandum of Law is submitted by the Plaintiffs and all others similarly situated
  in this Action in support of their Motion, on an emergency basis, for a Temporary Restraining
  Order and Preliminary Injunction, enjoining the Defendant NEW YORK CITY DEPARTMENT
  OF EDUCATION (“NYCDOE”) from violating the Plaintiffs’ property interests and due process
  constitutional rights.


          Since October 4, 2021, the NYCDOE has placed its employees who have failed to take a
  COVID-19 vaccine on an unpaid status or a Leave Without Pay (“LWOP”) without providing the
  Plaintiffs due process before denying them the benefits of their property interests in their continued
  employment, which they are entitled to receive either because: (1) they have acquired the statute
  of tenure pursuant to N.Y. Education Law § 3020-a; or (2) they are Civil Service employees who
 have passed their probationary period and as a result are entitled to a hearing pursuant to N.Y.
 Civil Service Law § 75; or (3) they are members of unions that have a collective bargaining
 agreement with the NYCDOE, which requires the NYCDOE to proffer charges, hold a hearing,
 and obtain a determination before discipline is imposed.


         The NYCDOE’s financial pressure and the duress it has imposed upon the Plaintiffs and
 those similarly situated violates the Plaintiffs’ 14thAmendment rights to due process because they
 have a property interest in their pay.


         The NYCDOE has placed an arbitrary date of December 1, 2021 for those employees of
 the NYCDOE who are not yet vaccinated to decide whether to take the COVID-19 vaccine or
 extend their leave without pay due to their vaccination status through September 5, 2022 and if
 they do not make the decision the NYCDOE has threatened to “unilaterally separate employees
 who have not selected one of the options above or otherwise separated service.” Exhibit A, a copy
 of the NYCDOE’s October 2, 2021 email.


        The NYCDOE cannot, constitutionally or statutorily “unilaterally separate employees”
 from their jobs without due process when the employees have a right to have charges proffered



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 against them and have a hearing before discipline is imposed pursuant to N.Y. Education Law §
 3020-a, or N.Y. Civil Service Law § 75, or their collective bargaining agreement.


            The NYCDOE has violated the Plaintiffs’ constitutional rights. As a result, the Plaintiffs
 are seeking a mandatory injunction to restore the Plaintiffs to payroll and enjoin the NYCDOE
 from disciplining the Plaintiffs without proffering charges as against each affected person
 individually, and holding a hearing as against each affected person individually during which each
 of the Plaintiffs and all those similarly situated can defend themselves before a neutral hearing
 officer.


            The NYCDOE has used the withholding of the Plaintiffs’ pay (in violation of their
 constitutional rights) to put undue duress, pressure, and coercion upon them, which is wrongful.
 The NYCDOE has created economic hardships in order to obtain a desired outcome (COVID-19
 vaccination), while at the same time has trampled all over the Plaintiffs’ rights. The constitution
 must trump such maneuvers, and the rule of law must prevail to protect property interests, despite
 administrative convenience and vaccination policy objectives.


            This Court should grant the Plaintiffs’ requested relief to protect the Plaintiffs’ due process
 and property interest rights.


 POINT I.           STANDARD OF REVIEW FOR A PRELIMINARY INJUNCTION


            The Second Circuit has set forth two standards of review for a District Court to analyze
 whether an injunction should issue. Both standards come from the Court’s decision in P la za
 H ealth L abs., Inc. v. P e ra le s , 878 F.2d 577 (2d Cir 1989).



            The first standard states that




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                   for litigation, plus a balance of the hardships tipping decidedly in
                   favor of the moving party.

  P la za H ealth L abs., Inc. v. P e ra le s, 878 F.2d at 580.



          The second standard states that


                   where the moving party seeks to stay governmental action taken in
                   the public interest pursuant to a statutory or regulatory scheme, the
                   district court should not apply the less rigorous fair-ground-for-
                   litigation standard and should not grant the injunction unless the
                   moving party establishes, along with irreparable injury, a likelihood
                   that he will succeed on the merits of his claim.

 P la za H ea lth L abs., Inc. v. P e ra le s, 878 F.2d at 580.



          In A b d u l W all v. C oughlin, 754 F.2d 1015, 1025 (2d Cir 1985), the Court held


                  [wjhere such is the case, an injunction is often deemed mandatory,
                  rather than prohibitory, and a greater showing is required of the
                  moving party. S e e J a co b so n & Co. v. A rm stro n g C o rk C o ., 548 F.2d
                  438, 441 (2d Cir. 1977). In these circumstances, we have held that
                  an injunction should issue “only upon a clear showing that the
                  moving party is entitled to the relief requested,” F lin tkote Co. v.
                  B lu m en th al, 469 F. Supp. 115, 125-26 (N.D.N.Y.), a ffd , 596 F.2d
                  51 (2d Cir. 1979), or where “extreme or very serious damage will
                  result” from a denial of preliminary relief, C lune v. P u b lish ers'
                  A s s 'a , 214 F. Supp. 520, 531 (S.D.N.Y.), a f f d , 314 F.2d 343 (2d
                  Cir. 1963). In sum, we have shown “greater reluctance to issue a
                  mandatory injunction than a prohibitory injunction.” H u rley v. Toia,
                  432 F. Supp. 1170, 1175 (S.D.N.Y.), a f f d m em ., 573 F.2d 1291 (2d
                  Cir. 1977).

         In B re w e r v. W. Iro n d eq u o it Cent. Sch. D ist., 212 F.3d 738, 743-744 (2d Cir 2000), the
 Court held


                  [i]n most cases, a party seeking a preliminary injunction must
                  demonstrate (1) that it will be irreparably harmed in the absence of
                  an injunction, and (2) either (a) a likelihood of success on the merits



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                or (b) sufficiently serious questions going to the merits of the case
                to make them a fair ground for litigation, and a balance of hardships
                tipping decidedly in its favor. S ee F o re st C ity D a ly H ons., Inc. v.
                Town o f N orth H em pstead, 175 F.3d 144, 149 (2d Cir. 1999). In
                some cases, a significantly higher standard applies. The moving
                party must make a “clear” or “substantial” showing of a likelihood
                of success in two instances: where (1) the injunction sought is
                mandatory, i.e., “will alter, rather than maintain, the status quo”; or
                (2) the injunction sought “will provide the movant with substantially
                all the relief sought, and that relief cannot be undone even if the
                defendant prevails at a trial on the merits.” J o lly v. Coughlin, 76 F.3d
                468, 473 (2d Cir. 1996) (internal quotation marks omitted).

        The Plaintiffs can meet their heavy burden in this Motion.


        The Plaintiffs are seeking affirmative relief injunction (or mandatory injunction), seeking
 to alter the status quo, restoring the Plaintiffs to payroll (i.e., restoring their pay status, their
 benefits, and pension credits) and altering the deprivation of their property interests imposed upon
 them unilaterally by the NYCDOE. The Plaintiffs are also seeking a prohibitory injunction to stop
 the NYCDOE from disciplining, including terminating the Plaintiffs and all others similarly
 situated, without due process.


        Here, the Plaintiffs are asking for a mandatory injunction, seeking to be placed back on
 payroll, since the NYCDOE improperly, illegally, and unconstitutionally placed them on LWOP,
 having deprived them of their property rights without due process.


         Since the Plaintiffs can set forth clear and unambiguous violations of their constitutional
 rights, the Court should grant the Plaintiffs both (1) a mandatory injunction, reinstating the Plaintiff
 to pay status, and (2) a prohibitory injunction barring the NYCDOE from imposing disciplinary
 consequences upon the Plaintiffs without due process.


         Accordingly, the Plaintiffs’ requested relief should be granted.




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  POINT II.      NYCDOE IS VIOLATING THE PLAINTIFFS’ PROPERTY-BASED
                 PROCEDURAL DUE PROCESS CLAIM

          “In order to establish a [property-based] due process violation ... plaintiff must show that
  state action deprived her of a property interest protected by the Fourteenth Amendment.” Velez v.
  Levy, 401 F.3d 75, 85 (2d Cir2005).


         “To determine whether a plaintiff was deprived of property without due process of law in
  violation of the Fourteenth Amendment, we must first identify the property interest involved.
  Next, we must determine whether the plaintiff received constitutionally adequate process in the
  course of the deprivation.” O 'Connor v. Pierson, 426 F.3d 187, 196 (2d Cir 2005).


         A.      Plaintiffs Have A Property Interest In Their Pay


         In this case because the Plaintiffs, and those similarly situated, have been suspended
  without pay, they have been deprived of a protected property interest.


                [A]n employee who is placed on unpaid leave has been deprived of
                a protected property interest, but “an employee who is on leave and
                receiving his normal salary” has not. O'Connor, 426 F.3d at 199.
                And this remains so even though the employee is required to draw
                upon leave accruals, such as sick leave, to maintain that salary.” As
                long as the employee is receiving a paycheck equivalent to his
                normal salary, that the employee is drawing down his sick leave is a
                bookkeeping entry with no pecuniary effect.” Id. at 200. Such an
                employee has only been deprived of a property interest triggering
                due process when “he suffers a financial loss because of that leave’s
                unavailability,” e.g., when the employee runs out o f leave accruals
                while still on leave. Id at 199.

 Tootyv. Schwalter, 919 F.3d 165, 173 (2d Cir 2019).




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                 In this case, Waronker’s property-based procedural due process
                 claim rests on the Board’s decision to place him on a paid
                 administrative leave of absence. Under this Circuit’s precedents,
                 however, an employee who is suspended is not deprived of a
                 protected property interest “[so] long as the employee is receiving a
                 paycheck equivalent to his normal salary.” Tooly v. Schwaller, 919
                 F.3d 165, 173 (2d Cir. 2019) (internal quotation marks omitted).
                 Thus, while “an employee who is placed on unpaid leave has been
                 deprived of a protected property interest,” an employee who is
                 placed on paid leave “has only been deprived of a property interest
                 triggering due process when he suffers a financial loss.” Id.
                 (emphasis omitted) (internal quotation marks omitted). Waronker
                 does not assert, cither in his complaint or on appeal, that he was paid
                 less than his full salary while on administrative leave. His
                 suspension therefore does not provide an adequate basis for his
                 procedural due process claim.

         The Plaintiffs in this Action are receiving no compensation, no paycheck equivalent to their
  normal salary and are suffering in this manner without any due process. Accordingly, the Plaintiffs
  have been deprived o f their protected property interest in their pay.


         B.      Plaintiffs Have Not Received Constitutionally Adequate Process In The
                 Course Of The Deprivation

         "If a protected interest is identified, a court must then consider whether the government
  deprived the plaintiff of that interest without due process. The second step of the analysis thus
  asks what process was due to the plaintiff, and inquires whether that constitutional minimum was
  provided in the case under review.” Nantmcmchi v. Bd. o f Trustees, 850 F.2d 70, 72 (2d Cir 1988).


         The Plaintiffs have not received any due process and have no access to any review process.
  The Plaintiffs’ union, the United Federation of Teachers (“UFT”) had utterly refused to process
  any grievances for placing the Plaintiffs on an unpaid leave status this entire time. See, Affidavit
  of Jeannine Lam, sworn to on the 15th day of November 2021, at U2 (“Lam Affidavit”). See also.
  Exhibit 1 to Lam Affidavit, a copy of the email communications with the UFT.




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          In fact, until November 12, 2021, the UFT’s website made clear that the UFT has
   suspended tiling any grievances during the COVID-I9 pandemic. See, Exhibit 2 to the Lam
  Affidavit, a copy of the UFT’s website (visited November 12,2021). See, Lam Affidavit, at f 3.


          Unlike the plaintiff in Narumanchi who “refused to avail himself of the grievance
  procedures established in the collective bargaining agreement between his union and his
  employer” the Plaintiffs’ union has refused to process grievances challenging the NYCDOE’s
  unilateral decision to suspend the Plaintiffs and others similarly situated without pay before
  granting the Plaintiffs and others similarly situated due process. Narumanchi v. Bd. o f Trustees,
  850 F.2d at 71. See, Exhibit 2 to the Lam Affidavit. See also, Lam Affidavit, at ^ 2.


                 1.      Tenured Principals. Tenured Assistant Principals. And Tenured Teachers


         For tenured principals, tenured assistant principals, and tenured teachers, New York
  Education Law § 3020-a provides a process and procedure before a tenured employee of the
  NYCDOE can be disciplined.


         The Plaintiff Stella Porto (“Porto”) is a tenured assistant principal. See, Affidavit of Stella
  Porto, sworn to on the 16th day of November 2021, at ^ 1 (“Porto Affidavit”).


         The Plaintiff Nicole Broeeker (“Broecker”) is a tenured teacher. See, Affidavit o f Nicole
  Broecker, sworn to on the 16lh day of November 2021, at If 1 (“Broecker Affidavit”).


         N. Y. Education Law § 3020-a requires the filing of charges against “a person enjoying the
  benefits of tenure.” N.Y. Education Law § 3020-a. 1.




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                 concerning the criminal sale or possession of a controlled substance,
                 a precursor of a controlled substance, or drug paraphernalia as
                 defined in article two hundred twenty or two hundred twenty-one of
                 the penal law; or a felony crime involving the physical abuse of a
                 minor or student.

 N.Y. Education Law § 3020-a.2.b.


         In addition, N.Y. Education Law § 3020-a permits the person enjoying the benefits of
 tenure to choose to have a hearing on the charges, with the hearing procedures set forth in the
 statute and governed by N.Y. Commissioner of Education regulations. See, N.Y. Education Law
 § 3020-a.3,


         Following the hearing, the “hearing officer shall render a written decision” which “shall
 include the hearing officer's findings of fact on each charge, his or her conclusions with regard to
 each charge based on said findings and shall state what penalty or other action, if any, shall be
 taken by the employing board.” N.Y. Education Law § 3020-a.4.a.


         Thereafter, “[wjithin fifteen days of receipt of the hearing officer’s decision the employing
 board shall implement the decision. If the employee is acquitted, he or she shall be restored to his
 or her position with full pay for any period of suspension without pay and the charges expunged
 from the employment record.” N.Y. Education Law § 3020-a.4.b.


         None of these statutory processes have been granted to the Plaintiffs who are tenured
 principals, assistant principals and/or tenured teachers. The NYCDOE imposed a penalty of
 suspension without pay without complying with N.Y. Education Law § 3020-a. See, Broecker
 Affidavit, at ^ 4.


         Accordingly, Plaintiffs who are tenure principals, tenured assistant principals, and tenured
 teachers have not received constitutionally adequate process in the course of the deprivation of
 their property rights to their pay.




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                  2.     NYDOE’s Civil Service Employees With N.Y. Civil Service Law $ 75
                         Rights

          There are Plaintiffs who hold civil service titles and are therefore, protected from removal
   and other disciplinary actions without due process pursuant to N.Y. Civil Service Law § 75.


          The statute requires that those NYCDOE employees that fall within the enumerated
  categories of civil service employees protected by N.Y. Civil Service Law § 75 “shall not be
  removed or otherwise subjected to any disciplinary penalty provided in this section except for
  incompetency or misconduct shown after a hearing upon stated charges pursuant to this section.
  N.Y. Civil Service Law § 75.1.


          N.Y. Civil Service Law § 75.3. states: “[pjending the hearing and detennination o f charges
  of incompetency or misconduct, the officer or employee against whom such charges have been
  preferred may be suspended without pay for a period not exceeding thirty days.”


         The NYCDOE has violated N.Y. Civil Service Law § 75.3. since: (a) no charges have been
  preferred against any employee for failing to take a COVID-19 vaccine; and (b) the suspension
  has been for more than thirty days since the suspension without pay commenced on October 4,
  2021 and continues through today November 17, 2021 (43 days).


         In addition, no hearing has been held pursuant N.Y. Civil Service Law § 75.2.


         Finally, N.Y. Civil Service Law § 75.3. requires that before any penalty or punishment is
  imposed upon a NYCDOE employee who possesses N.Y. Civil Service Law § 75 rights, the
  employee must first be found guilty of “incompetency or misconduct” (N.Y. Civil Service Law §
  75.1.) and only then can the penalty or punishment of “a reprimand, a fine not to exceed one
  hundred dollars to be deducted from the salary or wages of such officer or employee, suspension
  without pay for a period not exceeding two months, demotion in grade and title, or dismissal from
  the service; provided, however, that the time during which an officer or employee is suspended
  without pay may be considered as part of the penalty.” N.Y. Civil Service Law § 75.3.




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        Yet, the NYDOE has imposed a penalty upon those NYCDOE employees who possess
 N.Y. Civil Service Law §75 rights, of suspension without pay for more than two months without
 a hearing in violation of N.Y. Civil Service Law § 75.


        Accordingly, Plaintiffs who possess N.Y. Civil Service Law § 75 rights have not received
 constitutionally adequate process in the course of the deprivation of their property rights to their
 pay.


                3.     NYCDOE Employees Entitled To Hearings Pursuant To Collective
                       Bargaining Agreements

        “In the employment context, a property interest arises only where the state is barred,
 whether by statute or contract, from terminating (or not renewing) the employment relationship
 without cause.” S & D Maintenance Co. v. Goldin, 844 F.2d 962, 967 (2d Cir 1988).


        The NYCDOE has entered collective bargaining agreements with its unions that grant the
 members of those unions a right to charges and a hearing before the employment relationship is
 terminated. As a result, those employees who are members of those unions with collective
 bargaining provisions granting a right to hearing cannot be discharged without cause. As a result,
 those employees have a constitutional property interest.


        For example, the Plaintiff Gina Porcello (“Porcello”) is a school secretary. See, Affidavit
 of Gina Porcello, sworn to on the 15"' day of November 2021, at | 1 (“Porcello Affidavit”).
 Porcello is a member of School Secretaries Chapter, United Federation of Teachers, Local 2,
 American Federation of Teachers, AFL-CIO (“Secretaries Union”). See, Porcello Affidavit, at
  1.




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            “Any school secretary who is suspended pending hearing and determination o f charges
  shall receive full compensation pending such determination and imposition of any penalty,..,”
   Exhibit 1 to the Porcello Affidavit, a copy of the Secretaries Union’s collective bargaining
  agreement at Article 16.F.


            Yet, Porcello has been suspended without pay, but has had no charges proffered against
  her and there has been no hearing set to determine her guilt or innocence. See, Porcello Affidavit,
  at H 4.


            As another example, the Plaintiff Dina Hussein (“Hussein”) is a paraprofessional. See,
  Affidavit of Dina Hussein, sworn to on the 15th day of November 2021 (“Hussein Affidavit”).
  Hussein is a member of the United Federation of Teachers, Local 2, American Federation of
  Teachers, AFL-CIO (“UFT”). See, Hussein Affidavit, at 'l 1.


            Pursuant to the collective bargaining agreement between the UFT and the NYCDOE, has
  a right to have charges proffered against him/her and a hearing to determine guilt or innocence
  and, if appropriate a penalty.


            Article Twenty-Three of the NYCDOE’s and UFT’s collective bargaining agreement
  governing paraprofessionals’ employment with the NYCDOE, before a paraprofessional can be
  discharged, the employee has a right to “be given a written notice o f discharge and a statement of
  the general reasons for such action” and “upon his/her request, be afforded an opportunity for a
  prompt and careful review of the discharge in accordance with the provisions set forth in” the
  grievance procedure under the collective bargaining agreement.        Exhibit 1 to the Hussein
  Affidavit, a copy of the paraprofessionals’ collective bargaining agreement, at Article Twenty-
  Three.


            The NYCDOE has failed to provide Hussein with written notice of discharge and/or
  provided a prompt and careful review of the reasons why the Plaintiffs-paraprofessionals have
 been essentially discharged from their employment.




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         Yet, the NY DOE has imposed a penalty upon Hussein and all others similarly situated
 whose union’s collective bargaining agreement contains a right to charges and a hearing before
 discipline is imposed, including before suspension without pay is imposed.


         Accordingly, Plaintiffs who are members of a union whose union’s collective bargaining
 agreement contains a right to charges have not received constitutionally adequate process in the
 course of the deprivation of their property rights to their pay.




         The NYCDOE has trampled upon the constitutional rights of its employees that have failed
 to take the COVID-19 vaccine. The NYCDOE has put undue financial duress and stress on its
 employees when, during the COVID crisis, the same government officials were praising the
 NYCDOE employees for their hard work and dedication to the students during the period of remote
  learning.


         Now, just months later, the NYCDOE and the government officials are using the
 employees’ pay as a weapon to make these hard-working men and women kowtow to a vaccine
 mandate without any consideration for the employees’ constitutional right to their pay. See, Tooly
  v. Schwaller, 919 F.3d at 173; Waronker v. Hempstead Union Free Salt. Dist,, 788 F.App’x at 793.
 Now, the nYCDOE is ready to turn its back on those who are not consenting to become vaccinated,
 for reasons particularly personal to each of them, who are constitutionally and/or statutorily and/or
 contractually protected from such unilateral actions regardless of due process. Constitutional
 rights are not to be trampled in this manner.


         This Court should grant the Plaintiffs a Temporary Restraining Order and a Preliminary
 Injunction to protect the Plaintiffs from irreparable harm.


         “When an alleged deprivation of a constitutional right is involved, most courts hold that no
 further showing of irreparable injury is necessary. Mitchell v. Cuomo, 748 F.2d 804, 806 (2d Cir
  1984) (internal quotation marks omitted).



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          The Plaintiffs have a high likelihood of success on the merits of their 42 U.S.C. § 1983
   causes of action (Exhibit B, a copy of the Complaint (without exhibits)) and therefore should be
   granted the relief they request.


          Accordingly, the Plaintiffs’ Motion should be granted.


  POINT III.      NYCDOE IS VIOLATING THE PLAINTIFFS’ PROCEDURAL DUE
                  PROCESS RIGHTS

          The Plaintiffs and others similarly situated have been suspended without any due process.
  See, Broecker Affidavit, at f 2. The NYCDOE simply removed the Plaintiffs and all others
  similarly situated from their positions without notice, charges, or a hearing.        See, Porcello
  Affidavit, at ^ 4 and 5; Porto Affidavit, at ffl] 2 through 5; Hussein Affidavit, at If*14 and 5. The
  NYCDOE is disciplining the Plaintiffs and all others similarly situated without providing the
  Plaintiffs and others similarly situated their procedural due process rights.


          The Plaintiffs and all other similarly situated have had their constitutional rights to their
  jobs violated by the NYCDOE. The Plaintiffs and all others similarly situated are entitled to
  certain minimum processes to protect their rights.


          “The tenured public employee is entitled to oral or written notice of the charges against
  him, an explanation of the employer’s evidence, and an opportunity to present his side of the
  story." Cleveland Bd. of'Educ. v. Loudermill, 470 U.S. 532, 546 (1985).


         The NYCDOE have violated the Plaintiffs’ constitutional rights to due process by
  suspending them from their NYCDOE job without any charges or an opportunity for a hearing.


         Accordingly, the Court should issue a Temporary Restraining Order and a Preliminary
  Injunction to stop the NYCDOE’s unconstitutional conduct.




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        A.     Tenured Principals, Tenured Assistant Principals, and Tenured Teachers


        For tenured principals, tenured assistant principals, and tenured teachers


               [u]nder New York law a “tenured teacher has a protected property
               interest in her position and a right to retain it subject to being
               discharged for cause in accordance with the provisions of [the
               Education Law].” Gould v. Boardof Educ., 81 N,Y.2d 446,451, 599
               N.Y.S.2d 787, 616 N.E.2d 142 (1993); accord Strong v. Board o f
               Educ., 902 F.2d 208,211 (2d Cir. 1990) (position as tenured teacher
               is a property interest protected by Fourteenth Amendment); sec also
               N.Y. Educ. Law §§ 2509(2), 3012(2), 3020(1) (McKinney 1995)
               (tenured employees are not removable except for cause after a
               hearing).

 Shaffer v. Schenectady CitySch. Dist., 245 F.3d41,44 (2d Cir 2001).


        “Under New York law a tenured teacher may be removed only pursuant to certain
 substantive and procedural safeguards, ineluding notice and a full-blown adversarial hearing.”
 Strong v. Bd. o f Educ. o f Uniondale Union Free Sch. Dist., 902 F.2d 208, 211 (2d Cir 1990).


        “ft is well established that tenured public teachers are employees who have a
 constitutionally protected property interest in their employment.” Shaulv. Cherry Val.-Springfield
 Cent. Sch. Dist., 218 F.Supp.2d 266, 271 (N.D.N.Y. 2002).


        The constitutional and statutory protections that the tenured principal, tenured assistant
 principal, and tenured teachers have been ignored, trampled upon, and violated by the NYCDOE
 when the Plaintiffs and all others similarly situated were suspended from their positions without
 due process because they failed to take a COVID-19 vaccine.




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          For tenured employees, the NYCDOE cannot “unilaterally separate employees” from their
  jobs without due process. The threat to “unilaterally separate employees” from their jobs is a threat
  to further violate the Plaintiffs’ constitutional rights.


          The Court should grant a Temporary Restraining Order and a Preliminary Injunction
  enjoining the NYCDOE from “unilaterally separate employees” from their jobs without due
  process and to prohibit the NYCDOE from acting on its threats to do so on December 1, 2021.


          B.      NYDOE’s Civil Service Employees With N.Y. Civil Service Law § 75 Rights


          For those NYCDOE Civil Service employees who have N.Y. Civil Service Law § 75 rights,
  N.Y. Civil Service Law § 75 bars the NYCDOE from “removfing] or otherwise subjected to any
  disciplinary penalty provided in this section except for incompetency or misconduct shown after a
  hearing upon stated charges pursuant to this section.” N.Y. Civil Service Law § 75.1.


         “[Cjivil service employment is a property right which cannot be taken from her without
  satisfying the dictates o f due process of law.” Palermo v. Eisenberg, 81 Misc.2d 1014,1015 (Sup.
  Ct., 1975).


         In Dwyer v. Regan, 111 F.2d 825, 831 (2d Cir 1985), the Court opined:


                 Under New York law, the State would not have been allowed to
                 remove Dwyer from his ongoing position without showing that he
                 was incompetent or had engaged in misconduct. N.Y. Civ. Serv.
                 Law § 75(1). Thus, if the State had determined that it wished simply
                 to separate Dwyer from his position, it would have been required by
                 due process to accord him a pretermination hearing.




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         The NYCDOE has provided no “kind of hearing” to the Plaintiffs who have N.Y. Civil
  Service Law § 75 rights. The NYCDOE has unilaterally and without regard for their due process
 rights suspended the Plaintiffs and all others similarly situated.


         The NYCDOE has sent a communication to its employees who possess N.Y. Civil Service
  Law § 75 rights that on December 1, 2021 the NYCDOE “will seek to unilaterally separate
  employees who have not” extended their leave without pay due to vaccination status. Exhibit A.


         For Plaintiffs who have N.Y. Civil Service Law § 75 rights, the NYCDOE cannot
 “unilaterally separate employees” from their jobs without due process. The threat to “unilaterally
  separate employees” from their jobs is a threat to further violate the Plaintiffs’ constitutional rights.


         The Court should grant a Temporary Restraining Order and a Preliminary Injunction
 enjoining the NYCDOE from “unilaterally separate employees” from their jobs without due
 process and to prohibit the NYCDOE from acting on its threats to do so on December 1, 2021.


         C.      NYCDOE Employees Entitled To Hearings Pursuant To Collective
                 Bargaining Agreements

         “In the employment context, a property interest arises only where the state is barred,
  whether by statute or contract, from terminating (or not renewing) the employment relationship
  without cause.” S & D Maintenance Co. v. Goldin, 844 F.2d at 967.


         The NYCDOE has entered into collective bargaining agreements with its unions that
  provide that the members of the unions have a right to a reason for their discharge and a hearing
 before the employee-union member is discharged. The collective bargaining agreements between
 the NYCDOE and its unions create a contract-based property interest for the employees-union
 members. See, Exhibit 1 to Hussein Affidavit, at Article Twenty-Three; Exhibit 1 to the
  Porcello Affidavit, at Article 16.F.




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            The NYCDOE, by suspending the NYCDOE employees who possess the contract-based
  property interest without due process, the NYCDOE has violated those employees’ constitutional
  rights.


            Finally, the NYCDOE has sent a communication to the NYCDOE employees-union
  members who possess the contract-based property interest that on December 1,2021 the NYCDOE
  “will seek to unilaterally separate employees who have not” extended their leave without pay due
  to vaccination status. Exhibit A.


            For Plaintiffs who possess the contract-based property interest, , the NYCDOE cannot
  “unilaterally separate employees” from their jobs without due process. The threat to “unilaterally
  separate employees” from their jobs is a threat to further violate the Plaintiffs’ constitutional rights.


            The Court should grant a Temporary Restraining Order and a Preliminary Injunction
  enjoining the NYCDOE from “unilaterally separate employees” from their jobs without due
  process and to prohibit the NYCDOE from acting on its threats to do so on December 1, 2021.




            The NYCDOE have shown no regard for the Plaintiffs’ due process rights. The NYCDOE
  have suspended all of the Plaintiffs and all others similarly situated without providing the Plaintiffs
  the minimum level of due process as required by the United States Supreme Court in Cleveland
  Bd. o f Educ., namely “oral or written notice of the charges against him, an explanation of the
  employer’s evidence, and an opportunity to present his side of the story.” Cleveland Bd. o f Educ. v.
  Loudermill, 470 U.S. at 546.




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          “When an alleged deprivation of a constitutional right is involved, most courts hold that no
 further showing of irreparable injury is necessary. Mitchell v. Cuomo, 748 F.2d at 806 (internal
 quotation marks omitted).


          The Plaintiffs have a high likelihood of success on the merits of their 42 U.S.C. § 1983
 causes of action (Exhibit B) and therefore should be granted the relief they request.


          Accordingly, the Plaintiffs’ Motion should be granted.


                                           CONCLUSION


          For the reasons argued in this Memorandum of Law, the Broecker Affidavit, the Lam
 Affidavit, the Porcello Affidavit, the Porto Affidavit, the Hussein Affidavit, and the Complaint,
 the Plaintiffs’ Motion should be granted and the Plaintiffs’ constitutional rights should be restored
 forthwith.


 Dated:          Carle Place, New York
                 November 17, 2021




                                                  IS
